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                     EXHIBIT #1




                                   8
  Case
Case    1:24-cv-06290-DEH-BCM Document
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                     EXHIBIT #2




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                                                                                                       Page 14 of
                                                                                                               of

        UNItED STATES DISTRICT COURT
       SOUTHERN DISTRICT OF NEW YORK




                 LIVEVIDEO.Al CORP


                               Plaintiff(s),                     AFFERMATION OF SERVICE

                      V                                             1 :24-cv-06290
       SHARI REDSTONE. NATIONAL AMUSEMENTS, INC. ,-
       CHRISTINE VARNEY, MONICA SELIGMAN,


                               Defendant(s).




        L (print your name) Robert Roberts              , served a copy Qf the attached papers
        (state Me name of your papers)   Federal summons and amended comptaipt




                                         all other
                                        by                                  \check the method you

        these documents to the following persons (list the names and addresses o/the people you
        served).

                             ational Amusments Inc
       The Corporation Trust Incorporated, 2405 York Road, Suite 201 , Lutherville Timon turn, MD 21093




        on (date service was made)      November 61 2024

        I declare under penalty of perjury that the foregoing is true and correct, to the best of my
        knowledge, information and belief.

       Executed on     1 1/6/2024
                          (date)
                                                     hla        M
                                                                       (yOUr signature)
      Case 1:24-cv-06290-DEH-BCM       Document 140-2      Filed 05/06/25   Page 5 of 302




               THE UNITED STATES DISTRICT COURT
               FOR THE SOUTHERN DISTRICT OF NEW YORK

LIVEVIDEO.AI CORP
        Plaintiff,                              CIVIL ACTION
vs.                                             C.A. NO. 1:24-CV-06290

                                                       DECLARATION
                                                       IN SUPPORT
SHARI REDSTONE,
NATIONAL AMUSEMENTS, INC.,
CHRISTINE VARNEY,
MONICA SELIGMAN,

      Defendant’s.
____________________________________/
 DECLARATION IN SUPPORT

I, Bob Roberts declare under penalty of perjury, that the following is true and correct:


        1.     I have first-hand, personal knowledge of the facts set forth below and, if

called as a witness, I could and would testify competently thereto.


        2.    I work as a process server in the State of Maryland and am knowledgable

about serving legal process for State and Federal litigation matters.


        3.   On November 5, 2024 I attempted to serve legal process on The Corporation

Trust Incorporated at 2405 York Road, Suite 201, Lutherville Timonium MD 21093-2254

but they had closed early for the election according to a note in the window. Attached as

Exhibit #1 to this declaration is a photo I sent later that day to the client, to prove the

registered agent was closed.


        4.     On November 6th, I served two packets of court docuents to 2405 York Rd

Suite 201 at about 1:30pm in Lutherville Maryland. There were two different UPS
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                   EXHIBIT #1
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EXHIBIT #2
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                     EXHIBIT #3




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                      THE UNITED STATES DISTRICT COURT
                    FOR THE SOUTHERN DISTRICT OF NEW YORK

      LIVEVIDEO. Al CORP
            Plaintiff,                            CIVIL ACTION


                                                  COMPLAINT AND
                                                  JURY DEMAND
      SHARI REDSTONE,
      NATIONAL AMUSEMENTS, INC.,
      SPV-NAIEH LLC (“SPV’)
      NAI Entertainment Holdings LLC
       Sumner M. Redstone National Amusements Part B General Trust,
      CHRISTINE VARNEY.
      MONICA SELIGMAN,

            Defendant’s
                                                  /




            Plaintiff, LiveVideo,Al Corp., (hereinafter “Plaintiff’ or “Live”) hereby

      alleges, for its Complaint against Defendants, SHARI REDSTONE, NATIONAL

      AMUSEMENTS, INC., CHRISTTNE VARNEY, and MONICA SELIGMAN, and

      DOES 1-10 (hereinafter collectively the “Defendants”), as follows

                              PREL[MINARY STATEMENT

            1. The Plaintiff, LiveVideo.AI Corp, is a Delaware incorporated New York

      based Internet technology company focused in creating and operating Artificial

      Intelligence powered online short form video and livevideo streaming technology

      platforms. This matter relates to Defendant ShaH Redstone’s determination to
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      complete in a grossly negligent self-interested manner, a fire sale of co-Defendant
      National Amusements, Inc. (NAI), a private movie theater operating company
      inherited from her father, and the harms and damages caused to Plaintiff, thousands
      of stockholders, and hundreds of publicly traded Paramount’s NY employees,
                                  NATURE OF THE CLAIMS
            2. This action seeks declaratory and monetary damages to redress violations
      of tonious interference with business relations, unfair competition, and aiding and

      abetting breaches of fiduciary duty

                                    JURISDICTION AND VENUE

            3.       This Court has federal question subject matter jurisdiction over
      Plaintiffs Complaint. This Court also has supplemental jurisdiction pursuant to 28

      U.S.C, $ 1367. Venue is proper in this District pursuant to 28 U.S.C. §1391(b)(2)
      because a substantial part of the events or omissions giving rise to this action,

      including the unlawful practices and actions alleged herein, occurred in or around
      the City of Manhattan, New York. This Court has personal jurisdiction over
      Defendants because, upon information and belief, Defendants respectively have
      ongoing and systematic contacts with this District, maintain offices in, reside in,
      and/or have committed wrongful acts which both occurred within this District, and
      which had an impact or effect in this District.
                                            PARTIES
            4.       Plaintiff, LiveVideo. Al Corp., incorporated in the State of Delaware,
      with an address of 244 5th Avenue, New York, New York.
             5   .   Defendant, Shari Redstone (tlereinafter “Redstone”), is the President
      of National Amusements, Inc., and Chairperson of non-party Paramount Global

      Inc., and a citizen of New York because she resides in Queens, NY part time
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            6.     Defendant, National Amusements, Inc. (hereinafter “NAI”), at all

      times herein mentioned, was and still is a Foreign Business Corporation authorized

      to do business in the State of New York, being registered in the State of Maryland,

      was and still is a domestic business corporation organized and existing under the

      laws of the State of New York using the same name, with its principal place of

      business situated in the County of New York and State of New York.

       Conducted and carried on business in the County of Queens, City, and State of

      New York. Derived substantial revenue from interstate or international commerce

      and transacted business within the State of New York and expected or should

      reasonably have expected its acts to have consequences in the State of New York

             7.   Defendant, Christine Varney (hereinafter “Varney”), is a resident

      of the State of New York and was hired by Paramount as Special Committee

      Outside Counsel at all relevant times thru out 2024.

             8.    Defendant, Monica Seligman (hereinafter “Seligman”), is a resident of

      the State of New York. Seligman is a Paramount Special Committee Member and

      joined board of C)penAI, a competitor ofPlaintiffLiveVideo.Al    in March 2024.

            9.     Does 1-10 and Non-Party Christine D’Alimonte (hereinafter

       “D’Alimonte”), former General Counsel of Paramount, is a resident of New York.




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              10.     Non-party Paramount d/b/a Paramount, f7k/a Viacom CBS, Inc., at all

      times herein mentioned, was and still is a Foreign Business Corporation authorized

      to do business in the State of New York, being registered in the State of Delaware.

              11 . Plaintiffs   CEO has agreed to transfer rights and privileges due to the CEO

      individual related to indemnification and under other Federal statues cited herein to

      the Plaintiff   for the Plaintiffs   sole benefit to dispose of and prosecute any and all

      rights possessed by the Plaintiffs CEO individually.

             FACTUAL ALLEGATIONS AND RELEVANT BACKGROUND

             Viacom Acquires MTV and Nickelodeon Crown Jewels

              12.     In the late 1970s the Great Uncle and mentor of the Plaintiffs CEO the

      late Gus Hauser, a former Harvard Law School professor, while Chairman and CEO

      of Warner Communications created cable channels MTV and Nickelodeon. Gus left

      and “Warner sold the Warner Amex cable programming business, including MTV,

      Nickelodeon and The Movie Channel to Viacom “Another HarvardLaw School

      alumni, Sumner Redstone, Defendant’s deceased father started Viacom as a movie

      theater operator before acquiring MTV and Nickelodeon, growing into Paramount,

      a diversified entertainment company

              13. Plaintiffs CEO Brad D. Greenspan incorporated Entertainment

      Universe! Inc. (''EUNI"), then completed a reverse merger on April 14, 1999

      becomhrg publicly traded and acquiring struggling e-commerce website


                                                     4
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      CDUniverse.com, barely reaching one million monthly online users. Renamed

      eUniverse, it was reaching 50 million users surpassing even Google in 2001 when

      Sony invests $5 million dollar in eUniverse for 15% ownership with a Director

      nomination thru Series B Preferred stock that would come to be controlled by

      Defendant Seligman newly hired 2001 GeneralCounsel of Sony Corp America

      (SCA), exiting in 2016.

            Paramount and Plaintiff CEO Both Victims Of Varney 2005 Bid Rigging

            14     It was Varney’s strategy that was the cause of the damage Viacom

      suffered in 2005 when it was unable to deliver a bid to acquire Myspace.com and its

      parent company as a Federal Judge determined

            15.   According to New York Times reporter Gretchen Morgenson who
      covered the 2010 Federal Judge King Summary Judgment Ruling

            “IT’S a shareholder’s worst nightmare. A company is in play, with two
            potential acquirers circling it, but the boards of directors and others running
            the enterprise who are supposed to snare top dollar for shareholders favor
            bidders who directors and senior executives. but the board of directors and
            others supposed to snare top dollar favor bidders who are dangling the biggest
            rewards for directors and senior executives.It is hard to know how often
            events like these have played out at public companies over the years, given
            that details surrounding corporate board deliberationsare typically kept under
            wraps. But facts turned up in a lawsuit brought by shareholders of
            Intermix, the parent of the social networking pioneer MySpace, suggest
            that something like this may have occurred when the News Corporation
            bought Intermix five years ago,

       “Plaintiffproffers evidence tending to show that during the crucial week leading
      up to the July 18, 2005 merger, Rosenblatt evaded Viacom’s advances, even
      though Viacom’s representatives were communicating that a competing bid was
      imminent. “ (Exhibit #4)
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             The case, which is being heard by Judge George H. King h United
             States District Court for the Central District of California, centers on a
            few days in mid- July 2005 when executives and directors at Intermix
            were juggling two different suitors: the News Corporation and
            Viacom. Over the course of a frenzied weekend of deal-making,
            Intermix sold itself to the News Corporation for $580 million, or $12
            a share.


            Testimony and documents in the case indicate that Viacom was
            excluded from the bidding process and did not have the opportunity to
            toP the News Corporation offer before Intermix accepted it

            In announcing the Intermix deal on July 18, 2005, the News
            Corporation called MySpace “the leading lifestyle portal for
            networking online.”

             The News Corporation boasted that during the previous month, more
             than 8 percent of all Internet advertisements had appeared on the site
             The deal closed in September 2005, but Intermix investors sued the
             company’s eight directors in federal court the next year. The suit
              contended that the board, which included Richard Rosenblatt.
            Intermix’s chief executive, had breached its fiduciary duties to
             shareholders by selling to the News Corporation when a higher bid
            from                             Viacom                               was
             imminent. The shareholders also argued that Intermix made five
            significant omissions in proxy materials that investors relied upon
            before voting on the deal. Among the omissions, the shareholders
            contended, was a set of internal financial projections for Interrnix
            extending through 2009. More recently, the directors asked Judge King
            to throw out the suit; in a June 17 ruling, he declined, allowing much
            of the case to go forward. IN his opinion on the matter, the judge cited
            evidence and testimony that has emerged in the case. Some of it
            points to Mr. Rosenblatt favoring the News Corporation bid because he
            anticipated receiving a big job there if the deal went through.
            Judge King wrote that evidence in the lawsuit “raises the inference
            that Rosenblatt had a strong interest in seeing a merger transaction
            with News Corp. completed and had made up his mind that Intermix
            would be sold to News Corp. as of July 13.”



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                     Meanwhile, Mr. Rosenblatt was dodging Viacom’s advances, the
                   judge’s ruling shows. On July 15, 2005, a female executive from MTV,
                    a Viacom unit, alerted Mr. Rosenblatt that Viacom would produce a bid
                   early the following week. The judge said, “Rosenblatt replied
                   evasive ly, failing to correct her mistaken impression that the auction
                   would still be ongoing after Monday.”

                   Rosenblatt wrote. Viewed as a whole, Judge King wrote, the evidence
                   indicates that “there are at least triable issues of fact” about whether
                   Mr. Rosenblatt acted in good faith or tilted the auction in favor of the
                   NewsCorporation “for a purpose other than maximizing shareholder
                   value



             16. Varney had designed and helped carry out a blueprint in 2005 for News

      Corp to undertake which would allow the public company to acquire publicly held

      Myspace at a below fair market price, facing an equally determined and

      economically equal key rival that had been attempting to acquire the same publicly

      held Myspace beginning earlier then News Corp, and do so without initiating a

      bidding war with that key rival. That key rival happened to be Paramount’s

      predecessor Viacom, Inc.

             17.   The second part of the scheme was paying cash bribes without

      disclosure to the public as seen on Page 174 of evidencein Exhibit #5 titled “

       Summary of key deal terms [TBD]” which states the total transaction cost is planned

      to be “Approximately $709 million” and that as a premeditated scheme which

      Varney advised to not be disclosed at all to the public target’s shareholders before

      they voted on approving the transaction “Expect to enter into arrangementswith a

      pre-tax cost of $70mm post transaction signing to ensure continuity of key
 1:24-cv-06290 Document
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      personnel”. This was another way of saying, her client shouldplan to offer and pay

      $70 million dollars in cash bribes to managementof the acquisition target as a way

      to insure managementhelps News Corp get the merger agreement signed before

      Viacom has a chance to send in its planned rival bid. Page 176 that was part of the

      docketed filing 18-1 n Case 5:16-cv-06286 where Judge George King was presiding

      is another document reflecting Varney’s 2005 strategy fraudulently conceal the fact

      revealed on the face of this “Deal Update”report from “Fox Entertainment Group”

      used in the 2005 acquisition of Myspace.com and its parent company: i.        “Total

      deal cost: $750M vs. previous $6801VF’, iii.   “Using market comps from JPM,

      valuation” “$1.0- $1.4B (forward year), iii. “Myspace RetentionPlan”...”$90M

      gross ($50M net) critical to maintain positive relationshipwith managementand

      reduce their tax exposure as much as possible.” ...”Additionally, trigger option pool

      for rank-and-fileemployees as goodwill move ($5m). Page 178 of that filing is a

      document titled “Revised Investment” showing how Christine Varney approved and

      directed her client “Fox Entertainment Group” after signing and announcing publicly

      her client had entered into a merger agreement that was for a $582 million dollar

      deal, approving her client first secretly agree to pay managementof the target $69

      million dollars as a “MySpace RetentionPlan” as part of the scheme a Federal Judge

      concluded was designed and succeeded in preventing Viacom from getting a chance

      to bid on the acquisition target. Then Varney approved her client after the merger


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      agreement had been signed agreeing to increase the cash payments to management

      by another $70 million dollars while advising both companies not to disclose the

      payments in their SEC filings ahead of the shareholder vote to approve the sale of

      the public parent of Myspace.com. Varney used this strategy to induce the target’s

      management not to consider the CEO ofLiveVideo. Al’s $13.50 counter offer which

      Viacom had agreed to provide the financing for back in 2005. (Exhibit #3). This was

      Case 5:16-cv-06286 which her client settled in 2013 for $45 million dollars after the


      Federal Judge ruled a Jury would likely find bid rigging had occurred in the deal

      Varney oversaw


            18. Varney was able to accomplish this difficult task thru employing her

      vast network of industry contacts in the media sector, her groomed contacts in the

      media reporting space, and close relationships with New York State regulators.


            19. The outcome of how she did it also relied on an oft frowned upon

      technique that was done so skillfully that evidence of it was only forthcoming five

      years later and only after a determined push by well resourced and experienced

      class action lawyers had pursued discovery deep in the process of the securities

      fraud class action case initiated in 2005 after the News Corp $12.00 Myspace

      Buyout had been announced.
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             20. Plaintiffs CEO who at that time owned about 10% of the Myspace

      public parent, eUniverse (renamed Intermix), had only detected several other

      problems about the transaction thru reading the SEC filings Varney directed News

      Corp and the acquisition target to disclose in required S-4 or 8k filings in the

      months leading up to the required September 2005 shareholder vote meeting

      needed to close the Myspace buyout


             21. Liquidity Issues Force Shad Redstone to Shop NAI. After the CBS-
      Viacom merger, Paramount maintained a quarterly dividend of $0.24 per share for
      several years. However, in 2023 this was cut to just $0.05 per share. This dividend

      is important to Shari Redstone and NAI as it provides income for operating expenses

      without having to sell or pledge shares. To make up for the cut, NAI had to get a
      $125 million investment from BDT Capital, who is also their financial advisor. The

      urgency to sell NAI was driven by a March deadline to pay off a $175 million loan,

      according to the New York Post..2,3 or force her to sell shares losing control of
      Pararnount4.5




      2 Paramount Global, Inc., Dividend Information, https ://ir.paramount.com/dividend-
      history#menu. Paramount has been forced to maintain the $0.05 dividend since May
      2023

      i JessicaToonkel, Paramount Global Controlling Shareholder Gets $125 MiLlion
      In,estment, THE WALL STREET JOURNAL (May 25, 2023),
       https://www .wsj .com/articles/paramount-global-controlling-shareholder-gets-125-
       million- cash-infusion-9c 155340.

      4 Id



      5Id.', Cynthia Littleton, Shari Redstone ’s National Amusements Receives $125 Million
      Irrvesrment From BDT & MSD Partners, VARIETY (May 25, 2023),


                                                  10
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             22. Defendant Redstone who despite having a fiduciary duty, duty of
      loyalty, and duty of candor to Paramount shareholders, also has a history of
      disregarding these duties and pushing for her desired transaction, while disregarding
      commonly accepted corporate governance standards.

      The Genesis of the Sale of NAI and Paramount’s Merger with Skydance

             23. Caving to Shad Redstone’s demands, the Paramount Board and executive
      officers focused on management severance packages disregarding their fiduciary
      duties to shareholders allowing Redstone to use third parties’ interest in acquiring
      some or all of Paramount to usurp Paramount’s corporate opportunities, pushing for
      an a sale of NAI to potential buyers as an alternative means to acquire control of
      Paramount. According to other reports, Shari Redstoneheld meetings with
      Skydance CEO David Ellison in the summer of 2023 to explore the possibility of
      acquiring NAI, rather than Paramount.6 in late December 2023, the CEO of Warner

      Bros. Discovery, David Zaslav, met with the Paramount CEO, Robert Bakish
      (“Bakish”), about a possible merger.
             24.Despite the obvious conflicts of interest, the Paramount Board did not




      https://variety .com/2023/biz/news/shari-redstone-paramount-bdt-capital-investment-
      1235625758/.




      6 Josh Kosman, Shari Redstone banker 's ties to Warren Buaert raise scrutiny amid
      Paramount sale talks , NEW YORK POST (Jan. 18, 2024),
      https ://nypost.com/2024/01/1 8/media/shaH-redstone-banker.,.tied-to-warren-buffett-amid
      paramount-sale-talks/.




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      form a committee excluding Shari Redstone until the end of January 2024.7 it had
      already persistently failed to Redstone from diverting corporate opportunities or
      interfering with Paramount’s ability to seek the best deal for Paramount and its other

      stockholders. In April and July 2024, shareholders of Paramount filed complaints
      against Redstone for allegedly usurping corporate opportunities and breaching
      fiduciary duty. (Delaware Case 2024-0457) highlighted Paramount stockholders
      who felt like passive onlookers in a company controlled by a 9.9% equity owner
      with no prior executive experience
              Shari Blends Financial Advice By Binding To Lender BDT Before

      Agreeing To Send in Lender’s Lawyer To Become Defendants Legal Fixer

              25.      Shari Redstone sometime in late 2023 driven by her insatiable thirst
      for power and control, orchestrates a devious plan as part of the strategy to force
      Paramount to rubber stamp all future transactions NAI, Redstone, and Lender BDT

      wanted done quickly and without the usual checks and balances restraining Boards
      of public companies. Its decided to have NAI hire BDT as its advisor on all
      Paranount financial transactions including change of control deals.
              26. The act of assigning NAI’s lender to become its advisor on a future
      Parabount sale when Paramount was the core asset that BDT’s loan was secured

      against instantly created conflict of interest problems and was the sort of
      transaction that would never have been approved by a public company board of

      directors. BDT used its power to place Christine Varney, a top legal advisor hom

      Cravath Law, in a key position at Paramount with the help of NAI and ShaH
      Redstone. As outside counsel for the Special Committee, Varney could control

      information and make influential recommendations. She also had the ability to

      7 Ke..eth H„Bh,s, Paramo,Int Takes Initial Steps Toward Possible Sale: NYP, Bloomberg (Jan' 31, 2024).
      https://www.bloomberglaw.com/product/blaw/bloombergterminalnews/bloomberg-terminal-
      news/S85ADWTIUMOW.


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      communicate with BDT, NAI, and Redstone about committee decisions and
      reactIons,

               27. Another masterful chess move in a high-stakes game of corporate

      manipulation and greed played out resulting in the June 21;t 8k termination of

      Paramount General Counsel, less then two weeks from receipt of the June 6th voice
      mail communication from the Plaintiff LiveVideo. Al. Another problem with
      Varney however beyond the first conflict of interest issue cited previously. Varney
      was saddled with an unusual legal liability created during a crusade she had
      undertaken in 2005 while serving as top lawyer for News Corp in its completed
      acquisition ofeUniverse (later renamed Intermix) and its Myspace asset
      (collectively the “Myspace buyout”). She manipulates Paramount into quickly
      approving a future transaction that NAI, Redstone, and lender BDT have been

      eagerly awaiting

               28. In order to facilitate the swift approval, NAI hires BDT as its advisor for

      all financial dealings involving Paramount, including potential change of control
      deals. But this seemingly innocent move creates a dangerous conflict of interest

      BDT's loan is secured against Paramount, making them both the lender and advisor
      for the same company. This unethical arrangementwould never pass muster with a

      publicly traded company's board of directors.

               29 . On January 2, 2024, the Board of Directors of Paramount formed a
      Special Committee of independent directors to “evaluate strategic alternatives

      ,including third party proposals.” Paramount Form 8-K, dated July 7, 2024. On
      January 10, 2024, the New York Post reported that Shari Redstone had put NAI up

      for auction.8 Beginning around this time, Paramount received several significant



      8 J. Kosman, L. Moynhian & A. Steigrad, FShart Redstone launches auction of Paramount
      Global   ’s holding   company; sources , NEW YORK POST ( Jan. 10,

                                                    13
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      cash offers.772e Wall Street Journal reported that Skydance was preparing an all-

      cash bid for NAI.9 According to the report,the second step would

      be a merger of Paramount with Skydance.lo2 On January 24, 2024, various reports

      suggested that Skydance made a bid to acquire NAI, which was contingent on a

      second stepdeal with Skydance acquiring Paramount.

             30. April 3, 2024, Skydance and Paramount entered into a 30-day

      exclusivity agreement for the negotiations with the blessing ofParamount's Special

      Committee advisor Centerview Partners. Centerview is also conflicted as they were

      the financial advisor for CBS' special committee on a previous merger with

      Viacom. The Delaware Court noted this conflict in their dismissal ruling and it can

      be inferred that Centewiew was hired by Paramount with a similar instruction from

      Redstone - to focus on the Skydance offer and ensure its success. This goes agaInst

      their role to independently advise the Special Committee on strategic alternatives




      2024),https://nypost.com/2024/01/10/business/shari-redstone-launches-auction-of-
      paramount-global-holder-source/

      9 J. Toonkel & M, Gottfried, Skydance Backers Explore All-Cash Deal to Gain Conrrol cf
      Paramount , THE WALL STREET JOURNAL (Jan. 10, 2024),
      https://www wsj .com/business/media/sky dance-backers-explore-all-'cash-'deal-to-gain-
                  .



      control-of-paramount-3530a409,

      o Id


          Alex Sherman, David Ellison’s Skydance Media explores acquiring all ofParamount
      (JIObal1 sources say, CNBC (Jan 25, 2024), https://www.cnbc.com/2024/01/24/david-
       ellisons-sky dance-media-explores-buying-paramount-global.html .



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      for Paramount's shareholders. The exclusivity agreement was not received well by

      Paramount’s investors


            31. LiveVideo. AT Longtime Paramount CEO Liason Unexpectedly Remove

      April 26, 2024, Paramount announced the immediate resignation of CEO Bob

      Bakish and the formation of an "Office of the CEO" committee. It is believed that

      Bakish was forced out by Redstone due to opposing Skydance. Unexpected loss of

      a CEO when selling diminishes its value, forcing potential buyers to bring

      emergency plan for transitioning it. Despite this, Redstone proceeded as if this

      event would not be seen as a surprise or lower the value of Paramount on the

      auction block. It is unlikely Redstone let the three Co-CEOs review the Skydance

      offer before it was agreed to by NAI and the Special Committee processed thru the

      signatures needed to effect the July 7, transaction of the public issuer.


            32. On April 29, 2024, it was reported that Skydance had provided a “best

      and final” revised offer to Paramount including $2 billion to acquire National

      Amusements, would buy out less than 50% of class B shares at $15 each, or $4.5

      billion, and forcing shareholders to hold diluted equity in the new company after

      Skydance merged with public Paramount. This revised offer still did not contain a

      majority of the minority provisionthat the Special Committee had earlier

      conditioned the deal upon. In late May 2024, the committee agreed to recommend



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      a revised offer from Skydance to the Board, even though there was no shareholder

      vote provision. Shareholders expressed their dissent through letters and online. The

      advisors for NAI, Paramount, and Skydance were aware of potential lawsuits and

      discussed how to handle them, but negotiations continued. Redstone and NAI

      insisted on legal protection from Skydance in case of lawsuits as a crucial term in

      the deal

              33. Plaintiff Five June Direct Communications To Defendant Redstone

      LiveVideo. Al after having lost its contact at Paramount decided to contact the only

      person the news articles consistently pointed to as the individual reviewing the

      terms of offers from potential interested buyers of NAI and Paramount., Shari

      Redstone. Further on June 3rd it was reported Paramount’s Special Committee

      had accepted Skydance’s proposed buy out terms.12                          Therefore

      LiveVideo.Al’s CEO proactively contacted National Amusement in Norwood

      Massachusetts five separate days over the subsequent week, in good faith

      attempting direct contact by phone thru HQ of National Amusements, Inc.




      12:“Paramount Global has agreed on terms of an $8 billion merger with Skydance
      – ““under the proposed deal with a Paramount special committee to pay $2 billion
      for Paramount’s parent company, National Amusements,” “An announcement
      could come as soon as Tuesday at Paramount’s annual shareholder meeting,
      according to reports.”“We received the financial terms of the proposed
      Paramount/Skydance transaction over the weekend and we are reviewing them,” a
      National    Amusements        spokesperson      said.    https://nypost.com/2024/06/03/b.$iness/paramount-
      skydance-agree-to-terms-on-8b-merger-deal-report/


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      Between June 3 thru 11th, left five voice messages for Shari Redstone with her

      believed executive assistant Michelle. On June 3'd at 3:50pm Est. A company

      directory was the only option because there was no live operator that picked up

      after the Plaintiff dialed: 781-461-1600. The CEO ofLiveVideo. Al contacted the

      headquarters of National Amusement in Massachusetts five times over the course

      of a week, leaving messages for Shari Redstone through her executive assistant

      Michelle. They invited Redstone to view a CNBC interview and informed her that

      their company was interested in making a better offer for Paramount's shares than

      what had been reported in the media, highlighted how their company could

      strategically benefit Paramount with advanced Al technology and their CEO's

      experience running a publicly traded compan, and assured Redstone that their

      purchase would not involve breaking up and selling off the company, left contact

      info, signed nda.


           Calls to National Amusement’s Shad Redstone and Paramount General Counsel Chnstine D


            June 3- 3:50PM 1 minute 9 second voicemai] left with Shari's assistant Michelle* (781.461.

             1600)


      2     June '&5.47pm M      1 minute 22 second voiw   mail left with Shan’s asslstanq781q61.16(X)}

      3,    June 6- 4=20PM 1 minute 10 second voice mail left with Shari's assistant


      4.    June 6- 4:50pm est 2 minute 15 second voice mail left with PARA GC (212.846o5933)

      S.    June 7- 3:16PM at 1 minute 28 second voice mail left WIth Shan's assistant(781461-16(X))

      6-    Jure 11- 6'03PM nt   1 minute 21 second voice man let with SInn assrstanK781461.16(X))

      1.   July 5.5:02PMest 1 minute 10 second voice mail left with Shan assistanK781-461.1 M)0)



           *the National Amusements switchboard requests caller key in Last name of person they are
           trying to reach. Keying in Redstoneis recognizedand forwards to voicemail of executIve
                      MicheIIn




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              34. June 4th, Redstone Tells Public That She is “Unhappy” with Skydance

      Deal and “Considering Rival Bids and Options” and Plaintiffs continued attempts

      to make progress in making an offer to buy Paramount was heavily influenced by

      news that came from June 4th Paramount stockholder meeting leaks: 13
                  The new Skydance offer included “reducing Skydance’s valuation of
                        the merger to $4.75 billion from $5 billion, to the dismay of Redstone,
                        Reuters reported.”
                        “Redstone is unhappy with the updated merger deal from Skydance
                        and is considering rival bids and options.’
                        “Redstone is now reportedly considering an offer from Hollywood.“
                        “Sources said Redstone is obliged to consider all offers for National
                        Amusements.”

              35. Redstone had even allowed Paramount a hIll fair chance to prominent

      other potential acquirors including on or about January 3 1, 2024, Byron Allen’s

      Allen Media Group to submit a bid for Paramount Global. Redstone continued to

      manipulate the public spin and messaging she sought to be broadcast out to

      interested parties like LiveVideo. Al to manipulate them as a June 7th headline:

      “Redstone was unhappy with the reduced offer, paving a way for rival bidders to

      make their case.”14Redstone used manufactured media stories to give the illusion

      that she was working for shareholders and keeping Paramount's sales process

      unbiased. However, shareholders were becoming vocal about their dislike for the

      Skydance proposal and wanted other suitors to be considered. On June 6th, the


      13 “Paramount   Global shares drop after annual meeting as hopes of merger with Skydance fade"
      https://nypost,com/2024/06/04/media/paramount-global-shares-droP-after-annual-meeting-as-hopes-of-merger-
      with-skydance-fade/
      u https://nypost.com/2024/06/07/media/shari-redstone-receives-fewest-votes-in-paramount-board-elecUon/


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      plaintiff had no choice but to leave a voicemail for Redstone at 4:20PM EST for 1

      minute 10 seconds, reiterating points from a previous message left on June 4th.

      Since Redstone expressed unhappiness with the Skydance terms and was open to

      other offers, the plaintiff could confidently state that Livevideo.Al’s offer would be

      better for both Redstone and Paramount shareholders after reviewing the Skydance

      offer made to NAI and Paramount.


            36. LiveVideo.AI   Contacts Paramount General Counsel June 6th by phone to

      D’Alimonte through a phone number listed with the New York Bar Association.

      Despite multiple call attempts, Plaintiff was unable to reach her and left a 2

      minute 15 second voicemail at 4:50pm EST informing her of their superior offer

      for a Skydance merger that included purchasing Redstone's shares in Paramount

      and NAI. The Plaintiff also mentioned that their offer was willing to be subjected

      to approval by a majority vote and would pay higher prices per share for both

      Class A and Class B stockholders compared to Skydance's proposal. Further

      Plaintiff made clear that messages by Plaintiff regarding interest were also being

      left with Chairperson ShaH Redstone. Also to speak with D’Alimonte about a

      conflict of interest with “one member of the special committee”.

            37.    With Paramount’s GC refusing to respond to the Plaintiffs voicemail

      left the previous day, Plaintiff attempted to reach NAI and Redstone by telephone

      during working hours on June 7th only to get the same voicemail sole option, and
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      the Plaintiff finally with no other choice and limited to making a communication

      by leaving a fourth voicemail did so at 3:16PM est for 1 minute 28 seconds which

      largely re-iterated the same points stated in the first voice mails left on June 3'd, 4th,

      and 6th      A Paramount 8k is signed by D’Alimont        June 21,

             ''On June 28, 2024, Christa A. D Alimonte, Executive Vice President,
            General Counsel and Secretary, will be leaving Paramount Global (the
              Company ). Her separation from the Company will be considered a
            termination without cause and she will be entitled to receive the post-
            employment payments and benefits associated with an involuntary
            termination without cause under her employment agreement dated as
            of March 15, 2022.15

            LiveVideo.Al Sends July 5th Superior Offer Defendants Conceal

            38. Despite these delay tactics used against tPlaintiff, on July 5, 2024, a few

      minutes after 2pm eastern time, Plaintiff sent Offer letter to Paramount

      Chairperson Redstone transmitted over NAI corporate fax, concurrently emailing

      to Mr. Jankowski, NAI’s Director and top lawyer

                    “purchase...interests_NAIholds_on superior terms to..Skydance”

                   “higher of $17.50 per share or.. 111% of ..price offered by SkyDance”

                   “CEO with significant public operating experience “

                   “under the structure you prefer..or..subject to ... shareholder approval.”

      ” making a prediction of a future event that the Board and Counsel of three CEOs
      would first have needed to meet about, discuss, provide approval vote of Directors
      before D’Alimonte could be granted a termination without cause benefits package
      on the terms that a resignation would also have been available method for
      Alimonte to choose to leave the job as General Counsel of Paramount immediately,


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                   “binding”   agreement “within 3 business days from...return.. NDA “

                   “ travel to MA in coming days to meet..with Mr. Jankowski and/or
                   yourself

                   “PARA GC” ...blocked..progress to move our offer process forward.”

                   “contacted...D’Alimonte..left a voice mail ..indicating our intent to
                   make an offer...2 weeks ago “

                   “some conflict of interest concerns..relating to certain members of the
                   special committee. .. adverse to ourselves. ..which might impact their
                   ability to consider our offer on the basis of what was best for their
                   fiduciaries in their role on the special committee.”
                   (Exhibit #1)

                   39. Part ofGameplan was to avoid a Livevideo rival bid to emerge

            to keep Plaintiff LiveVideo. Al from getting Gabelli’s support. Mario

      Gabelli, Paramount’s largest non-Redstonevoting-stock shareholder told Reuters

      that “If ShaH sells voting stock and my clients don’t get it, I have no choice but to

      sue,” referring to any premium paid for the voting shares. Another reason that the

      defendants concealed the Plaintiffs July 5th bid is because they know that Gabelli’s

      fund would support LiveVideo.Al     over Skydance. This is because Gabelli was the

      largest shareholder in eUniverse when it got acquired in 2005 thru the buyout by

      News Corp and made a profit. Also Gabelli was one of the largest shareholders in

      Viacom in 2005, so Gabelli was hurt by Varney’s scheme that stopped a Viacom

      bid. The Defendants know that Gabelli picking the Plaintiffs deal would be a

      shoe-in because SkyDance management also had no experience operating a public


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      company, whereas the Plaintiffs experience was significant and would be

      accounted for very positively by Gabelli. In addition, two senior managers of

      Skydance had been terminated by public companies for corroborated sexual

      harassment they had been found guilty of after internal investigations. While the

      Plaintiff had no such senior managers with sexual harassment findings against

      them. Skydance would not win any head to head managements with its sordid and

      defective managementteam when LiveVideo.AI had an iconic successful clean

      rnanagernent team

                   40. Between July 5th and July 7th The defendants interfered with

      the plaintiffs potential business relations in July by erasing records and not

      contacting Plaintiff about a July 5 email or faxed offer letter, or July 5th, 2024

      voicemail communication left for NAT President and Paramount Chairperson Shari

      Redstone voicemail expressing interest in acquiring Paramount and NAI.        The

      defendants used false statements to lead others to turn a blind eye to their actions.

      They also refused to follow up through outside advisors and law firms. Using

      defamatory statements, they influenced others to turn a blind eye to reckless

      actions


      COUNT 1 -Unfair Competition (Brought Directly Against All Defendants )
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            41.   Plaintiff repeats and re-alleges every allegationset forth in previous

      paragraphs as if fully set forth herein. Varney And Seligman Creates Malicious

      Scheme On June 11th, Defendant Shari Redstone publicly announced

      that negotiations with SkyDance had ended. This statement was misleading and false

      because Redstone was aware of LiveVideo. AI's interest in making a competing

      buyout offer, further wanted to give the appearance that other bidders were welcome

      while secretly blocking out Plaintiff by instructing Paramount advisors not to engage

      with them and preventing the Special Committee considering LiveVideo. AI.

             Redstone's public statements about ending negotiations with SkyDance were

      misleading and false, leading Paramount’s General Counsel certainly by then to

      make D'Alimonte question the integrity of her leadership. On one hand, Redstone

      claimed to be open to other bidders while secretly $eezing out LiveVideo. AI and

      preventing the Special Committee&om engagingwith them. D'Alimonte surely

      knew that by remaining silent, she would be breaching her duty of candor even

      further than her last 8k disclosure already had.

            42. The true motive behind D Alimonte’s sudden acceptance of the separation

      revealed in the 8k is that she, as Paramount's General Counsel, must have made the

      difficult decision of the need to publicly disclose to shareholders the existence of a

      new potential offer from LiveVideo. Al for a change of control,

             A voicemail left by LiveVideo. Al on June 6, 2024 has informed D’Anmonte



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      that they have also contacted DefendantsNAI and Shari Redstonewith their

      intention to make a competing offer on better terms than Skydance's proposal.

      Despite this, Defendants ShaH Redstone, NAI, Varey, and Seligman

      instructed D Alimonte to keep quiet about the LiveVideo. Al contacts and not

      respond to their proposition, while publicly feigning negotiations with Skydance.

      D Alimonte has discovered that Defendant Shari Redstone's statement on June 1 1

      claiming an end to negotiations with Skydance is deceitful

            43. Despite LiveVideo. Al expressing interest in a buyout offer, Redstone

      announces that Paramount is open to other offers while secretly working to

      complete the deal over the July 4th weekend. On July 2, news sources report that

      NAI and Skydance have reached a revised agreement, falsely making it seem like a

      recent development.Redstone and affiliated media partners continue to spread

      false narratives about the situation. These actions misled PlaintiffLiveVideo. Al,

      which was actively seeking financing for a potential merger with Paramount. D

      Alimonte has discovered that Shari Redstone falsely claimed she wasn’t pursuing

      the transaction, using media partners like NYPost and WSJ to propagate the false

      narrative. This is misleading by omission of Defendants Varney, Seligman, NAI,

      and now Paramount’s General Counsel thru an 8k.

            44. On Sunday, July 7, 2024, Paramount and Skydance issued a press

      release (which was attached to a Paramount 8-K) announcing that they had signed



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      a merger agreement “approved     by (i) the Paramount Board of Directors based on

      the unanimous recommendation of the Special Committee and (ii) by Redstone's

      NAI, (Exhibit #3)

            45. Barclays on July 8, 2024 estimated the price of Redstone’s class A

      shares from the deal at $66.16 per share, completed in three steps: Skydance will

      purchase Redstone's NAI for $2.4 billion, gaining voting control of Paramount and

      providing indemnifications to Redstone.Paramount will merge with Sky(lance,

      resulting in 3 17 million new Class B shares for Skydance, valuing the company at

      $4.75 billion.   Skydance will buy 100 million Paramount Class B shares for

      $15/share, totaling $1.5 billion. An additional $4.5 billion will be used to purchase

      non-NAI Class A and B shares. Only approximately 46% of Class B shareholders

      will receive cash, with the rest paid in non-voting New Paramount stock,

             46. Criticism of the Merger among analysts and within the investing

      community has been quick and widespread. July 8, 2024, analysts covering

      Paramount downgraded their stock ratings Barclays estimated that Redstone was

      getting over $66 per share for her Class A stock. The $400 million Termination Fee

      is exceptionaLly high, representing 4,8% of the total value of the Merger.

      WHEREFORE, Plaintiff demands judgment against Defendants for compensatory

      and actual damages in an amount to be determined at trial plus punitive damages,

      interest, counsel fees, costs and the expenses of this action, and for such other and



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      further relief as the court seems equitable. As a direct, legal and proximate result of

      Defendants’ aforementioned actions, Plaintiff has sustained economic damages to

      be proven at trial. Plaintiff seeks judgment   for actual damages, interest and costs.

      COUNT II Tortious Interference With Business Relations {Brought Directly

      Against   All Defendants   )

            47.     Plaintiff repeats and re-alleges every allegation set forth in previous

      paragraphs as if fully set forth herein. The Plaintiff had a pre-existing business

      relationship with Paramount prior to the January 2, 2024 formation by the Board of

      Directors of a Special Committee. The PlaintifFs business relatioruhip with

      Paramount existed over a long period of time including on its corporate inception

      date and prior to such inceptionwith Predecessor Viacom, Inc. Began in 2005

      when PlaintifFs CEO contacted Paramount/Viacom executive Mr. Bob Bakish.

      Initially by email communications progressing to telephonic meetings, hr late

      August 2005 those discussions escalated into including new outside lawyers,

      advisors, experts from FreeMyspace and multiple senior executives of Viacom

      joining the meetings before all parties had agreed on the terms of the $13.50

      counter-bid joint venture agreement. Filed with SEC on September 27, 2005, days

      before the September 30, 2005 News Corporation Intermix eUniverse shareholder

      meetingto approve $12.00 cash offer. (Exhibit #5) The PlaintifFs CEO, Viacom,

      and its senior executive then head of Viacom International which included



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      Viacom’s foreign operated media assets agreed to form a joint venture which

      documentation would be subject to one or more future events occurring before,

      during, or shortly after the September 30, 2005 shareholder meeting. After the goal

      or deal sought as a result of or after the formation of the initial business

      relationship, Plaintiffs CEO continued to advance and expand the business

      relationship with the predecessor Viacom, Inc,

            48. Defendants NAI, over ten years later, Defendant ShaH Redstone who

      lacked operating experience and still continues to lack public company operating

      experience and has never signed a Sarbanes Oxley SOX Officer Certificate

      willfully damaged LiveVideo.AI's business opportunities with Paramount. They

      destroyed all records of communication, refused to reach out or allow others to do

      so on their behalf, and disregarded attempts at contact hom LiveVideo. AI and the

      Special Committee. This caused significant harm to Plaintiffs integrity and resulting

      in economic damages that will be proven in court. The Plaintiff had high

      expectations for the IP partnership because LiveVideo. Al              had determined

      Paramount to be the perfect business partners for exploiting the aforementioned IP

      it owned for several reasons. First, LiveVideo. Al has a content production

      partnership already with Paramount’s CEO television and production subsidiaries

      thru the 60 Minutes Maxus Hacker Y2K paused production, which the Plaintiffs

      CEO paused on or about March 15, 2000 for national security and employee safety



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      concerns as the Plaintiffs    CEO determined the importance of focusing on urgent

      work the CEO was conducting jointly with the Connecticut branch office of the FBI

      to secure a data breach of the then CEO’s publicly traded company’s e-commerce

      website which the FBI had offered to assist with after the Russian Hacker Maxus

      sent blackmail extortion threats to eUniverse’s CDUniverse.com subsidiary in the

      beginning of January 2000 which threatened to harm hundreds of thousands of

      CDUniverse credit card owning customers thru an intentional leaking of these

      customer’s private information and credit card numbers online to the public.

      (Declaration in Support, p)

             49. In late 2023, the Plaintiff used a strategy to entice the Paramount CEO

      with a movie deal that would showcase their successful production arm and feature

      the CEO in a positive light. Second as the August 8th 5:30PM email points out,

      Paramount and its CEO Bob Bakish separate from the earlier former 60 Minutes

      Y2K content production deal from 2000, is significantly involved in shared historical

      events and had been involved from Paramount predecessor “Viacom” and its

      involvement beginning in 2005 in the true story of Myspace.com in 2005 during a

      critical juncture in the historical story.

             Subject: Congrats! Your edgy inspiring 2005 media fighter role made cut!

             “The kid stays in the movie.“..”Whats better then "The Social Network2”?
             "Myspace: End ofEUniverse" .(working title) “ “premieres Xmas 2025
             Scene Title (you will be forced to select actor to play your role)



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            "September 2005, BG announces $13.50 per share counter-bid (which
            Viacom is secretly financing)... to keep Myspace Public”
             Despite failing to “create the Utopia deal Viacom the White Knight owning
            20-33% of Public Independent Myspace"

      The plan succeeded as CEO reviewed script without objections or reject the deal.


      AI Strategic Partnership Deal

            50.   The Plaintiff has developed and acquired technology including its Al

      products and services that could be used across Paramount so LiveVideo. AI

      contacted Paramount publishing arm, Simon & Schuster July 17, 2023 thru their

      Senior Vice President Jennifer Bergstrom and made a “proposal for a strategic

      digital media Al partnership”, stating “I am writing you to schedule meeting to

      present a proposal for a strategic digital media Al partnership benefitting S&S. “

      Noting how the Plaintiff was recently CEO was “featured as top AT expert by Fox

      Business in their future of AI forecasting report March 28, 2003:”(Exhibit #2)

      2023 Triple IP Joint Venture Including Meizler Movie Deal


            51.    On August 8, 2023, LiveVideo.Al emailed Paramount’s CEO with a

      new idea as part of a planned stratagem to begin development of joint IP

      LiveVideo. Al had acquired from its CEO into valuable film and television assets

      The deal included exploiting proprietary IP controlled by LiveVideo. Al to create

      and market films and television leveraging multiple IP Assets including (i) the true

      story behind Myspace.com and eUniverse its public parent, tentatively titled



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      “Myspace: End ofeUniverse” (ii) the true story behind the first USPTO trademark

      describing the Metaverse issued July 4, 2000, (iii) the true story of the fust y2k e-

      commerce mass credit card hacking and blackmail extortion effort undertaken by

      infamous Russian hacker Maxus.

      Later For Buyout Again Unfair

            52. The Special Committee and Board of Directors of Paramount chose to

      ignore the superior offer presented by LiveVideo. Al on July 5th, dismissing it

      without proper consideration. Despite offering a higher share price of $17.50

      compared to Skydance's $15.00 for Class A and B shareholders, LiveVideo. AI’s

      proposal would have resulted in 50% less dilution for Paramount stockholders,

      This significant cost savings was made clear in multiple voice messages to

      Chairperson ShaH Redstone, yet she chose to overlook it and continue with the

      Skydance deal that required a whopping $4.8 billion worth of stock issuance.


            53. Plaintiff had every reason to believe that their competitive offer would be

      given due diligence by Paramount. Not only was it a superior offer in terms of

      fmancial benefits for shareholders, but also promised a more experienced

      managementteam and $2.4 billion less in stock issuance. Yet, despite these clear

      advantages, Paramount chose to disregard the Plaintiffs offer and instead went ahead

      with the costly and dilutive Skydance deal. The Special Committeeand Board of

      Directors of Paramount chose to ignore the superior offer presented by LiveVideo. Al



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      on July 5th, dismissing it without proper consideration. Despite offering a higher

      share price of $17.50 compared to Skydance's $15.00, and a result of 50% less

      dilution for Paramount stockholders. This significant cost savings was made clear in

      multiple voice messages to Redstone, yet she chose to overlook it and continue with

      the Skydance deal that required a whopping$4.8 billion worth of stock issuance.

            54. Plaintiff had every reason to believe that their competitive offer would be

      given due diligence by Paramount. Not only was it a superior offer in terms of

      financial benefits for shareholders, but also promised a more experienced

      management team and $2.4 billion less in stock issuance. As a result, the Plaintiff is

      seeking damages of no less than 50% of the value in stock $2.42 billion for the

      unjustified rejection of their proposal and those legal and professional fees found to

      have been paid in cash. Another reason that NAI, Varney, and Redstone seek to

      fraudulently conceal the July 5th offer is because it would force them to explain the

      malicious tortious interference scheme they have used to block, frustrate, and harass

      the LiveVideo. Al because they Varney and Seligman are adverse to the company

      and its CEO because of legal conflicts causing significant conflicts of interest and

      after efforts but inability to advance strategic partnerships directly with Paramount

      Global and certain of its subsidiaries in late 2023

      COUNT III Aiding And Abetting Breach Of Fiduciary Duty, Candor, or
      Breach of Duty Loyalty (Brought Directly Against All Defendants )

              55.   Plaintiff repeats and re-alleges every allegation set forth in previous
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      paragraphs as if fully set forth herein. The corporate opportunity doctrine is one of

      the fiduciary duties of a corporate director or officer. They are not allowed to take

      an opportunity for their own benefit if: (1) the corporation can take advantage of it;

      {2) it falls within the corporation's line of business; (3) the corporation has an

      interest in it; and (4) taking it would conflict with their duties to the corporation,

      Controlling stockholders are also prohibited from using their power to benefit

      themselves at the expense of the corporation. If there is any doubt about the

      corporation's ability or willingness to take an opportunity, the officer or director

      should present it to the board for consideration and remove themselves from the

      decision-making process.

            56. As directors, special committee outside counsel, Board of Director M& A

      transaction special committee member, and Chairperson, the Defendants were very

      richly paid for part time work and , obligated to place the interests of the

      Paramount stockholders above their own personal interests and those of NAI and

      BDT. Director Defendants breached their fiduciary duty obligations by prioritizing

      the interests of the Controlling Stockholder to approv an unfair Merger, which an

      unfair process.enabled defendants to effectuate a transaction that favored

      Skydance and Redstone personally by purchasing her interest in NAI at a

      substantial premium. Skydance knew Redstone had a fiduciary duty to all

      Paramount shareholders, but that as an owner of NAI, she would pursue her


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      personal interest in getting the most money for herself from a buyout. Defendant

      must be viewed with her background on prior obligation breaches

                57. NAI controlled CBS Corporation (“CBS”) and Viacom Inc. (“Viacom”)

      after they were split into separate companies in December 2005.16 As NAI founder

      Sumner Redstone’s health began to decline in 2014, Defendant ShaH Redstone

      seized control of NAI, reshaped both CBS and Viacom board, all done while

      strictly seeking to find the best exit strategy for NAI.17 in January 2018

      Evercore18 advised Redstone of the risk of no buyers for Viacom if sold separately

      from CBS, suggesting CBS and Viacom be combined followed by a sale of NAI

      would be best for Redstone but not necessarily fair or good for shareholders of

      CBS, Viacom, or successor Paramount.

                58. Defendant Redstone's 2024 tactics are similar to her actions during the

      CBS-Viacom merger. She used NAI’s status and power as controlling shareholder,

      ousted and packed boards with Directors to get what she wanted, just as she did

      before. Her extreme level of control over Paramount can be understood by lookhg

      at her past actions.




       in re CBS Corp. S’holder Class Action & Deriv. Litig., 202 1 WL 268779, at +6, +15
      16

      (Del. Ch. Jan. 27, 202 1),

      17 See   id. at #6, +9
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      Redstone’s Control Over the Conflicted Paramount Board

            59. After the CBS-Viacom merger closed Redstone packed Paramount

      Global (“Paramount”) Board with insiders over whom she exercises control

      including with McHale, Schuman, Griego and Byrne. In April 2024 after the

      Bakish removal, three more Directors resigned, leaving six Directors: Schuman,

      McHale, Phillip, Gdego, Byrne, and Redstone. None of six directors are

      disinterestedin considering a merger proposal that Redstone wanted. This

      elaborate web of deceit, manipulation, and obstruction must be exposed and

      brought to justice for the sake of the plaintiff, thousands of long time stockholders

      and tens of thousands of employees working for Paramount globally, victimized by

      the defendants unscrupulous actions.

            60. That reason D'Alimonte suggested as Paramount General Counsel agreed

      to accept the June 18th 8k described "separation" arrangement based on her

      realization offiducary obligation to disclose the existence of the LiveVideo. AI Corp

      potential change of control offer after June 6, 2024 voicemail to D'Alimonte and that

      LiveVideo. AI had also contacted Defendants NAI and Shari Redstone, notifiying

      them of intent to make a competing change of control offer on superior terms to the

      Skydance proposal

            61. Additionally,    D’Alimonte was instructed by Defendants Redstone,

      Varney, and Seligman to keep quiet about LiveVideo.AI's and not respond, despite



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      knowing that it could potentially outbid SkyDance's proposal. This put D'Alimonte

      in a difficult position of having to betray her duty of truthfulness even farther than

      what was already disclosed in her last 8k statement.

            62. On June 11th, Defendant Shari Redstone announced the end of
      negotiations with SkyDance while being aware of LiveVideo. AI's interest in a

      competing offer. She gave the appearance of being open to other bidders while

      secretly instructing Paramount advisors not to engage with LiveVideo. AI and

      preventing the Special Committee from considering their offer. D’Alimonte knew

      remaining silent would be a breach of her duty ofcandor, especially given Redstone's

      deceitful public statements. The unexpected June 21, 2024 8k Paramount General

      Counsel surprise self-termination without cause, just days before Merger agreement

      is executed was a direct result from the GC’s discovery Redstone claiming publicly

      on June 11th that negotiations with Skydance had ended, D'Alimonte     became aware

      that this statement was misleading and false. This is because Redstone was

      simultaneously withholding information about LiveVideo.AI's interest and falsely

      claiming that Paramount was open to other bidders. These actions forced D'Alimonte

      to breach her duty ofcandor and make false statements in the last 8k, these in turn

      hurt the Plaintiff and eliminated the opportunity for the PlaintifFs offer to be
      considered



      Count IV- Unjust Enichment (Defendant NAD
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             63 . Plaintiff repeats and re-alleges every allegation set forth in previous

      paragraphs as if fully set forth herein. Defendant NAI used the LiveVideo. Al

      indications of interest to give that information to SkyDance as part of a successful

      gambit by Redstone on June 11, 2024 when its leaked to media cohorts that

      Redstone “killed”       or ended the negotiations with SkyDance because their offer was

      rejected. However, Ellison, determined to get the Skydance deal back on track,

      agreed to “another $50 million          earmarked for the Redstones’ NAI” as reported in

      the Los Angeles Times.19

      Aware of LiveVideo.Al Interest in Paramount No Later Then May 6, 2024.

              64. On May 6, 2024, Plaintiff sent an email May 6th at 11:35 am EST with

      the subject line "Perfect move opportunity!” trying to cheer up the embattled

      Paramount executive by inviting discussions about potential new future projects

      for Bakish. Plaintiff contends with evidence likely pointing to different access

      points showing the email was usurped from Paramount corporation email account

      and siphoned out to NAI and most likely Redstone, and Varney, who should not

      have had access, it was read by at least three individuals during the month of May

      and re-opened in late July after the July 5th offer had been concealed as Varney

      or her staff were looking to cover their tracks.




      19 Meg James, So the Paramountand Skydance Deal is Back on Track.What Happened and Wha s Next?, (July 3,
      2024),https://www.latimes.com/entertainment-arts/business/story/2024-07-03/paramount-
      and-skydance-deal-is-back-on-track-what-happened-and-whats-next.


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            WHEREFORE, Plaintiff demands judgmentagainst Defendants for

      compensatory and actual damages in an amount to be determined at trial plus

      punitive damages, interest, counsel fees, costs and the expenses of this action, and

      for such other and further relief as the court seems equitable. As a direct, legal and

      proximate result of Defendants’ aforementionedactions, Plaintiff has sustained

      economic damages to be proven at trial. Plaintiff seeks judgment for actual

      damages, interest and costs, as well as judgment temporarily and permanently

      enjoiningDefendants from continuingdescribed actions.

      Dated: August 19, 2024

      Respectfully submitted Constants Law Offices, LLC.

      By /s/ Alfred C, Constants 111

      Alfred C. Constants 111, Esq,

                                DEMAND FOR JURY TRIAL

      Plaintiff hereby demands a trial by jury on all issues so triable in accordance with

      Federal Rule of Civil Procedure 38(b)


      By /s/ Alfred c, Constants nI
      Alfred C. Constants III, Esq,

      Attorneys for Plaintiff
      Constants Law Offices, LLC.
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                             EXHIBIT #4




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                                    UNITED STATES DISTRICT COURT
                                                                 for the

                                                  Southern District of New York la

                      LiveVideo. Al Corp                             )




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                           PlaimW(s)                                 )




                                                                     )

                                                                             Civil Action No. 1 :24-CV-06290
                                                                     )


                   SHARI REDSTONE,                                   )

              NATIONALAMUSEMENTS,INC.,
                                                                                            1:24-cv-0629(
                                                                     )

                  CHRISTINE VARNEY,
                  MONICA SEUGMAN,                                    )




                                                                         )




                          Defmd£mt(s)                                )




                                                SUMMONS IN A crvil             ACTION

    To: (D,f,„d,nt 's name ,„d addre„) Nah cinaI Amusements’ Inc:'
                                       2405 YORK ROAD
                                       SUITE 201
                                       LUTHERV}LLE TIMONIUM MD 21093-2264




            A lawsuit has been filed against you.

             Within 21 days after service of this summons on you (not counting the day you received it) – or 60 days if you
    are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
    P. 12 (a)(2) or (3) – you must serve on the plaintiff an answer to the attachedcomplaint or a motion under Rule 12 of

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                                           '”"”p"":""p”h"i";""'”
                                       115 Forest Avenue, Unit 331
                                       Locust Valley, NY 1 1560
                                       Tel. 51 G200.9660
                                       Constantslaw49@gmail.com


           If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
    You also must file your answer or motion with the court.



                                                                               CLERK OF COURT


                                                                                    /S/ V. BRAFIIMI
    D,t„
                                                                &h
               09/18/2024 f                          ;\\
                                                                                         Signature of Clerk or Deputy Clerk
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  Civil Action No. 1 :24-cv-06290

                                                            PROOF OF SERVICE
                     (This section should not be filed with the cowrt nn less required by Fed, R                   CTv. P. 4 (1))


            This summons for (name of individual and title, rapVJ

  was received by me on (d,te)


            II I personallyserved the summons on the individual at (pla,e)
                                                                                    on (date)                                  ; or

            n I left the summons at the individual’s residence or usual place of abode with r.,m,y
                                                                     , a person of suitable age and discretion who resides there,

            on (date)                              , and mailed a copy to the individual’s last known address; or

            tI   I served the summons      on (name of individual)                                                                        . who is
             designated   by law to accept service       of process on behalf   of ba,He of organi,alton)

                                                                                    on (date)                                  ; or

            II Iretulvrec! the summons unexecuted because                                                                                     ; or


            [1 Other (specify)




            My fees are $                          for travel and $                      for services, for a total of $               0


            I declare under penalty of perjury that this information is true


  Date
                                                                                                Server’s signature



                                                                                             Printed name and title




                                                                                                Server’s address


  Additional information regarding attempted service, etc:




            Print                       Save
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                                   THE UNITED STATES DISTRICT COURT
                                FOR THE SOUTHERN DISTRICT OF NEW YORK

        LIVEVIDEO. AI CORP
              Plaintiff,                                      CIVIL ACTION
        VS.


                                                              SECOND AMENDED
                                                              COMPLAINT AND
                                                              JURY DEMAND
        SHARI REDSTONE,
        NATIONAL AMUSEMENTS, INC.,
        CHRISTINE VARNEY
        MONICA SELIGMAN,

               Defendant ' s.




               Plaintiff, LiveVideo,AI Corp., (hereinafter “PlaintifF or “Live”) hereby alleges, for its
        First Amended Complaint against Defendants, SHARI REDSTONE, NATIONAL
        AMUSEMENTS, INC., CHRISTINE VARNEY, and MONICA SELIGMAN, and DOES 1- lO
        (hereinafter collectively the “Defendants”), as follows:

               1. Plaintiff, LiveVideo. AI Corp, is a New York based Artificial Intelligence technology

        company that sought to participate in what it had believed was a bidding process to acquire

        Paramount Global, Inc. (“Paramount”) owner of CBS, Comedy Central, Nickelodeon and MTV,

        However the opportunity to buy Paramount ended on July 7, 2024 when it entered into a binding

        merger agreement with Skydance, a private Los Angeles based film company

               2. The Plaintiff did not get a chance to have its July 5th 2004 buyout offer considered

        because of a series of unlawful actions taken by the defendants who were in control of the

        Paramount sales process and had significant conflicts of interest with the Plaintiffs   CEO,

               3.   Federal questions include whether the Plaintiff and its CEO were victirns of

        harassment and discrimination after the defendants decided to retaliate for protected actions under

        §78u+(h)(1). In addition, the Plaintiff was the victim of several types of tortious interference


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         instigated by the defendants to harm its relations with Paramount including the unauthorized

         accessing of Paramount’s computer system which violated 8 U.S.C. § 1030        The Computer Fraud

         and Abuse Act.

                                            NATURE OF THE CLAIMS

                4. This action seeks relief under §78u–6(h)(1), declaratory and monetary damages for
         U.S.C. §1030 violations, while also redressing tortious interference and unfair competition torts.
         JURISDICTION AND VENUE


                 5.      This Court has subject-matter jurisdiction over this matter pursuant to 28 U.S.C.

         § 1331 (Federal question). 28 U.S.C. § 1367 provides supplemental jurisdiction over the state law

         tort claims that arose from the same common nuclei of facts. Venue is proper in this District

         pursuant to 28 U.S.C. g1391 (b) because a substantial part of the events or omissions giving rise to

         this action, including the unlawful practices and actions alleged herein, occurred in or around the

         City of Manhattan, New York. Upon information and belief, Defendants respectively have ongoing

         and systematic contacts with this District, maintain offices in, reside in, and/or have committed

         wrongful acts which occurred within this District, and which impacted this District.

                                                      PARTIES
                 6.       Plaintiff, LiveVideo.Al Corp., incorporated in the State of Delaware, with its

         main offices in New York

                 7.       Defendant, Shari Redstone (hereinafter “Redstone”), President of Defendant

         National Amusements,Inc., Chairperson non-party Paramount Global Inc., and a citizen of

         Massachusetts




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               8.    Defendant Monica Seligman (hereinafter “Seligman”), a New York

         resident, serves as a Paramount Special Committee Member and joined Plaintiffs

         competitor OpenAI as a Director in March 2024.

               9.    Does    1-10 and Non-Party        Christine D’Alimonte    (hereinafter

         “D’Alimonte”),   a New York resident was General Counsel of Non-party Paramount

         Global d/b/a Paramount, Hk/a Viacom CBS, Inc., registered in Delaware and

         operating its principal place of business in New York.

               FACTUAL ALLEGATIONS AND RELEVANT BACKGROUND

               Viacom Acquires MTV and Nickelodeon Crown Jewels

               10.   In 1970s Great Uncle and mentor of Plaintiffs CEO the late Gus

         Hauser, a former Harvard Law School professor, Chairman and CEO of Warner

         Communications created cable channels MTV and Nickelodeon.1

               11. Gus left and “Warner sold the Warner Amex cable programming business,

         including MTV, Nickelodeon and The Movie Channel to Viacom” started by

         Harvard Law educated, Sumner Redstone as movie theater chain and diversified

         entertainment company, Paramount Global (“Paramount”).

               12.    Plaintiffs CEO starts eUniverse, Inc., 1999 by reverse merging e




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        commerce site CDUniverse.com, with one million users, into a public shell,

        expanding into a network of entertainment quickly surpassing even Google with

        nearly 50 million monthly average unique users (MAU) by August 2001.

              13. After launching 100% owned Myspace.com in August 2003 which would

        quickly become eUniverse’s crown jewel asset, things took a turn for the worse when

        a venture capital fund gained control of eUniverse aided by unscrupulous members

        of the Board of Directors. The CEC) resigned at end of October 2003. exposing part

        of wrongdoing in 8k disclosure. In July 2005, due to the progress made by the

        Plaintiff CEO’s complaint against the outside venture capital firm and Directors for

        their wrongdoing, they signed a deal with News Corp for broad indemnification as

        part of a sale offering shareholders $12.00 per share cash. The Plaintiffs CEO still

        owning 12% of eUniverse believed the price to be unfair based on the continued

        growth of Myspace.com the #1 social network.

              14.   The Plaintiffs CEO learns Viacom was misled and had no chance to

        make a bid, contacts International      division head,     Robert Bakish,       Paramount

        Global’s future CEO, on august 2, 2005 Subject: “Myspace – shareholder”

                           “Bob-I am currently a 10% holder of Intermix, the company that
                           owns Myspace.com I was the founder and CEO of Intermix until October
                           2003, and actually initiated the creation of Myspace (I bought the company
                           of the execs that run Myspace today-Chris Dewolfe) I think management
                           & the VCs that control a big block of stock are selling too cheaply to News
                           Corp. “ “My idea ...
                           MYSPACE- THE PUBLIC COMPANY BACKED BY ViACOM/MTV-
                           “Viacom comes in as a strategic investor offering to buy 33% of Intermix
                           shares at $12.10 a share (roughly a $200mln investment). “


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                           "shareholders can sell some of their stock and keep a portion to go 'long'
                           on the MYSPACE story- “
                           “BOTTOM LINE- The marketplace gets a pure play Myspace that is publicly
                           traded."”Viacom has a great new strategic Relationship with the Myspace“

                     15. Confirming interest in joining the $13.50 counter offer ahead of
         eUniverse’s September 30, 2005 Shareholder vote, the Plaintiffs CEO begins

         strategizing with Viacom’s top lawyer Michael Fricklas in August 25, 2005 email:

                           Subject: FW: Complaint

                           “Good speaking with you today! I will try to arrange a call with my lead
                           lawyer (from Quinn Emanuel) who is riding herd with Crayton Condon
                           ASAP. In addition, I could also arrange a casual conf call Tomorrow or
                           Monday-with the principal at firms Trafeletter & Gardener Lewis.to give
                           you a good sense of institutional support. Between these 2 and myself, we
                           are at about IC)mIn shares or 23% roughly.”


               16. Paramount top executives receive more compelling reasons to join the

         §13.50 counter offer from Plaintiff CEO’s August 28, 2005 6:02:28 PM email.

                     To: ’'Bakish,Robert’'<bb@viacom.com>,michael.fncklas@viacom.corn

                           Subject: Myspace Metrics/Value

                           “Gentlemen-I am sure you saw the NY-TIMES MYSPACE article today. A
                           little metrics and back of the envelope valuation piece I put together for
                           some private equity funds I just started talking to. I believe I have one fund
                           focused in the online space that would Be willing to form a partnership to
                           bring a voting block together to do the 35-45% buyout of Intermix and
                           creation of a Myspace Public company. Perhaps they could be the 'front-
                           guy' on such an attempt to keep Viacom out of the limelight. They could
                           drop in $50 - 100 million By themselves. MYSPACE- TRAFFIC GROWTH &
                           VALUATION The Deal with News Corp was announced on July 18th.Since
                           then, in roughly 30 days, Myspace has increased its weekly unique visitors
                           by 17% and # of ad impressions by over 30%. (according to online traffic
                           measurement company Nielsen Netratings for period covering July 3-
                           August 14, 2005).THIS IS STAGGERING “



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               17.   The Plaintiffs CEO, and the senior executives agreed to form a joint

        venture that included a Paramount promise to finance the $13.50 counter offer.

               18. As part of their agreement, Paramount also assures the Plaintiffs CEO,

        a valuable counter-bid partner worth $13.50 and a potential future strategic

        collaborator, that they will be treated "fairly" if Paramount were ever to go up for

        sale in accordance with Delaware law. Including allowing LiveVideo. AI's CEO to

        participate in making an offer or submitting a bid alongside other interested

        parties.2

               19. LiveVideo. Al’s CEO could have reasonably assumed based on the

        prior affirmations of top leadership executives met with in 2005 that in the future

        because it cost Paramount no cash expenditure, the understanding would be

        honored and the Plaintiffs CEO no later then July 5th, 2024 would also get equal

        access to any confidential information shared with other potential buyers upon

        expressing interest to make an offer to purchase Viacom (including its predecessor)

        should it go up for sale.




        =This promise was made based on the mistreatment that Paramount suffered under
        the control ofMyspace's parent company in 2005. The management colluded with
        News Corp and quickly signed a merger agreement, resulting in Viacom’s bid
        being disregarded and ultimately harming both eUniverse and Paramount
        shareholders.

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               20. The Plaintiffs CEO in tum agrees to Paramount’s condition:

         Paramount’s role providing the financing will not be disclosed publicly until after

         shareholders reject or eUniverse’ Board terminates the News Corp deal.

               21. The $13.50 counter offer is armounced September 23, 2005 then filed

         with SEC September 27, 2005, done only days before the September 30, 2005

         News Corporation Intermix/eUniverseshareholder meeting to approve the below

         fair market $12.00 buyout. (Exhibit #3)

               22. The $13.50 counter-offer is already challenged by the severe time

         constraints allowing for the marshaling of sufficient shareholders to vote against

         News Corp’s offer before the shareholder meeting.

               23. However harming the $13.50 counter-offer even more was a diabolical

         scheme approved by News Corp’s outside counsel to pay undisclosed cash bribes

         to eUniverse and Myspace’s management teams to induce them to omit disclosure

         of Myspace’s financial results ahead of the September 2005 shareholder meeting.

               24. Despite the $13.50 counter-offer failing to stop the News Corp $12.00

         buy out, the Plaintiffs CEO continued to maintain a friendly relationship with

         Bakish, while continuing to advance and expand the business relationship with

         Paramount and its predecessor thru the present.

         The Genesis of Paramount’s 2024 Merger with Skydance




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                 25. Defendant NAI controlled CBS Corporation (“CBS”) and Viacom Inc.

        (“Viacom”) after they were split into separate companies in December 2005.3 As

        NAI founder Sumner Redstone’s health began to decline in 2014, Defendant Shari

        Redstone seized control of NAI, reshaped both CBS and Viacom board, all done

        while strictly seeking to find the best exit strategy for NAI.4

                 26. In January 2018 Evercore5 advised Redstone of the risk of no buyers for

        Viacom if sold separately from CBS, suggesting CBS and Viacom be combined

        followed by a sale of NAI would be best for Redstone but not necessarily fair or

        good for shareholders of CBS, Viacom, or successor Paramount.

                 27. Defendant Redstone’s uses NAI status and power with outsize voting

        power, ousted and packed both boards with Directors willing to give her what she

        wants and succeeds in forcing a CBS-Viacom merger at the end of 2019.

        Redstone Controls Conflicted Paramount Board

                 28. After the CBS-Viacom merger closed Redstone packed Paramount Global

        (“Paramount”) Board with insiders over whom she exercises control and Bob Bakish

        became CEO of the combined entities renamed Paramount Global.




        3 in re CBS Corp. S’holder Class Action & Deriv. Lite.,   2021 ML 268779, at #6, + IS
        (Del. Ch. Jan. 27, 2021).

        4 See   id at #6, #9
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         The Al Technology Partnership

               29.    In early 2023 Plaintiff had developed and acquired multiple Al

         technology products and services for use across Paramount. Plaintiff contacted

         Paramount publishing arm, Simon & Schuster July 17, 2023 thru their Senior Vice

         President Jennifer Bergstrom and made a “proposal for a strategic digital media Al

         partnership”, stating “I am writing you to schedule meeting to present a proposal for

         a strategic digital media Al partnership benefitting S&S. “ Noting how the Plaintiff

         was recently CEO was “featured as top AI expert by Fox Business in their future of

         Al forecasting report March 28, 2003:” (Exhibit #2)

         2023 IP Deals

               30.    On August 8, 2023, LiveVideo. Al emailed Paramount’s CEO with a

         new idea as part of a planned stratagem to begin development of joint IP

         LiveVideo.AI had acquired from its CEO into valuable film and television assets.

               31. The Plaintiff had high expectations for the IP partnership because

         LiveVideo.Al had determined Paramount to be the perfect business partners for

         exploiting the aforementioned IP it owned and LiveVideo. Al presented directly to

         Paramount CEO in 2023 proprietary IP plan to create and market films, TV> books

         based on (i) the true story of Myspace.com, titled "Myspace: End of eUniverse>"

         (ii) a true story about first USPTO trademark for Metaverse issued July 4, 2000,

         and (iii) the true story of the y2k credit card hacking incident involving Russian

         hacker Maxus. Plaintiff used a strategy to entice the Paramount CEO with a


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        movie deal that would showcase their successful production arm and feature the

        CEO in a positive light as August 8th 5:30PM email points out, Paramount is

        significantly involved in shared historical events involved in the true story of

        Myspace.com in 2005 during a critical juncture in the historical story.

               “Subject: Congrats! Your edgy inspiring 2005 media fighter role made cut!

                     “The kid stays in the movie.“..”Whats better then "The Social
                     Network2”? "Myspace: End ofEUniverse".(working title) “
                     “premieres Xmas 2025 .

              “Scene Title (you will be forced to select actor to play your role)”

                     "September 2005, BG announces $13.50 per share counter-bid (which
                     Viacom is secretly financing)...to keep Myspace Public”
                     “Despite failing to “create the Utopia deal Viacom the White Knight
                     owning 20-339'a of Public Independent Myspace"

              32. The strategy proved successful, as evidenced by Paramount’s CEO not

        rejecting or criticizing the offer and plan outlined by email.6 The Plaintiff had a

        clear path to complete an IP Partnership with Paramount - all they needed to do



        ' Back in the year 2000, the Plaintiff was in a race against time. The ruthless
        Russian hacker, Maxus, had already infiltrated their systems and was holding the
        entire company hostage with his demands. In a desperate attempt to protect the
        privacy of hundreds of thousands of customers, the CEO made the difficult
        decision to pause production on their partnership with Paramount's 60 Minutes.
        But there was no time to waste as the CEO worked alongside the FBI to secure
        their e-commerce website and fend offMaxus' relentless attacks. Every second
        counted as they raced to prevent the hacker from releasing sensitive information
        and credit card numbers belonging to innocent customers. It was a high-stakes
        battle for national security and employee safety, and Plaintiffs CEO was
        determined to come out victorious. (see https://www.zdnet.com/article/biggest-
        hacking-fraud-ever/ )

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        was provide a completed book so that Paramount could begin production,

        including adapting it into a screenplay. The Plaintiff had already completed most

        of the important work involved in this story about the Founder of Myspace.com

        during its launch in 2003. They also invested significant time and resources into

        finding outside parties, including an author and screenwriter, who would enhance

        the value of the IP Partnership for both Paramount and themselves.

               33.     For comparison, the biopic in 2010 by Sony Pictures “The Social

        Network” according to Nash generated $224,922,135 in global box office revenue

        and an est $34,697,366 Domestic Video Sales.7 not include streaming receipts or

        cable/broadcast rights.

               34.     In September 2023, the CEO ofLiveVideo.Al                 Corp exercised their

        "first look" provision &om the 2005 Paramount $13.50 Counter-bid agreement and

        sent a proposal to Paramotmt's CEO. The proposal offered the opportunity for

        Paramount to discuss taking a strategic stake in LiveVideo.Al Corp. A few days

        later, after reviewing the proposal, Paramount’s CEO responded directly via email

        to thank the Plaintiffs CEO for the offer but declining to invest cash in purchasing

        a minority equity stake in a private company at that time. It was later revealed that

        Paramount was focusing on cash preservation and sale of assets to pay off debt.

        Financial difficulties Pushes Redstone Frantic Fire Sale of Paramount




        7 https://www,the-numbers,corn/movie/Social-Network-The-(2010)#tab=more
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                35. After the CBS-Viacom merger, Paramount had been consistently paying

        out a quarterly dividend of $0.24 per share. However, in 2023 this amount was

        drastically reduced to only §O.05 per share.8 This dividend was crucial for NAI and

        Redstone to cover their operational costs without having to resort to selling or

        using shares as collateral.

                36. To make up for the shortfall, Defendants Redstone and NAI secured a

        $125 million loan from BDT Capital9, who became their financial advisor.

        According to NY Post story titled “Shari Redstone banker tied to Warren Buffett

        amid Paramount sale talks”,

                         “BDT” stands for Byron David Trott – a former Goldman Sachs
                         executive who has long been most famous for being Warren Buffett’s
                         banker. “
                         “ One major elephant in the room: Warren Buffett – a longtime client
                         of Trott, although it’s not clear he’s currently a client – also happens
                         to be Paramount’s biggest shareholder. Buffett’s 15% stake is down
                         about 60% since he began amassing it in early 2022. According to a
                         well-placed source, Buffett began amassing his stake shortly after
                         Redstone hired Trott as her banker.“lo




        8Paramount Global, Inc., Dividend Information, https://ir.paramount.com/divkien&
        history#menu. Paramount has been forced to maintain the $0.05 dividend since May
        2023
        9 Jessica Toonkel, Parawrourit Global
                                       ControUing Shareholder Gets 8125 Million
        InvesLment, THE WALL STREET JOURNAL (May 25, 2023),
        https://www.wsj.com/ardcles/paramount-global-controlling-shareholder-gets-125-
        million- cash-infusion-9e155340.
        10 A key backer of Skydance is Gerry Cardinale, the dealmaker   behind RedBird Capital – who also happens to be a
        former Goldman banker who worked with Trott and spent a short time at BDT.



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                37. According to the New York Post, a looming deadline to repay a separate

         $ 175 million loan was the driving force behind Redstone's rushed decision to sell off

         assets. Failure to meet the deadline could result in her losing control of Paramount

         by being forced to sell shares according to the New York Post losing control of

         Paramount1 1.12


                38. According to other reports, Shari Redstone held meetings with Skydance

         CEO David Ellison in the summer of 2023 to explore the possibility of acquiring

         NAI, rather than Paramount.13 Despite obvious conflicts of interest, Paramount
         Board delays until January 2, 2024 forming a Special Committee of independent

         directors to “evaluate strategic alternatives, including third party proposals.”
         Paramount Form 8-K, January 10, 2024, the New York Post reported ShaH
         Redstone put NAI up for auction.14 January 24, 2024, various reports suggested




           Id

        n Id.', Cynthia Littleton, Shari Redstone ’s National Amusements Receives $125 Million
        Investment From BDT & MSD Partners , VARIETY (May 25, 2023),
        https://variety.com/2023/bb/news/shari-redstone-paramount-bdt-capital-investment-
         1235625758/

        13 Josh Kosman, Shari Redstone banker ’s ties to Warren Bujfert raise scrutiny amid
        Paramount sale talks, NEW YORK POST (Jan. 18, 2024),
         https://nypost.com/2024/0 1/18/media/shari-redstone-banker-tied-tO-Warren-bUffett-amIN-
         paramount-sale-talks/.

        14 J. Kosman, L. Moynhian & A. Steigrad, Shari Redstone bunches auction oT
        Paramount Global ’x holding company; sources, NEW YORK POST (Jan. 10?
        2024),https://nypost.com/2024/01/10/business/shari-redstone-launches-auction-of_
        paramount-global-holder-source/.



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        that Skydance made a bid to acquire NAI, which was contingent on a second
        stepdeal with Skydance acquiring Paramount.15

              39. April 3, 2024, Skydance and Paramount entered into a 30-day exclusive
        period blessed by Paramount Special Committee advisor Centerview Partners,
        conflicted from financial advisor role for CBS special committee in previous
        Viacom merger. The Delaware Court noted the conflict and speculated Centerview

        was hired by Paramount but controlled by Redstone’s instructions – to focus on the
        Skydance   offer and ensure its success.16


              Redstone Recklessly Removes Plaintiffs CEO Contact

              40. April 26, 2024, Paramount announced resignation of CEO Bob Bakish

        and the formation of an "Office of the CEO" committee. It is believed that

        Bakish was forced out by Redstone due to opposing Sk)'dance. Unexpected loss of

        a CEO when selling diminishes its value, forcing potential buyers to bring

        emergency plan for transitioning it.

              41. Redstone proceeded as if this event would not be seen as a surprise by

        bidders and shareholders while also not lowering in the short term the value of

        Paramount on the auction block requiring a repair or replacement CEO before

        continuing the sales process . On April 29th, it was reported Skydance had



        15 Alex Sherman, David Ellison’s Skydance Media explores acquiring all of Paramount
        Global1 sources say, CNBC (Jan 25, 2024), https://www.cnbc.com/2024/0 ! /24/david-
        ellisons-skydance-media-explores-buying-paramount-global.html.

        “ This goes against their role to independently advise the Special Committee on
        strategic alternatives for Paramount's shareholders. The exclusivity agreement was
        not received well by Paramount’s investors.

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        provided a “best and final” offer but was refusing to require shareholder approval

        which the deal had earlier been conditioned on. In late May, the special committee

         accepted Skydance revised offer, with no shareholder vote provision.17

                 Plaintiff Five June 2024 Phone Calls/Voicemails To Defendant Redstone

                 42. LiveVideo. Al after having lost its CEO contact decided to contact the

         sole party news articles consistently pointed to as the individual responding to

         offers from potential bidders, Defendant Shari Redstone after reading June 3-d

         news that Paramount Special Cornmittee accepted Skydance’s buy out terms.18

                 43. LiveVideo. Al’s CEO engaged in extensive efforts to contact the

         defendants and press forward with completing a transaction. Contacting National

         Amusement HQ in Norwood Massachusetts during working business hours on five

         separate days between June 3rd thru 11th, leaving five very detailed voice

        messages at Shari Redstone’s office while also providing Redstone’s executive

         assistant Michelle with a myriad of options NAI could use to communicate with




         " Shareholders expressed dissent. The advisors for NAI, Paramount, and Skydance
         were aware of potential lawsuits and discussed how to handle them, but
         negotiations continued. Redstone and NAI insisted on legal protection from
         Skydance in case of lawsuits as a crucial term in the deal.
         18“Paramount Global has agreed on terms of an $8 billion merger with Skydance“,
         “under the proposed deal with a Paramount special committee to pay $2 billion for
        Paramount’s parent company, National Amusements,” “An announcement could
        come as soon as Tuesday at Paramount’s annual shareholder meeting, according to
        reports.”, “We received the financial terms of the proposed Paramount/Skydance
        transaction over the weekend and we are reviewing them,” a National Amusements
         spokesperson     said.   https://nypost.com/2024/Oe/03/business/paramount-skydance-agree-to-terms-an-8b-
         merger-deal-report/


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        and contact back LiveVideo.19

             Calls to National Amusement’s Shari Redstone and Paramount General Counsel Ctuistine D


         1
              June 3- 3:50PM 1 minute 9 second voicemail left with ShaH’s assistant Michelle+ (781-461.

               1600)

        2,    June 4-5:47pm esl   1 minute 22 second voice mail left with   ShaH’s assistant(781-461..1600)

        3.    June 6- 4:20PM 1 minute 10 second voice mail left with ShaH’s assistant


        4.   June 6- 4:5(>pm est 2 minute 15 second voice mail left with PARA GC (212-846-5933)

        5.   June 7- 3:16PM est 1 minute 28 second voice mail left with ShaH’s assistant(781-461-1600)

        6.   June 11' 6:03PM est 1 minute 21 second voice mail let with ShaH assistant(781461-1600)

        7.   July 5-5:02PM est 1 minute 10 second voice mail left with ShaH assistant(781-461.1600)



             *the National Amusements switchboard requests caller key in last name of person they are
             trying to reach. Keying in Redstone is recognizedand fOIwards to voicemailof executive
             assistant Michelle



                 44. June 4th, Redstone tells public she is “Unhappy” with Skydance

        deal and “Considering Rival Bids and Options”, these false statements mislead the

        Plaintiff and its CEO inducing them to continue efforts, including work to prepare

        offer, soliciting financing sources to pay for making buy out of Paramount and



               19 On June 3Fd at 3:50pm Est. A company directory was the only option

        because there was no live operator that picked up after the Plaintiff dialed: 781-
        461-1600. The CEO ofLiveVideo. Al contacted the headquarters of National
        Amusement in Massachusetts five times over the course of a week, leaving
        messages for Shad Redstone through her executive assistant Michelle. Tlrey
        invited Redstone to view a CNBC interview and informed her that their company
        was interested in making a better offer for Paramount’s shares than what had been
        reported in the media, highlighted how their company could strategically benefit
        Paramount with advanced Al technology and their CEO's experience running a
        publicly traded compan, and assured Redstone that their purchase would not
        involve breaking up and selling off the company, left contact info, signed nda.



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        NAI offer     and consulting with various tax and finance advisors.20

                        “The new Skydance ofFer included “reducing Skydance’s valuation of
                        the merger to $4.75 billion from $5 billion, to the dismay of Redstone,
                        Reuters reported.”
                        “Redstone is unhappy with the updated merger deal from Skydance
                        and is considering rival bids and options.”
                        “Redstone is now reportedly considering an offer from Hollywood.“
                        “Sources said Redstone is obliged to consider all offers for National
                        Amusements.”

                45. Redstone had even allowed Paramount a full fair chance to prominent

        other potential acquirors including on or about January 31, 2024, Byron Allen’s

        Allen Media Group to submit a bid for Paramount Global.

                46.      On June 6th, the plaintiff had no choice but to leave a voicemail for

        Redstone at 4:20PM EST for 1 minute 10 seconds, reiterating points from a

        previous message left on June 4th. Since Redstone expressed unhappiness with the

        Skydance terms and was open to other offers, the plaintiff could confidently state

        that Plaintiffs offer would be better for Redstone and Paramount shareholders.

                47. As result that Plaintiffs contact is removed as Paramount CEO in April

        on June 6th the Plaintiff pivots to try to connect with Paramount’s General Counsel,

        D’Alimonte through a phone number listed with the New York Bar Association.

        Despite multiple call attempts, Plaintiff was unable to reach her and left a 2




        20 “Paramount Global shares drop after annual meeting as hopes of merger with Skydance fade"

        https://nypa st.com/2024/06/04/medIa/paramount-globa[-shares-drop-after-anrkual-meeting-as-hopes-of-merger-
        with-skydance-fade/


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        minute 15 second voicemail at 4:50pm EST.21voicemail left the previous day9

                48.Plaintiff attempted to reach NAI and Redstone by telephone during

        working hours on June 7th only to get the same voicemail sole option, and the

        Plaintiff finally with no other choice and limited to making a communication by

        leaving a fourth voicemail did so at 3 :16PM est for 1 minute 28 seconds which

        largely re-iterated the same points stated in first voicemails left June 3rd, 4th, 6th.

                49.Redstone continued to manipulate the public spin and messaging she

        sought to be broadcast out to interested parties like LiveVideo. AI to manipulate

        them as a June 7th headline: “Redstone was unhappy with the reduced offer, paving

        a way for rival bidders to make their case.”22 Redstone used manufactured media

        stories to give the illusion that she was working for shareholders and keeping

        Paramount’s sales process unbiased. However, shareholders increasingly vocal

        about dislike for Skydance proposal and wanted other suitors.

                50. Caving to Shari Redstone’s demands, key Paramount officers were

        spontaneously given improved management severance packages in 2024 to
        disregard their fiduciary duties to shareholders, mitigating resistance by Paramount


        ” informing her of their superior offer for a Skydance merger that included
        purchasing Redstone's shares in Paramount and NAI. The Plaintiff also mentioned
        that their offer was willing to be subjected to approval by a majority vote and
        would pay higher prices per share for both Class A and Class B stockholders
        compared to Skydance's proposal. Further Plaintiff made clear that messages by
        Plaintiff regarding interest were also being left with Chairperson Shad Redstone.
        Also to speak with D’Altmonte about a conflict of interest with “one member of
        the special committee”. With Paramount’s GC refusing to respond to the Plaintiffs
        22https://nypost.com/2024/06/07/media/shari-redstone-receives-fewest-votes-in-paramount-board-election/


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        Officers or Directors as Shari usurped third parties’ interest in acquiring Paramount

        to usurp its corporate opportunities, pushing buying NAI as an alternative means to
        acquire control of Paramount


               Defendants Conceal July 5, 2024 Fax and email Offer

              51. Despite defendant’s multiple delay tactics, Paramount Chairperson

        Redstone received Plaintiff July 5th offer by corporate fax, and emailed to NAI

        top lawyer on July 5. 2024.23 Defendants ignore both Plaintiffs July 5, 2024 offers

        sent by fax and to Mr. Jankowski by email. (Exhibit #1)

              52. Meanwhile evasive Defendants rushed to complete and sign a merger

        with Skydance on July 7th adding a new material $400 million dollar termination

        fee to help scuttle any other interested bidders. (Exhibit #2)

              53. Another element of the bid ridding scheme was to avoid a Livevideo

        rival bid to emerge in the media and press like the 2007 Dow Jones Counter bid

        which became featured by CNBC in interview by host Maria Bartiromo. The

        particular need to conceal the Plaintiffs bid was to keep Plaintiff from getting


        ” “purchase...interests. .NAI holds..on superior terms to..Skydance”
        “higher of $17.50 per share or.. 111% of ..price offered by SkyDance”
        “CEO with significant public operating experience “
        “under the structure you prefer..or_subject to ... shareholder approval.”
        “binding” agreement “within 3 business days from...return.. NDA “
         left a voice mail ..indicating our intent to make an offer.. .2 weeks ago ““PARA
        GC”.blocked..progress to move offer process forward.”
        “some conflict of interest concerns_ certain members special committee... impact
        ability consider.. what was best for..fiduciaries”


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        the Paramount largest independent shareholder Gabelli’s support.24

        The defendants concealed the Plaintiffs bid because they knew Gabelli's fund

        would support LiveVideo. Al over Skydance, as evidenced by his previous

        successful investments in eUniverse and Viacom. The Defendants were aware that

        Skydance's management team had a history of sexual harassment including a top

        executive terminated by NBC for violations corroborated as well as a top executive

        terminated from Pixar, as reported by Chicago Tribune25

        and other news sources like NY Post26, while LiveVideo. Al had a clean track

        record, making them the more favorable option for investors.

              54. Between July 5th and July 7th defendants interfered with the plaintiffs

        potential business relations by erasing records, refusing to contact Plaintiff about

        the July 5 offer letter faxed and emailed or the voicemail left later in the date for

        NAI President and Paramount Chairperson Shari Redstone voicemail expressing

        interest in acquiring Paramount and NAI.

              55. Defendants used false statements broadcast on television, radio, and

        ” Mario Gabelli, Paramount's largest non-Redstone voting-stock shareholder,
        threatened legal action if Shad sells voting stock.


        25 https://www.chicagotribune.com/2024/07/08/column-paramounts-new-
        president-was-fired-last-year-as-ceo-of-nbcuniversal-after-allegations-of-sexual-
        harassment/
        26 https://www.msn.com/en-us/money/companies/feminist-group-blasts-skydance-
         for-naming-jeff-shell-president-after-hadley-gamble-sexual-harassment-scandal/ar-
        BBlpLdY2

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        print, while also waiving away adviser initiated inquiries requesting contact

        approval with Plaintiff and refusing to follow up through outside advisors and law

        firms, making defamatory statements, they influenced others to turn a blind eye to

        their reckless actions.

        COUNT I -Unfair Competition (Brought Directly Against All Defendants )

              56.    Plaintiff repeats and re-alleges every allegation set forth in previous

        paragraphs as if fully set forth herein.

              57.    Redstone and NAI with BDT transferred control of Paramount’s sale

        process from one run in the best interests of shareholders to one tilted in favor of

        Defendants Redstone, NAI, and creditor advisor BDT whose former employee was

        partners with the winning Skydance July 7 merger agreement Paramount entered

        into and in the process the Plaintiff was harmed including the concealment and

        blocking of its July 5, 2024 offer sent to the defendants.

              58.    One method was unfairly using a conflicted BDT role as financial

        advisor to assign or recommend Redstone insert as Special Committee outside

        counsel a conflicted person that was previously adverse to Paramount in another

        transaction and responsible for harming Paramount shareholders while that lawyer

        was engaged by rival News Corp.




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               59. Shari orchestrates strategy to force Paramount to rubber stamp

        transactions NAI, Redstone, and Lender BDT wanted done quickly without the usual

        checks and balances restraining Boards of public companies.

               60. The BDT Plan Lend Cash To Shari Redstone Collateralized By
        Paramount Stock. First Shad agrees NAI hires BDT as its advisor on all Paramount

        financial transactions including change of control. Assigning the NAI lender to be
        advisor on future sale of core asset securing lender’s loan instantly created
        conflicts of interest     the sort of transaction that would never have been approved

        by a public board of directors. BDT places Christine Varney hom its long time
        law firm Cravath Law, in key Paramount with the help of NAI and Shari
        Redstone. As outside counsel for the Special Committee, Varney controlled

        information, making influential recommendations, having ability to communicate
        with BDT, NAI, and Redstone about committee decisions and reactions.

               Paramount and Plaintiff CEO Both Victims Of Varney 2005 Bid Rigging

               61.    Varney’s strategy to help her client News Corp snatch up Myspace’s

        public parent company damaged and humiliated Viacom when the company failed

        to deliver a bid. Years later Federal Judge George King will conclude the target

        company’s management,” evaded Viacom’s advances, even though it’s

        representatives were communicating a competing bid was imminent.“ (Exhibit #4)

               62.    NY Times’ Gretchen Morgenson described Judge King 2010 ruling:

                                “a shareholder’s worst nightmare. A company is in play, with
                                two potential acquirers circling it, but the boards of directors and
                                others running the enterprise who are supposed to snare top
                                dollar for shareholders favor bidders who are dangling the
                                biggest rewards for directors and senior executives.

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               63. Defendant Varney managed the “dangling” that NY Times cites the Judge

        concluded occurred harming Paramount shareholders and the PlaintifFs CEO.27

               64. The lawyers blueprint in 2005 for News Corp allowing them to acquire

        publicly held Myspace at a below fair market price, outfoxing an equally

        determined key rival, Paramount’s predecessor Viacom, Inc.

                65. Another problem with Varney however beyond the first conflict of

         interest issue cited previously. Varney was saddled with an unusual legal liability

         created during a crusade she had undertaken in 2005 while serving as top lawyer

         for News Corp in its completed acquisition of eUniverse (later renamed Intermix)

         and its Myspace asset (collectively the “Myspace buyout”). She manipulates

         Paramount into quickly approving a future transaction that NAI, Redstone, and

         lender BDT have been eagerly awaiting.


         ” “Testimony and documents in the case indicate that Viacom was excluded from
         the bidding process and did not have the opportunity to top the News Corporation
         offer before Intermix accepted it.”
         “evidence and testimony ...points to Mr. Rosenblatt favoring the News Corporation
         bid because he anticipated receiving a big job there if the deal went through. “
         “ Judge King wrote that evidence “raises the inference
         that Rosenblatt“..wasdodging Viacom’s advances,“..”OnJuly 15, 2005, a female
         executive &om MTV, a Viacom unit, aieRed Mr. Rosenblatt that Viacom would
         produce a bid early the following week. The judge said, “Rosenblatt replied
         evasively, failing to correct her mistaken impression that the auction would still be
         ongoing after Monday.”

         “there are at least triable issues of fact” about whether Mr. Rosenblatt acted in
         good faith or tilted the auction in favor of the NewsCorporation “for a purpose
         other than maximizing shareholder value.”


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              66.     Varney's '’strategy" for acquiring the company was a plan to pay off

        key individuals with under-the-table cash bribes. Evidence in the class action case

        revealed that Varney had orchestrated secret cash payments without disclosing

        them publicly before the crucial shareholder meeting (page 172, 174, 176, 178, dkt

        18- 1 Federal FRCO Rule 23 Case No. 5:1606268 see Exhibit #5).28

              “Summary of key deal terms [TBD]”
              “Approximately $709 million”
              “Expect to enter into arrangements with a pre-tax cost of $70mm post
              transaction signing to ensure continuity of key personnel”29. “Deal Update”
              report from “Fox Entertainment Group”
              “Total deal cost: $750M vs. previous $680M”, iii.
              “Myspace Retention Plan”...”$90M gross ($50M net) critical to maintain
              positive relationship with management and reduce their tax exposure as much




        ” The sheer amount of money involved - a whopping §70 million dollars - was
        enough to raise suspicions but News Corp’s attorneys ensured client got what
        wanted and these proof of manipulating and deceiving omissions even after the
        merger agreement was signed and publicly announced, Varney gave her approval
        for another §70 million dollars to be paid off to management, advising both
        companies not to disclose them. It was clear that the attorneys for Paramount rival
        main concern was securing the deal at any cost, even if it meant disregarding
        ethical and legal boundaries. Federal Class Action by public acquisition target
        shareholders of which largest qualifying FRCP Rule 23 certified class member is
        GAMCO Gabello Case 5:16-cv-06286, which fInally concluded in 2013 with
        Varney's client settling for a hefty sum of $45 million dollars. The Federal Judge
        presiding over the case had already deemed it highly likely that bid rigging had
        occurred.
        ” and that as a premeditated scheme which Varney advised to not be disclosed at
        all to the public target’s shareholders before they voted on approving the
        transactIon

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              as possible.” ...”Additionally, trigger option pool for rank-and-file employees
              as goodwill move ($5m). 30

              67. Varney used this strategy to induce the target’s management not to

        consider the CEO ofLiveVideo. Al’s $13.50 counter offer which Viacom had agreed

        to provide the financing for back in 2005. (Exhibit #3). This was Case 5:16-cv-06286

        which her client settled in 2013 for $45 million dollars after Federal Judge ruled a

        Jury would likely find bid rigging had occurred in the deal Varney oversaw.31


        ” page 178 (Exhibit #5 page 179 dkt 18-1 Federal FRCO Rule 23 Case No.
        5:1606268 ). "Revised Investment" that reveals Christine Varney’s involvement in
        directing her client, Fox Entertainment Group. Despite publicly announcing their
        merger agreement worth $582 million dollars, Varney directed Fox to secretly agree
        to pay the target company's management a whopping $69 million as part of their
        "MySpace Retention Plan" - a scheme deemed successful by a Federal Judge in
        preventing Viacom from bidding on the acquisition And that's not all; after the
        merger agreement was signed, Varney approved another $70 million in cash
        payments to management and advised both companies to keep it off their SEC filings
        before the shareholder vote to approve the sale of Myspace.com’s parent company,


         3' 18. Varney was able to accomplish this difficult task thru inducing the behavior
         of the target acquired corporations thru rigging support by key management like
         the “Richard Rosenblatt” ceo position cited by the Federal Judge in the King 2010
        judgment about Varney’s lucrative 2005 completed M& A advisory payday Varney
         received from News Corp., Intermix, later Myspace.com further paid Varney and
         her law firm millions of dollars in legal fees thru at least 2013,

        five years later and only after a determined push by well resourced and
        experienced class action lawyers had pursued discovery deep in the process of the
        securities fraud class action case initiated in 2005 after the News Corp $12.00
        Myspace Buyout had been announced.

        20- Plaintiffs CEO who at that time owned about 10% of the Myspace public
        parent, eUniverse (renamed Intermix), had only detected several other problems
        about the transaction thru reading the SEC filings Varney directed News Corp and

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               A. Misleading Press Leaks And Statements

               68. On June 11th, Defendant Redstone publicly announced negotiations with

        SkyDance had ended. This statement was misleading and false because Redstone

        was aware of LiveVideo. AI's interest in making a competing buyout offer, further

        wanted to give the appearance that other bidders were welcome while secretly

        blocking out Plaintiff by instructing Paramount advisors not to engage with them

        and preventing the Special Committee considering LiveVideo. Al.

                69. Redstone's public statements about ending negotiations with SkyDance

        were misleading and false, leading Paramount’s General Counsel certainly by then

        to make D'Alimonte   question the integrity of her leadership. On one hand, Redstone

        claimed to be open to other bidders while secretly neezing out LiveVideo.Al and

        preventing the Special Committee from engaging with them. D'Alimonte surely

        knew that by remaining silent, she would be breaching her duty of candor even

        .further.

               B. Termination of Paramount GC Without Cause Golden Parachute

               70. Another masterful chess move in a high-stakes game of corporate

        manipulation and greed played out resulting in the June 21’ 2024 8k disclosure

        Paramount will terminate her without cause on June 28th.



        the acquisition target to disclose in required S-4 or 8k filings in the months leading
        up to the required September 2005 shareholder vote meeting needed to close the
        MyspaGe buyout.

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               71. Even more shocking then the GC D’Alimonte        disappearing days after

        she learns about LiveVideo.Al offer as if that wasn’t suspicious enough, it quickly

        becomes clear that the (JC was given a lucrative golden parachute worth well over

        $5 million cash! to silence any knowledge of Plaintiffs   offer and not disclose its

        receipt to shareholders an unfathomable deception designed by defendants and

        directed by Varney.

                72. The true motive behind D Alimonte ’s sudden acceptance of the separation

        revealed in the 8k is that she, as Paramount's General Counsel, must have made the

        difficult decision of the need to publicly disclose to shareholders the existence of a

        new potential offer from LiveVideo.Al for a change of control.

                C. Ensuring Defective Systems and Internal Controls

                73. Defendants NAI, over ten years later, Defendant Shari Redstone who

        lacked operating experience and still continues to lack public company operating

        experience and has never signed a Sarbanes Oxley SOX Officer Certificate ,

        willfblly     damaged LiveVideo.Al’s business opportunities with Paramount. They

         destroyed all records of communication, refused to reach out or allow others to do

         so on their behalf, and disregarded attempts at contact from LiveVideo. AI and the

         Special Committee. This caused significant harm to Plaintiffs integrity and resulting

         in economic damages that will be proven in court.

                    74. A voicemail left by LiveVideo. Al on June 6, 2024 has informed



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        D’Alimonte that they have also contacted Defendants NAI and Shari Redstone with

        their intention to make a competing offer on better terms than Skydance’s proposal.

        Despite this, Defendants Shan Redstone, NAI, Varey, and Seligman

        instructed D Alimonte to keep quiet about the LiveVideo.Al contacts and not

        respond to their proposition, while publicly feigning negotiations with Sky(lance.

        D Alimonte has discovered that Defendant Shari Redstone’s statement on June 1 1

        claiming an end to negotiations with Skydance is deceitful.

              75. Despite LiveVideo. Al expressing interest in a buyout offer, Redstone

        announces that Paramount is open to other offers while secretly working to

        complete the deal over the July 4th weekend. On July 2, news sources report that

        NAI and Skydance have reached a revised agreement, falsely making it seem like a

        recent development. Redstone and affiliated media partners continue to spread

        false narratives about the situation. These actions misled PlaintiffLiveVideo. Al,

        which was actively seeking financing for a potential merger with Paramount. D

        Alimonte has discovered that Shari Redstone falsely claimed she wasn’t pursuing

        the transaction, using media partners like NYPost and WSJ to propagate the false

        narrative. This is misleading by omission of Defendants Varney, Seligman, NAI,

        and now Paramount’s General Counsel thru an 8k.

              C.   $400 Million Dollar Paramount Termination Fee

              76. On June 11, 2024, it was publicly reported that Paramount, NAI and



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        Redstone had rejected the Skydance offer terms.32

                “National Amusements confirmed the deal was dead, saying the company
                has “not been able to reach mutually acceptable terms, regarding the
                potential transaction with Skydance Media.”

               NAI said the company “supports the recently announced strategic plan being
               executed by Paramount’s Office of the CEO.”

                “Redstone will now likely pursue a sale of just National Amusements,
                without merging Paramount with another company, according to The Wall
                Street Journal, .”

                “NAI has received interest from two other suitors, an investor consortium
                led by Hollywood producer Steven Paul, and media exec Edgar Bronfman“

                “a committee of Paramount directors, who had recently approved the
                economic terms of the merger but continued to negotiate with Skydance
                about other deal points, The Journal said.”

                “some of those points included pushing for a deal to be subject to a vote of
                all other shareholders.”...”National Amusement was supportive of a vote.
                Skydance said such a vote is “a nonstarter,” according to The Journal.”

                “The committee was scheduled to vote on the Paramount merger with
                Skydance on Tuesday afternoon, but it is not clear if the vote happened.

                “A spokesperson for Paramount Global declined to comment. Skydance did
                not immediately respond to a Reuters request for comment.”

                77      Plaintiff attempted to reach NAI and Redstone by telephone during

        working hours on June 11th after seeing the news reports that Redstone and



        32 66Shari Redstone kills Skydance bid to buy her contro11ing stake in
        Paramount Global”

        httPs://nypost.com/2024/06/11/media/shari-redstone-kills-skydance-bid-for-paramount-global/


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        NAI had “confirmed the deal was dead” only to get the same voicemail sole

        option, and the Plaintiff finally with no other choice and limited to making a

        communication by leaving a fifth voicemail did so at 6:03PM est for 1 minute 21

        seconds which largely re-iterated the same points stated in the first voice mails left

        on June 3rd, 4th, and 6t for reasons completely unconnected with the unfairness of

        the deal to shareholders and possible threat of litigation, the delay was in part

        caused by Plaintiff June 6th voicemail left with Paramount’s General Counsel.

              78. Despite Redstone refusing to respond to LiveVideo. AI she had no

        problem engaging other new interested parties. Reportedly, Diller’s company,

        IAC, had signed a nondisclosure agreement with NAI and was looking at its data

        room to determine the specifics of the bid;

              79. On Sunday, July 7, 2024, Paramount and Skydance issued a press

        8-K) announcing a merger agreement “approved by (i) the Paramount Board of

        Directors based on the unanimous recommendation of the Special Committee and

        (ii) by Redstone's NAI, (Exhibit #3) Barclays on JuR 8, 2024 estimated the price

        of Redstone’s class A shares earn the deal at $66.16 per share, Skydance will

        purchase Redstone's NAI for $2.4 billion, gaining voting control of Paramount and

        providing indemnifications to Redstone. Paramount will merge with Skydance,

        resulting in 3 17 million new Class B shares for Skydance, valuing the company at

        $4.75 billion


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              80. Criticism of the Merger among analysts and within the investing

        community has been quick and widespread. July 8, 2024, analysts covering

        Paramount downgraded their stock ratings. The $400 million Termination Fee is

        exceptionally high, representing 4.8% of the total value of the IVlerger.

        An Adverse Special Committee Member Seligman

               81. Sony invested $5 million dollars in eUniverse for a 15% stake plus a Board

         seat in 2001 but writes off investment in 2003, its Sony employee resigning from

        Board. Defendant Seligman, is GC Sony America (SCA) from 2001 until she’s

        terminated in 2016. After Plaintiffs   CEO resigns as eUniverse CEO,        Seligman

        breaches 2001 agreements and obligations owed to Plaintiffs CEO by wrongfully

        adding a non Sony employee into eUniverse’s Series B right for a Sony employee

        only. Seligman’s further failed to review the background of their nominee, failing to

        disclose Edell’s bankruptcy as required under Federal Law and SEC regulations nor

        to make corrective disclosure under Rule S-K 404

               82. Seligman was adverse to Plaintiff and suffered a legal blow when
        January 9, 2024, DC District Court granted Plaintiff CEO’s request for judicial
        notice often facts. The first fact judicial notice was granted included ten cases with

        a negative judgement Seligman’s employer was the party defendant but carried
         Seligman’s liability as CEO or CLO or both during those period for U.S. company
        Antitrust liability. (Exhibit #6)




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                iv. August 20, 2015 “FRCP Rule 23 5:14-cv-04062 “ Denial of Defendants
              Twenty-First Century Fox, Inc., Sony Corporation of America? Orrick
              Herrington Law LLC, claims for violation of Sherman Act 1, Clayton Act)
              Rule 17200 5:14-cv-04062”


              83. This Court can determine ifSeligman’s actions as head Sony attorney

        and later CEO failure to not take SEC corrective action is of a material nature

        By way of substituting Seiigman’s name in as another member of the 1502

        Enterprise in place of largest number of companies “Sony Corporation9 Sony

        Music Entertainment, Sony Corporation America, 550 DMV, Sony Broadband

        Entertainment” and fully incorporating by reference the #9567 Delaware complaint

        starting on page 4, its attached 70b motion and declaration including the evidence

        attached as fact based evidence as to why Seligman would have been incented and

        desirous to use her Special Committee Membership to act capricious, arbitrary and

        discriminate, make defamatory false claims casting Plaintiffs CEO in a negative

        light to the other Special Committee Members, advisors, and Directors Officers of

        Paramount. (Exhibit #7, Page 4)

        WHEREFORE,        Plaintiff demands judgment against Defendants for compensatory

        and actual damages in an amount to be determined at trial plus punitive damages,

        interest, counsel fees, costs and the expenses of this action, and for such other and

        further relief as the court seems equitable. As a direct, legal and proximate result of

        Defendants’ aforementioned actions, Plaintiff has sustained economic damages to

        be proven at trial. Plaintiff seeks judgment for actual damages, interest and costs.


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        COUNT II Tortious Interference With Business Relations (Brought Directly

        Against All Defendants )

              84.    Plaintiff repeats and re-alleges every allegation set forth in previous

        paragraphs as if fully set forth herein. The Plaintiff had a pre-existing business

        relationship with Paramount prior to the January 2, 2024 formation by the Board of

        Directors of a Special Committee.

              85. The Special Committee and Board of Directors of Paramount chose to

        ignore the superior offer presented by LiveVideo. Al on July 5th, dismissing it

        without proper consideration. Despite offering a higher share price of $17.50

        compared to Skydance's $15.00 for Class A and B shareholders, LiveVideo. AI's

        proposal would have resulted in 50% less dilution for Paramount stockholders.

        This significant cost savings was made clear in multiple voice messages to

        Chairperson Shad Redstone, yet she chose to overlook it and continue with the

        Skydance deal that required a whopping $4.8 billion worth of stock issuance.

              86. Plaintiff had every reason to believe that their competitive offer would

        be given due diligence by Paramount. Not only was it a superior offer in terms of

        financial benefits for shareholders, but also promised a more experienced

        management team and $2.4 billion less in stock issuance. Yet, despite these clear

        advantages, Paramount chose to disregard the Plaintiffs offer and instead went




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        ahead with the costly and dilutive Skydance deal. The Special Committee and

        Board of Directors of Paramount chose to ignore the superior offer presented by

        LiveVideo. Al on July 5th, dismissing it without proper consideration. Despite

        offering a higher share price of $17.50 compared to Skydance's $15.00, and a result

        of 50% less dilution for Paramount stockholders. This significant cost savings was

        made clear in multiple voice messages to Redstone, yet she chose to overlook it and

        continue with the Skydance deal that required a whopping $4.8 billion worth of stock

        issuance. Later damaging these LiveVideo.Al     technology and IP deals as a result of

        the Plaintiff seeking to attempt to make a superior buy-out offer that would have

        benefitted stockholders and employees of Paramount.


              87. With malicious intent, Defendants NAI             and Shari Redstone took

        deliberate actions to sabotage LiveVideo. AI's chances of securing a partnership with

        Paramount on June 7th. Despite receiving multiple phone calls and a clear request

        to participate in Paramount's sales process, they destroyed all         physical and

        electronic evidence of the communication and refused to personally reach out or

        direct their outside advisors and legal counsel to do so.


              88. They even went as far as refusing to involve the Special Committee and

        Board of Directors in any follow-up with LiveVideo. Al, revealing a calculated Plot

        to harm the plaintiffs   business prospects. These ruthless actions demonstrate a




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        blatant disregard for fair competition and unethical behavior at the highest levels of

        leadership within NAI and Redstone’s inner circle.


              89. On the crucial day of June 11th, Defendants NAI and Shad Redstone

        knowingly    and    deliberately   sabotaged LiveVideo. AI's     potential   business

        opportunities with Paramount. As soon as they received LiveVideo. Al’s desperate

        phone calls and voicemail at 6:03pm est,begging to be included in the ongoing sales

        process, they immediately set out to destroy all physical and electronic evidence of

        these communications.


              90. They refused to personally reach out or direct any outside advisors or law

        firms working with Paramount to contact LiveVideo.Al. Despite being fully aware

        of LiveVideo. Al’s interest in acquiring Paramount and NAI, they callously

        disregarded any attempts at communication from LiveVideo. Al, the Special

        Committee, and even the Board of Directors.


              91. With   calculated malice, Defendants NAI and Redstone effectively cut off

        all avenues for LiveVideo. Al to pursue a potential partnership with Paramount7

        causing immeasurable damage to the plaintiffs business prospects.


              92. Plaintiff had every reason to believe that their competitive offer would be

        given due diligence by Paramount. Not only was it a superior offer in terms of

        fInancial benefits for shareholders, but also promised a more experienced


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        management team and $2.4 billion less in stock issuance. As a result, the Plaintiff is

        seeking damages of no less than 50% of the value in stock $2.42 billion for the

        unjustified rejection of their proposal and those legal and professional fees found to

        have been paid in cash.


              93. Another reason that NAI, Varney, and Redstone seek to fraudulently

        conceal the July 5th offer is because it would force them to explain the malicious

        tortious interference scheme they have used to block, frustrate, and harass the

        LiveVideo.Al because they Varney and Seligman are conflicted with Plaintiff

        because of its CEO from ongoing and recent adverse legal matters causing

        significant conflicts of interest and it is because of the defendants subsequent actions

        the Plaintiff has now suffered the inability to advance strategic partnerships directly

        with Paramount begun in good faith during 2023 .

              WHEREFORE, Plaintiff demands judgment against Defendants for

        compensatory and actual damages in an amount to be determined at trial plus

        punitive damages, interest, counsel fees, costs and the expenses of this action, and

        for such other and further relief as the court seems equitable. As a direct, legal and

        proximate result of Defendants’ aforementioned actions, Plaintiff has sustained

        economic damages to be proven at trial. Plaintiff seeks judgment for actual damages,

        interest and costs




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        COUNT III Aiding And Abetting Breach Of Fiduciary Duty, Candor, or
        Breach of Duty Loyalty (Brought Directly Against All Defendants )

                 94.    Plaintiff repeats and re.alleges every allegation set forth in previous

        paragraphs as if fully set forth herein.

               95. The corporate opportunity doctrine is a fiduciary duty of corporate

         directors and officers. They cannot take an opportunity for their own benefit if: (1)

        the corporation can take advantage of it; (2) it falls within the corporation’s line of

        business; (3) the corporation has an interest in it; and (4) taking it would conflict

        with their duties to the corporation.

               96.     Controlling stockholders are also prohibited from using their power to

         benefit themselves at the expense of the corporation. Directors, special committee

         outside counsel, M&A transaction special committee members, and Chairpersons

         have a responsibility to prioritize the interests of the shareholders above their own

        personal interests or those of other parties involved.

               97. In this case, the Defendants breached their fiduciary duty by prioritizing

         the interests of the Controlling Stockholder to approve an unfair Merger, which

         benefited Skydance and Redstone personally through a buyout at a premium price.

               98. D'Alimonte had a fiduciary obligation to disclose the existence of

        LiveVideo. Al, but was instructed by Redstone, Varney, and Seligman to keep quiet

         about it and not respond to their offer. However, on June 1 1, when Shari Redstone

         announced the end of negotiations with SkyDance, she was aware of


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        LrveVrdeo. Al’s Interest in a competing offer but did not allow the Special

        Committee to consider it.

              99. This put D'Alimonte in a difficult position of having to betray her duty of

        candor even further. The sudden termination ofParamount's General Counsel on

        June 21 was a result ofRedstone's misleading public statements about negotiations

        with Skydance while withholding information about LiveVideo. Al’s interest. These

        actions forced D’Alimonte to make false statements in Paramount’s June 8k which

        ultimately hurt Paramount shareholders and the Plaintiff by blocking any chance for

        an alternative offer to be considered.

        WHEREFORE, Plaintiff demands judgment against Defendants for compensatory

        and actual damages in an amount to be determined at trial plus punitive damages,

        interest, counsel fees, costs and the expenses of this action, and for such other and

        further relief as the court seems equitable. As a direct, legal and proximate result of

        Defendants’ aforementioned actions, Plaintiff has sustained economic damages to

        be proven at trial. Plaintiff seeks judgment for actual damages, interest and costs.

        Count IV- Unjust Enichment (All Defendants)

             100. Plaintiff repeats and re-alleges every allegation set forth in previous

        paragraphs as if fully set forth herein.

               101. Defendant NAI shared LiveVideo. Al communications with Skydance

        including all details contained in Plaintiffs indications of interest voice mail


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        communications. The defendants maliciously handed over Plaintiffs confidential

        strategies and plans to SkyDance as part of a misdirection and false broadcasting

        scheme Redstone launched on June 11th when the defendants leaked to media

        cohorts that Redstone “killed” or ended the negotiations with SkyDance.33 for

        reasons completely unconnected with the unfairness of the deal to shareholders and

        moreso to put in place newly crafted legal protections amidst threats of litigation

        and the $400 million dollar termination, and to mislead the Plaintiff into delaying

        coming forth with an actual offer like the July 5, 2024 one Plaintiff transmitted.


        Redstone had rejected the Skydance offer terms.34

              “National Amusements confirmed the deal was dead, saying the company
              has “not been able to reach mutually acceptable terms, regarding the
              potential transaction with Skydance Media.”

              NAI said the company “supports the recently announced strategic plan being
              executed by Paramount’s Office of the CEO.”

                     “Redstone will now likely pursue a sale of just National Amusements,without
                     merging Paramount with another company, according to The Wall Street JournaIJ




        33 Meg James, So the Paramount and Skydance Deal is Back on Track. What
        Happened and What’s Next?, (July 3, 2024),
        httPs://www.iatimes.com/entertainment-arts/business/story/2024-07-03/paramount-
        and-skydance-deal-is-back-on-track-what-happened-and-whats-next.

        34 “Shari Redstone kills Skydance bid to buy her controlling stake in
        Paramount Global”

        https://nypost.com/2024/06/ 1 1/media/shari-redstone-kills-skydance-bid-for-
        paramount-global/

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                      “NAI has received interest from two other suitors, an investor consortium led by
                      Hollywood producer Steven Paul, and media exec Edgar Bronfman Jr., “ “The
                      second part of the deal would have entailed Skydance merging with Paramount,
                      .. in a stock deal."


                       'a committee of Paramount directors, who had recently approved the economic
                      terms of the merger but continued to negotiate with Skydance about other deal
                      points, The Journal said.”

                      'some of those points included pushing for a deal to be subject to a vote of all
                      other shareholders."..."National Amusement was supportive of a vote. Skydance
                      said such a vote is “a nonstarter," according to The Journal.”


                      “The committee was scheduled to vote on the Paramount merger with Skydance
                      on Tuesday afternoon, but it is not clear if the vote happened."

                      “A spokesperson for Paramount Global declined to comment. Skydance did not
                      immediately respond to a Reuters request for comment."

               102. Plaintiff attempted to reach NAI and Redstone by telephone during

        working hours on June 11th after seeing the news reports that Redstone and

        NAI had “confirmed the deal was dead” only to get the same voicemail sole

        option, and the Plaintiff finally with no other choice and limited to making a

        communication by leaving a fifth voicemail did so at 6:03PM est for 1 minute 21

        seconds which largely re-iterated the same points stated in the first voice mails left

        on June 3rd, 4th, and 6th

               103. Despite Redstone and NAI refusing to respond to Plaintiff they had no

        problem engaging other new interested parties. Reportedly, Diner’s company,

        IAC, had signed a nondisclosure agreement with NAI and was looking at its data

        room to determine the specifics of the bid;




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                  WHEREFORE, Plaintiff demands judgment against Defendants for

         compensatory and actual damages in an amount to be determined at trial plus

         punitive damages, interest, counsel fees, costs and the expenses of this action, and

         for such other and further relief as the court seems equitable. As a direct, legal and

         proximate result of Defendants’ aforementioned actions, Plaintiff has sustained

         economic damages to be proven at trial. Plaintiff seeks judgment for actual

         damages, interest and costs, as well as judgment temporarily and permanently

         enjoining Defendants from continuing described actions.


         COUNT V – VIOLATION OF DODD-FRANK WHISTLEBLOWER
         STATUTE – SECTION 922 & 18 U.S.C. §1513(e))(Against Varney and
         Seligman)

                  104. Plaintiff repeats and realleges the foregoing paragraphs as set forth

         herein

                  105. Petitioner is entitled to a private cause of action for damages suffered

         Pursuant to the Dodd Frank Whistleblower Statute. Plaintiffs5 entitled to a

         private cause of action for whistleblowers alleging retaliatory discharge or other

         discrimination. Id. § 78u-6(h)(1 )(B)(i). and Proxy Battle against Petitioner.

                  106. Defendant Seligman controlled a critical Board Seat Nomination

         legal right (Series B Preferred) nominating Jeff Eden in 2004 even after evidence




        35 Plaintiffs   CEO has agreed to transfer rights and privileges due or held by the
         CEO personally to the Plaintiff.

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        in Delaware Court showed Edell and Defendants had mislead shareholders by

        filing multiple defective and false proxy statements to Issuer’s shareholders in

        2003 and 2004.Relief includes Right to Jury Trial, reinstatement, double the back

        pay owed, and costs and fees. Id. § 78u-6(h)(1)(C).

               107. Defendants have discriminated against the Plaintif because of the

        Plaintiff 's lawful acts done including investigating the conflicts of intrest behind

        the Skydance offer and Redstone’s financial advisor BDT who is also her lender.

               108. Plaintiff has been discriminated against by not getting treated similar

        to the manner other 3rd parties have been welcomed and invited to sign a mutual

        non disclosure agreement with Paramount as part of receiving the opportunity to

        participate in making a Paramount buy out offer.

               109. Despite the Plaintiff contacting Redstone, NAI and Paramount,

        and drafting., signing, then sending by fax and email an executed non disclosure

        agreement the Plaintiff had executed. The defendants discriminated against the

        Plaintiff and its CEO by refusing to respond, call back, answer, or have an advisor

        reach out to the Plaintiff after the June 6 phone calls and voice mails left with

        Paramount’s Chairperson and General Counsel.

               110. Defendants further discriminated and harassed the Plaintiff and its CEO

        on July 5th when refusing to treat the Plaintiff like other interested buyers that

        have contacted Paramount or Redstone. For instance, there are many articles about

        the Paramount sales process and each article includes references to the fact that




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        Paramouint and Redstone are open to other bidders and offers.

               111. Yet despite these claims being made by Defendants, Varney and

        Seligman are using their control of the special committee and outside counsel to

        manipulate the information the other Special Committee members possess and are

        aware of in regards to alternative offers or bidders.

               112. Varney, Seligman, and Redstone have instructed Paramount employees

        and other executives that work on Paramount’s behalf not to return the Plaintiffs

        phone calls, not to reply by email, and not to send any letter communications. To

        give the Plaintiff no chance to review the information about Paramount being

        shared with other interested buyers.

               113. The defendants have RrNher discriminated against the Plaintiff and have

        harassed the Plaintiff by refusing to fix defective SEC Filings, ignoring their

        fiduciary duties and duties of disclosure after the Plaintiff delivered a bona fide 7

        page offer agreement fully detailing why the economics would be superior and

        even offering to travel to Massachussets to meet with NAI, Redstone, and her

        lawyers in person.

               114. It was discrimination after July 5, 2024 at approximately 2pm9 when

        Plaintiff CEO was refused without explanation after Plaintiff requested to speak

        with someone at NAI or Paramount or their advisors in order to be able to

        participate in the opportunity with basically the same chances as the other

        interested parties.




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              115. Seligman with malicious intent to harm Plaintiff CEO for informing

        regulators of misdeeds News Corp and Sony, and aidongoing litigation husband’s

        company has with Plaintiff CEO in his position as a shareholder member of Class

        Action that RGRD Law was pursuing in Judge King’s Federal Court in Los

        Angeles that News Corp was the insured for, Sony Corp executives, Defendants in

        this Complaint, abused theirfiduciary duty to Issuer by misleading the Public and

        shareholders as part of assisting Defendant’s scheme to take control of eUniverse,

        Inc. in 2003 and get approval and entrench Defendants as a result of the January

        2004 Annual Meeting.

              116. As a Result of the applicable Defendant’s involvement in the above-

        described conspiracy and conspiratorial scheme, the Plaintiff has suffered severe

        emotional, fInancial, mental, and physical harm and other deleterious effects; been

        unfairly disadvantaged in multiple civil lawsuits initiated against him by several of

        the Defendants and other parties; had his freedom of speech severely impinge(i;

        been forced to spend hundreds of thousands of dollars on legal fees; been forced

        to; And had his personal and professional reputation severely and permanently

        damaged.

              117. Based upon information and belief, some of the Defendants are

        continuing to engage in the above-described conspiracy and conspiratorial scheme

        even though they are well aware of the devastating toll that their prior

        conspiratoria] actions have already taken on Petitioner and Petitioner’s business



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        assets.

                  118. A Jury will determine ifSeligman lied to Court regarding Defendant’s

        Proxy disclosure related to Eden. Defendant’s failure to “make this right” as

        claimed by Seligman’s Delaware counsel is worthy of corrective disclosure by

        Sony or Seligman including Declaratory Relief. That is if Seligman’s actions and

        non actions were actually a:

                  “thumbing their nose at the Chancery Court ruling in January 2004 (and
                  fraudulently concealing from the “Chancery Court in July 2004 at which
                  time the Court entertained an award of legal fees but only granted in part
                  because defendants were fraudulently concealing the aforementioned matters
                  which are detailed fully in the underlying Motions). “

                  (page #41 of Exhibit #9)

        WHEREFORE, Plaintiff on behalf of its CEO demands jury trial and judgment

        against Defendants for Special, Compensatory and actual damages in an amount to

        be determined at trial plus punitive damages, interest, counsel fees, costs and the

        expenses of this action, and for such other and further relief as the court seems

        equitable. As a direct, legal and proximate result of Defendants’ aforementioned

        actions, PlaintifFs CEO has sustained economic damages to be proven at trial

        Plaintiff seeks judgment for actual damages, interest and costs.

                  COUNT VI- VIOLATION OF 18 U.S.C. $ 1030 –

                  The Computer Fraud and Abuse Act

                  119. Plaintiff repeats and realleges the foregoing paragraphs as set forth

        herein


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               120. Defendants became aware ofLiveVideo.Al’s         potential interest in

         making an offer for Paramount no later then May 6, 2024 after the Plaintiff sent

         out a test email to find out if the former Paramount CEO might still have access to

         his corporate email even as he had transitioned to a consulting arrangement with

         Paramount. 36


               121. The Plaintiff send out an email May 6th at 11:35 am EST with the

         subject line "Perfect move opportunity!”. The email was used as a test to determine

         if the Plaintiffs previous top level contact, CEO Bakish,

               122. The Plaintiff assumed it was possible a Paramount employee might

        now be reviewing the former CEO’s email inbox to share potential leads or help

        the new Paramount CEO more rapidly transition key corporate contacts Bakish

        email account messages.

               123. However the Plaintiff was not prepared for what happened next.37




        ” had been merely sidelined from leading exploration of the sale of Paramount or
        totally frozen out without access to be in the Paramount office and no longer able
        to send or review any email communications sent to the CEO’s longtime email
        address BB@ParamountGlobal (Paramount.com, Viacom.com).

        ” At time of May “test” email sent, the Plaintiff was still evaluating the desirability
        and practicality in regards to if it would be prudent of the Plaintiff to make an offer
        to acquire Paramount.

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              124. The Plaintiffs May email was sent with an online marketing software

        pixel that provides basic information about if and to what degree the email

        communication was received and read by the intended recipient as well as

        further detail consisting of providing information if the email is passed on from the

        email account of the intended recipient to other users using different computers.

              125. A couple of weeks after the Plaintiff sent the test email in May, the

        log summary information provided by the email marketing software was reviewed.

        The Plaintiff was stunned by the unlawful behavior long suspected after so many

        news articles and legal settlements pounded home the same simple story: That

        Shari Redstone did not believe in corporate governance and never took seriously

        the conflict of interest legal requirements requiring her to keep separate both her

        personal and NAI interests from those of Paramount. Further, that Redstone just

        because she owns 9.9% of the stock of Paramount and is Chairperson, does not

        mean Redstone can operate inside Paramount as if she was the CEO and direct

        Paramount resources in self-serving manners while only focusing on purposing

        Paramount to benefit Redstone and NAI.

               126. Defendant Redstone violated 1030 by directly or indirectly accessing

        the Paramount CEO’s email communications residing or stored in Paramount’s

        mail server. Redstone as Chairperson was not an executive working for Paramount

         and therefore Redstone’s unauthorized taking or transfer or removal of Paramount



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        owned emails including Plaintiffs May 6, 2024 email residing in the former

        CEO’s Paramount email server or inbox, contravened 1030 The Computer Crime

        Prevention Act.

               127. Indeed, Redstone and other unauthorized non-executives appear to

        have without authorization, transferred to upwards of three unauthorized

        computers a copy of Plaintiffs confidential May 6 email Plaintiff expected would

        be confidentially received and read by the Paramount CEO or his successor.38

               128. On May 6th, and then again on May 11th, and later on July 22, 2024

        Defendants Varney, Redstone, Korfman, Seligman “intentionally accessed a

        computer “ owned by Paramount and maintained solely for the use of its

        employees.




                ” Sent for purposes also to try to cheer up the embattled Paramount but
        evidence points to abuse by different access points showing the email was usurped
        from Paramount corporation email account and siphoned out to NAI and most
        likely Redstone, and Varney, who should not have had access, it was read by at
        least three individuals during the month of May and re-opened in late July after the
        July 5th offer had been concealed as Varney or her staff were looking to cover
        their tracks.




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              129. The defendants without authorization accessed the Bakish email inbox

        and without first receiving authorization or accessed the inbox of the former CEO

        which was Paramount owned property and exceeded authorized access. This is

        because non-executives have no reason or need to be able to access computer

        servers which are strictly maintained for Paramount employees not for Paramount

        Directors, outside counsel, or members of the special committee.

              130. “Further, the defendants violated 1030 because they did also obtain

        “information from any protected computer”

              The defendants conspired to usurp opportunities they knew they would

        likely find by invading the Paramount CEO’s confidential inbox that it strictly

        owned by Paramount and to be used only for the benefit of solely Paramount.

              131. Further, Defendants Varney, her lieutenant that took over access to

        computer records deputy general counsel Ms. Groce after D’Alimonte resigned,

        forwarded without authorization to access or gave an unauthorized access pass to

        Defendant Redstone’s lawyer son Mr. Korff who passed or shared access with

        SkyDance in Los Angeles and later San Jose, CA exposing it to other unauthorized

        to access private corporate emails sent from the public company’s personal

        business contacts its CEO maintained and pass them to at least six other

        unauthorized persons in at least four states, DC, Califonria, New York,

        Massachusetts, and to show in meetings to countless other adverse conflicted



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        parties. This activity could not have been a benefit to Paramount Global the

        corporation or its shareholders as violations of the CCFA being generated and

        other privacy violations are not what Paramount will earn more revenue or profits

        from. (See Exhibit #11)

              132. The Plaintiff has suffered damage and loss by reason of Defendants

        violations of CCFA.

        WHEREFORE, Plaintiff demands judgment against Defendants for compensatory

        and actual damages in an amount to be determined at trial plus punitive damages,

        interest, counsel fees, costs and the expenses of this action, and for such other and

        further relief as the court seems equitable. As a direct, legal and proximate result of

        Defendants’ aforementioned actions, Plaintiff has sustained economic damages to

        be proven at trial. Plaintiff seeks judgment for actual damages, interest and costs,

        as well as judgment temporarily and permanently enjoining Defendants from

        continuing described actions.




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       Dated: September 3, 2024

       Respectfully submitted Constants Law Offices, LLC.

       By_/s/ Alfred C. Constants in

       Alfred C. Constants III, Esq.

                                DEMAND FOR JURY TRIAL

       Plaintiff hereby demands a trial by jury on all issues so tHable in accordance with

       Federal Rule of Civil Procedure 38(b).



       By /s/ Alfred C. Constants HI
       Al aed C. Constants III, Esq.

       Attorneys for Plaintiff
       Constants Law Offices, LLC.




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                      July 5, 2024

                      Shan Redstone
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                       Dear ShaH,

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                      beginning in June 2024. Phase find an executed mutbnf NDA (EXHIBIT A) wtrch UW ownter
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                      the truwution described in more detaH below but which generaky calls for the purchase of
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                      press articles rugartling a Skydanc8 trwntwhon aud any other suitor that is engaged wah
                      yourself in dbcu ssbrIS or that may arise in coming days

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                      viith Paramount Gobel and certain of itssubsidiaries in l8te 2023 including thru hs subsidiary
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                      aawed for manyyeus the existurca of an oxod lent strategIc fit between our company and the
                      anus it OWnsand operates wIth the COreassetPARA owned and controlled by the General
                      Trust. Futher. we have a CEO WIth signif}mm public operating experience and a track recurd
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                      o,V,er3e,9the General Trust's stewardship while giving confclence to all related pa$ies that post-
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             PARAMOUNT GLOBAL’S SPECIAL coMMrrrEE UNANIMOUSLY APPROVES
                           MERGER WITH S}(YDANCE MEDIA

 NEW YORK, July 7. 2024 - The Special Committee of the Board of Directors (the "Special Committee-)
 of Paramount Global (NASDAQ: PARA.PARAA)(-Paramount" or "the Company•) today confirmed that it
 has unanimously approved a merger agreement between Paramount and Skydanoe Media. LLC
 (-Skydanoe-)

 The Special Committee was formed on January 2, 2024, at the request of Paramount'scontrolling
 stcx;kholder, National Amusements. Inc (-NAI-). to evaluate potentIal transactions involving both NAI and
  Paramount as NAI oonsldered its options relatIng to its investment in Paramount. The Special CommIttee
 retained independentfinancIal and legal adVISors. CenterviewPartners LLC and Cravath, Swaine &
 Moore LLP respectively.Over a period of more than six months. the Special CommIttee considered
 multiple approachesand constructs from various counterpanres and sol}cited Interest from potential
 counterparties for an ac4ulsltlon of Paramount

 The merger agreementInclUdes a 4 Sday "go-shop- period, which permits the Special Committee and its
 representatives to actIvely SOIICit and consIder attemative acnuisttion proposals. There can be no
 assurance that this process will result in a superior proposal. and the Company does not intend to
 disclose developmentswith respect to the go-shop process unless and until it determines such
 disclosure is approprIate or is otherwise requIred,

 On tnhatf of the Special CommIttee. Charles E_ Phillips, Jr. sad: -Wb are pleased to have reached an
 agreement that we beIIeve delivers to Paramount stockholders both immediate value and future upside
 opportunity. The Special Committee. WIth the assistance of independentfinancial and legal advisors
 conducted a thorough review of actionable potential transactions to drive value for our stockholders in
 addItion to economIc value. the Special Committee took into account the certainty of closing and
 regulatory approvals. Followingextensrve negotiations with Skydance, we believe this proposed
 transaction WIll posItion Paramount for sucwss in a rapkity evolving IndUstry landscape. Upon closing. It
 WIll deIIver immediate cash aortslderationat a premium to both the mInority Class A and Class B
 stockho+den,who will also tnneftt from what we believe to be consIderableupside through continued
 equIty partIcipation in New Paramount.-

 Mr. PhilIIPS continued, "The Special CommIttee would like to thank our Co-CEOsGeorge Cheeks. Chris
 McCarthy and Brian Robbins for making significant progress on optimizing company operatIonsin a short
 perIOd of time, positioning Paramount for a sustainable transformation and a path to profitable growth
 goIng fOIward

 Further information regardingterms and condItionscontained in the merger agreement will be available
 on the investor relations sectIon of Paramount's website at https //ir.paramount com/ and in a joint press
 release issued earlier today by Paramount and Skydanae

 Important Information About the Transactions and Where To Find it
 In connectionwith the proposed transactions Involving Paramount. Skydance and NAI (the
 -Transactk)ns-), Paramount will file with the Secunties and Exchange Conrnissbn (the -SEC-) a
 registration statement on Form Sa that will InclUde an information statement on Schedule 14C and that
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 will also constitute a prospectus of Paramount. Paramount may also file other documents with the SEC
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 regarding the Transactions
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  This document is not a substitute for the information statement/prospectus or registration statement or
  any other document that Paramount may file with the SEC. INVESTORS AND SECURITY HOLDERS OF
  PARAMOUNT ARE URGED TO READ THE REGISTRATIONSTATEMENT,WHICH WILL INCLUDE
  THE INFORMATIONSTATEMENT/PROSPECTUS,AND ANY OTHER RELEVANTDOCUMENTS THAT
  ARE FILED OR WILL BE FILED WITH THE SEC. AS WELL AS ANY AMENDMENTS OR
  SUPPLEMENTS TO THESE DOCUMENTS. CAREFULLYAND IN THEIR ENTIRETY'BECAUSE THEY
  CONTAIN OR WILL CONTAINIMPORTANT INFORMATIONABOUT THE TRANSACTIONSAND
  RELATED MATTERS. Investors and security holders may obtain free copies of the registration statement
  on Form S-4 (when available). which will include the information statement/prospectus. and other
  documents filed with the SEC by Paramount through the website maintained by the SEC at www.sec.gov
  or by contacting the investor relations department of Paramount (+1-64G824-5450;
  jaime.moms@paramount,corn).

   No Offer or Solicitation
  This communicationis for informatIonal purposes only and is not intended to and does not constitute an
  offer to subscribefor, buy or sell, or the solicitation of an offer to subscribefor. buy or sell. or an invitation
  to subscribefor, buy or sell. any securitiesor a solicitation of any vote or approval in any jurisdiction,nor
  shall there be any sale, issuance or transfer of securitiesin any jurisdiction in which such offer. invitation,
  sa}e or solicitation would be unlawful prior to registration or qualification under the securitieslaws of any
  such jurISdiCtiOn. No offer of securItiesshall be made except by means of a prospectus meeting the
   requirementsof Section 10 of the Securities Act of 1933. as arnended.and otherwise in accordance with
  applicable law.

   Cautionary Notes on Forward4ooking Statements
  This communicationcontains both historical and forward-looking statements. including statements
   related to our future results. performance and achievements. All statements that are not statements of
   historical fact are, or may be deemed to be. forward-looking statements within the meaning of the PrIvate
   Securities Litigation Reform Act of 1995. Similarly, statements that descrIbe our objectives, plans or goals
   are or may be forward-looking statements. These forward-looking statements reflect our current
   expectations concerning future results and events; generally can be identifed by the use of statements
  that include phrases such as 'believe.’ -expect,- -anticipate,' -intend.- -plan,- 'foresee.” likely,- “will,-
   "may,- "could." "estimate- or other SImilar words or phrases; and involve known and unknown risks
   uncertainties and other factors that are dtfficutt to predict and which may cause our actual results,
   performance or achIevementsto be different from any future results, performance or achievements
   expressed or implied by these statements

   Importantrisk factors that may cause such a difference include. but are not limited to: (i) that the
   Transactionsmay not be completed an anticipated terms and timing (or at all), (ii) that a condition to
   closing of the Transactionsmay not be satisfied. including the failure to receive any required regulatory
   approvals from any applicable governmental entities (or any oonditions. IImitations or restrictions placed
   on such approvals). (iii) that the anticipated tax treatmentof the TransactIons may not be obtaIned, (IV)
   the potential impact of unforeseen liabilities, future capital expenditures, revenues, costs, expenses
   earnings, synergies. economic performance, indebtedness.fInancial condition and losses on the future
   prospects. business and management strategies for the management. expansion and growth of the
   combined business after the consummationof the Transactions. (v) potential litigation relating to the
   Transactionsthat could
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 be instituted against Paramount or Its directors, (vi) potential adverse reactions or changes to business
 relatIonshIps resulting from the announcement or completion of the Transactions, (vii) any negative
 effects of the announcement, pendency or consummation of the Transactionson the market price of
 Paramount's common stock and on Paramount’s or Skydance’s operating results, (viii) risks associated
 with third party contracts containing consent and/or other provisions that may be triggered by the
 Transactions. (ix) the risks and costs associated with the integration of, and the ability of Paramount and
 Skydance to Integrate. the businesses successfully and to achieve anticipated synergies. (x) the risk that
 disruptions from the Transactionswill harm Paramount’s business,including current plans and operations
 or by diverting management's attention Paramounfs ongoing business operations, (xi) the abIlity of
  Paramount to retain and hire key personnel and uncertainties arising from leadership changes. (xii)
 legislative, regulatory and economic developrnents.(xiii) the other risks described in Paramount'smost
 recent annual report on Form IO-K and quarterty report on Form 10-Q. and (xiv) management'sresponse
 to any of the aforementioned factors. There may be additional risks, uncertainties and factors that we do
  not currently view as material or that are not necessarilyknown

 These risks. as well as other risks associated with the Transactions, will be more fully discussed in the
  information statement/prospectusthat will be included in the registration statement on Form S-+ that will
 be filed with the SEC in connection with the Transactions.While the list of factors presented here is. and
 the list of factors to be presented in the registration statement on Form Sq is. considered representative
  no such list should be considered to be a oomplete statement of all potential risks and uncertainties
  Unlisted factors may present significant additional obstaclesto the realization of forward-looking
 statements. Consequences of material differenaes in results as oomparedwith those anticipated in the
 forward-looking statements could include. among other thIngs, business disruption, operational problems,
 financial loss. legal liability to third parties and similar risks, any of which could have a material adverse
 effect on Paramounts consolidated financIal condition, results of operations, credit rating or liquidity, The
  forward-looking statements included in this communicationare made only as of the date of this
  communication,and we do not undertake any obligationto publicly update any fOIward-lOOking
  statements to reflect subsequent events or circumstances. except as otherwise required by applicable
 law

 Contact:
 Brunswick Group
 ParamountSpecialCommittee@brunswickgroup,corn
 (212) 333 - 3810
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   Cnc No.       CV 0&3731-GHK (SHI)                                             Date    June 1 7, 2010

   Title         Jim Brawnv, Bren Brewer. et al




    Presiding: The Honorable                      GEORGE H, KING+ U, S, DISTRICT JUDGE

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             Attorneys Present for Plaintiffs:                     Attomcys Present for Defendants

                           None                                                   None


    Proceedings:        (in Chambers)Order re: Crow-Motions for Summary Judgment; [213. 21 8.
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           This shareholder classaction arises out of News Corporation’s("News Corp.’') 2005 acquisition
   of Tntermix Media. Inc. (''Intcrmixn), formerly known as eUnivcrse Inc. (Brewer Decl. 1 3), a company
   which owned. among other internet businesses, the social networkingwebsite MySpace. Plaintiff Jim
   Brown ("PlaintifF'). individrully and on tnhalf of all memtnrs of the certified class of former Intcrmix
   shareholders.1claims that lkfendants Brca Brewer (-Brewer"). Daniel Mosher (•'Mosher'’),LauTencc
   Moreau (''Moreau"). David (brlick (''Carlick"). Andrew Sheehan(-Stnehan-), Richard Rosenblatt
   ("Rosenblatt"),James Quandt (''Quandt"), and William Woodward("Woodward-) (collectively.
   '•DcfLndants"), the eight Intermix directors at the time of the company'ssale, breached their fiduciary
   duties under state law and violated Section 14(a) of the Securities and Exchange Act of 1 934 and SEC
   Rule 14a-9(CounLs IV and II. rcspcctivcly).; (ConsolidatedSecond Amended Complaint[•'CSAC-’] in


            1 in our June 22. 2009 Order. we certified the following class:-All holdersof Intermix Media,
   Inc. (•Intermix' or the •Company') commonstock. aom July 1 8, 2005 thruugh the consummationof the
   sale oflntermix to News Corporation ('Ncws Cmp) at the price of $12.00per share on Septcmtnr30.
   2005(the 'Acquisition'), who were harmedby dcfendants'improperconductat issue in the litigation
   Excludedfrom the Class are defendantsand any person firm. trust,corporationor otherentity related to
   or afTiliatedwith any defendant.-’ (Dkt. No, 197).

        ! in our July 14, 2(X)8 Order on the Motion to Dismiss, wc dismissed wIth prejudice [hfendants
   Montgomery& Co. LLC (-Montgomery-). and Thomas Weisel Partners Group, Inc. and Thomas
   Weisel Partners Ll.C (''TWT”). the investment banks which advised the Tntermix board during the 2005
   transaction and completed lbimess analyses on the 812 per share price offered by News Corp, in the
   consummated merger transaction. (Dkt. No. 1 10. at 4-5). In that same Order. we also dismissed with
   prejudice Count I for violation of Section 14(a) of the 1934 Act and SEC Rule 14a-9. which \ms stated
   against the 2003 Individual lkfendants. which included Brewer, Mosher, Morean JefFrey Scott Eden,
   Bradley Ward. C'arlick. Sheehanand I.ipp. and VantagcPoint. \Id. at 1-3). Accordin}II) . CountPV
                                                                                                 Ill for
   CV'$010G'BU                            CIVIL MINtTES _ GENERAL                                     Or 3+ 1
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   168-74,179-87;Brewer Decl. c 5). The only other remainingclaim is Count Ill for "control person”
   liability underSection20(a) ol'the 934 Act againstDefendants involved in the 2005acquisitionof
                                           1

   Intermix. (CS AC 1111 1 75-78). This matteris txfore us on the Parties’ Cross-Motionshr Summary
   Judgment.We have consideredthe papers filed and all of the admissibleevidence, arxl deem this matter
   appropriate for resolutionwithout oral argument.L.R. 7-15. As the Partiesare familiar with the facts in
   this case. we uill reFnat them only as necessary. Accordingly. we rule as follows.

   1.       Motion for Summary Judgment Standard

            Summary judgment should tx granted -if the pleadings, the discovery and disclosure materials
   on file, and any affidavits show that there is no genuine iuuc as to any material fact and that the movanl
   is entitled to judBment as a matter of law."       FED.R CIV. P. 56(c)(2); see also ('elolcr C'w. v. Calrell,
   477 U.S. 317. 322-23 (1986). " As to materiality, the substantivelaw will identify which facts are
    material. Only disputes over facts that might afFect the outcome of the suit under the governing law will
   properly preclude the entry of summary judgment.'’ Andersonn Liberty Lobby. Inc. , 477 U.S. 242, 248
   ( 1986). On a motion for summary judgment. our "function is not . . . to weigh the evidenceand
   determine the truth of the matter but to determine whether there is a genuine issue for trial," Jd. at 249

             I’he moving party bears the initial responsibilityto point to the absence of evidence of any
    genuine issue of material fact. (-clolex Corp. . 477 U.S. at 323. “When the party moving for sumrn,try
   judgment would bar the burden of proof at trial, it must come forward with evidence which would
   entitle it to a dirwted verdict if the evidencewent uncontrovenedat trial. In such a case. tIn moving
   Fully has the initial burden of establishing the absence of a genuine issue of fact on each issue material
    to its case." Miller v. Glenn Miller Prtxls . Inc.. 454 F.3d 975, 987 (9th Cir. 2(X)6) (citation and
   quotation marks omitted). By contrast, where the non-movingparty -tuarb au burden of pra)fat trial,
    swnmary judgment is warranted if aw nonmovant fails to 'make a showing sutTicicnt to establish the
   existence of an element essential to [its] case."' Nebraska£ Wyoming, 507 IJ.S. 584. 590 (1993)
    (quoting ('elorex Corp, . 477 U.S. at 322) (alteration in original). -jT]he moving party can meet its
    burden by pointing out the absence of evidencefrom the non-movingparty,- and it "need not disprove
    the other parry-s case." Miller. 454 F.3d at 987 (citation omitted). Accordingly. •'[tjhe nonmoving
   party must come fbrward with specific facts showing there is a genuine issue for trial." hlatsushita
   r/ec. Indus. Co. r, Zenith Radio Corp. . 475 U.S. 574. 587 (1986) (internal quotation marks and citations



   "control person- liability was dismissed as to Eden and Ward as it was prcmised on the only other
   claim against them. the dismissed Count 1. (Id, at 7-8). TIn Parties stipulatcd to dismiss certain
   Defendants,(Dkt Nos. 190, 2fbt), On Junc 10. 2(D9. pursuant to the Parties' stipulation.we dismissed
   without prejudice [X:fcndants VantagcPointVenture Pannen. VP Alpha Holdings IV L.L.C.,
   VantagePoint Venture Partners IV (Q) I_P'. VantagePoint Venture Panncrs IV 1..P.. and VantagePoint
   Venture Partners IV Principals Fund L.P. (Dkt. No. 194). On August 28, 2(X>9. pursuant to the Parties
   stipulation_ we dismissed wIthout prejudice Defendant Christopher Lipp. Intcrmix's General Counsel
    Dkt. No. 2051
   (YogaICH/tR)                                                                                              Pa8c2oF39
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   omittcd).    However. -[i]f the opposing party does not so respond. summary judgment should. if
   appropriate.be entered against that party," FuD. R. CIV. P. 56(c)(2); see also Celotcx Corp , 477 U.S. at
   322 ("[T]he plain language of Rule 56(c) mandates the entry of summary judgment . . . against a party
   who fails to make a showing sufficient to establish the existence of an element essential to that party's
   case, arM on which that Fwty MII txar dn burden of proof at trial.'’). The -opposing party may not rcly
   merely on allegationsor denials in its oub pleading[.]" F£D. R. CIV. P. 56(e)(2). "Ttre evidence of the
   non-mo\'antis to tx txlicved, and all justifiable inferences are to tx drawn in his favor.- Anderson,477
   U.S. at 255: see also in re Barbo=u. 545 F.3d 702, 707 (9th Cir. 2008) ("Thc court must view all the
   evidencein the light most favorable to the nonmoving party.") (citationsomitted)

            'only admissible evidencemay tx considered in deciding a motion for summary judgment'
   Miller. 454 F.3d at 988. Under Federal Rule of Civil Prcxedurc 56(c)(1 ), '•Ial supporting or opposing
   afIida\'h must tx made on Fxnonal knowledge,set out facts that would tn admissiblein evidence. and
   show aut the afTiant is comIntern to testify on tIn matters statul.- See also Block v. City of Los
   Angeles, 253 F.3d 410, 418-19 (9th Cir. 2tX>1). Conclusory and SFnculati\'e affidavits that fail to set
   forth specific facts are insufTicient to raise a genuine issue of material fact. Thornhill Publ 'g Ca. Inc. v
   Gen. Tel. & aces. C’ntp. , 594 F.2d 730. 738 (9th Cir. 1979). Absent a proper exception,hearsay
   statements are inadmissible. See Japan Telecom. Inc. v. Japan Telecom ,dm.. Inc.. 287 F.3d 866. 875
   n.1 (9th Cir. 2002 ). Funhcrmore.neither an unverified complaintnor unsworn statements made in the
   panics’ briefs can tx: considered as evidence at this stage. Swe Moran v. SeNg, ++7 F.3d 748, 759 &
   n. 16 (9th Cir. 2(Xh) (noting that un\'crificd complaintcannot tv oonsidend as cvidence on motion for
   summary judgment);BrItish airways Bd. v. Boeing Co. . 585 F.2d 946, 952 (9th Cir. 1978) ('•[L]egal
   memoranda. . . are not evidence[.I'-)

   11.      Count IV: Breach of Fiduciary Duty Claim

            A       DelawareLaw on Corporate Fiduciary Duties Generally

           Delawarelaw governs PlaintifFs state law claim of breach of fidwiary duty. Under Delaware
   law. all directors and officers ofa corporationowe their shareholders fiduciary dutics of loyalty and
   care. Gander v. Stephens. 965 A.2d 695, 708-09 (Del. 2009).1



           3 Under Delaware law. the bt6irrcss judgment rule creates •'a presumption that in making a
   business decision. the directors of a corporation act on an informed basis, in gcxx] faith and in an hornst
   tnlief tInt the action taken was in the test interests of the company." ,Ironson r. Lx\tis, 473 A.2d 805
   812 (Del. 1984). "A plaintifFchallenginga boarddecision bears the burdento rebut thc rule's
   presumptionby providing evidencethat the directors breachedtheir flduciaryduties." Goodwin r. I.ive
   EntIn ?, Inc. , No. Civ. A. 15765,1999 WI. h+265. at ’'24 (DcI. Ch. Jan. 25, 1999)(citing Cede & (b. v.
   Technicolor. Inc. , 634 A.2d 345, 361 (Del. 1993),mtxlificd by. 636 A.2d 956 (Del. 1994)(•'C'ede IF).
   Citron v. Fairchild ('amera and Instrument Corp,, 569 A.2d 53. ca (Del 1989)). -In order to overcome
   that presumption.    a plaintifFmuM provean act of bad faith by a prepondcrarncof the evidence.- in re
   cva) (ObeO                               O\-IL \llbITUI. GE\ER\I.
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                                         CIVIL MINUTES - GENERAL

    Case No.     CV 06-373 IX)HK (SH\)                                               Date   June 1 7. 2010

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                  I.      Duty of Care

          -Director liability for breaching the duty of care •is predicated upon concepts of goss
   negligence.’" BlnLs v. DSL.net. Inc. . C.A. No. 2823-VCN. 2010 Ul, 1713629. at +8 (Del. Ch. Apr. 29,
   2010) (quoting Mc Mullin n Br:ran, 705 A.2d 910, 92 1 (Del. 20(X))). The Delaware General
   Corporation I.aw rxrmits a corporationto include a provisionin its charter -eliminating or limiting the
   personal liability of a director to the corporation or its stockholders for monetary damages for breach of
   fiduciary duty as a director." DEL. CODE ANN. tit. 8. § 102(b)(7), While such an exculpatoryprovision
   may eliminate any liability for brcactws of the duty of cnn, it "shall not eliminateor limit the liability of
   a director: (i) For any breach of an diroctor's dury of loyalty to the corFDration or its stocklx>lders; (ii )
   for acts or omissions not in good faith or which involve intentionalmisconductor a knowing violation
   of law: . . . or (iv) for any transaction from which the director derived an improper personal tx:nefit." Id.
   Intermix'scharter cxculpatcs Defendants Ih)m any duty of care claims. (J.A„ Ex. 38. CertifIcateof
   Incorporation). Accordingly. Defendants assert this provision as their fifth afFirmative defense: “Tbc
   breach of fiduciary duty claim is barred. in whole or in part, by the exculpatoryprovisioncontained in
   IntemHx-s Certificateoflncorlnration." (Dkt. No. 11 1. Aug. 4. 2(X)8). In light of this provision,we
   conclude that the director Defendants cannot tx: liable for any pwponed breach of fiduciary duty based
   solely on their duty of care. Plaintiff does not argue otherwise

           Defendants also move for sumrnary judgment on the question of whether Brewer and Roscnblatt.
   who doubled as officers for Intermix, may tx: held liable for any breaches of the duty of care. since
   Section 102(b)(7) only permits exculpalionof duty of care claims hr directors. It is undisputed that
   txrth Bren'er and Rosenblatt served as directors and officers of Interrnix. Brewer as President and
   Roscnblatt as CEO. (Brewer Decl. c 1 ; Rosenblatt Decl. q 1 ). lbc law is clear that where it is
   impossible to seFnratc actions taken in fulfillment of a defendant'sdirectorial duties from actions taken
   in fultlllment of that defendant’s duties as a corporate ofFicer, then any duty of care claim stated against
   that individual is exculp&ted. In ,+rnttId r. Society for Savings Bancorp.Inc. . 650 A.2d 1270 (Del.
   1994). the Delaware Supreme Court held that since the plainti11' -failed to highlight any specific actions
   [the defendant] undertook as an officer (as distinct from actions as a director) that fall within the two
   pertinent exceptions to Section 102(b)(7)[.]"any duty of care claim was precluded under the
   cxculpator}’ clause. Id. at 1288 (citing R. Franklin Baloni & Jesse A. Finkelstein Delaware I'aw of
   Corp, & Business Org. g 4.19. at 4-335 (Supp. 1992) (where a defendant is a diructor ara officer, onI)
   those actions taken solely in the defendant'scalncity as an ofTiccr are ouLqde the purview of Section



   Wall Disney Co. Derivative I.ilig. . 907 A.2d 693 (Del. Ch. 2005). -If the plaintiff fails to rebut thc
   presumption. the business judgment rule protects the decision made.’' Goodwin, I Wi WL Gi265. at +4
   (citationomitted). -If the rule is rebuffed.the burdenshifts to the defendants. . . to provethat the
   transaction was entirely fair to the plaintiIT shareholder: Id. (citation omitted).
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    102(b)(7))).PlaintitTs have not identifiedany actions taken b) Rosenblau or Brewer solely in their
   capacity as officers. Accordingly. to the extent any claim for breach of the duty of care is embodied in
   Count IV. we GRANT summary judgment on that specific basis as to all dIrector defendants, including
   Brewer and Roscnblatt who also served as oftlcers.

                    2.      Duty of Loyalty

             To hold a director liable for breach of the duty of loyalty. the plaintiff must establish that ''a
   majority of the Director Defendants either [1} stood on tx>th sides of the merger or wcrc dominated and
   controlled by someone who did; or [21 failed to act in good faith, i.e., where a fiduciary intentionally
    fails to act in the face of a known duty to act, demonstrating a conscious disregard for his duties.- in re
   hTM EX S’holder Lilig,, C.A_ Nos. 3621-VCN, 383$VCN, 2009 WL 320605 1, at '6 (Del. CIt Sept. 30,
   2CX)9) (internal citations and quotation marks omitted): Lyorxlell Chem. Ca v. Ryan. 970 A_2d 235. 239-
   40 (Del. 2(KB)\"LyondeIF) (-Because the trial cowl determined that tIn tx)ard was independent arxl
   was not motivated by self-interest or iI] will. the sole issue is whether the directors are entitled to
   summary judgment on the claim that they breached their duty of loyalty by failing to act in good
   faith

            With respect to the first basis for demonstrating breach of the duty of loyalty. Delaware law
   pro\’ides that "lwjhcn directors . . . are on both sides of a transaction they are required to demonstrate
   their utmost gu>d faith and the most scrupulous inherent fairness of the bargain: Wcinbergerv. UOP,
   Inc,. 457 A.2d 701. 710 (Ihl. 1983). '•Classic examples [of this tylx of breach] are when a director
    appears on both sides of a transaction or receives a lxrsonal txnefit not received by the shareholders.
    generally." Oliver v. Boston Univ.. No. Civ. A. 1657(bNC, 2006 WL 10&+169, at + 18 (Del. Ch. Apr.
    14, 2006) (citing Cede II. 634 A,2d at 362 (citing NIIon w Blackwell. 626 A.2d ] 366. 1375 (Del
    1993 ))) (internal quotation marks and alterations omitted). "lf corporate fiduciadesstand on txlth sides
    of a challenged transaction, an instance when the directors' loyalty has been called Into question the
    burden shifts to the fiduciariesto demonstrate the •entire faimess' of the transaction.-Id. (citations
    omitted). A showing of '-entire fairness’' nquhes proof that thc transaction is •'the product of tx)th fair
    dealing and fair price.- Cede //. 634 A.2d at 361 (emphasis in original and citations omitted).

           With respect to the second buis for demonstrating breach of the duty of loyalty. Delaware
   courts have noted that ••the requirement to act in good faith is a subsidiaryelement. i.c_ a condition.of
   the fundamental duty of loyalty." Stone v. Ritter. 91 1 A.2d 362. 369-70 (Del. 2006) (citation. alteration.
   and internal quotation marks omitted) (“IT]he fiduciary duty of loyalty is not limited to cases involving
   a financial or other cognizablefiduciary conflict of interest. It also encomlwxs cues where tIn
   fiduciary fails to act in Bmd faith."). In Stone , the Delaware Supreme Court explained that ''ahhough
   good faith may be described colloquially as part of a 'triad' of fiduciary duties that includes the duties
   of care and loyalty, the obligationto act in good faith does not establish an independent tlduciary duty
   that stands on the same footing as the duties of care and loyalty.- Id. at 370



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            The Delaware Supreme Court has explained what constitutes bad faith by way of a spcctrum of
   directorial conduct. -At one end of the spectrum, [there is] a category of acts involving non-exculpable.
   so¤allcd 'subjcctivc bad faith,’ that is, fiduciary conduct motivated by an actual intent to do harm."
   Rvan n I,yc)ndell Chem. Co. . C.A. No. 3176.VCN. 2CX)8 WL 4174038. at +3 (Del, Ch. Aug. 29, 2008)
   (-Ryan--)(quoting in re IVall Disney C’a Derivative Litt s. 906 A.2d 27, 64 (DcI. 2006)C- Disney- ))
   (internal quotation marks omitted). -The second category of conduct, which is at the opposite end of
    the spectrum, involves lack of due care–that is, fiduciary action taken solely by reason of gross
   negligenceand without any male\,'o]ent intent." Disney. 906 A.2d at 64. lbc court observed that
     grossly negligent conduct, without more. does not and cannot constitutea breach of the fiduciary duty
   to act in good faith." Id. at 65. TIle third category idcntincd by the DelawareSupreme Court is the one
   at issue in this case: ''intentiona!dereliction of duty or a conscious disregard for one’s responsibilities."
   Id. at 66. ''Such misconduct, according to the Court. is 'propcrly treated as a non-exculpable.
   non-indernninableviolation of the fiduciary duty to act in good lbith.’'- Ryan. 2008 Wt. 4174038, at #3
   (quoting Disney. 906 A.2d at 66).

          Accordingly, '•the distinction between gross negligenceand non-exculpable 'bad faith’ (i.e., that
   elusive something 'more') has important consequences in Delaware’s jurisprudence and corporate
   statutory scheme because. for example, director conduct amounting only to a vio]ation of the dub' of
   care. but otherwisetaken in good faith. is exculrmble under 8 Del. C. $ 102(b)(7) or indemnifiableunder
   8 DcI. C. § 145.H Id. (citing Disney. 906 A.2d at M-65)

            R'     Scope of Plaintiff’s Claim of Breach of the Duty of Inyalty

          Inasmuch as the director defendants are exculpatcdfrom Fntential breaches of their duty of care.
   the success of Count IV necessarily depends on "whether any arguable shortcomings on the part of the
     directors also implicate their duty of loyalty. a breach of which is not cxculpated." Lyondell.970
   A.2d at 239. To that end. in order to rule on Defendants’motion for summary judgment, we must
   ascertain whether there are any genuine issuesof material fact with rcspcct to whether the directors
   breached their duty of loyalty. not merely their duty of care. In keeping with the Parties’ Joint Brief. we
   address the two bases for breach of thc duty of loyalty in the revcrsc order: fIrst, Plaintiffs assertion of
   bad faith conduct bv Defendants. and second. PlaintifFs allegationof a self-interested transaction not
   sho\\b to be entirely fair.

                   1.      Bad Faith in RaIIon Auction Context

            lbc obligation to act in good faith, which is a neccssary component of satisfying the duty of
   lovaltv, requires directors to act for the purpose of advancing corporate well-tning. Therefore, any
   "intentional derelictionof duty. a conscious disregard for one’s responsibilities[,]"constitutes bad faith,
   or the Failure to act in good faith. r)isrreyT906 A.2d at 66; Stone, 91 1 A.2d at 370 ("Where directors fail
   to act in the face of a kno\x,n duty to act. thereby demonstrating a conscious disregard for their
   responsibilities. they breach their duty of loyalty by failing to discharge that fiduciary obligationin
   good faith.-'). In dris case, PlaintifF and the shareholder class which he represents argue Defendants
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   consciously disregArded their responsibilities in selling Intermix to News Corp. tbl $12 per share. wInn,
   so they contend. a likely topping bid from Viacom was imminent.

            The seminal case of Revlort IIte . v. ,Vac.4ndrrws& Forbes lloldings. Inc , 506 A.2d 173 (DcI.
    1986), regulates directorial conduct during a sale or change of control of a publicly held corporation.
   Re\•lun holds that directors satisfy their fiduciary duties when their conduct is geared towards -the
   maximi7arionof the company's vaiue at a sale for the stockholden' tnnefit." Id. at 182. Revlon is
   triggered in the foI]owingthree scenarios: -( 1 ) when a corTX)rationinitiates an active bidding pnxess
   seeking to sell itself or to effect a btniness reorganization involving a clear break.up of the company:
   (2) where, in response to a bidder'soffer, a target abandons its long-termstrategy and seeks an
   altemativetransaction involving the break-up of the company; or ( 3) when approval of a transaction
   results in a sale or change of control." Arnold v. Soc 'y for Say.Bancorp_Inc. . 650 A.2d 1270, 1289'90
   (DcI. 1994) (internal citations and quotation marks omitted). More recently. the Delaware Supreme
   Court has stated that Revlon duties attach "when a oompany cmtnrks on a Uansxtiondon its o\\n
    initiative or in response to an unsolicitedofFer-that will result in a change of conUul." Z}umM, 970
   A.2d at 242. WIen the company’s "break-up" became "inevitable." in Revlon. ''ltjhe directors' role
   changed from defenders of the corporate bastion to auctioneers chargcd with getting the tx>st price ku
   the stockholdersat a sale of the company.” 506 A.2d at 182. In addition to its principal holding that
   shareholder wealth m&ximizaHon must tw the directors' foremost objective,the court also noted that
   "fa\'ohtism for a white knight to the total exclusion of a hostile bidder'- was imlxrmissible if divorced
    from the objective of shareholder \aloe maximi/aljgn. Id. at 184. '•WInn bidders make relari\ el)
   similar offers. or dissolutionof the company tx:comes inevitable.the directors cannot fultlll their
    [fiduciary] duties by playing favorites with the oontending factions. Market forces must be allowed to
   operate freely to bring the target's shareholders the best price available for their equity.- Id.

          TIle Delaware Supreme Court has clarified that •'R¤vlon did not create any new tlduciary
   duties[,]" but rattur -simply held that the 'tx)ard must lxrform its fiduciary dutics in the service of a
   srncific objective:maximizingthe sale price of the enterprise.'-I,}vndell. 970 A.2d at 239 (quoting
   Malpiede n Tou-rtson. 780 A.2d 1075. 1083 (Del. 2(X)1 )). Additionally, Delawarecase law has time
   and again naffumed the anti-fa\'oritism principle,ie. that directors may not tilt the playing field in
   favor of one bidder or otherwiseskew the auction unless this conduct is designed to maximize
   shareholder wealth. In Burkun u Amstcd Industrtes. 567 A.2d 1279 (Del. 1989). the court warned that
   "the &lard must act in a neutral manner to encourage the highest possible price for shareholders.”Id. at
    1286. To tn sure. -lhere is no single blueprint that a board must follow to fulfill its duties." and 'lhere
   are no legally pnscritnd steps that directors must follow to satisfy their Rn•lon duties.” Id.'. Lyondell.
    970 A.2d at 243. Nevertheless. -[wjtnn multiple bidders are competing for control. this concern for
    fairness forbids directors from using defensive mechanisms to thwart an auction or to favor one bidder
    over another." Id. at 1286-87 (citation omitted). More recently. in in re Toys "R" Us. Inc
   Shareholder Litigation. 877 A.2d 975 (DcI. Ch. 2005). the Delaware Chancery Court stated that “a
    scIHsh or idiosyncratic desire by the board to tilt the playing field towards a particular bidder for
    reasons unrelated to the stockholders’ ability to get top dollar" is a violation of a director's fiduciary
    obligations. Id. at 10(HH)I.
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             To support his claim that Defendants acted in bad faith, Plaintil}- cites Mills .4cxjuisilion( b.
    VIucmillun. Inc. . 559 A.2d 1261 (DcI. 1988). In that case, Macmillan. Inc.’s Chairman and Chief
    Executive Officer (•-CEO" ) and its President and Chief Operating onlcer (•'COO") orchestrated a
    leveraged buyout of their own company. resulting in a lock-up agrccmcnt "between Macmillanand
    KohlbergKrdvis Roberts & Co. (•KKR'). an investment fIrm specializing in levearged buyouts,’' Id. at
    1264-65. These directors, “as participantsin the leveraged buyout, had a significant self-interest in
    ensuring the success of a KKR bid.- Id. at 1279. Indeed, •-Macmillan senior management would
    receive up to 2(P/o ownershipin the ncwly formed company." Id. at 1273. So strong was the pull of
    that promised 20 pcroent ouTnrship stake that even tvR)re KKR had communicated a bid price. these
    self.interested actors indicatedthat they would "endorse" the acquisitionto the full tx)ard of directors.
   Id. To steer the pmccss in the desired direction_ tIny hclandestincly and imFKrmissibly skewed-' the
    auction in KKR's favor by, among other things. tipping KKR ofF as to the amount of a competing bid
    and then coneealingthis tip from the board of directors. Id. at 1279-81, On appeal, the Delaware
    Supreme Court held that "discrimirratorytrcaancnt ofa bidder. without any rational benePt to the
   \hurchtllders.was unwarranted." Id. at 1282 (emphasis added).4 The court found that ••KKR repeatedly
   received signincantmaterial advantages to the exclusion and detriment of jthc competing bidder] to
   st)'mle. rather than enhance. the bidding process.” Id. at 1281. Moreover,the coun concludedthat
   -It jhc board was torT>id.if not supinc. in its efforts to establish a truly independent auction . . . .'’ Id. at
   1280. The court added: -By placing the entire process in the hands of [the chairman], through his o\\'n
   chosen fInancial advisors. with little or no tx>ard oversight, the board materialb’ contributed to the
   unprincipledconduct of those upon whom it looked with a blind eye." Id

           Defendants contend that Macmillan is distinguiarabletxcausc thc directors in that case were on
   both sides of the transaction and therefore engaged in self-dealing. However.Defendants have poInted
   us to no authority hr the proposition that Macmillanis only applicablewhen a court reviews self-
   interested transactionsfor fairness and may not support a finding of bad faith conduct in the Re\IIon
   auction context.



            + Fa\.'oritism and deal protectiondevices,such as a terminationfcc. are permissible so long ui

    they are strategically designed to maximimthe price paid to shareholders. Macmillan. 559 A.2d at
    1287("[T]In board'sprimary otljective.and essentialpurpose,must remainan enhancement of the
    biddingprcxess for an kxne6t of the stockholders.-).Macmillan set fortha test whichtoleratesonly
   value4nhancingpreferentialtreatment:

            In the face of disparate treatment.the trial court must first examine whether the directors
            properly perceived that shareholder interests were enhanced. In any event, the board's action
            must be reasonable in relation to the advantage sought to be achieved. or conversely. to the
            threat which a particular bid allegedly poses to stockholderinterests

   559 A,2d at 1288: in re JP, Stevcns & Co.. Inc. S-holdersLitig. . 542 A.2d 770, 782 (Del. Ch. 1988)
   (•"rhc board may tilt the playing Held if. CIVIL
                                              but only  if. it is in thc sharcholders'interest to do so.-).PagE8 of 39
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            We recognIze that Wayne Ctrunry Employees ' Retirement S)stem v. t-orti. Civil Action No
   3534.CC,2009 UL 22 19260 (DcI. Ch. July 24, 2009), distinguishes Macvnillarlfrom the single.bidder
   merger reviewedin that case on the absence of any conflictedinsiders seeking to transfer control of a
   company to themselves. Id. at *12-13 ('-There is much less cause for concem when managers wIll
   continue their employment with the combined post-transaction entity. than whin tIn conflicted
   managers are bidders in an auction for control of the company. and are thereby seeking to transfer
   control of the comlnny to themselves personally.’')_But that discussion has no tnaring on the
   pmhibidon on favoring a particular bidder in a multiple.bid at context which this case arguably
   presents.s Defendantssuggest that the directors may tilt the playing field in favor of a particular bidder,
   without regard to shareholder wealth maximi7ztbn. so long as they are not on both sides of a
   transaction. We reject this argument.Simply tx:cause Macmillan examined -disparate Ueatmcnt"
   through the lens of disloyalty premised on a self-interested transaction does not mean field-tilting is
   permissiblein other contexts.See EmersonRadio Corp. n InI '/ Jensen Inc., Civ. A. Nos. 15130.
   14992. 1996 WI. 483086, at +11-12 (Del. Ch. Aug. 20. 1996) (describing Macmillan as requiring
   fiduciariesto utnat all bidders cqually arxl fairly in carrying out dwir Rev-Ion duties- and ickntifying
   self-interested nature of merger transaction as an "addition[al]- or -alternative" theory for breach of
   duty of loyalty); Roberts y. (;en Instrument Ctrl>.. CIV. A. No. 11639, 1990 WI. 1 18356. at #8 (Del.
   Ch. Aug. 13. 1990) (citing Macmillan, 559 A.2d at 1287-88)(•'ln each instance where the board is not
   predominantly self-interested or under the control or dominating influcrne ofa person with a conflicting
   interest, the principal judicial inquiries relate to whether the board was adequately informed and acting
   in good faith. This court has been pointedly instructed. however. that 'whcre issues of corporate control
   are at stake' action of even a disinterested tx>ard must meet an enhanccd test tx:fore they will qualify for
   the defenrHCthat oouns ordirwily accord to gu>d faith business judgments.").

            Whatevera director's particular motivation. evidence that he skewed an auction in favor of a
   particular bidder can support a finding of an -intentional derelictionof duty.- Dtsney. 9(M A.2d at 66.
   i,e. a violation of the obligation to act in good faith. See Nagy n Bistricer, 770 A.2d 43. 48. n.2 ([hI.
   Ch. 2000) (obscr\'ing that the duty of good faith may scrvc as a "constant reminder . . . that. regardless
   of his motive. a director who consciously disrcgnds his duties to the corporationand its stockholders
   may suffer a personal judgment for monetary damages for any harm he causes," even if for a reason
   "other than personal pecuniary interest").6



            5   Although Viacom did not actually submit a bid. we conclude that there are triable issuesof fact
   as to whether Viacom was at least a serious potential bidder which was discouraged from actually
   submittinga bid by Defcndants'alleged bad faith conduct

           6 TIle Delaware courts have cxplained that favoritism, untcthered to any strategy to drive up bid
   prices, is a breach of the fiduciary duties which Revlon focused through the lens of shareholder wealth
   maxirnization

            Critically, in the wake of Re\•Ion, Delawarecourts have made clear that an enhanced judicial
            rericw Rev Ion requires is not a license    for law-trained courts to second-Huessreasonable.Page
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           [kfendants’ principal argument is that recent Delaware Supreme Court case law creates a much
   more stringent standard for claims of breaches of the obligationto act in good faith. To this end, they
   cite language in the Delaware Supreme Court's decision in I.vondell . In that case, I.yondell's board of
   dinxton; appm led tIn sale of dx:ir compny to Basell AF, a privately held Luxemtnurg company, after
   negotiating several increases in the Fr share bid price up from 840 to $18. and a set of less stringent
   deal protection devices, including a ''fiduciary out" clause in the standard no-shop provision and a
   reduced termination fee. 970 A.2d at 237-39. The court found no bad faith and theretbrc no breach ot
   the duty of loyalty. Id. at 242-44. Ttre Supreme Court rested its decision on the following facts:

            The Lyondcll directors met several times to consider Basell's premium offer. They were
            generally aware of the value of their company and they knew the chemical company market
             nIC directors solicited and followed the advice of their financial aId legal advisors. They
            attempted to rngotiatc a higher offer even though all the evidenceindicates that Basell had
            offered a "blowout" price. Finally. they approved the merger agreement, tx:cause •'it was simply
            too good not to pass along Ito the stockholders]for their consideration;' We assume, as we must
            on summary judgment that the T.yondclldirectors did absolutelynothing to prepare for Base]I’s
            ofFer. and that they did not even consider conductinga market check tnfore agreeing to the
            anger. Even so, this record clearly establishes that the Lyondell directors did not breach their
            duty of loyalty by Ealing to act in good faith

   Id. at 2++

          Contrary to lkfendants' argunnnt,L}xrndell did not work any transformationin lkla\\are law
   on the duty of loyalty. Nothing in this case altered the standard definition of bad faith; indeed, the court
   nal'nrmed that “bad faith will be found if a ' fiduciary intentionallyfails to act in the face of a known
   duty to act. demonstrating a conscious disregard for his duties.”' Id. at 243 (quoting Disney. 906 A.2d at
   67). 11re court continued: “there is a vast difFerence between an inadequate or flawed effort to carry out
   fiduciary duties and a conscious disregard for those duties.- Id. tkspite all the references to the



            debatable. tactical choices that directors have made in good failh. For example. the Supreme
            Court ha held that the duty to take reasonable steps to secure the highest immediatelyavailable
            price does not invariablynquire a board to conduct an auction process or even a targeted market
            can\,’us in the first instance, emphasizingthat there is "no single blue.print'- for fulfiIHng the
            duty to maximize value. Nor does a board's decision to sell a company prevent it from offering
            bidders deal pmtoctions,so long as its decision to do so was reasonably directed to the objmtive
            of getting the highest price. and not by a seIPsh or idiosyncralic desire by the board fa till rAe
            playing $cId to\\’ards a particular bidder for remons unrelated to the stockholders'ability to get
            top dollar.

   Toys “R " t:s. 877 A.2d at I(XXb01 (emphasis added: citations onrittcdl
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   •'conscious disregard- standard, Defendants nevertheless cherry-pick certain langlla8e to argue that a
   more stringent standard applies. including the following lines: (1)-'only if they knowingly and
   completely&dIed to undertake their responsibilitieswould they breach their duty of Io)ally”; and (2 )
   •-[Tjhe inquiry should have been whether those directors utterly failed tv obtain the best sale price.- ILl.
   at 2434+ (emphasis added); (Joint Br. 5-7. 16). Defendants’ citation oi'this language is out of context
   and misleading. A comprehensive review of the Lyondell opinion reveals that the court intended that
   language to be synonymous and cotcrminouswith the "conscious disrcgarcf'standard. lbc court did
   not suggest that the "utter failure’' standard would supplant the definition of bad faith set forth in
   Disney . Nor did it suggest any unprecedented diminishnnnt at FIcTIon duties, as suggested by the
   minimalist standard Defendants advance. If such a radical departure were intended, we think the court
   would have taken the pains to say as much. Divorced from the surroundingtext. the "utter failure
   language could be said to require that directors simply do anything in the auction process, no matter
   how feckless, ineffectual,or at odds with the goal of m&\imizing shareholder wealth.

            TIn '\lner   failure” language derives from the Stone and in re C'arernark docisiorn. which the
   court cited. 91 1 A.2d 362 (Del. 20%): 698 A.2d 959, 971 (Del. Ch. t 996). Both of those decisions
   concerned claims that directors failed to engage in the ncccssary oversight to ensure compliancewith
   laws such as the federal Bank Secrecy Act in Stone . Urat vital factual context helps explain why in re
   (-aremark defined bad faith as follows: -Gcncrally where a claim of directorial liability for corporate
   loss is predicated upon ignorance of liability creating activities within the corporation. . . . only a
   sustained or systematic failure of the board to exercise oversight–such as an utter failure to attempt to
   assure a reasonable information and reporting system exists–will       establish the lack of good faith that is
   a necessary conditionto liability.H 698 A.2d at 971 (''Such a test of liability–lack of gotxi faith as
   evidenced by sustained or systematic failure of a director to exercise reasonable oversight –is quite
   high,"). Nevertheless. the DelawareSupreme Court explainedin Stone and reaffirmedin Lyondell that:
   "the Curernark standard is fully consistcnt with the Di3mey defulitionof had faith.-' I.Ft)ndet 1. 970 A,2d
   at 240 (citing S;lone . 911 A.2d at 370). We cannot second-guess that determination as Defendants wish,

          Instead of placing *utter fanure'- txtween -subjectivebad faith-' (i.e. -utual intent to cb harm-)
   and -consciousdisregarcf' on the Disney ''bad faith- spectrum. Lyondell equaled the "utter failure’' and
   “consciousdisregard-gandard.s. 970 A.2d at 240. This reasoning was fully in keeping with the
    Supreme Court’s prior decision in Stone . where it noted that the duty of loyalty could be breached by
   two SFncific kinds of conduct rising to thc level of bad faith: "(a) the directors utterly failed to
    implenwnt any Bponing or information system or controls; or (b) having implemented such a system or
   controls, consciously .failed fa monilor or oversee its operations thus disabling themselves from tx:ing
    informed of risks or problems requiring their attention." 91 1 A.2d at 370. Crucially. though bad faith
   could be demonstrated with either of these alternatives. the court emphasized citing Disney, 906 A.2d at
   67. that these wen coterminous lcgal standards:

            In either case, impositionof liability rcquires a showing that the directors knew that they were
            not dischargingtheir fiduciary obligations. LVhere directors fail to aa in the face of a known

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            duty to act, thereby demomrmling a conscious disregardfor their responsibilities. they breach
            their duty of loyalty by failing to discharTCthat fiduciary obligationin good faith.

   911 A.2d at 370 (wnphasis added). Delaware courtsgenerallyseem to readLyondell in this way. See.
   e.g.. Roholli & ( h. LLL' v' Liddell . C.A. No' 3128-VCN, 2010 WI. 157474_ at +11 ([hI. Ch. Jan. 14.
   2010)(characterizingI.)nndeUas holdingthat ''[b]ad faith and thus a breachof the duty of loyalty, can
   arise only when a fiduciary consciouslydisregards his or her responsibilities").7

            In addition, we do not read I.yondcll as diminishingthe prohibition on tilting the playing Held in
   favor of a particular bidder for any reason other than m&\imizing shareholder wealth. The lack of an
   actual or even potential second bidder was a key undisputed fact on which that coun relied. noting
   •-[The dinctorsJ had reason to Mic\'e that no other bidden would emerge, given the price Baum had
   ofFcrcd and the limited uni\trw of companiesthat might tx: interested in acquiring Lyondcll's unique
   assets_ . . _ Finally. no ottwr acquirur [sic’Iexpressed interest during the four months tKtween the merger
   announcement and the stockholdervote." 970 A.2d at 241. Other cases have distinguished tM:twecn
   single.bidderand multiple-biddercontexts as well. See. c.g. , Barkan, 567 A.2d at 1 286-87: ( -(rnrinuing
   Creditors ' C'trmm. of Star Telect>mms.. Inc. v, EdRect)mb. 385 Ii. Supp. 2d 449. 466 ll.14 (D. Del. 2004)
   ("In IMacalf//an], the claim was that the directors approved the use of a lock.up that stopped rival
   biddcrs from \Unning the auction for the company so that fellow directors could purchase the company
   through a leveraged buyout. Here. however. there were no ot}ur bidders for Star. tIn Companywas on
   the verge of bankruptcy. and the Gotel financingwas. by the PlaintifFs own admission. the only
   financingoption presented to the Board.") (emphasis added and citations omitted). Since I .yondeR only
   reviewed a merger with a lone bidder, even if we were to read its "utter failure" language as more
   lenient on Defendants. it is of severely diminishedrelevancc in the muhiple-bidderscenario we
   arguably confront here.

          In short. Revlon and Macmillan arc not displaced in any way by Stow or Lyondell .
   Accordingly. we must ask whettnr there is a genuine issue of material fact as to wlnthu Ekfendants
   consciously disregarded their duties. i.e. •'faiIjed] to act in the face of a known duty to act.'’ Stone. 91 1
   A.2d at 370. There is nothing in the case law to warrant gnrnting judgment as a matter of law for
   Defendants, simply tx:cause they engaged in some bargaining.

          Having considered all of the admissibleevidence before us and viewing it in the light most
   favorable to PlaintifF as we must under Rule 56. we concluie that there are gcnuinc. triable issues of
   material fact sufficient to defeat Dcfcrxlants' Motion for SummaryJwigment on this Re\IIon claim.




           7 -A failure to act in good faith may be shown . . . where the fiduciary intentionallyacts with a
   purpose other than that of advancingthe best interests of the corporation, where the fiduciary acts with
   thc hrtent to violate applicablepositive law. or where the fiduciary intentionallyfails to act in the face of
   a knotmr duty to act. demonstrating a corwcious disregard for his duties.'- in re Walt DIsney Co.

   W        ) LaiR . 907 A.2d at 755.
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   I-hose issues fall into three categories: ( 1 ) whether Intcrmix CEO Rosenblatt impermissibly tilted the
   playing field in favor of News Corp.; (2) whether the remaining board memtnrs consciously disregarded
   their duties: and (3) whether the purported risk of a direct bid for MySpace. which would have ho/xn
   the MySpacc Option. precludes a finding that tX:fendantsconxiously disregard their duties.

                            a.      Roscnblatt

           Plaint i F proffers evidence tending to show that during the crucial week leading up to the July
    18, 2(X)5 merger. Rosenblatt evaded Viacom’s advances. even though Viacom’s representatives were
   communicating that a competing bid was imminent. Plaintiff raises at least two interrelatedtdablc
   issues: (1 ) whether Rosenblatt was self-interested in the merger transaction is and (2) whether he
   impermissiblysteered the auction in News Corp.’s favor.

            As to Rosenblatt-s purportedself-interest, dx:re is evidenceof Roscnblatt-s motivation for the
   alleged bidder favoriasm, namely his anticipation of future employment with News Corp. In one
   particularly revealing email sent on July 15, Rosenblatt excitedly endorses News Corp.'s Ross
   Levinsohn’svision: “So. we create the Fox Internet group, all our units (myspace, alena, grab) fall
   under it, plus all new acquisitions. and you are CEO Fox Internet and 1 am Fox Internet grand Puba!!!!"
   (J. A.. Ex. 184). Rosenblatt continues:"I would like to discuss my specific role and structure whenever
   you are ready. It is no rush unless Peter and RuFnrt want me to sign an cmplo}Tnent agreement b)
   Sunday [July 17. 2(X>5] . . . .'- (Id.). In an earlier eanil in that same chain Rosenblan wrote: ••[1] am
   burning some real equity with every mqjor media company by getting [the deal] done. . . . u Is-ful have
   no idea the pain I will suffer on Monday. U Isle] better have a gotH job for me cause I ain't [sic] gonna
   work in this town again. . . .A (Id.). On July 13. Roscnblatt wrote: "tell Thom Murdoch and 1 cut the
   deal in 30 mins [sic] and 1 got 100% of what we wanted. Deal closing by Monday.” (Id.. Ex. 154).
   This evidenceat least raises the inference that Rosenblatt had a strong interest in seeing a merger
   transaction with News Corp. completed and had made up his mind that Intermix would be sold to News
   Corp. as of July 13

          Moreover,Plaintiff points to several key piwes of documentary evidence and ultncss tcstirnon\,-
   which tend to supp>rt his contention that (1)Rosenblatl in representing the Imermix tnard through the
   Transaction Committee('-TC-). (2) Sheehan. who also sat on the TC, and (3) their agents. dclitwrately
   dc>dEed, if not frustrated. an arguably imminent bid from Viacom:




           1 Although analytically we are reviewing an evidence on the bad faith prong of th duty of

   loyalty comlnncnt of the breach offidLHiary duty claim at this jwBture, we consider Roscnblaft's
   alleged self-interest to the extent that it bars on whether Plaintiff has raised a uiable issue of material
   fact as to whether Rosenblatt acted in conscious disregard of his duties by impermissiblytilting the field
   in favor of News Corn.
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            First , on July 6, Montgomeryresponded to an email announcing -Viacom coming in hard" by
            telling Rosenblatt:••You need to dance with [Viacom] . . . slow them down. I know you can do
            it.'- ( id.. Ex. 117)

            Second. 'FWP, spccincally Robert Kitts (-Kitts"). w&s aware that Epstein was trying to reach
            them to talk a&>ut a Fntcntial Viacom bid. (Kitts Tr. at 125:4.7. 126:4-13). EFntein noted on
            July 16 that Kitts never called him back as promised. (J. A.. Ex. 191 (•-We exchanged
            subsequent emails and he indicated he would call me. but he never did.")).

            Third. on July 15, Mosher un>te Rosenblatt following one of Roscnblatt'supdates to the full
            board, saying "Vi4com sounds like a pilxdream.-     ad_ Ex. 182).

            Fourth. on July 15. Judy McGrath of MTVq wrote Rosenblatt to inform him that Viacom was
            •'coming with a bid carly next week.- {td.. Ex. 183). She added: "We really want to k with you
            on this. and hope to get in the ring for it . . . .’- (Id.). Rosenblatt replied evasivcly. failing to
            correct her mistakenimpression that the auction would still tu ongoing after Monday: “I am on a
            call but thanks so much for the email . . . . I will call you back soon . . . :’ (/d.). Rosenblatt
            could not recall precisely whether he had returned her call: '1 may have tried. I think, actually. I
            do think T tried and I couldn-t get a hold of her." (Rosenblatt Tr. at 108:21-24).

            Fifth. Viacom’s CEO Thomas Preston (-'Fnston"). who reiterated Viacom's interest in
            purchasing Intcrmix to Rosenblart.has testified that he was only told that an pnxess wIth the
            comFHting bidder was -moving quickly.-      (Frcston Tr. at 1 7:1 2-20. 19:8-1 1. 22:4-14).10 He
            testified that he could not “recall if [Rosenblatt]said that they were going to do a deal by
            Sunday.'’ (Id. at 22:2 1-24). When asked whether Rosenblan had communicated that a (kaI
            would in completed by Sunday. he stated that he did not tnlieve so. (Frcston Tr. at 19:8-11 ).


            9 Viacom   owns MTV Networks.

            I" The Parties initially sought to file Preston’s depositiontranscript under seal tx:cause it
   contained information subject to the governing protective order. On November 13. 2009,the Parties
   filed a joint stipulationto withdraw their applicationto file underseal unrcdactcdversions of the Joint
   Brief. the Joint Statement of UncontrovcrtedFacts, and Volumes2-3 and 5-9 of the Joint Evidcntiary
   Appendix, as well as severalfull depositiontranscripts,including Preston'stestimony. (Dkt. No. 234),
   In that document.the Partiesstated that: “WHEREAS the Partieshave contactedall non-parties that
   prrx]uceddocuments ancUor gave depositiontestimonywhich was the subject of the application to file
   underseal. and obtainedtheir permission for the documents to tu publicly filed. and thereforewIthdraw
   the Application to File Under Seal[.I" IId. at 3). Our No\'emtx:r17. 2(X)9 Ordernguding the joint
   stipulationwas not clear as to whetherthe depositiontranscriptswere also tx:ing filed in the public
   record (Dkt. No. 236). We now clarify that all of the depositiontranscriptslatxlcd •'Confidential
   Pursuant to Protective Ordcr" and submittedto the Court along with the Cross-Motionsfor Summary
   JudgmentSHALL also be tiled in the public         recordpursuantto the Parties',joint stipulation. bBC 14 of 39
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                                             Cl\'ll     MINUTES - GENERAL
   Case No         CV 06-373I<;HK (Sllx)                                                Date     June 17, 2010

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           Kitts ofTWP also confirmed that he failed to give Viacom any hard deadline by which to submit
           a bid. (Kitts Tr. at 88:21-89: 16. 90:11.22, 136: 11-14).11

           Sixth. on July   1   7, Jmc)n Hirschhom emailed Chris D<:Wolfe, MySlwe's            CEO, to document his
           difficulties in staying in the auction process: •\hds. quick concerns . . , Intermix management
           did not show up on Friday &s promised during our time there . . . IntermL\ legal cancels their
           dmc with our legal talay at the last minute . . . Heard you guys got called ofFthe ad sales call
           abruptly . . . In short, I have had a team of 2(b people here working for 72 hours straight on a
           signifIcantbid, is there anything i need to know?" (J_A_ Ex. 200).

           Seventh, on July 17. Van TofTler of MTV also emailed Rosenblatt directly to complainpolitely
           aIx}ut the perceived run-around: ••Tbey arc in the once working round [sIc I the clock so we can
           put forth a numtxr to you this week. TIny mentioned a couple of calls were cancelled at the end
           of the day Friday, and seemed a bit concerned. Is there an}rhing I can do to help thc process for
           both of us as this is clearly on tIn fast track7’ kId., Ex. 202). Again, Rosenblatt replied in such
           a way that a reasonable jury could infer an intent to evade an arguably imminent competing bid
           •'We like you and your guys a ton also. Chris called back or MII your GC’ today. Have a great
           weekend[.]- (Id.).\

           Eighth. on July 1 7, Kitts of TWP. pursuant to the Intermix board's instructions.infc>mud
           Viacom that it would k "in their best interest-' to make a bid that evening.13 (Kitts Tr. at 69: 13.
           70:14. 88:21-89: 16). Kitts admitted that he did not give Viacom a hard aId fast deadline (see fd
           at 88:21-89: 16. 90: 11-22: Epstein Tr, at 53:21-55:5 ), but that he -relied upon the message Ihc]


           11 Roscnblatt. on the other hand. has testified that he actually told I;reston that a deal would
   "likely tv over by Sunday.”or (stated with more certainty ) that the deal was -going to tx doneby
   Surxlay." (Roscnblan Tr. at M:5-22, 65:22-25,92:5-8). For pwlxwes of summaryjudgment,this
   conn icting evidencefurther supportsthe existence of a Lriableissue of fact as to Viacom's relative
   awarenessof the impendingconsummation of the merger wIth NewsCorp. Moreover,Jason
   llirschhorn ("Hirschhom’-).Viacom-s top managerfor Internetbusiness. wrote in an internalemail on
   Saturday July 16 that NewsCorp. -will deliver I its bid] anywherehom today-monday.- (J. A„ Ex.
   192). Frestonalso states that Roscnblatt told him -a specificdeal was imminent.- (FrestonTr. at
   29: 11.16). Thoughthe actual meaning of that statement is obscure as to whethera deal or a bid would
   have beenimminent(particularly given Frcston'sother testimony). this ambiguity likewisebuttresses
   our conclusion that there are genuine issuesfor trial.

          1: A reasonable jury could infer from this email that Rosenblatt intended to evade an arguably
   imminent competing bid and that the "[h]ave a great weekend- line at the end of the email was
   disrnissi\v, given the fact that the email was sent at nearly 6 p_m. on a Sundaynight

         13 We do not read tIn depositionto sugge iR that these were his actual words; Kitts was merely

   FwaphnrsinF what he recalls sa}'inF to Viacom.                                                                          _
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            dclivcred as code that [Epstcinl should get a bid in this evening.- (Kitts Tr. at 90:20-22)
            l"urthermon, Kitts admitted in the depositionthat he had ken instructed to ask for a bid on a
            timetable that he knew was infeasible.(Id, at 144:1-145:7). Kitts testified that he was aware of
            an upcoming Viacom board meeting, "at which [a potential t>idl was going to be discussed."(Id

            at 69: 13-70:14). The Viacom tx)ard was not scheduled to meet until the evening of Tuesday
            July 19. 2005. (RosenblattDecl. T 42; Brewer Decl. 1 29).

          On the other hand. Defendantspresent the following evidence of events leading up to the July
   18th meryer, which they argue demonstrates the board memtnn’ good faith. News Corp. initially
   signaled that it would be willing to purchase Intermix in the $8-10 per share price range. (R09enblatt
   Decl. 1 18). During the Tuexla}' July 12. 2005 meeting txtween Rosenblatt. Rupert Murdoch. and Peter
   Chernin." News Corp. indicatedthat it would Ny $12 per share, as long as the MySpace Option was
   exercisedand a merger agreement was executed by no later than Sunday, July 17, 2005. (Id. q 24
   (describing the -handshake deal")). At the 2 p.m. meeting on July 15, the Intermix board of directors
   rejected News Corp.-s pruposal to enter exclusive negotiations as premature. (Id. Tq 29.30). At the 8
   p.m. meeting on July 15. the Intermix board rqjccted the non-binding term sheet including a variety of
   deal protection pro\'isionsas “too strong a deterrentto other potential biddcni." W. q 33; J. A„ Ex. 14)
   At the 8 p.m. meeting on July 16. TWP advised the board that it would be rubonabIc to approve a
   merger with News Corp. rather than waiting for Viacom to present an offer. (Brewer Decl. q 27;
   Rosenblan Decl. q 37). At the 7:30 p.m. TC meeting on July 17, the committee directed TWP to contact
    Viacom and/or its rcprcscntati\-c. Morgan Stanley. to ascertain whether Viacom would be making an
   ofFer tnfore thc opening of the market the next morning. (RosenblaaIXxI. T 41: Sheehan Decl, ' 36;
   J, A., Ex. 18). At the 10 p.m. Intermix tx>ard meeting on July 17, TWP advised that Viacom n'as not
    prepared to make any offer until its board met on Tuesday July 19 and approved a bid. (l{osenblatt
   Decl. 1 42: J. A.. Ex. 19). At the 3:45 a.m. tx)ard meeting on July 18. tx)th Montgomery and TWP
   presented their valuationanalyses, explainingthat $12 Hr share was a fair price for Intermix, and the
    Board voted to approve the merger. (Rosenblatt Decl, q 'H). On July 18. Intermix entered into a merger
   agreement \\lth News Corp.'s Fox Interactive Media. (RosenblattDecl. q 45: J. A_ Ex. 4, at 31 9).
    Defendantscontend, and the record Hflcvts, that throughoutthis process the board met repeatedly.
   authorized ongoing discussions with both competing bidders, and consultedlegal and financial advisers
    (J.A_ Exs. 8-12. 14-19).

           Viewing the evidenceas a whole and in the light most favorable to Plaintiff. we conclude that
   there are at least triable issuesof fact as to whether R05enblatt acted in good faith. whether he
    impermissibly skewed the auction in favor of News Corp. for a purpose other than maximizing
   shareholder value. knowing that a Viacom bid ww likely and imminent. and whether this arguably
    disparate treatment of Viacom and News Corp. had any ctTect on Viacom-s appreciation of the arguable
    need to make an offer by the evening of July 17. 2(X)5.




          1+ Rupert MuIr}cxh is the Chairman and CEO of News Corp. Peter Chemin was the then-

   President and COO ot'Ncws Corp.
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                             b.      The Other Directors

                                     i.       Shoehan

           In addition to Roscnblatt. there are also triable issuesof fact as to whether Sh:chan consciously
   disn8aMd his fiduciary duties. On Friday July 15, Stuart Epstein ("Epacin"). the Morgan Stanley
   invesunent banker representing Viacom tried to rmb SIx:chan but was unsuccessful. (Sheehan Tr. at
   83:12-18: J. A. Ex. 175). Sheehaninsvuctcd his secretary as follows: 'Do not tell IEpstein] an}rhing
   aIx)ur what I am doing or where I aml.]- (J. A., Ex. 175). In reply to his email, Sheehan-ssecretary
   informed him that she told Epstein that he was '•unavailable." LId). A rcasonablcjury could conclude
   that this email chain c\ inces Shcchan's intent to avoid Viacom's representatives.

                                     h        llre Other Sir Directors

             In Gc:sofT v. II(- IrRiustriaq. Inc. , q)2 A.2d 1130 (Del. Ch. 2(M), the oourt stated that bad faith
   may in found where directors have ''acted with conscious disregard or made decisit)rtswiI}t knowledge
   thut they lacked rnatcrial information." Id , ut 1 165 (emphasis added). Few I)elawarc cases attempt to
   defIne precisely what conduct reaches the level of maonable End faith, but there is at least agreement
   that "adopting a •we don't care ah)ut the risks' attitude conccming a material corporate ckcision"
   ccxrstinaes Ind faith in re Walt DIsney Co tkrtbxrrtve brig.. 825 A.2d 275. 289 (Ihl. Cl1. 2(X)3)
   (finding hd faith claim properly alleged u lure factual allegations,if true. implied that nbc defendant
   directors blew that tlx:y were making material decisions without adequate information and without
   adequate deliberation. and that they simply did not cnn if the decisions caused the corTnrdtionand its
   stockholders to sutTer injury or loss") (emphasis in original )

           Having reviewedthe rworII in full. we concludethat dun is sunlcient admissible evidence to
   create a triable qustion of fact as to wtuthcr the rest of the tx)ara as in Macmillan. ••plac[ed] the entire
   pmcen in the harxls of' Rosenblan and to a lesser extent Sheehanand thereby "materially contributed
   to the [allegedly] unprinciplcdconduct of those upon whom it looked wIth a blind eye." 559 A.2d at
   1281

            On Februw) 9. 200S. the Intermix board ofdirwtors k>rmcd a Transaction Committee
   comprised of Rosenblatt,Sheehan and Quandt. (Ro$enblatt Decl. 1 6). From that point until July 1 8.
   2005 when the mcrger was announced. it is undisputed that the Board received most of its information
   all)ut tIn rngotiations from its self.interested CEO. Rownblaa. Indeed it is urrdivutcd that Rosenblan
   was th: only txwd nnmtvr who had some first-harxl informiak>II as to tIn cinurnstances of Whom-s
   efforts to put in a bid. (Sec. c.&, Joint Statcnnru ofUrnonuovated Facts P347 (-Ro=nblat nus tIe
   only person from the Intermix Board who negotiated uith Viacom.’')). Crucially. one of the tx)ard
   members tcstined that Rosenblatt had led him to tnlieve "ltjhut Viacom was less urgent about the deal
   and hadn't taken the time or done the same lcvel of work as Fox NetworK' and that Viacom was a
   "pipedrum." (J.A.. Ex. 182; Mosher Tr' at 25:24-26:1). This phrase is admittedly not indicative of
   conscious wron8doin& However. there is a uiabk qustion as to wInder tIn oUur tx)aId rrnmtnrs
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                                            CIVIL MINUTESn GENERAL
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   consciously abdicated their nsponsibihtiesas corporate nduciariesin allegedly swallowing
   Rosenblatt’s version of events and utterly failing to asscss the situation for themselves

           More generally, a reasonable fact-finder could conclude that the other board members acted in
   bad faith by making "decisionswith knowledgethat they lacked material inforrnation."(Ieso$, 902
   A.2d at 1165. With respect to their Imowledgcof the relative Iikehhocxi ofa Viacom bid, Mosher stated
   that he could not recall if he or tIny other board member had "asked any questionsregarding Viacom or
   its status;' (Mosher Tr. at 26:14.21). Additionally. he could not recall whether he had “any knowledge
   of whether anyone from management was providing equal information to Viacom and Fox News Corp
   aix+ut the time line" for submitting a bid for IntermL\. {Td. at 43:17.21 ).

           With respect to their knowledgeof bidder favorhism, though Mosher testified that he could not
   recall the board ever instructingRosenblatt to favor one bidder over another, he also could not
   denniti\-ely nprc'nnt that the board had not so instructed Roscnblatt. (Id. at 41:10-21 ). Other kxlard
   members besides Rosenblatt have also testified that they were unaware that any due diligence meetings
   with Viacom had ken cancelled.(Brewer Tr. at 1 19:11-15: Sheehan Tr. at 98:1-20). Furthermore,
   Brewer testified that he was simp]y unaware that Viacom was conducting due diligence over the July
    16- 17. 2005 weekend. (Brewer 1’r. at 26:5-24)


            With respect to their knowledgeof the fairness of the merger price. Rosenblatt did not inform
   Brewer that he wm requesting $ 12 per share from News Corp. until the day of the “handshake deal"
   with Rupert Murdoch: it is unclear when the rest of the board leamed this information.(IIi. at 122:2-9)
   IIe also did not explain how that requested price was derived. (Id. at 122:1(b14). Brewer testified that
   the tx)ard did not ask. and Mostur could not recall whether any tx>ard memtrr sought an explanation
   (Id.-, Mosher Tr. at 53:6-9), Moreover,Brewer testified that the board as a whole never conducted any
   independent analysis to determine what ''an appropriateprice pr share’' would be. (Brewer Tr. at
    122: 15- 18: see also Mosher Tr. at 49:24-50:4 (testifying that he himself did not perform any
   independent analysis)).Additionally. Mosher confirmed that the board had not "directed the
   management team to go get the specifIc valuationwork done prior to the acquisition." (Mosher Tr. at
   52:4-18). Finally. Brewer has testified that he could not even rocall whether any of the directors had
   asked “any questions about [Montgomery and TWP’s] fairness presentations." (Brewer Tr. at 104:2-
    10). Though Brewer-sfailure to recall what everyone had specifically asked back in 2CXJ5would be
   undcrstandablc. a reasonable jury might draw a negative infererne from his representation that he could
   not recall any discussion &s to the investmentbanks- analyses

          Construingall of the above testimonyin the light most favorable to PlaintifF as we must on
   Eklbndants•motion for summary judgment. we conclude that it is at least triable as to whether the
   remaining six tx)ard memten consciously disRgardedtheir duties and acted in bad faith. Tben is
   evidencein the record suggesting that no one on the board asked any questions about the requested per
   share price, the treatment of the competing bidders. the fairness valuations.or the relative likelihood of
   a Viacom bid. A reasonable jury could infer that this evidence demonstrates the other six dirccton
   consciouslv atxlicatcd their roles as corporate nduciariesrequimd by law to do their utmost to maximize
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   shareholder wealth. Of course. we remain mindful that even gross negligence, pnmised on "simple
   inattention or failure to be informed of all facts material to the decision[.]"violates only the duty of care
   and is not actionable as bad faith. Disney. 906 A.2d at 66. Nevertheless. we think a reasonable jury
   could find that the other six directors exceeded the bounds of negligent conduct. willfully proceeded to
   their decisions knowing they lacked matcrial information. (iCSI)f. 902 A,2d at 1 165, and thcnb)
   consciously disregardcd their fiduciary duties. Disney. m A.2d at 66 (-Cases have arisen when
   corporate directors have no conflicting self-interest in a decision yet engage in misconductthat is more
   culpable than simple inattention or fai]urc to be informed of all facts material to the decision. To protect
   the interests of the corponrtionand its shareholders, fiduciary conduct of this kind, which does not
   involve disloyalty (as traditionallydetined) but is qualitativelymore culpable than gross negligence.
   should be proscribed.").

                             &       The MySpace Option

          TIle MySpace, Inc. Stockholdcrs Agreement (-'MSA") (J. A., Ex_ 2). executed on February1 1.
   2005, was the culminationof negotiationsbetween MySpace. Inc.. MySpace Ventures, LLC, RedFX)int
   VenturesI. L.P.. Rcdpoint AssociatesI. LLC, Redrx)int Ventures II. L.P., RedpointAssociates I1, 1. T.C,
   RecIpoint Technology Partners Q-1. L.P., and/or Rcdpoint Technology Partners A- 1, L,P. (oollectively.
   •'the RedpointEntities”). (Brewer Decl. 1 6; Rosenblatt Decl. 1 7). Under the agreement, the Rcdpoint
   Entities purchased a 47 percent minority interest in Intcrmix and at the same time. the 53 lxrcent
   majority stockholders acquired an option ('lhe MySpace Option-) to buy back that minority interest if a
   third party made a -bona fide . . . ofFer- for 50 lnrcent or more of Intermix'sshares:

            So long as Intcrmix (together with its Affiliates) directly or indirectly holds at least 1 m),000
            shares of Common Stock . . . . in the event Tntermix receives a tuna fide third-partyoffer with
            respect to a Change of Control of IntermL\ . . . within the twelve (12) month-pcriod commencIng
            on the date hereof . . . . tIna following receipt of such oITer (and provided discussions relating
            to such ofFer are then<>ngoing). Intemrix shall have the right to puchase . . . up to ICXP/o of
            Common Stock and Common Stock Equivalents of the Corlx)ration held by the other
            Stockholders.whether now owned or hereafteracquired

   (J.A., Ex. 2 $ 7.1.1 : Brewer Decl.cl 6-7; Rosenblatt Iq 7.8). Section7.1.5of the MSA precludedthe
   majority nom exercising the MySpaceOption if a third party made a direct bid for MySpaceof over
   $ 125 million: ''TntermL\may not exercise the PuN:hawOption if (a) the Corporation[MySpace,Inc.]
   has previouslyreceived a bonafide third partyofFer to purchase the Corporation's capital stock or
   assets for a purchaseprice gnater than 5125.0million and discussions regardingsuch acquisition
   tntwoen ttu Corporation and such third partyare ongoing . . . .- (J. A„ Eh 2 g 7. 1.5). The two
   provisionsare mutuallyexclusive: (1 ) a bid for 50 percentor moreoflntcrmix's shares precludes an)
   subsequent direct bid for MySpace(while discussions for the Intermixcontrol sharc arc ongoing); and
   (2) any direct bid for MySpaocprecludesany subsequent bid for 50 lnrcent or more of Intermix's
   shares(while discussions for the acquisition of MySpaceare ongoing).

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           Defendants contend their conduct was not in bad faith in light of the risk of a direct third-party
   bid for MySpace, which would have precluded the 53 percent Intcrmix majority interest from exercising
   the MySpace Option under the MSA to purchase the minority 47 percent interest. Accordingly. we
   must consider whether the puTported risk of a direct bid for MySpace, which would have frozen the
   MySpace Option, dictates a conclusion that Defendants did not consciously disregard their duties as a
   matter of la\v.

           Defendants claim that the risk of such a freezing bid was real and that any delay in
   consummating the merger with News Corp. threatened the loss of an opportunity to capture the value of
   Intermix-s crown jewel, MySpace. for their shareholders. (Joint Br. 11-15). At the July 15th board
   meeting at 2 p.m.. the directors discussed the status of conversations with News Corp. and Viacom and
   considered the possibility that if either company "viewed itself as unlikely to prevail in acquiring
   [lntcrmix], it might submit an ofFer to acquire only MySpace in order to potentially suspend, at least
   temporarily.[Intermix's] ability to exercise the MySpace option, thereby potentiallyjeopardt£ing
   economically attractive transactionsinvolving the Companyincluding the potential News Corp
   transaction then under consideration.”(RoscnblattDecl. IF 31; J. A., Ex. 12). Rosenblatt and the other
   directors have declared that they “believed that the deadline provided by News Corp. by which to
   execute the Merger Agreement was firm and that News Corp. was prepared to walk away if the deal was
   not consummated by the opening of the stock market on July 18. 2005." (Rosenblatt Decl. I[ 46)

            To substantiate their purported concern over a potential freeze-out bid Defendants suggest that a
   "bona fide third-partyotTer” can only mean a fully executed agmcmcnt, as in the written merger
   agreement executed on July 1 8, 2005. (Joint Br. 93-97). We reject Defendants’assertion that this
   proposed constructionof "bona fide third-partyoIler" is compelledas a matter of law. Under Sections
   7.1 . 1 and 7.1.5 of the MSA, a subsequentbid for MySpace or the Intcrmix control share. respectively.
   \viII only be precluded if discussions regarding the "bona fide third-partyofTer" are *ongoing.” This
   language in the agreement suggests that the term “bona fide offer" does not contemplate the final
   executionof an agreement. at which point discussions would no longer te “ongoing.

           Even though \vc reject Defendants'constructionof the phrase "bona fide third-party otTer-’ in the
   MSA, we also reject Plaintin-s request that we rule as a matter of law on the purely legal question of
   what constitutes a “bona fide third-partyoffer” Lender Sections 7.1.1 and 7,1 .5 of the MSA. In our \'icw.
   PlaintifFs reque£t misses the point. We are not here to construe the terms of the MSA, as such. Rather.
   the question is whether there is a triablc issue that Defendants,reasonably fearing being frozen out of
   the MySpace Option, tilted the field in News Corp.’s favor for the permissiblepurpose of maximizing
   slmreholder wealth. or whether Defendants had no such reasonable fear. but merely used the MySpace
   Option as a rationali7ationfor a selfish or idiosyncraticdesire to favor News Corp. unrelated to securing
   top dollar for Lhc shareholders.We think the evidencefairly presents such tHablc issuesas to
   Defend,rnts'purported conscious disregard of their duties. In any event, our post hoc legal
   deternrhation cannot dictate the result of the question of the pmpdety of Defendants'conduct that
    indisputably occurred without the benefit of our constructionof the MSA.

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            Accordingly. we hereby DENY PlaintifFs Motion for Summary Judgment on this question of
   contractual interpretation

         In light of all the reasons set forth atmvc, we hereby DENY Defendants'Motion for Surnmary
   Judgment on the fiduciary duty claim with respect to PlaintifFs bad faith theory in the Revlon auction
   context

                    2.      Self-lnterated Transaction

            in the altemative.Defendants move for summary judgment on the second theory supporting the
   breach of fiduciary duty claim, arguing tInt five of the eight Defendants (a majority) were not self-
    interested or controllcd by someone who was. The lklaware SuNone Court summuind the governing
    law in C’inerama, Inc. v. Technicol(yr. Inc.

             A tx)ardof which a majority ofdircctors is interestedis not a -neutral decision-makingtxxly."
            See. e.R.. ParamounlCommunications. Inc. v. (?I/(' Network Inc., Del.Supr_ 637 A.2d 34. 42 n.
             9 ( 1994)(-[w]here actual self-interestis presentand affects a majority of the directorsapproving
            a transaction,a courtwill apply [the entire fairness test]--): /Irorr50nt. Lewis, [kl.Supr.. 473
             A2d 805, 812 (1984). A majority of disinterested dhntors is not -independent- if that majority
             was dominatedby an interested director. See Heinemanv. Dulupoinl Corp. . Del.Supr.. 611 A.2d
             950. 955 (1992). Similarly. the manipulationof the disinterested majority by an interested
             director vitiates thc majority's ability to act as a neutral decision-making tx>dy. See Mills
            ,+cquisilion Co. v. Macmillan.Inc.. Del.Supr„ 559 A.2d 1261,1279 (1989).

   663 A.2d 1 156. 1170 n.25 (Del. 1995). Accordingly, Plaintiff must make two showings. "First. the
   plaintifFmustprofFer evidenceshowing that those memten of the board had a materiaJ self-interest in
   the challenged transactionl. J’' and this must tx: -evidence of a wtntantial self.interestsuggesting
   disloyalty. such as evidence ofcntrcnchmont motives, vote selling, or fraud.- Goodwin,1999 Wt
   O+265. at +25 (citing Cede II. 634 A.2d at 36243; Cinerama, 663 A.2d at 1 169). uSecond, the plaintiff
   must show that those materially self-intucstedmembers either a) constituteda majority of the tx)ard; b)
   controlled and dominated the tx)ard as a whole; or c) i) failed to disclose their interests in the transaction
   to the board; ii) and a reasonable board member would have regarded the existence of their material
   interests as a significant fact in the evaluationof the proposed transaction” Id. (citing Cinerama. (63
   A.2d at 1168).

            There were eight directors on the Intermix tx)ard at the time of the merger: Roscnblatt,Sheehan
   Mosher. QuancIt Brewer. Carliclk Moreau and Woodward. Rosenblan was conflicteddue to his
   interest in tncoming the head of Fox Interactive Media. He aimed to '•nccivje J a personal tx:neIll from
   a transaction not received by the shareholders generally." Cede II. 634 A.2d at 362: Mc(;Invan, 2002
   WI. 77712, at +2 (deeming contracts for post-merger employment in acquiring entity a •'disabling
   conflict of interest-);Gtxxtwin, IW> WL 81265. at '25 (finding ''a triable issue of fact regarding
   whether [dimctors'1 expectationsconstituted a material interest in the merger not shared by the
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   stockholders”but granting sumrn,ry judgment on lack of evidencethat any material intcrest infected
   deliberativeprocess): Oliver, 2006 WL 1064 169. at #19 (-[ A]s a consequence of their personal interest
   in the negotiation of the Accord Agreement. in light of its potential impact on their righLs under their
   cmplo}mentagreements. they also were self-interested.-).Rosenblatt did not simply seek to retain his
   current Fnsitiorl but sought to secure a coveted position at tIn top of a division at News Corp.
   Accordingly, read in conjunctionwith other admissibleevidence we have cited previously,this self-
   interested motivation is suggestive of disloyalty

            Defendants argue that Rosenblatt's interests were coterminous with the shareholders’ intcrcsts
   tx)cause every additionaldollar increase in the price paid Nr share would yield roughly an additional82
    million for Rosenblaa. a significant shareholder in Intermix. (Rosenblatl T 51 ; Joint Statement of
    Uncontm\’crtcdFacts D89). This argument, however, misses the point that Rosenblatt arguably stood
    to gain more money and prestige by becoming the "grand Puba- of Fox Interactive Media. If Chris
    Dt:Wolfe. the former CEO of MySpace. stood to make a 830 million salary over two years if retained by
    the merged entity (the Parties aprnar to agreeon this IX)int) (see Joint Br. 37 n.42, 4142). a reasonable
   jury could infer that Rosenblatt. as head of Fox Interactive Medi& would have been offered an e\'on
    higher salary. As such, a per share price of well above 520 would be needed to offset Rosenblatt's
    connictinginterest in a $30 million (or higher) salary. kId. at 41-42). Defendants only reiterate that
    Rounblatt umd to gain a greater txnefit from each incremental incnasc in tIn Fr share price.

          It is undisputed that no director instructed any other director on how to vote or was innuenced
   by how other tx>ard members voted. (Joint Statement ofUncontro\'eRedFacts D95.96; Brewer Decl. I
   36: C-arlick Dccl. IT 38: Mosher Decl, q 34: Moreau Decl. T 36; Quandt Docl. q 42: Rosenblatt DwI. S
   49; Shcchan thcl. T M; Wotxlward Ihcl. 1 34). Tbc real question is whether each board memtxr acted
   independently and free of any manipulation by the interested memtxIrs, principally Rosenblatt, ie
   whether -[c]ach Board Member exercised his independent judgment and considerationin deciding ho\v
   to vote." (Joint Statement of Uncontrovcrtcd Facts D97). In virtually identical declarations. the
   directors claim they were not so manipulated.(Brewer Decl. q 36: Culick Decl. 1 38: Mosher Decl. IF
   34; Moreau Decl. q 36; Quandt Decl. 1 42: RosenblattIX:cl. I[ 49; Sheehan DccI. q 44: Wood\\ard Ihcl
   li 34). On the other hand. Plaintiff argues that Roscnblatt deliberatelymisled the other board membcrs
   regarding the viability of the Viacom bid. steering them into approving the merger without uniting even
   a couple more days to see if Viacom would top News Corp.'s otTer. (Joint Br. 26-27). Plaintiff cites an
   email Mostnr sent to Roscnblatt alter one of the July 15th meetings. stating: ''We need to honor our
   commitment to Fox and get this done. Viacom sounds like a pipcdream. Fox sounds dead seriotb and
   not screwing around." (J, A„ Ex. 182). When asked about this email during his deposition. Moshcr
   testifled that Roscnblatt-s periodic updates to the board had led him to believe “[t]hat Viacom was less
   urBent about the deal and hadn't taken the time or done the same level of work as Fox Network.”
   (Mosher 'I t. at 25:24-26:1. 26:5.13). He also noted that: -Tbc discussion around Viacom that the
   management team had led indicated that Viacom did not seem as wIlling to come to the table with an
   ofTcr for the company.-'(Id. at 25:14). This evidenceis sufficient to raise an inference that
   Roscnblatt'spresentation to the board may have ken misleading as to Viacom’s seriousness.
   According to Mosher's descriptionof the board meetings, “from the management team estimation
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   standpoint [sic], they were not inclined to make an offer for the company on the time line that we were
   looking at." (Id, at 25:18.21 ). Viewing the evidence as a whole in the light most favorable to Plaintiff.
   including the contrary evidencethat Viacom was indeed very seriously interested in bidding on
   Intcrmix.IS there are at least triablc i3nucs of fact as to whether Mosher was manipulated by a self-
   interested director. Rtnenblatt.

            Moreover.based on Mostur's descriptionof th content of Rosenblatt's presentations to tIn
   tx>aId, the issue of manipulation is tHablc with respect to all of the other txwd mcmtnrs. Accordingly,
   as a r%sonablc jury could potentially conclude that a majority of the directors was interested or
   manipulated by someone who was, we hereby DENY lkfendants- Motion for SummaryJulgment on
   this second basis for PlaintifFs claim of breach of the duty of loyalty.

   111.     Count II: \’iobtion of Section 14(a) of the Securities and £rchanBeAct of 1934 and SEC
            Rule 14a-9

          On August 25, 2005. Intermix issued a proxy statement ("Proxy") concerning the News Corp
   merger. (RoscnblattDecl. Il 53). On Scptcmtur 30. 2005. a majority of Intennix shareholders voted to
   adopt the Merger Agreement. (Id. 11 55). Plaintiff alleges that there were ave material omissions in the
   Proxy. (J.A.. Ex. 4). -1’o succeed on ha claim under $ 14(a) and Rule 14a-9. a plaintitT must establish
   that ( 1 ) a proxy statement contained a material misreprcsentation or omission which (2) caused the
   plaintiff injury and (3) that an proxy solicitation itself. rattw:r than an paniculw defect in the
   solicitation materials. was an essential link in tIn accomplishment of the transaction," New Fort City
   Employees ' Ret. Sys. n Jobs, 593 F.3d 1018, 1022 (qh Cir. 2010) (citation and intemal quotation marks
   omin£d); 15 U.S.C. $ 78j(b); 17 C.F.R. $ 240.14a-9(a) ("No solicitation subject to this regulation shall
   In made by mcans of any proxy statement. form of proxy. notice of meeting or other communication.
   WTiUen or oral. containingany statement which, at the time aId in the light of the cinurnsances und:r
   which it is made. is false or mislcaling with respect to any material fact or which omits to state any
   material fact necessary in order to make the stat£annts Unnin not false or misleading or neanat)' to
   correct any statcrrunt in any earlier commwicadon with respect to the solicitation of a Foxy for the
   same meeting or subject matter which has become false or misleading.')




          15 Van Tomcr of Nfl'V emailed Roscnblan on July 17 to note that his people were -in the office

   working around the clock so I Viacom could] put forth a numtx:r to jhim ttutl week.- (J. A., Ex. 202).
   On the same day. Jason Hirschhomof Viacom informed Chris FkWolfe that he has '•had a team of 20+
   Fzople . . . workinF Itv 72 hours slnrigJu on a significant bidl.I" \Id_ Ex. 2(X)).                      =
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               A       Alleged Material Omissions

                        1.      MySpace’s Then-Current          Revenue and Profits

             Ekfendants first argue that PlaintifF failed to identify the alleged material omission of
    MYSWce-s then-currentrevenue and profits as a basis Rx this Section 14(a) claim in its responses to
    their intcnogatories. thereby wai\’ing this ground for his Section 14(a) claim. (Joint Br. 45 n.49), We
    disagree. First. the CSAC clearly alleges that Defendants omitted 'rhe current revenues and profIts
    being generated by MySpace." (CSAC q 130-33). Second. our July 14. 2(X)8 Order clearly identifIed
   this purFnnedmaterial omission as one of the Rvc surviving Uses for thc Section 14(a) claim. (Dkt
   No. 1 10. at 5). Third. whether PlaintifFactuallyidentifiedthis alleged material omission in his Revised
   Objectionsand Responsesto Defendant VP Alpha Holdings TV, L.L.C.’s First Set of Intcrrogatoricsis
   unclear. (J.A.. Ex. 28). Most of the response to InterrogatoryNo. 1 focused on the conspicuous
   absence of internal projectionsfor MySpace’s prospectiveHowet not the company’sthen<uTcnt
   revcnue and PR)tits. kId. at 513-15). PlaintifFdid not use the phrase -'current revenue and profits;’ but
   rather. stated the following

               [S]hareholders . . . were never made aware of MySpace k Irue value or its true grouTh potential.
               and had no way of comparing the information that was publicly available to management•s
               projectionsand growth assumptions.I'hus. even though certain metrics that were used to frock
               MySpace's growth \vere available from some hard to find public sources (and were not made
               available by the Companydirectly to its shareholders). shareholders and other members oy-the
               investing public could not compare this dara to the Company's internal dara to determine if the
               Investment Banks' faimcm opinions accurately reflected the explosive growth of MySpace

   (Id. at 515 (emphasis added)). Although soma\tnt opaque. we think the highlighted text aEDve can
   fairly be mad to embrace internal data on MySpace’s then.currentfinancial position. Fourth, during the
   Parties' Local Rule 7-3 meet and confer. according to Defendants,PlaIntifF did not identify this alleged
   omission. (Joint Br. 45 n.49). Sheehan and C-arl;ck's counsel has also declared that PlaintifTwas asked
   at the meeting whether they were pursuing -any other misstatements or omissions,”but he does not
   declare that PlaintifFs counsel answcrcd thc question in the negativ& thereby waiving this basis. ( J. A..
   lix. 30. Knastcr IJeel. TTl[ 8-9). Fifth. Plaintiffs counsel also circulateda letter outlining the issues
   discussed at the mca and confer. which did not list this purportedmaterial omission. (J.A.. Ex. 35)
   I lowe\rr, since this document purTX)rts to tx: an outline of the summary judgment arguments
   Defendants idcnti netl we decline to concludethat this document contemplated a waiver of the “current
   revenue and pronLs- omission. which was so clearly identi11ed in the CS AC (if not so clearly in the
   intcrrogator}- responses). Accordingly. as this argumentwas not waived. and Defendantshave not made
   any threshold showing entitling them to sumlnary judgment on this basis. we DENY the Motion for
   Summary Judgment as to this alleged marcrial omission under Count II

                       2.      Intermix Management’s 2005-2009 Financial Projections

   (V•gO I06fBIJ                                   CI\ II, )II\IllS - CF \ t R \ I                                 Pqr24of39
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            PlaintifF also alleges that Defendants failed to disclose Intermix management's internal fInancial
   projections,and that this information was material, -nIC Supreme Court set forth the materiality
   standard for Section 1 4(a) claims in 75(’ Industries. Inc. y. Ntrrlhwuy,Inc. , 426 U.S. 438 (1976): - An
   omitted fact is material if there is a substantial likelihood that a reasonable shareholder would consider
   it important in deciding how to VI)tc." Id. at ++9. TIn Court added that "there must tx: a substantial
   likelitxxxl that tIn disclosureof the omitted fact would have knell viewed b) the na30nable investor as
   having significantly altered the •total mix' of infomradon made available." Id.

            While federal courts gcrntally agree that firuncial Fxojoctions. "forward-looking starenxnts,P
   )uffurg; or otIn soft finarnial infwnntiar Ind tnt b di9cloua this case is distinguishable.See,
   e,g. . Walker n ,4ction IrRius . In., 802 F.a1 703, 707+)8 (4th Cir. 1986); n)WI n Bass Bros. Erucrs..
   Inc. , 7++ F.2d 978. 985 (3d Cir. 198+) (noting SEC policy favoring nondisclosureof fumrEial
   projoctionsdue to their unreliability and potential to mislead voting stcxkholders). In this case. the
   Proxy disclosed Montgomeryand -FWP's Pdinrcss analyses but did not disclose the underlying
   2CX)5-2CX>9 Intermix nwragcrrwnt projectionsund in formulating thou opinions. In 7£rnel Family
   Trust n Philips InternationalReally Corp. . No. 00 CIV. 7438 MGC. 2000 Wi. 772608 (S.D.N. Y.
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   No\'. 30, 2000). the court honed in on this distinction:

            A company has no duty to include "spcculati\-efinancial predictions" in a proxy. However.if a
            Proxy discloses valuation information it must tx complete and accurate. Both the proxy and the
            Ifinancial \aluation] opinion address the value of the Third Avenuc property and so [the
            defendant]has a duD to fully and accuratelydisclose information related to the valuation.

   Id. at '6_

           Here. the "toUl mix- of infomution tx:fore tIn shanholders did not include any of the projected
   growth rates. ,See S£'C' n Mo:ilo. No. CV (D-3W-JFW. 2(X)9 WL 38071 24. at • lo (C.D. Cal. Nov. 3.
   2(X)9) ("mhe 'total mix' of information only hrclu£les infonnadon that is 'nadily' ot 'nasonably'
   available to an in\'cstor.-); Koppcl n +98- Corp., 167 F.3d 125. 132 (2d Cir. 1999) (same). A
   reasonable shareholder would have wanted to independently evaluate management's internal financial
   projectionsto see il'the company was king fairly valued. "[T]here is a substantial likelihood that a
   reasonable shareholder would consider it important” in making his decision. nSC’ Indus.. Inc. , 426 U.S
   at ++9. As we previously mUd in our July 14. 2(X)8 Order. dw Ninth Circuit has observed that:
   "invcston are concerned. Fnrhaps aIx)ve all else, with the future cash flows of the companies in which
   they invest. Surely. the average investor’sinterest would be piqued by a company'sinternal projections
     . . ." United States v. Smilh. 155 F.3d 1051. 1(M rL20 (9th Cir. I W8). Delawarecourts concur. In a
   case that also oonsidcBd a diwounnd cash flow (-DCF-) anal)sis in a proxy statarwnt, tIn sarw
   techniqu utilized by MontgomeryaId TWP. dx: cart kId that tIn WICk:rlyingprojccdonsinforming a
    DCF analysis completed for a fairncss opinion were clearly material. See in re \'elsmarl Techs
   S'holders Lili& . 924 A.2d 171. 203 (Del. Ch. 2tX}7) (-'[P Injections of this sort are prohably among the
   amt highly-prized disclosures by investors,Investors can cone up with thcir o\m estimates of
   dinount rates or . . . market multiples. Wtnt dey cmrnt hoB to do is npIicaIC mana8emnt'sinside
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   view of the company's prospects.-).16 Here. we conclude that there is at least a triablc issue as to the
   materialityof the omission ofIntermL\-s internal financial projections

            Accordingly. Defendants’Motion for SummaryJudgment is DENIED as to this alleged material
   omISsion

                   3.      Outstanding Derivative Lawsuits

          Plaintiff also argues that Defendants failed to disclose one pending derivative lawsuit Le Boyer
   n Greenspan, er al.. No. CV 03-5603-GIIK(JTLx). and the fact that shareholder derivativestanding
   would be extinguished as to both Le Boyer and Greenspan v. SaI=man, the two derivative lawsuits
   pending at the time the Proxy was issued. The Proxy merely stated: "Follc>wing the e11bcti\r'c time ol’the
   merger, Fox Interactive Media will use commercially reasonable efforts to take such actions as are
   wIthin in control so as to obtain the dismissal of Greenspan v_ Sal7man et al_ LASC No. BC328558:
   provided that it will not be required to make any p,1)vents to any of the plaintifFs(or their counsel) in
   such litigation to do so." (J. A.. Ex. 4. at 332)

            Defendmtsconcede that they did not disclose the existence of the pending Le Boyer action
   (Joint Br. 56 n.67). tlowevcr. Ihfendants maintain that this lawsuit had teen disclosed in Intcrmix's
   prior public filings (see J.A.. Exs. 47 (Form 0-Q). 3 (Form 10-K)). which they argue were incorTnratcd
                                                    1

   by reference in the Proxy. A document "may tn incorTX)nrtcdinto proxy materials by reference, at the
   least. in circumstances where 'no reasonable shareholder can be misled.'" FederatedBond Fund t
   Shopkv Stows. Inc , No. 05 CV 9923(RO), 2tX)6 WL 3378696. at +2 (S.D.N. Y. Nov. 1 7. 2CX)6) (quoting
   Krunler v. Time IFur rler Inc,, 937 F.2d 767, 777 (2d Cir. 1991 )). We do not think this is a case where
   “no reasonable shareholder can be misled.- Id. Moreover. -'[cJorporatc documents that have not been
   distributed to the shareholders entitled to vote on the proposal should rarely be considered part of the
   total mix of information reasonably available to those shareholders.-llnilcd PuperworkersInt 7 Union
   t'. Int 'I Paper Co.. 985 F.2d 1 1 90. 11 m-1200 (2d Cir. 1993) (rejecting notion that public reports and
   1(hK Report submitted to SEC were part of -total mR"). Accordingly. whether the undisclosed
   derivativelawsuit constituted material information which was not part of the 'total mix" of information
   is at the very least a triable qucstion

           IMth respect to the disclosed Greenspan n Sa/:man action. Defendants argue they had no
   obligationto hrrthcr announce the extinguishment of derivativestanding. in Delaware, with only two
   exceptions not applicablehere. a cash-out merger extinguishcsthe standing of shareholder plaintifFsto
   maintain a deri\'ativesuit. Fcldman v. Cutuiu. 951 A.2d 727, 731 (Del. 2008) (citing Lewis n
   Anderson. 477 A.2d 1(NO. 1(N9 (Del. 1984)). This is so because a plaintifFmust tx a stockholder at the
   time of the alleged nTongdoing and throughoutthe litigation. Lewis. 477 A.2d at IC++6. TIle failure to



          '6 Even though this decision concerned a state law duty of disclosureclaim. the materiality
   standard is the same as set forth in 7S(’ Indrrstries. In re Nclsmarl Techs., 924 A.2d at 199-200.
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   disclose the potential extinguishment of a derivativelawsuit is material. See Lichrenbergv. BesicorT
   Group Inc , . 43 F. Supp. 2d 376, 387 (S.D.N. Y. 1999). In Lichtcnberg. the court noted that the proxy
   stated that the shareholder plaintiffs "may- not be able to maintain their derivativesuits following the
   merger. Id. TIle court found the word ••any" to tx: •'afTirmati\'cly misleading." tx:cause it '•implicjdl a
   possibility that the plaintiffs win be able to continue the actions as shareholder derivativesuits,-- when
   that was in fact foreclosed as a matter of New York law. Id. Here too. the disclosure atm\T is arguably
   misleading as well, as it did not aflimratively disclose that the Greenspan r. SaI:man plaintiffs'
   derivativestanding would tx e\linguishcd under Delawarela\\ . (J. A., Ex. 4. at 332). Instead, it only
   stated that Fox Interactive Media would seek the dismissal of the action and would do so only if it was
   not required to pay the plaintifFs or their counsel. (Id). Aocordingly.it is at least triablc whether Itu
   atmve language was misleading as to the extinguishment of derivative standing. which was material
   information.

           Accordingly. we also hereby DENY Defcndants'Motion for Summary Judgment as to this
   alleged material omission.

                     4.      Alleged Material Omissions Concerning Viacom and the MySpace Option

             Plaintiff has also arg9ed that the daemon made two other material omissions concerning: ( 1 )
    Viacom's ability to make an otTcr for Intumix or its ability to conduct due diligence; and (2 ) thc
    likelihcxxiofa direct bid for MySpace. which would freeze thc MySpace Option. This suk)pan of the
    Section 14(a) claim essentially seeks to lxnalizc Defendantsfor their failure to disclose that Viacom
    was allegedly stonewalled or otherwiseprevented from making a bid during the auction. It also seeks to
    hold Defendants liable for pwTnnedly exaggerating the threat of a direct bid for Intermlx'scroun
   jewel. MySpace.

           However. these purported material omisions are nothing more than the building blocks of
   Plaintiffs fiduciary duty claim. Mandating the disclosure of the atm\'e allegations would compel
   Defendants to essentially accuse themselves of breaching their fiduciary duties. In Koppel v. 4987
   Corp.. tIn court dismissed Rule 14a-9 claims based on its conclusion that •'the= allegations constitute
   no more than state law breach of fiduciary duty claims under a thin ooat of federal paint.- 167 F.3d at
   133. The court explained

             We have long recognized that no general cause of action lies under § 14(a) to remedy a simple
             breach of fiduciary duty, Sec Field r. Trump. 850 F.2d 938. 947 (2d Cir. 1988)(quoting
             \laldonudo v. Flynn. 597 F_2d789. 796 (2d Cir. 1979)). cert. denied. 489 U.S. 1012, 109 S.Ct.
             1122. 103 L.Ed.2d 185 ( 1989); cf Santa Fe Indus.. Inc. v. Green, 430 U.S. 462, 477. 97 S.Ct
             1292. 5 1 L.Ed.2d 480 ( 1 977) (refusing to construe § lo(b) to prohibit "instances ofcorponrte
             mismanagement . . . in which the essence of the complaint is that shareholders were treated
             unfairly by a nduciar)’'). Although the Supreme Court has explainedthat explicit. conclusory
             statements concerning the wisdom of a proposed action are actionable. see generally rirginia
             BanLshares. 501 U.S. 1083, 1 1 1 S.Ct. 2749, there is no g 14(a) violation for merely failing to
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             inform shareholders that a proposed action is not subjecti\'elythc most txnencial to an entity's
            shareholdeN:"Subjectionto liability for misleadingothers does not raise a duty ol
            self-accusation:[ratherl it enforces a duty to refrain from mIsleading." Id. at 1098 n. 7, 1 1 1
             S.Ct. 2749. The securities laws do not ''effectivcly require jan issuerl to accuse [it]seI[f] of
            breach of fiduciary duty." Id

   Id, at 133-34. The D.C. Circuit has arrived at the same conclusion: ul'hough Santa Fe dms not bar a
   claim related to a breach of fiduciary duty if there has been a material misrepresentation or omission. a
   plaintifFmay not -bootstrap' a claim of breach of fiduciary duty into a federal securities claim by
   alleging that directors failed to disclose that breach of fiduciary duty." Kos n Fin. Gen. BanLshures,
   Inc . . 796 F.2d 508. 513 (D.C. Cir. 1986) (citations omitted).

            In this case. the Proxy unambiguously disclosed Rosenblatt-s self-interested motivations.
   anticipatedfuture emplo}mentwith News Corp., and the immediate vesting of all his un\’ested options.
   (J.A., Ex. 4, at 272, 310. 312). -1'he Proxy also disclosed that Viacom (-Company D-) conducted due
   diligence and remained interested in making a bid for Intermix, but was -not then in a position to make
   a proposal [prior to] a [Viacoml board meeting later that week . . . ." (Id. at 287, 289). Plaintiff claims
   this disclosure was mislcadingly incomplete. tvcatLse it did not mention Roscnblatt’s alleged evasion of
    Viacom executives and the alleged delitxrate hampering of Viacom's due diligence efForts. (CSAC y
    147-48). PlaintifTclaims that these omissions "left shanhoidus with the false impressionthat Viacom
    was given a full and fair opportunity to bid for the Company.- (Id. 1 148). Plaintift'alsoclaims that
    Defendants misrepresented Viacom and News Corp.’s ability to block a competing bid by freezing the
    MySpace Option. (CSAC Tq 149-51 (citing J. A.. Ex. 4, at 284. 288)). As there is no duty of self-
    accuation.these prorlkrcd material omissions cannot suplx>rt a Section 14(a) claim. Indeed, the
    allegedjy omitted details are not necessarily.fuels, but rather factual allegations. and unless and until
   judgment is granted in PlaintifFs favor, their omission from the Proxy simply could not have been
    material. In Brown y. FerreIra. No. CIV. A 13531. 1999 WL 342340 (Del. Ch. May 14, 1999). the court
    explained this distinction:

            Although a nan'cd bidding process would be a material fact, [the plaintiffl must prevail on the
            substantive claim, that the process was flawed, before the alleged naw becomes material. Once
            [the plaintifl] prevails on her Repton claim, the alleged disclosure claim becomes suFrUuous
            because the defendants• breach of duty tx:comesthe \\Tong for which an appropriate remedy
            must be crafted




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   Id. at #10-1 1 17; see also Stroud r. Grace, 606 A.2d 75. 84 n.1 (Del. 1992) ("We recognize the
   long-standing principle that to compon with its fiduciary duty to disclose all relevant material facts. a
   txiard is not required to engage in •self-tlagcllation' and draw legal conclusionsimpHcating itself in a
   breach of fiduciary duty from surrounding facts and circumstances prior to a formal adjudicationof the
   matter.") (citation omitted).

           Accordindy. since '•self-flagellation-' omission are not material, ive hereby GIUt\T
   Dcfcndants' Motion for Summary Judgment as to the purported material omissions concerning Viacom
   and the MySpace Option.1*

            B.       Negligence

            In Desaigoudwu. ble}ercord.223 F.3d 1020 (9th Cir. 2000). the Ninth Circuit stated that a
   ••Rule 14a-9 plaintifFmust demonstrate that the misstatemcnt or omission was made with thc requisite
   level of culpability _ . . .-' Id. at 1022 (citation omitted). To succeed on a Scction 14(ayRule14a-9
   claim, a plaintiff need on]y establish that the defendant was negligent in drafting and reviewing the
   proxy statement. (ierstlc n Gamble-Skogrnt>. Inc., 478 F,2d 1281. 1300-01 (2d Cir. 1973) (holding that
   negligence sufTices for claim based on misleading proxy statement and that plaintitTs -are not required
   to establish any cHI motive or even reckless disregard of the facts--). Ttris holding was nafTinned in the
   oft-cited case of Wilson k Great American Industries. Inc., 855 F.2d 987 (2d Cir. 1988): "Liability can
   be imFx>sedfor negligently drafting a proxy statement.-- Id. at 995 (citing Gerslle . 478 F.2d at 1 301
   n.20). "As a matter of law, the preparation of a proxy statement by corporateinsiders containIng
   materiallyfalse or misleading statements or omitting a material fact is suflicient to satisfy the Gerstle
   negligence standard: Id. Accordingly. a director may tx found negligent under Section 14{a) for a
   failure to notice material omissions upon reading a proxy statement. See. c.g. , Parsons v. .Icf Icr\inI-
   Pilot Corp.. 789 F. Supp. 697. 703 (M.D.N.C. 1 m) ('•Mr. Eagle [a senior in-house lawyerl is not the
   only negligent party in this action Each of an directors who reviewedthe proxy statement is equaljy as
   negligent for failing to notice the use of the word 'restricted’ten times in the document.").

            Here, each of the Defendants has declared that he was “involved in the process of preparing.
   reviewing.arxl disseminatingthe Proxy Statement to Intcrmix shareholders.-(Sheetun [kcl. 1 53
   ( internal citation omitted); Carlick Decl. 1 46; Brewer Decl. 1 39; Mosher Decl. 1 37; Moreau Decl. T


   39; Quandt Decl. q 45; Roscnblatt Decl. 1 53; Wo(xiwardDecl. q 37). Construing this sworn statement
   in the light most favorable to PlaintifF, we read it to mean each director personallyreviewedthe Proxy


            17 Even though Brown analyzes the relationshipbetween a state law fiduciary duty claim and a

   state law duty of disclosure claim, brought on the same grounds. the principles articulated are equally
   applicableto a Section 14(a) claim pnmiscd on the same allegationssupporting a breach of fiduciary
   duty claim.

            11   Notwithstandingour ruling. nothing in the above discu,sion precludes Plaintiff from
   introducing a idence of these omissions in the course of his breach of nduciwy duty claim.
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   before it was disseminated to the ImermL\ shareholders. Since we have denied summary juigment with
   respect to three of the pmffend material omissions in the Proxy. and Defendants havc admitted to
   participatingin “the process of preparing. rc\'iewing, and disseminating" that Proxy, we must also
   DENY summary judgmcnt with respect to the element of negligence.It- Plaintiff can persuade a jury as
   to tnth materialityand lkfendants' Fwticipationin the preparation arxPor review of the Proxy at trial.
   then a finding of negligencewill flow from those findings

            C      Damages

                    1.      Benefit+If-th&BarEain    Damages

            This theory of damages is wholly inappositeto this case. A request for "benefit-of-the-bargain
   damages" seeks the “value that was represented as coming to" the shareholder under a particular
   transaction such as a merger. In re Real Estute ,4£TOC£ LId P-ship Lili8. , 223 F. Supp. 2d 1 142, 1 1 52
   (C.D. Cal. 2CX)2). "[B]encfitqf-the-baRain      damages are available in the limited instance where a
   misnprcscntation is made in the proxy solicitations as to the considerationto tn forthcoming upon an
   intended merger." Id. (citation omitted). As the Ninth Circuit has stated. "[t]he benefit-of-the-bargain
   measure of damages allows a plaintiff to recover 'the diffemncctntween what the plaintiff ex/vcR’c/ he
   would receive . . . arxl the amount Idle plaintifFl actually received . . . : DCD Programs. Ltd v_
   Leighton, 90 F.3d 1442. 1449 (9th Cir. 1996)(quoting C'unha n Ward Foods. Inc., 8(H F.2d 1418. 1426
   (9th Cir. 1 986) (cmphasis in original)). Here. the Proxy made no misrepresentation as to the per share
   price offered to and ultimatelyreceived by the class members. The Proxy stated the c]ass members
   would reccive S12 cash for each common share, and it is undisputed that tIny rwcivcd $12 cash for
   each common share. (J.A.. Ex. 4, at 3 19; Joint Statement of Uncontrovcrtcd Facts D128). Accordingly.
   this damages theory is not viable.    We GRANT     summary judgment with respect to this damages theory


                    2.      Out q)f-Pocket Insses


                           &        Legal Framework

            '''Out<)f-pocket-   losses are the standard measure of damages for Rule 10th5 and Section 14(a)
   claims.- in re DairnlerChrysler HG Secs. I.iliH. , 2% F. Supp. 2d 616, 626 (D. Ihl. 2CX)3) (citing Be r
   Ycrltana Med. Sys.. Inc.. 123 F. Supp. 2d 213. 222 (D. Del. 20(X)) t-Tse IF-V. Out-of-pocket losses
   constitute “the ditTerencc between the fair value of all that the seller received and the fair value of what
   he would have received had there been no fraudulent conduct." Tse //. 123 F. Supp. 2d at 222 (quoting
   Anlialed Ute Citi lens of Utah £ Ii.S.. 406 U.S. 128. 155 (1972)) (quotation marks omitted). Ttre Ninth
   Circuit concurs: •'lbc out+>f-pocket rule axes recoverable damages IS •the difTcnncc between the
   purchase price and the value of the stock at the date of purchase.'” Wool v. Tandem C(lmputcrsInc. .
   818 F.2d 1433. 1437 (9th Cir. 1987). irnplicdly overruled in part on t)lhcr grouncbi hy Hollinger v. Titan
   Capital Corp. . 914 F.2d 1564. 1 577-78 (9th Cir. 1990) (en banc) (citation omitted). "The guiding
   philosolgw of the our x)f.pocket theory of damages . . . is to award not what the plaintifTmight have
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   gained, but what he has lost by being deceivedinto the purcha:w: Id. at 1437 n.2 (citation and internal
   quotation marks omitted). Since this theory of damages is promised on an intrinsic va]union of the
   company as it existed at the time of the merger, Plaintiff has produced expcrt witness testimony
   consisting of two different financial valuationsoflntermixfMySpace. Defendants have mo\'cd to
   exclude that testimony as inadmissible.

                           b.      Defendanh’ Motion to Exclude; Plaintiffs Motions to Strike

             Defendants move to exclude PlaintifFs profltred expert testimonyby Dr. G. William Kennedy
   as inadmissible under Dauberl n zbferrell now Pharmaceuticals. Inc. . 509 U.S. 579 (1993). Plaintiff
   has moved to strike both this Motion to Exclude and Defendants’Motion for SummaryJudgment
   arguing that this Duubert chal]enge was not included in the joint brief on the Cross-Motionsfor
   Summary Judgmcnt and therefore violates our Order Re: Summary Judgment Motions. (Dkt. No. 123.
   Oct. 30. 2008). We reject this argument FiM Defendants included virtually the same arguments
   attacking Dr. Kennedy-s testimonyin the Joint Brief. (Mot. 77-80). Secona the Motion to Exclude is a
   challenge to the admissibility of evidence crucial to one of Plaintiffs’ damages theories. As we may
   only consider admissibleevidence in ruling on the Parties- Cross-Motions. nothing in the Order Re
   Summary Judgment Motions precludes a party from filing a separate motion to exclude certain evidence
   from the Court's consideration.Third it is common for litigants to no\'c for the exclusion of certain
   evidence at the summary judgment stage. See. ag.. In re llunford Nuclear Rcscrvalion I.iII R , 292 F.3d
   1 1 24. 1 131 (9th Cir. 2002) (“Defendants linked their summary judgment motion to dozens of in liminc
   motions challengingthe admissibility ofplaintitTs' expert witnesses, commonlyknown as ' Dauherl
   motions.'”) (citation omitted): O' Hanlon u. Marrixx initiatives, No. CV (N-10391-AHM(JTLx), 2(X)7
   WL 2'%+96. at +1, 4 (C_D. Cal. Jan_ 3, 2(K)7) (considering ntoaons in limine concurrently with motion
   for summary judgnnnt). Accordingly, we hereby DENY Plaintiffs Motions to Strike the Motion to
   Exclude and the Motion for SummaryJudgment,

           We now consider the merits of the Motion to Exclude. Defendants attack the reliability of Dr.
   Kcnrndy’s applicationof his chosen methodologies for estimating tIn value of MySpace: ( 1 ) discounted
   cash flow (''DCF") analysis; and (2) comparable public company uulysis. Federal Rule of Evidence
   702 states:


            If scienti nc. technical.or other specialized knowledgewill assist the trier of fact to understand
            the evidence or to determine a fact in issue. a witness qualified as an expert b) knowledge,skill.
            exlnricnce,training, or education, may testify thereto in the form of an opinion or otherwise.if
            ( ) the testimonyis based upon sufficient facts or dan (2) the testimony is the product of
              1


            reliable principles and methods. and (3) the witness has applied the principles and methods
            reliably to the facts of the case

   In Dauberl. the Supreme Court construed Rule 702 to require district courts to '’ensurjcl thaI an expert's
   testimonyboth rests on a reliable foundation and is relevant to the task at hand." 509 U.S. at 597. The
   Court noted that '•[p]ertincnt evidence b&sedon scientifIcally valid principleswill satisfy those
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   demands'- but cautioned that "[t]he focus . . . must be solely on principles and methodology, not on the
   conclusions that they generate.’-Id.', Id. at 595. To assistcourts in assessing whether the proflbnd
    testimony is scientifically valid. the Supreme Court set forth a nonexhaustive list of factors. including:
   'b'hether the theory or technique employcdby the exlxrt is gernrally accepted in the scientific
   community; whettur it's teen subjected to peer review and publication:whether it can tz and has ken
   tested; and whether the knowrr or potential rate of error is acceptable.-' bout)crI r Merrell Dow
   Pharrrts. , Inc.. 43 1;.3d 1311, 1316 (9th Cir. 1 W5) ('•DuuberriF) (citing Daubcrt, 509 IJ.S. at 593-94)



          The ''gatekeepingobligation" 1)antIcrt requires us to fulfill “applies not only to testimonybased
   on 'scientific' knowledge. but also to testimonybased on 'tcchnical' and 'other specialized'
   know'lodge.- Krrmho Tire (’o.. Lid. u ('armichucl. 526 U.S. 137. 141 (1999) (quoting Fed. R. Evid.
    702). -'BecarLse IInn are arms of expertise, such as the social sciences in which the nsearctt theories
   and opinions cannot have the cxactness of hard science methodologies. trial judges are given broad
   discretionto determine whether DauherI's specific lactors arc, or are not. reasonable measures of
   reliability in a particular case.” United States y, Simmons, 470 F.3d 1 115. 1123 (5th Cir. 2006) (citing
   Kurr\ho. 526 tJ.S. at 153) (internal citations and quotation marks omitted). Courts have stated that u[i]n
    such instances, other indicia of reliability are considered under Duubert . including professional
   experience. education. training. and observations.-' Id. Though perhaps not to the same degree as
   psychologyor social psychologv. financial valuationis not an exact scientific mcthodologv
    Esdmations. prediction. and inferences twed on professional judgment and exlxrience arc key
   ingredients in any valuation. In a variety of contexts. the circuit courts have noted that economic
   valuation is less than an •'exact science.-' Sec, e.g., in re Arnold & Baker Farms. 85 F.3d 1415, 1421
   (9th Cir, 1996) (“Experience has taught us that determining the value of real property at any given time
   is not an exact science. Because each parcel ot'real property is unique. the precise value of land is
   difficult. if not impossible. to determine until it is actually sold."); Mctlyn Really Corp. r. Esrnark Inc. .
   763 F.2d 826, 830. 835 (7th Cir. 1985) ( noting that -[t]he process of valuationis inexact" and that DCF
   analyses -are highly sensitive to assumptions about the firm's costs and rate of growWt and atnut tbc
   discount rate-).

          With rcspcct to the DCF analysis. the principal difference from Montgomeryand TWP-s DCF
   fahness analyses is Dr. Kennedy’s MySpace gro\\lh rate projections for 2007-2008 and 2008-2009.
   (Baron Decl.. Ex. 3. Expert Report of Dr. G. William Kennedy F"Kennedy Report"]. May 20. 20C)9)
   Intermix management projected the following revenue growth lntes for the company: 107 percent for
   2005-2006: 67 percent for 2006-2007; 20 percent for 2007-2fX)8: and 15 percent for 2008-2009. (J.A..
   Ex_ 242). Montgomeryund these projectionsfor its analysis without any mcxlification. (Baron Decl.,
   Ex. 3. at 39). TWP•s projectionsdifFered slightly from management-s projections:107 Fnnent for
   2005-2006: 67 percent for 2006-2007;21 percent for 2007-2008;and lO lnnent fbr 2008-2009.(Id.)
   Keluredy adopted management-s gm\ah rate projections for 2005-2(X)6 and 2CX)G2CX)7. derived a
   deceleration NIte of 62.06 percent from those figures. and then used that same deceleration rate to
   calculate ditTcrent revenue grouth rates for 2007-2008 and 2008'2CW 41.36 percent and 25.67 percent,
   respectively.(Id. at 39-40). Basedon these new figures. Kennedy calculatcd new Famings Before
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   Interest, T&\cs, [kprcciation   and Amortizadon ("EB11'DA") figures for 2(X)8 and 2CX)9 for MySpace.
   (Id. at 40). Finally. “[u]sing a discount rate of IP/, and a terminal EBITDA multiple of 8[,]” Dr.    1

   Kennedy calculated "a value of $962.4 million after subtracting the 869 million option exercise price
   from the present value ofMySpacc's Cash Flows." (Id). The 19 pawnt discount rate was clx)sen
   based on the discount rates used in the Montgomery,Ind -l'WP fairness opinions,which rangedfrom 17
   percent up to 25 percent. (Id. at 41).

            Defendants make several arguments against the reliability of this procedure. They argue first
   that Dr. Kennedy has insufUcicntly justified his use of a uniform deceleration rate from 2005 to 2009
   aix1 thc 18x terminal multiple. (Mot. 9-13). IX:fendanbclaim that Dr. Kennedy has ofFered no coherent
   reason for his rejection of management's projectionsfor 2007-2008 and 2008-2tXi9.kId. at 11 ). 'nrey
   note that he has merely declared that Montgomeryand TWP's projections•\\ere unreasonably low and
   not consistent with the very rapid rates of growth curnntly observed at the tian of the Proxy and
   expected in the social networkingsector at the time.'- tld. at 1 1 (quoting Moriarty Decl.. Ex. 7,
   Kennedy Supplemental Decl. q 6) (emphasis omitted)). Yet, Defendants neglect to mention that Dr.
   Kennedy explainedhis use of higher growth rates for 2007-2(X)8 and 2(X)8-2009 by noting that
   -MySpacerevenues consistently outperformedIntermix management-s own projectionsin each of the
   first four months of 2(X)5.’- (Baron Decl_ Ex. 3, Kennedy Report, at 35). This is at least one nasorwd
   basis for his adjustments to what he viewed as demonstrably -conservative-forecasts. (Id.). After all
   the entire endeavor is forecasting, not hard science. Projections themselves cannot be tested for
   accuracy; they '•represent hopes rather than the results of scientific analysis.’' Zenith Elecs. Corp y
   WH-TV Broad, Corp. . 395 F.3d 416. 420 (7th Cir. 2005); see also in re t)rchards I'illage Irrvs.. LLC .
   No. 09-30893+1dll.2010 WL 143706. at # 1 1 (Bankr. D. Or. Jan. 8. 2010) (u[P]rojectingfuture financial
   results from the operations of a business is not an exact sciencc.").

            Additionally. Defendants argue that: "Kennedy provides no theoretical or empirical jLLstification
   br applying this incrediblyaggressive18x terminal multiple. except his statement that it is based on
   foru'ard EBITDA multiples observed in comparable publicly traded guidclirn companies- mferenccd in
   the comp,uablc public company analysis bc:low. (Mot. 12-13(quoting Moriarty Decl_ Ex. 1, Kennedy
   Report, at 15) (quotation marks omincd)). TIny assert that Dr. Kennedy only relied on -the most
   profitable of the 14 comparable companies relied upon by'- Montgomery and TWP, including Google
   and Yahoo !. and could not summon a single company that had grown at the rate projected with his
   revenue prouth rates and terminal value. (Id. at 13 (citing MoHany Decl_ Ex 1. Kennedy Report. at
   25: Id., Ex. 6. Kennedy Tr. at 123:4-24)).

           While these two challenges ma) tx: objoctioru to Kennedy's conclusionson his DCF analysis,
   they do not render his methodology unreliable. Rather. the de\'iationfrom management's projection,'t
   the use of an arguably aggressive terminal multiple. and the alleged selection of the most profitable
   guidclire companies are proper subjects for cross examination. Defendantsdo not take iSSLnwIth the




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    widcly accepted DCF methodology:1’ nor do they attack any input that is identical to those used in the
    Montgomeryand TWP projections(for instance, the 2005.2CX)6and 200Cb2007 prqjectionsor the
    discount rate which fell within the same range in the investment banks’ fairness analyses).Even in light
    of Dr. Kennedy-sless than fully reasoned explanationsfor his choices. given the inherent element of
   judgment in these financial valuationanalyses. we cannot say that he failed to identify any 'Teliable
    principles and methods-- or to apply those "principles and methods reliably to the facts of [this] case.
   FED.R. E\'ID. 702, '' A court may admit somewhat questionable testImony if it falls within 'the range
   where experts might reasonably differ. and where the jury must decide among the conflicting views.'"
   S.M. n J K. 262 F.3d 914. 921 (9th Cir. 2001 ) (quoting Kumho. 526 U.S. at 153).

           Defendants also argue that there is a fundamental flaw in Dr. Kennedy-sLKF analysis. since it
   allegedly yields an average growth rate into perpetuity above that of the ll.S. economy as a whole
   (12.74 percent versus a historical average of 6.5 percent). (Mot. 13-16: Cornell Decl. in Supp, of Mot
   to L\elude q 5). Arguing that this outcome violates a key tenet of financial valuation.Defendants cite to
   Professor Aswath Damcxlanrn's treatise. which states: -Tbc fact that a stable growrh rate is sustained
   forever, however, puts strong constraints on how high it can be. Since no firm can grow forever at a
   rate higher than the gnuIh rate of the economy in which iI operates, the constant growth rate cannot be
   greater than the overall growTh rate of the economy.” (Dcfs.' Request for Judicial Notice j“FUN"], Ex
   B, ASWATHDAyoDxkuc. DAyoD.\n,t\ ON VALU Arla>.': S£cbxrTV ANAlysIS FOR INV£STVENT Axl)
   CoRPok4T£ FINANCE 145 (John Wiley & Sons. Inc. 2d ed. 20(B)). We have reviewed Dcfendants'
   expert Dr, Bradford Cornell's declaration in support of this Motion to Exclude, in which he argues that
   -Dr. Kennedy's use of an 18x EB111)A forward multiple is unreasonable . . . ." (Cornell Decl. in Supp
   of Mot. to Exclude 11 S). To cross4hockthe outcome of Dr. Kcmndy's DCF analysis. Dr. Cornell used
   three hypotheticalscenarios, in which MySpace'srevenue gnInIh rate declines by 2 rxnent. I Fxrcent.
   and 0.5 percent, respectively. each year until it reaches 6.5 percent the average annual gro\4th rate in
   nominal Gross Domestic Product between 1928 and 2008. LId. in 8-1 0 (citing Defs.' IUN. Ex. F.
   Bureau of Economic Analysis News Release. July 31. 2009)). Using Dr. Kennedy's assumptions and
   dx: Gordon Growth Model (id. gw 11- 13)_Dr. Cornell calculated the following total present values as of
   January 1. 2010 and implied EB[TDA multiples for each scenario: (1 ) for the 2 percent annual
   reduction. S549.13 million and a 4,Ix multiple; (2) for the 1 percent annual reduction. S606.18 million
   and a 5.2x multiple: and (3) for the 0.5 percent annual reduction (what he calls the -most aggressive
   scenario-). S695.34 million and a 6.Ox multiple. (Id. W 14-19:see also id_ Exs. 5, 6). Applying thc 19
   percent discount rate used by Dr. Kennedy, Dr. Cornell calculates discounted values as of mid-2¤X)5 for
   each scenario. including: (1 ) 8251,02 million; (2) $277.10 million: and (3) 8317.8 million. (Cornell
   Decl. in Supp, of Mot. to Exclude 11 20). Finally. Dr. Cornell concludes that •'even assuming an instance
   where MySpace’s revenues grow at a rate exceeding that of the economy as a whole for fifteen )'cars



         19 Lippc v. Buirnco (?wp.. 288 B.R. 678. 689 (S.D.N.Y. 2003) ("Many authoritiesrecognizethat
   the most reliablemethodfor dctcrmining thc value of a business is the discounted cash now ('DCF')
   method.-)(citationsomitted);see also Children 's Broad. Corp. v, The WaltDisney (’a, 245 F.3d1008.
   1 018 (8th   Cir. 2001 ) (describing DCF analysis as '•an uncontmversial accotmhng methcxf').
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   after 2010. i.e., mIdI 2025, Dr. Kennedy's implied EB[]'DA multiple of 1 gx is three limes too high
   when compared with even IDr. Comell’s1 most aggmssi vc implied EBITDA multiple of 6,Ox to give a
   wasonable estimate of MySpace'svalue as of mid-2tXJ5." (Id. q 21 (emphasis original))

         Though a jury might concludeat trial that Dr. Kennedy-s selection of an 18x EBITDA multiple
   wu ovcrzealous.Dr. Cornell's calculations do not demonstrate that Dr. Kennedy's methodologyis
   fundamentallyunreliable. At base. Dr. Cornell’s challenge to this DCF analysis constitutes an attack on
   Dr. Kennedy's projections as to MySpace-s annual growth rates and as to how ]ong those growth rates
   can be sustained.Since Dr. Cornell is in essence attackingthe reasonableness of Dr. Kennedy's
   projections.dw generation of which we have already noted is not an exact science. we concludethat his
   arguments do not render Dr. Kennedy's methodology fundamentally unreliable and therefore
    inadmissible.Dr. Cornell himself has testified that an adjustment in the tcnninal multiple based on the
   exTxn’s assessment of the company'sgro\uh potential is appropriate. (Baron Fkcl„ Ex. 2 (Cornell 'Fr. I
   at 167:19-168:3)). Additionally. Dr. Cornell rejected the proposition that “any time that the implied
   peTpetual growth rate exceeds the growth of the economy, that the terminal value multiple used would
   tn unreliable 1.1- (Id.. Ex. 1 (Cornell Tr. 11 at 21 :21-22:1 )). He further explained that “it-s just a
   question of how much [the implied perpetual growth rate] exceeds [the economy rate.F’ and there is no
   standardized method to determine whether the diITennce t#tween the two rates is "unrcasonablc.'- (Id.
   at 22:3-24:6:id. at 23:12-25 (-'Q[:] And then do they use .judgmcnt to see whether it’s reasonable to
    them or not reasonable to them? . . . . Is there some written scale as to how much \'ariation there can be
   tx:ibn, in your view. it becomes reasonable or unreasonable; or is that a judgment of the analyst? All]
   Well. there's not a written scale . . . . And these calculations Dr. Kennedy used struck me as
   [unreasonable].-)).These statements suggest that Defendantif Motion turns on a difFerence of
   professionalopinion not some fatal methodological flaw

             Bascd on our review of the papers and evidencesubmitted. if an)Thing is clear, it is that DCF
   analysis is. in not insubstantialmeasure. an inherently subjective and predictivenwthodokw. which
    relics in part on the cxlvn-s judgment and experience. Indeed. neither Party has presented the Court
   with any acceptea standardized methodology for deriving the required inputs for DCF analysis
   Accordingly. we are forced to concludethat DCF analysis is suftlciently pliable so that it may
    reasonably lead to a wide breadth of plausible conclusions. Dr, Kennedy's conclusions and the hmcs
    therefor may ultimately tx subject to legitimate attacks on cross-cxamination, but we perceive no
    fundamental unreLiabilityin his arulysis that would counsel in favor of outright exclusion. We agree
   that our •’gatekeeper role under Duuberl is not intended to supplant the adversary system or the role of
    the july.” DSU Med. Corp. k J MS Co.. I.IIL . 296 F. Supp. 2d 1 140, 1 147 (N.D. Cal. 2tX)3) (citation.
   quotation marks, and alteration omitted). It is readily apparent that Defendants hale tboroudlly
    researched the case law on DCF methodology. and in all but one of the several cases they cite. the
   expert witncss's DCF analysis was considered at trial and then rejected by the court. Compare Jn re
   Iridium Operating. LLC , 373 B.R 283, 35(F52 (Bankr, S,D_N. Y. 2007) (rejecting DCF analyses
    following trial); in re Emerging C'ornmc in. Inc. S'holders Lilig. . No. Civ. A. 164 IS, 2(XH WL 1305745.
    at +14-15 (Del. Ch June 4. 2004) (same); (;ray v. ('ytokine Pharmasciences. inc.. No. Civ. A. 17451.
    2002 WL 853 St9, at +8 @1. Ch_ Apr. 25. 2(X)2) (same). wah Kipperrnan r OrIel Corp,. 41 1 B.K 805,
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   WJ9 (Bankr. N.D. Ga. 2(X)9) (simultaneously deciding summary judgnrcnt and granting motion to
   exclude an expert's testimony as unreliable under Rule 702. where the exFnn rejected management's
   projectionsand generated his own DCF analysis).

           With resNet to Dr. Kennedy's comparable public comFnny analysis, Defendants aBle that in
   only used the projected MySpace revenue and EBFfDA llgures for 2006. ignoring the 2005 numtx:r',
   without explanation, (Mot. 17-18 (citing Moriarty Decl„ Ex. 1. Kennedy Report. at 24)). They argue
   Dr. Kennedy-s explanation for choosing to disregard the 2(X)5 figures was inadequate ipse d&iI. When
   asked if 2005 was "an abenant year for MySpace.”he replied: -No. but it wasn’t who the company was
   expected to be." (Kennedy Tr. at 129:19-22). Furthermore. Tkfendants arguethat Kennedy cherry-
   picked only the most profitable guidelinecompanies referenced in Montgomery and -l'WP's fairness
   analyses. instead of applying an average of thc multiples applicable to several companies.(Mol. 18). In
   support of this latlcr contention. they cite another treatise, which states: •'ln employingthe guideline
   publicly traded company method. every effort should be made to select as broad a base of comparative
   comlnnics as is reasonably possible, as well as to give full considerationto every possiblc factor in
   order to make the comparison more meaningful.- (Dcfs.’ FUN, Ex. E, PRA’rl . REn.LY ANU S('HWIEns,
   Tt IE ANALYSIS AND APPRAISALOF CLOSELYHELD COMPANIES233 (20(D) (''PRA11-, et al.-) (citation
   and internal quotation marks omitted)). Defendants contend that Dr. Kennedy erred in whittling down
   the broader base of comparable public companies identified by Montgomeryand TW? to only Google
   and Yahoo!, -seasoned” companies with •'provcn revenue model[sj" that experienced explosive growth.
   (Mot. 19-20). Though this appears to strike Defendantsas litigation<IN\'en.we are instructed to
   evaluate the melhodologv. not an ultimate determination reached by the expert. Our -sole purTnse is to
   determine the reliability of a particular expert opinion through a preliminary assessment of the
   methodologies underlying the opinion." DStl Med. ('tlrp.. 296 F. Supp. 2d at 1 147 (citing Dawhen. 509
   U.S. at 592-93). Of course, wc must consider "whcther the cxInns are proposing to testify about
   matters growing naturally and directly out of research they ha\c conducted indelnndcnt of the litigation.
   or whether they have developed their opinions expressly for purposes of testifying.” Daubcrl //, 43
   F.3d at 1317. However. there is no evidencein the record that Dr. Kennedy deviated from his standard
   methodology thr the purposes of testifying in this case.

           Dr. Kennedy explained his method as follows. First, he analyzedthe companies selected by
   Montgomeryand 1-WP and restricted his selection to those comparable companies.(Moriarty IM_
   Ex. I. Kennedy Report, at 1 8-20). Montgomeryhad chosen twelve companies (Google. Yahoo!. CNET
   Networks. iVillage. Monster Worldwide. Aptimus. ValueClick,Vertruc. Church & Dwight Co_
   HerbalifeLtd„ Jank:n Corp_ and Nature-s Sunshine Pnxiucts) hand on the following sectors: onlirn
   advertising.online content and networking, online direct marketing, and oftline direct marketing. LId. at
   19). TWP had chosen fourteen guideline companies (Bankrate. CNET, iVillage,
   1-800-1"LOWERS.C'OM, Blue Nile, Celebrate Express. Netflix. NutriS)’stem. Ovcrstock.com, Provide
   Commerce. Aptimus. Marchex ValucClick. and Vertrue ) based on thrw sector categories: content,
   eCommerce, and direct marketing, (Id ). Tn identifyinga narrower set of comparable companics, Dr.
   Kennedy explainedthat he considered these to tx "the most similar operational. financial, and growth


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   guidelinepublicly traded companies.'’ (Id. at 20). He justified his deviationfrom the investment banks.
   beginning with TWP, as lbllows:


             In implementingthe public guidelinecompany method, TWP selected guidelineCompanies
             based on all of the businesses of Intermix on a combined b&sis, . . . Montgomeryselected
            guidelinecompaniesblvd on each business within Intermix tx:cause 'The three businesses have
            different economics and peer groups.- As a result, Montgonnry selected only -Online
            Advertising'-and "Online Content and Networking” to apply to MySpace. We agree with
            Montgomery-sapproach that each Intermix business segment. and specificallyMySpace has
            different growth and profit potential and therefore.different mu]tipleswould be appropriateto
            apply to MySpace and the other Intcrmix business sqmcnts. Within TVP’s comparables. only
            the "Content" group is applicable.

   kId. at 20-2 ). Accordingly. Dr. Kennedy selected the following six comparable companies:Bankrate
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   CNET. iVillage, GuBlc, Yah£x)!. arxJ Monster. tld. at 21 ). Tten, hnd on -sclurate MySlnce
    financial Fwrformance information." Dr. Kennedy narrowed the field down to Google and Yahoo!.
   contending those were the only two companies with comparable revcnue and EBITDA growth metrics
   LId. at 2 1-25). Dr. Kennedy concludedthat MySpace “lfell] into the higher profitability ticr" of the six
   Buick:line comlnnies. and therefore, he could discount the 2005 figures for MySpace and utili7£ an
   "average of the multiples indicatedby Google and Yahoo." (Id. at 24-25).

           There is nothing in the record to support the proposition that selecting comparable companies
   based on ( 1 ) services provided (2) revenue metrics, and (3)EBITDA metrics rendCTS a comparable
   public company analysis fundamentally unreliable. We will not exclude this evidence simply because
   Defendants dislike Dr, Kennedy's conclusionthat thc only guidelinecomlnniesleft standiru in the final
   analysis were Google and Yahoo!. Even Defendants'cited Lreatise urges the selection of 'hs broad a
   base of comparative companies as is reasonably possible.- (Dcfs.' FUN, Ex E. PRAm, et al„ supra. at
   233 (emphasis added)). Dr. Kennedy concludes. in cflict, that the remaining comparable companies are
   as broad a base of companrble companies as is reasonably possible. I)efendants’ disagreement with this
   conclusion is prolxrly explored on crossexamination


           Accordingly. we hereby DENY Defendants' Motion to Exclude Dr. Kennedy’s testimony. As
   Dr. Kennedy's testimony is suftlcient to at least raise abbIe issues on damages from out-of_pocket
   losses. we also DENY Defendants’ Motion for Summary Judgment on this issue.

                     3.      “Lost OpportunityH        Damages

            As a FInal altemati\’e.PlaintifF seeks “lost opportunity” damagcs based on the allegedjy
   hnlnnding Viacom bid. -Wlren actual losses cannot in demonstrated.'- some circuit courts have
   recognizod Han alternate theory of establishing damages," the “log opportunity" theory
   DaimlerChrysler, 294 F. Supp. 2d at 627 (internal quotation marks omitted), Lost opportunity damages
   represent -loss of a possible profit or benefit, [dcfirrcd asI an addition to the value of on,e-s investnunt.
   (V-90 WH)                                  ( 1TIL \lINI ItS nGE\ I Rtl
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   unless the loss is wholly speculative."Tse //, 123 F. Supp. 2d at 223 (internal citations omitted;
   alteration in original). “Lost opFnrtunitydamages are not -wholly srnculative’if they are based on
    certain, axed and demonstrable profits thwarted by a defendant’s alleged fraud.’" Daimler(:hrysler.
   294 F. Supp. 2d at 627 (quoting Rudinger n IIIS. Data Processing, Inc, , 778 F. Supp. 1334, 1341 (E.D.
   Pa. 1991 )). nFunher, lost opportunities damages 'are not available where the fact of the loss. i.c
   whedxlr then was any lost or4nrtunityat all. is wholly speculative.-' Id. (quoting be v, Ventanu Med.
   Sys. . Inc. . 297 F.3d 2 1 0, 220 (3d Cir. 2(m) (" Re //f’)). Finally. u• [t]he risk of uncertainty as to [theJ
   amount of damages is cast on the wrongdocr and it is the duty of the fact finder to determine the amount
   of the damages as bst he can from all the evidence in the case.”’ Tse III, 297 F.3d at 220 (quoting
   Gould n American-llawaiian S.S. Co,, 535 F.2d 761. 781-82 (3d Cir. 1976)).

            In support of this theory of damages, Plaintiff argues that Viacom was conlemplatinga bid
   above $750 million, citing a singie internal Viacom email, in which Jason Hirschhornstates: “My guess
   is that News [Corp.] is going to take the $12/share ask hom Richard Roscnblan and add a premium of
   10-2(P/o. S700-$750 million . . . . Don't know if ofFer will tx binding from NEWS [Corp.]. But I
   bclioeve lx/c] they will deliver it anywhere hom today-monday.-- (J. A.. Ex. 192), Viacom never in fact
   put in a bid thr Intcrmix. Therefore. the relevant question on this motion for summary judgment is
   whether there is a triable issue of material fact as to whether Viacom would have submitted a bid. This
   question must be answered in tIn rngati\’e. since it is undisputed that Viacom’s tx)ard simply refused to
   engage in a public bidding war with its competitor News Corp. Frcstcin, Viacom's CEO, testified that
   the Viacom board members were adamant on this point: '“I’here already had been an offer and it wasn’t
   ours and it didn’t look like than was an opportunity to counter bid or if there \vas. we would have to do
   so in a public way and the txwd had said on the spot no. let-s not get involved in that.’- (Preston Tr. at
   35:11-15; see also West Tr. at 123:22-24 (-We had some discussion and we ended up saying that it
   wasn’t worth pursuing a counterbid strategy.")). Therefore. given this unwaveringrefusal to engage in
   a public bidding war following the July 18th merger announcement, the Pro\T. including whatever
   alleged material omissions. issued in late August had no efFect wkutsoever on Viacom's willingness to
   place a bid for Intcrmix. Accordingly. the allegedly defectiveProxy cannot support the notion that
   Intermix shareholders missed out on an opportunity with Viacom
            While it may be theoreticallypossible that Viacom would have cntcred a subsequent bid had the
   IntermL\ shareholders not been a]legcdly deceivedby the defective Proxy and had they rejected the
   merger with News Corp.. we concludethat under the totality of the evidence.PlaintifFs showing is no
   more than speculative.Moreover.merc rejection of the News Corp. bid by the shareholders would not
   necessarily have eliminatedthe specter of a public bidding war that Viacom at)honed.Nothing
   prevented News Corp. hom countering any Viacom bid with a counterbid. This is precisely the type of
   speculation and indcterminacythat is insufficientto create a triable issue on the existence of any lost
   opportunlt}




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          Accordingly. we GRANT IX:fendants' Motion for Summary Judgment &s to this theory of
   damages.n On his Section 4(a) claim, PlaintifF may ONLY proceed at trial on his theory of out-of-
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   pocket losses based on an intrinsic valuationof Intcrmix at the time of the merger

   IV.      Count III: Violation of Section 20(a) of the Securities and ErchangeAct of 1934

           Section 20(a) of the 1934 Act provides that: -Every person who. directly or indirectly. controls
   any rxnon liable under any provisionof this chapter or of any rule or regulation Ownundcr shall also
   be liable jointly and sewralb' with and to the same extent as such controlled person to any person to
   whom such controlled person is liable, unless the conhnlling person acted in good faith and did not
   directly or indirectly induce the act or acts constitutingthe violation or cause of action." 1 5 U.S.C. §
   78t(a). The Parties agree that if there is no primary liability under Section 14(a), there can tx no control
   person liability. (Joint Br. 87). Howe\er. since we have denied summary judgment with rcspoct to
   three of the bases for Count 11, we likewise DENY the Motion for Summary Judgment with respect to
   Count III

   V.       Conclusion

          PlaintifFs Motion for Summary Judgment is DENIED. MendanB- Motion for Summary
   JudgJnent is hereby GRANTED in part and DENiED in part as set forth in this Order. Within thirty
   (30) days hereof. counsel SHALL nIc a joint status report setting Rvth their views regardingfurther
   mediation in light OfthLSC rulings.

            IT IS SO ORDERED.


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            !' We have no occasion to consider and therefore express no opinion on whether the “lost
   oplnnunity'’ theory of damages premised on a FXdenial Viacom bid would be viable with respect to the
   breach of fiduciary duty claim which is based on evidence beyond the alleged material omissions from

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   the Proxy. The Parties haye not addressed                erNEk+l.
                                             this issue in their Cross-Motions.–
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           grATE OF DJDLANA. COMMONWEALTH          IION. AMFT P MEHTA
           OF KEHIUCRY. grATE OF LOUISIANA.
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           OF MONTANA. STATE OF SOUTH
           CAROLINA STATE OF TEXAS. AND
           STATE OF WISCONSIN
                                   PlaintIfF&




           GOOGLELLC,

                                  Dcfel)dant.                                   JAN - 3

           STATE OF COLORADO. STATE OF
           NEBRASKA. STATE OF ARIZONA. STATE
           OF IOWA STATE OF NEW YORK. STATE
           OF NORTH CAROLINA. STATE OF
                                                   Case No. 1:2(b¤v0371 SOAPM
           TnINESSE£. grATE OFlrrAH. srAT£ or
           ALASKA, STATE OF COWECTICUT,            HON. AMIT P. MEltrA
           STATE OF DELAWARE, DISTRlcr OF
           COLUMBIA.TERRrrORY OF GUAM.
           STATE OF H AWAllg STATE OF ILLINOiS+
           STATE OF KANSAS. STATE OF MAINE.
           STATE OF MARYLAND.
           COMMONWEALTHOF \{ASSACHUSErrs.
           grATE OF MINNESOTA, grATE OF
        NEVADA STATE OF NEW Hh\4PSHIR&
        grATE OF NEW JERSEY. STATE OF NEW
        MEXICO. STATE OF NORTH DAKOTA.
        grATE OF OHIO. STATE OF OKIAHOMA.
        STATE OF OREGON. COMMONWEALTH
        OF PENNSYLVANIA.COMMONWEALTH
     E  OFrtJERTO RICO. STATE OF RHODE
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        OF VIRGiNIA, STATE OF WASHINGTON.

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       PlaindfFhneby nquests,pursuant to Rule 201 of the FederalRulesof Evidence, that the

    Coun take judicIal notice of the foI]owing hans in eonnechonwith PlainUffMotion 60(b)(3)

    Exhibit #1

       1. RecordSupplemental September 27. 2015 in Delaware SupremeCourt -1 Page

    Exhibit #2

       2. April 13, 2015IN THE SUPREME COURTOF THE STATEOF DELAWARE

           No. 102. 2015
           A WRIT OF MANDAN{US
           Before STRINE, Chief Justice; HOLLAND, and VAUGHN, Justices.
           ORDER-3 pages

       3. SqHembu 17, 2015Delaware SuprmleCourt Orderon No 347, 2015

           PFFITION OF BRAD D. GREENSPANFOR A WRIF OF CERTIORARI + pages

       4. April 2, 2015DelawareCourt Chancery grantsPlaintifFs Motion Rwusal of Judge_-6 lx3ges

       5. 9/1815Order San Jose District Court Order- 1 page

    ExEa>it #3 documents

       6. PlaintifFfiled Notice of Appeal in San Jose FederalDistrict case vs. GoogleIAC in May

    2016and the Circuit Court’s Orderissued AUG 17 2017:U.S.COURT OF APPEALS2 16-15908

    UNITED STATES COURT OF APPEALS FOR THE NINTH CIRCUIT

    BRAD GREENSPAN,Plaintiff.Appellant, v. IAC/INTERACTIVECORP.a Delaware

    No. 1615908 D.C. No. 5:144v.(H187-RMW MEMORANDUM'

        Appeal from the United StatesDistrict Court for the NorthernDistrict of Qrlifornia

        Ronald M. Whyte, District Judge, Presiding Submitted August 9. 2017"

    Before: SCHROEDER, TASllINIA, and M. SMIUI, Circuit JaIIBes.

            FILED AUG 17 2017

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       U.S. COURT OF APPEALS 2 IG15908

             'Grwnspan’s notice of appeal challengingthe Scwdtin and Exchange
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             Commission’s("SEC”) May 2, 2016Order DeterminingWhistleblowerAward

             Claim, whichwas filed in the district ooun, should have ken filed in this court

             See IS U.S.C. § 7811.6(f) (providing that oertaindeterminationsof whistleblower

             awards "may be appealed to the appropriatecourt of appeals of the United States

             not morethan 30 days after the determination is issued by tbc Commission”). We

             construe Greenspan’snotice of appeal as a petition for review See Fed.R. App. P

             IS(a)(4). In the intaw6 ofjustice, we transfer Gncnspan'spetitIonfor review to

             this court. See 28 U.S.C. § 1631 ; Kolek v. Engen, 869 F.2d 1281,1284(9th Ch.


             1989)(settingforth conditionsfor transfer under28 U.S.C. § 1631);see also Bata

             v. Sonchik,273 F.3d 1261,1264(9th Cir. 2001)(''[B]uausc thc purposeof the

             transferstatuteis to aid litigants who were confusedaboutthe proper forum for

             review, a petition that would be dmc-barredwithout a transfersatisfiesthe

             irtctest of Justicetest.”(citation and internal quotationmarksomitted)).

             The Clerk shall file Greenspan’s noam of appeal (Drstrict Court Docket

             Entry No. KH) as a peddon for review of the SEC’s May 2. 2016order arxl wen a

             new case in this COurt.”


             .1 page

     7. DEFENDANT GOOGLE INC.’S REPLY IN SUPPORT OF MOTION FOR AN

        ORDER DECLARING PLAWriFF A VEXATIOUS LITIGANT AND FOR

        ATrORNEYS’ FEES PURSUANr TO 28 U-S.C.§ 1927 Oled 09/1 m

       Docket in 1+cv-(H187-RMWinvolving DefendantDocument155 -3 pages

     8. Filed by defendantPlaintifTisentitledto bring or defendclaimsagainst by way of motion



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           joinder to add the other fragments and ausIS existing as defendant under 14-cv.(A 187.
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                 ''DEFtNDANT COOGI.E INC.’S

                 FED R. CIV. P. 7.1 AND LOCAL RULE 3-15

                 CERTIFICATEOF INTERESTED ENrITIEs”

                 DATE FILED: OCTOBER 8, 2015

          substantially affected by the outcome of this proceeding

          1. Alphabet Inc., Holding (»mpany of Defendant2. GoogleInc., Defendant”

          Dated: October 8, 2015"

     9.     Filed by Defendant 10/20/2017 example of how in a case with a more hiendly counter
           parry counsel, Google negotiates but requires permission from counter pan'. Google
           never got permissionfor the substitutionit made in case Plaintia filed in Fnleral Court
           San Jose. , showing how no stipulation means Alphabet never could have become
           released from being adverse counter paW to Plaintiff,

      “Pursuant to Civil Incal Rule 7-12, Plaindff Google Inc., now known as Google LLC, and
      Defendant Creative Labs, Inc. and Creative Technology Ltd. (“Creative”), (oollectivety,
      the   “Panics’), by and through their nspWive counsel of record, hereby stipulate as
       follows:

      WHEREAS Plaintiff represents that GoogleInc_ filed a CeRiacateof Conversion with the
      Delaware Snraary of State, in whichGoogleInc. convertedfrom a corporation to a limited
      liabiIity companyand changedits nameto GoogleLLC on September 30, 201 7;

      WIiEREAS Plainnff represents that Google LIE Bled a Cenificate of Formationwith the
      DelawareSecretary of State, effective on September 30, 2017;

      WHEREAS the P8rtin agree that this Stipulation merely reflects the abovtnoted change
      ofcoQorate name, and does not affeci any substantive issue in this case;

      NOW, THEREFORE Fr IS HEREBY STIPULATED by and between the Parties.through
      their respective counsel and subject to the Court’s approval,that: GoogleInc. shall now be
      known as GoogleLLC in this action and the captionof the case shall be:




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                140-2    NOW, THEREFORE. rr iS HEREBY STIPULATED by and between the raHiM,

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                                                                                        that: acute Inc. shall now

               tn hwwrr u Gao@ LLC in this action and the qdon             of the cue Ball bc
               GOOGLE LLC

                                        Phhdfr,



               c'REA'rlVE LfLBS, INC. BUt
               CREATIVE TECHNOLOGY LTD.,
                                        Defendants.




               D&ted Oaobu20,2017                                    Rwpectfully submitted

                                                                     By:       Isr DUgl 1: FaIR
                                                                           Bijal V. Vakil
                                                                     Anorrw}sfu Plainna
                                                                     G<xiglc Uf

                                                                     By:      AL Iohlulhan D. Baker
                                                                           JobnatbanD. Baker

                                                                     Attorneys tbr Dcfcndantr
                                                                     Creative Labs. Inc. and
                                                                    Clan\x Tuhrrokw Lal

                                                           RHNTSTtFt£XTXINAhn PZuNXED I'xr>1 x n} IEFl'Pa &ty[ c+liTT
                                                                                                  CAn NO- 3-lbay.a8sihtsr




          10. 10.20.17Case No. 3:1&tv<)262&JST

          Jonrr STIPULATION AND [PROPOSEDI ORDER TO REFLECr NAME CHANGE
          FROM GOOGLEINC. TO GOOGLELLC

          11 . CertificateFRCP 7.1 filed in this case by DefendantGoogle LLC stated “ Alphabet, Inc.,


             t9oqle, Inc. MapleTechnob¤bs Inc, XXVI HoldIngs Inc., HokJinB Companyof Goc)gk

             llC,   Youtube   LIC   -




    IV.   CONCLUSION


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      In sum, the 8txive items meet the nquirementsof Rule 201(b)(2) of tIn Federal Rulm of

   Evitktr% and tlnr¤forB the Court mw take judicial non    of them purnnnr to Rule 201(c)(2)
   of the Federal Rules of Evidence.

      Respectfully Submitted,

      tsI Brad (;rstrunIt                                      Dated: January 2. 2024

      Brad Gnmspaa,     pro se

      244 S&ave, #G2HJ

      New York NY 10001
      Frnail: legal support lie p)m hush{om
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                        IN THE SL?REME COLin OF THE STATE OF DELAwARE

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 IN THE MATTER OF THE PETITION OF                      I
                                                               No.     347,2 SiS
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 Brad D. Gnen9an

        PlaintiffBclow,
        Appellant

 FOR AN EXTRAORDINARY
 wm OF CERTIORARI
 In C. A. No. 9567




 Twenty.FaSt Century Fox. Inc, et al                   i

          DefendantsBelow,
          Appelles

 RECORD (SUPPLEMENTAI.)

        September23, 2015 FRCP Rule 23 Case No. 5:14-cv-04187 ceDefendant IAC/Interactive "Decluadon of Kurt A
        Kappc$ in Support of DefendantIAC/Intcmcbvc Corp’s Bill of Fees And Costs"

          September18, 2015 FRCP Rnle 23 Federal District Judge Ruling Case No. 5:1+{v4H187 in favor of PLaintiff and
          against Defendants Twenty-First Century Fox, Inc. IAC/Interactive, a al

 iii.     August 14. 2015, FRCP Rule 23 No. 5:1'hcv'04187 co.Defendant Google, Inc. Motion To Consolidate &
          “DEFENDANT IAC/INTERACTIVE CORP’S NOTICE OF JOINDER TO GOOGLE, INC.’S ADMDqISTRATIVE
          MOTIONTO coNSOLnDAT£HEARING DATES"

 IV-      August20, 2015 FRCP Rule 23 5;14-cvqH062 “All Actions “ ORDER DENYINGDEFENDANTS’JOlla
          MOTION TO DISMISS” Denial of Defendants Twenty-First Century Fox, Inc., SonyCorporation of America,
          erick Heaington Law LLC, claims for violation of Sherman Ad 1, Clayton Act, Rule 17200 5:14-cv'04062

          February 19, 2015 F Arncnded Class Action Case No, 5: I'kv.(A 187 vs DefendantsTwenty-First Century Fab Inc.,
          IAC/Interactivc, et al., and Google, Inc

          July 7, 2014 FRC:P Rule 23 Case No. 5:11-w-02509McXion To Cowolidatc PkJntiff s claims underFRCP 2521
          against Defendants Twenty-FiIM Century Fox, Inc. IAC/Interxtive, OrHckHenington Law LLC, and Google, Inc

 VII      March 28. 2014 FRCP Rule 23 Case No. 5;11.cv-02509- "ALL ACTIONS""ORDER DENYINGDEFENDANTS’
          INDIVIDUAL MOTIONS FOR SUMMARY JUDGMENT’ for ceDefend8nts Google, Inc.. Twenty-Century Fox,
          Inc.p IAC/Interactive Inc., Apple Corporation, Intel Corporation.Adobe Corporation, violation of
          Sherman Act 1, Clayton Act, Rule 17200


 DATtD:    September 27, 2015

 Respectfully £ubmitted,

 IsI Bmi D, 6 run$pan
  Brad D. Greenspan
  2995 Woodside Rd.
  Suite4(D Woodside, CA 94062
  ph: 408-827-9656 ext: 454
                                                                                                                        1
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      In sum, the above items meet the nquirementsof Rule 201(b)(2) of the Federal Rules of
                                                                                           09/
   Eviderr% and tbaufore, the Court must take judicial nod% of them pursuant to Rule 201 (c)(2)

   of the Federal Rules of Evidence.

      R£spccrfully Submitted,

      IsI Brad Greenspan                                        Dated: January 2. 2024

      Brad Grwnspan, pro se

      244 51IDave, #Gm)

      New York. NY 10001
      Email: lcgalsuppon_l_lgnym,hush.com
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          iN THE SUPREME COURT OF THE STATE OF DELAWARE
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     rN THE MA'1-1-ER OF THE                 §


     PETITION OF BRAD D_                     § No. 102, 2015
     GREENSPAN FOR A WRrr OF                 §

     MANDAM US                               !

                              Submitted: March 23, 2015
                               Decided: April 13, 2015

     Before STRINE. Chief Justice; HOLLAND, and VAUGHN. Justices.

                                      ORDER
           This 13th day of April 2015, upon considuation of the petitionof

     Brad Greenspanfor a writ ofmandamus, it appears to the Court that:

           ( 1)   The petitioner, Brad Greenspan, seeks to invoke the original

     jurisdiction of this Court under Supreme Court Rule 43. He requests that

     this Court issue a writ of mandamusdirectinga Master of the Court of

     Chancery to: (D grant his "Motion to Expedite Summary Judgment:” (ii)

     declare that he is immediately entitled to advancementof his legal fees; (iii)

     grant his “Motion Rule MCb) or Rule 55(b):" (iv) grant his "Motion for

     Partial Summary Judgment;" (v) ordu a hearing on his "Motion 70b;” (vi)

     order an independent accounting of legal fees paid by defendants to the

     Master’s former employer; (vii) transfer his case to Vice Chancellor Lastcr;

     (viii) disqualify the law firm of Richards Lnyton & Finger from appearing
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     his case; (ix) join certain people as codefendants;and (x) set a new hearing

     date on his “Motion to Expedite Summary Judgment.”

            (2)    Defendantsbelow, News Corporation and Intermix Media LLC,

     as well as defendants. Sony Entertainment, Inc., Sony Music Holdings. Inc.,

     and 550 Digital Media Ventures, Inc., have tiled motions seeking to dismiss

     Greenspan’swrit of mandamus, After careful consideration of the paTties

     respective positions, we find that Greenspan’s petition manifestly fails to

     invoke this Court’s original jurisdiction to issue an extraordinary writ.

     Accordingly, his petition must be dismissed.

            (3)    A writ of mandamus is designed to compel a lower court to

     perform a duty if it is shown that: the complainant has a clear right to the

     performanceof the duty; that no other adequate remedy is availablc; and that

     the trial court has arbitrarily failed or refused to perform its duty.1 A writ of

     mandamuswill not be issued “to compel a trial court to perform a particular

     judicial function, to decide a matter in a particular way, or to dictate the

     control of its docket,”2 A writ of mandamusis not warranted under the

     present circumstances because the pending motions below are within the

     discretion of the Master in Chancery.3-Ibis Court will not compel the Court


     lln re Bordley, 545 A.2d 619, 620 (Del. 1988).
     2 Id

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     of Chancery to rule in Greenspan’sfavor on the substantive issues below.
                                                                             09/
     Tbeseare matters Greenspan may raise in any appeal &om a final order

     issued by the Court of Chancery in the proceedingsbelow.

           NOW, THEREFORE,IT IS ORDEREDthat the pedtion for the

     issuance of an extraordinary writ ofmandamusis DISMISSED.

                                                BY TIIE COURT:
                                                /s/ Leo E, SHine, JI

                                                Chief Justice
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     4/18/2014



     Brad Greenspan
     264 South La Cienega,Suite1236
     Beverly Hills. CA 90211                                                                                               I           t\)
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                       IN THE COURT OF CHANCERY OF THE STATE OF DELAWARE


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                140-2                                                                Filed05/0
                                                                                     Filed 09/
                                  BRAD D. GREENSPAN.                                         )

                                                                                                     C.A. No.
                                  264 South La Cienega                                           )




                                       Suite 1216                                                )




                                 Beverly Hills, CA 90211                                         )


                                                                                                 )


                                         Plaintiff,                                              )


                                             V.                                                  )


                                                                                                 )



     NEWS CORPORATION, 21 ST CENTURY FOX CORPORATION, NEWS AMERICA CORPORATION,                  )


                             WASHINGTON POST CORPORATION,                                        )



     SONYcoRPoraTioN. SONYCORPORATION AMERICA, SONYMUSIC ENTERTAINMENT INC.,                     )



       550 DIGITAL MEDIA VENTURES. INC. SONY BROADBAND ENTERTAINMENTI INC.I EUNIVERSEt INC
             NEWS CORPORATION. 21 ST CENTURY FOX, EUNIVERSE, INC. , RGRD LAW LLCI

 NTAGEPOINT VENTURE PARTNERS. ORRICK HERRINGTON LAW LLC, EMI MUSICI WARNER MUSIC GROUR
                             IAC CORPORATION, MYSPACE, INC.,
                                     ASKIEEVES, INC..

            JP MORGAN CHASE CORPORATION, REDPOINT PARTNERS CORPORATION,
                                 ARENT FOX LAW LLC INC




        1503 & INDEMNIFICATION COMPLAINT
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                140-2
   Plaintiff, for his Complaint against the Defendants,alleging as follows:     Filed05/0
                                                                                Filed 09/
   1-            PRELIM INARY STATEMENT & SYNOPSIS

          I. Plaintiff Brad D. Greenspan (“Plaintiff’),a former Director an Officer of

   eUniverse, Inc. a Delaware Corporation    hereby files this complaint. Petitioner is

   entitled to a private cause of action for damages suffered as a result of Defendant

   acts , omissions. damages, violations, and other losses caused by the long running

   1503(d) conspiracy among Defendants. Petitioner also has contractual rights for

   Indemnification and Advancement.

   Il w PARTIES

   PLAINTIFF

         2.      Brad Greenspan, former Director, OtTicer, ShareholderofeUniversc, Inc

   DEFENDANTS

          3. News Corporation, a Delaware Corporation

         4.    21st Century Fox Corporation, a Delaware Corporation


          5. News America Corporation, Delaware corporations

          6. Sony Corporation, incorporatedin Japan (herein Sony Corporation

   and its subsidiaries listed below will be referred to as “Sony”)

          7.      Sony Corporation Americb a Delaware corporation

          8.      Sony Music EntertainmentInc., a Delaware Corporation

          9.      550 Digital Media Ventures, Inc. (“550 DMV”), a Delaware Corporation

          10.     Sony Broadband Entertainment, Inc., a Delaware corporation

                                                2
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          Document
           Inc. ,
         Document later
                           25-1
                         to Intermix)
                        140-2
                 eUniverse         (name

     Corporation (News Corp acquired in 2005)
                                                changed
                                                                                Filed05/0
                                                                                Filed
                                                                        a Delaware
                                                                                      09/
           12.   Myspace, Inc., a Delaware Corporation (News Corp acquired in 2005)

           13.   RGRD Law LLC, a California     LLC


           14.   VantagePoint Venture Partners, a California LLC

           15.   Orrick Herrington Law LLC, a California LLC

           16.   EMI Music, a Delaware Corporation

           17.   Warner Music Group, a Delaware Corporation

           18.   AskJeeves Inc., a Delaware corporation (IAC Corp acquired in 2005)

           19.   IAC Corporation, a Delaware corporation

           20.   JP Morgan Chase, a Delaware corporation

           21. RedPointPartners, a CaliforniaLLC

           22.   Washington Post Corporation, a Delaware Corporation

           23.   Arent Fox Law, a Delaware LLC

     Ill - JURISDICTIONAND VENUE

           24.   TIle jurisdiction of this Court is conferred and invoked pursuant to

     eUniverse, Inc., and its buyer, News Corporation being Delaware incorporated

     IV- FACT HISTORY

     The 1503 & 1505 Claims

         25.     1503 & 1505 according to Delaware statute § 1501 have a purpose:




                                                  3
   “ to guard against and prevent the infIltration and illegal acquisition of legitimate

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   economic enterprisesby racketeering practices, and the use and exploitation of both legal
H-BCM           140-2
   and illegal enterprises to further criminal activities.“                       Filed
   “to apply to conduct beyond what is traditionalb     regarded as "organized crime" or
   "racketeering.    "


        26.         Enterprise   under § 1502 is defined:

   ''(3) "Enterprise" shall include any individual, sole propdetorship, partnership,
   corporation, trust or other legal entity ; and any union, association or group of persons
   associated in fact, although not a legal entity. TIle word "enterprise"shall include illicit
   as well as licit enterprises. and governmental as well as other entities.”

       27.          Members of the “SearchBriberyHacking” ('SBH’) Enterprise are an

   association-in-fact"enterprise that are known as of the date of filing this

   complaint to include: IAC, AskJeevcs, News Corporation, Orhck llerdngton,

   VantagcPoint Partners, RedPoint Partners, JPMorgan, Washington Post Corporation,

   RGRD I.aw LLC, Sony Corporation, Sony Music Entertainment, Arent Fox, EMI,

   Warner Brothers Music, MySpace Inc., Intermix Inc_, Sony Corporation America, 550

   DMV, Sony Broadband Entertainment Inc., as well as certain of their Officers,

   Directors, and employees (“Enterprise”).

          28.       Tbis Enterprise possessed and continues to possess a common

   purpose and goal, a membership, organizationalstructure, and ongoing

   relationships with sufficient longevity to permit and enable pursuit of the

   Enterprise’s purpose and long-term objective through a continuous course of

   conduct that affbcted and continues to afFect interstate and foreign commerce.

   Most or all of the members of the Enterprise are also Principals, defined under

   Delaware     statue.


                                                    4
                    “(8) "Principal" shall mean a person who engages in conduct

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                    constituting a violation, or one who is legally accountablefor the
                    unlawful conduct of another person or entity.”                    09/
         29       The SBH Enterprise, members, and/or Principals engaged, attempted to

   engage in, or conspired to engage in or to solicit, coerce or intimidate other person

   to engage in Racketeeringviolations which under Delaware state law is defined as:

   “(9) "Racketeering" shall mean to engage in, to attempt to engage in, to conspire to
   engage in or to solicit, coerce or intimidate another person to engage in:

   a. Any activity defined as "racketeering activity" under 18 U.S.C. § 1961(1)(A),
   ( 1 )(B), ( 1 )(C) or ( 1 )(D); or

   b. Any activity constituting any felony which is chargeableunder the Delaware
   Code or any activity constituting a misdemeanorunder the following provisions of
   the Delaware Code:

   Chapter 73 of Title 6 relating to the sale of securities; Chapter 5 of Title 11 & Title
   6 relating to forgery and counterfeiting; Chapter 5 of Title 11 relating to perjury;
   Chapter 5 of’l'itle Il and Title 28 relating to bribery and misuse of public office
   and improper influence; Chapter 5 of Title 11 relating to tampering with jurors,
   evidence and witnesses;”

         30.      SBH Enterprise, members, and Principals that make up the SBH

   Enterprise initiated a Pattern of racketeering activity txtween 2003 thru 20 13,

   defined as:

   “(5) "Pattern of racketeering activity" shall mean 2 or more incidents of conduct:

       a. Tbat:

       1. Constitute racketeering activity;

       2. Are related to the affairs of the enterprise;

       3. Are not so closely related to each other and connected in point of time and
       place that they constitute a single event; and

       b. Where:

                 I. At least ] of the incidents of conduct occurred after July 9, 1986;
                                                  5
                2. The last incidentof conduct occurred within ]0 years after a prior

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                                                                                        09/
                occasion of conduct; and
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                3. As to criminal charges, but not as to civil proceedings, at least 1 of the
                incidents of conduct constituted a felony under the Delaware Criminal
                Code, or if committed subject to the jurisdiction of the United States or
                any state of the United States, would constitute a felony under the
                Delaware Criminal Code if committed in the State.”

         31.     SBH Enterprise “racketeeringactivity” included: 18 U.S.C. § 1341

   (relating to mail fraud), 18 U.S.C. § 1512 (relating to tamperingwith a witness,

   victim, or an informant) 18 U.S.C. § 1513 (relating to Tetaliating against a witness.

   victim, or an informant) and 18 U.S.C. $ 1519 (relating to destruction, alteration. or

   falsification of records in Federal investigationand bankruptcy)

         32.     The pattern of racketeering activity is based on the following facts:

          33.     Principals and members of the SBH enterprisedesired and wanted

   to fraudulentlytake control of a publicly traded company that was the #1 fastest

   growing Top 10 Property in the world as of October 2003.

          34.     Defendants launch series of schemes and frauds to take control of publicly

   traded MySpace and its parent corporation eUniverse (later renamed Intennix) and oust

   founder/CEOBrad Greenspan.

          35.     Defendants also initiate schemes to defame and harass Petitioner, and

   additionally obstruct justice.

          36. Not satisfied with their existing economic gains, defendantsembarkedon an

   ever growing series of schemes and misdeeds to loot the public company.

         37.    Petitioner on January 23, 2004 published press release titled:

                  “SubstantialConflicts of Interest with Respect to Verisign
                  Nasdaq:VRSNAnd Ask Jeeves NASDAQ:ASKJ”
                                                  6
   statIng:

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                   i."eUniverse's Future Success in Lucrative Paid Search Space is
                       Threatened By Existing Director Conflicts"                           Filed05/0
                                                                                            Filed 09/
                  ii.“certain of eUniverse's incumtnnt Directors have substantial conflicts of interest

                    that could threaten the Company’s success in the paid search industry.”

                 iii."Daniel Mosher has conflicts of interest arising from his middle management role
                      at Verisign, Inc. (NASDAQ: VRSN) which introduced the “sitefinder" redirect
                    service in direct competition with eUniverse’s PerfectNav application. “

                  iv."David Cadick has a conf\ict of interest arising from his membership on the Board
                    of Ask Jeeves (Nasdaq: ASKJ), which is a pure play in the paid search space.


                  V.“Cadickhas the ability to influencemanagement decisions which may adversely
                     affect eUniverse’s PaidSearch division. "


   DEFENDANTS ENTRENCHMENT SCHEME SHIFTS CONTROI.

          38.    Petitioner incorporates by reference Exhibit #1 which includes:

          1.     January 2, 20 14 letter to Chancellor Strine

          ii.    NOTICE MOTIONIN CONTEMP-I

          111    MOTION FOR CONTEMPT 70(B) 42(B) AND/OR 60(B)(3)

          iii.   DECLARATION IN SUPPORT OF MOTION 70(b) 42(b) CONTEMP’I

          IV.    JUDGMENT ENTRY SETTrNG HEARING

          (Note: All above unsigned documentswere signed and submitted by courier
          January 2. 2014 to Brenda at intake with copy of December 2013 proof of
          serv'ice to Defendants)


   DEFENDANTS PASS ON FRAUDULENTLY CONCEALED EDELL DISCLOSURE VIOLATION TO

   ACQUIROR NEWS CORPORATION


         39. July 7, 2005 News Corporation Corporatecounsel Lang emailed at 4: 13 AM
                    1




   to Defendant cUniverseDirector Sheehan and states, by interstate wire or interstate
   carrier an email fUrthering the fraudulent concealment scheme to fabricate and

                                                       7
   fraudulentlyconceal unlawfbl acts including contempt of Court to acquiror News

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                                                                                Filed 09/
   Corporation as clearly exhibited in email disclosed by Class Counsel in 2011 Fcderal

   security fraud class action. “Subject: 'Purchasc Agreement”, stating,


                     "On the issues, let's close on the remaining ones in a fair and reasonable
                     way-- so we can build out relationship.” And

                     “3. We feel like we have given indemnification on the shares and the
                      purchase agreement itself to do so on any issue we have had no
                      involvement in whatsoever (i.c. Greenspan) - that seems like
                     too much. Andy, i know we are very eager to get this done. Let do it
                     so both sides can feel good and move forward on our longer-term
                      relationship."

   Lang’s communication is in violation of 18 U.S.C. § 1341, 18 U.S.C. § 1343, and 18
   U.S.C. $ 1519 (relating to destruction,alteration, or falsifIcation of records in Federal

   investigationand bankruptcy).


   2013 HITECH FEDERALCLASS ACTION EVIDENCE

         40. Evidence disclosed for the first time May 2013 in the Hitech Class Action

   Case 5:1102509, specifically document 1 98-3, page 37 and 38, proves Google had

   undisclosed illegal agreements in place with AskJeeves, AOL, Intel, Intuit, IAC Corp.

   and Apple as of March 6, 2005 or earlier violating Federal antitrust statues. The

   companies fraudulently concealed the agreements and failed to disclose them in

   their annual 10K SEC or Proxy filings, violating security law and Director fiduciary

   duties.

             41.   TIle evidence confirms Petitioner and shareholders were victims in

   2005 of an bid rigging conspiracy led by Google and enacted in coordination with

   AskJeeves’s Directors who used their positions on the Boards of both MySpace,

   Inc. and Parent eUniverscto mislead the other Directors and shareholders while
                                                  8
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   facilitating and enjoying the economic benefits of an illegal bid rigging scheme.

          42.
                                                                                    09/
                This conspiracy included: (i) fabricating prior sale of MySpace stock

   with backdated agreement in November 20W+ (ii) agreements allowing      AskJeeves

   Director Jeff Yang to purchase 30% of MySpace.Inc. in February 2005 at below

   fair market value using his RedPoint fund where he is managing Director;

          a. September 27, 2004 Vantagepoint internal report proves SBH Enterprise.

   Carlick, and AskJeeves manipulatedIntermix Directors to forgo using less dilutive debt
   financing available, instead facilitating sweetheart equity sale to Yang and RedPoint
   Partners.

                       “Myspace will require approximately S1.5 .2 million in the next 2
                       months for storage arrays, database servers, switches and
                       routers . "
   And
                       "The company is in discussionswith Silicon Valley Bank regarding
                       a $4m line of credit, which is likely to be approved.”

          b-    October 1, 2004, 3:05PM Rosenblatt contacts Sheehan using interstate wire

   or interstate carrier to send and deliver the email:

                  Just had a tough talk with Chris DeWolf. His lawyer id definitely giving
                him concerns about our offer. Heart ache about us taking the tech, value
                if we sell, etc. He really thinks he is worth more independently...I am
                told him that is not going to happen.”


   the disclosed order of events described in the November 20(A ICQ is fabricated and this
   email is in violation of both 18 U,S.C. $ 1341& 18 U.S.C. § 1343, and is a Key
   componentand predicate act in aaudulentlyconcealing the false facts in the November
   cUniverse2004 1 OQ filing related to hiding backdated MySpace stock purchase

   agreement by defendants.
         c. October 7, 2004 3:45PM Sheehancontacts Rosenblan & Carlick by interstate

   wire or interstate carrier using an email in violation of 18 U.S.C. $ 1341 &/or § 1343

                                                  9
   furthering the fraudulentconcealmentscheme to fabricate and fraudulently conceal the

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   MySpace Stock purchase documentspublished in the November 20(M 1 0Q were
   fabricated and backdated with Subject: “MS thoughts of the day”,
                                                                              Filed05/0
                                                                              Filed 09/
                  -My current thoughts on the MS situation:

             ' We need to get in place the revised agreement before any meaningful
               negotiations with any other third party.

             * I believe I understand Chris’ concerns about being locked into an illiquid
               subsidiary, but that its their choice – they could have MIX stock if they
               want liquidity.

             * They are minority shareholdersand need to accept this fact.

             * We, InterMix,need the right to be able to sell all of MS. Including
               founders shares.

             • We, InterMix, need the right to buy out the founders at a price or a
               formula


             an Redpoint:
             * Why not continue talking to them, it is too hard to figure out if they
               could present the most attractive deal or not at this time”

       d.    November 4, 2004 1 1 :43PM Cadick emails Sheehan, by interstate wire or
   interstate carrier an email in violation 18 U.S.C. $ 1341 &/or $ 1343 furthering the

   fraudulentconcealmentscheme to fabricate and fraudulentlyconceal the MySpace Stock
   purchase documents published in the November 2004 10Q were fabricated and

   backdated Subject: “My talk with Yang " stating,



                      "Andrew, Spoke with Geoff, who holds you in the highest regard. I
                      am not in the loop on their offer, which he described as 23%
                      Redpoint, 25% Founders and pool and 52% Intermix.

                      His case for the offer was interesting and compelling, as Intermix
                      could still “fold in” the earnings, traffic, etc. I want to discuss with
                      you my thoughts on the subject tomorrow, God know when, as we


                                               10
                        have no breaks I can count on. In any case, I suggested that Geoff

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        e.
                  25-1
                140-2   speak with you directly.-

                November 5, 20(A II:58AM
                                                                                    Filed05/0
                                                                                    Filed
                                                 Sheehan contacts Carlick and states, by
                                                                                          09/
   interstate wire or interstate carrier an email in violation 18 U.S.C. § 1341 &/or g 1343

   furthering the fraudulentconcealmentscheme to fabricate and fraudulentlyconceal the

   MySpace Stock purchase documents published in the Novemtur 20(A 1 0Q were
   fabricated and backdated

                        "what it comes down to is do we sell ms now or keep it. Doing a
                        deal where mix keeps 52% doesn't make any sense for anyone
                        except Yang. All the banks and investors think we would be foolish
                        to sell some or all of ms now. We will get much less benefit to mix
                        if we own 52% and have give all sorts of rights to an investor.
                        Richard wants to keep it in mix.-

        [      November 18, 2004, 3:56PM Orrick's Richard Flarroch contacted Sheehan,

   Redpoint & Askleeves’ Director Yang and RedPoint’s Beasly, by interstate wire or
   interstate carrier an email in violation 18 U.S.C. $ 1 341 &/or $ 1 343 furthering the

   fraudulentconcealment scheme to fabricate and fraudulently conceal the MySpace Stock

   purchase documents published in the November 2004           1   0Q were fabricated and
   backdated

                    Subject: 'MySpace Term Sheet 'and states,

                 -Gentleman: As a follow up to our conversation today, attached ia a
                 clean and redlined markup of the last version of the term sheet that was
                 give to us in connection with the Myspace transaction. Let us discuss the
                 issues at your convenience.Richard Harroch <<MySpace Sale of Series
                 A Preferred   Stock.doc>>   -



        g.     Rosenblatt by interstate wire or interstate carrier uses email in violation 18

   U.S.C. $ 1341 &/or § 1343 to further the fTaudUlcnt concealment scheme forwards an

   incoming Orrick email to Chris Lipp and Tom Flahie at 4:28PM to fabricate and

   fraudulently conceal the MySpace Stock purchase documents published in the November
   20(A 10Q, to hide the fact the documentswere fabricated and backdated.
        nIe email states: -1 have not seen yet-
                                                   11
   Rosenblatt professes to not know the terms that the company has already agreed to sell a


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   portion of MySpace.comto VantagePoint’s fellow board membcr on Ask Jeeves, GeofF
   Yang and his fund company he is a principal in Redpoint.
                                                                                    09/
         h. November 18, 2004 CFO Flahie emails Rosenblan, Subject: 'RE: MySpace
   Term Sheet' and states.
                       "this situation really goes beyond anything I want to be a part
                       of. I communicated my feelings in writing twice now about the
                      lawyer for a large preferred stockholder and one director
                      negotiating a major business transactionon behalf of the company
                      without authorization of our board and all I received was an
                      admonishmentfrom Harroch about my email and told to shut up in
                      a conferencecall.-

                       Since you have not seen this yet and I have certainly not, this
                      makes a broader statement about our Senior Management.--As an
                       officer I would be derelict in my duties to our company to allow
                      this to continue outside of the view of the Board without doing
                       something about it”


   Flahic uses interstate wire or interstate carrier in violation 18 U.S.C. $ 1341 &/or $ 1343
   to deliver email to further the fraudulentconcealmentscheme to fabricate and

   fraudulently conceal the MySpace Stock purchase documentspublished in the Novemtnr
   2004 10Q, to hide the fact the documents were fabricated and backdated.


         i.   November 18, 7:20PM Rosenblatt emails Flahic Subject: ' Re:Myspace Term
   Sheet’, stating:

                       -Tom, I know how this could look but it is NOT at-all how it may
                       appear. p
   and
                      “Andy NEVER looked at it as a vantage shareholder, but as a
                      Board member looking out for Intermix as a whole.”
   and

                       -I believed (and was right) that he was better positioned than I
                      was to extract terms that would be acceptable to the Board at
                      large. Over the past week he was, to my surprise,able to get the

                                               12
                        terms we all think are BETTER for the company and make the

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   and  Document  25-1
                140-2   Redpoint deal a great deal. “
                                                                                     Filed05/0
                                                                                     Filed 09/
                      -In hindsight, I should have asked him to give those new terms to
                      Chris and we should have sent the term sheet to Redpoint. I plan
                      on clarifying with Redpoint tomorrow that Andy was simply helping us
                      get a deal done and the Company will take it from here.”i


   Rosenblatt uses interstate wire or interstate carrier in violation   1   8 U.S.C. $ 1341 &/or   §

   1   343 to deliver email to further the fraudulentconcealmentscheme to fabricate and

   fraudulently conceal the MySpace Stock purchase documentspublished in the November
   2004 10Q, to hide the fact the documentswere fabricated and backdated.
           j.     November 18, 2004 at 7:5 1 PM, Sheehan forwards the email thread and
   CFO’s effective 'whistleblower notifIcation’ to C)nick’s Harroch who is directly
   involved in the incident. Sheehan uses interstate wire or interstate carrier to deliver

   email to further the fraudulentconcealmentscheme to fabricate and Baudulently conceal

   the MySpace Stock purchase documents published in the November 2004 10Q, to hide
   the fact the documents were fabricated and backdated, to conceal scheme to sell 25% of

   Myspace.com to conflicted Interlocking Director violating Clayton Act fbllow

   AskJeevcs Director, Geoff Yang in violation of 18 U.S.C. S 1341, 18 U.S.C. $ 1343,

   and violation of 18 U.S.C. S 1519 (relatingto destruction, alteration,or falsification
   of records in Federal investigation and bankruptcy).

   (iii)    agreements allowing Google, TimeWarner/AOL, News Corporation, AskJeeves,

   IAC, and other defendantsto collude to gain economic benefits by delaying

   closing of a competitive EUNI MySpace search engine auction for a new

   commercialsearch engine agreement in the months leading up to News Corporation

   acquiring 100% ofeUniverse in September 2005. This arrangement ensured

   Google’s $4.4 Billion dollar August 2005 secondary by tying up the fast growing


                                                  13
   online audience of MySpace.significantly growing its share of online


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   search engine advcnising while shrinking share of main rival #2 Yahoo; (iv)  Filed05/0
                                                                                Filed 09/
   An arrangementallowing News Corporation to purchase MySpace.comat below

   fair market value, growing its market valuation and generating billions in

   incrementalprofits and a massive online audience to seed new online assets for

   years to come, while preventinga competitive auction with main rival Viacom.


          k      MySpace and eUniverse’s failure to elect 5th MySpace Director was key

   part of scheme to rig bidding in Search Auction and sale of eUnivcrse. Failure to

   disclose Intermix’s majority owned MySpace,Inc. was in breach of this covenant in the

   August 2005 Proxy was a 14A violation. Defendants breach and non disclosure of such

   breach are used to efFect the Antitrust bid rigging scheme. Defendantsviolated 18 U.S.C.

   $§ 1 341 thru publishing,distdbutingand mailing the August 2005 Proxy omitting the

   disclosure of such breach.


          1.     euniverse's failure to cure breach of Merger Agreement Sections

   6.3 & 6.4 & 6.5. was a key part of scheme to rig bidding in Search Auction and

   sale ofeUnivcrse, Failure to disclose the breach in the August 2005 Proxy was a

   14 A violation.   Defendants breach and non disclosure of such breach are used to


   effect the Antitrust bid rigging scheme. Defendants violated 18 U.S.C. §$ 1341

   thru publishing, distributing and mailing the August 2005 Proxy omitting the

   disclosure of such breach


          m.     eUniverse and CEO Rosenblatt by end of June has earmarked $25-30

   million in monies the executives are not owed or entitled to which helps float his own
                                                14
   requests for consideration higher. J&me 23, 2005 Email from Rosenblatt to

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                                                                               Filed
   Montgomery on with subject 'presentation’ and attachment'foxmeeting.ppt’ states,  09/
    This deal would need to be a win-win for everybody.I think we could motivate and

   energize the Myspace team if we took $25-30mm and put in escrow for 12-24 months.

   They would receive that money if they corttimed to build Myspace and remained at the

   Company. Right now, they own 20% and would receIve about $20MM (due to the

   preference from Redpoint) if we exercised our option. If they could sell for $25C)mm they

   would receive $S(imm. While they think Myspace is worth far more than $250mm, the
   escrow would clearly be enough incentive to keep them very motivated and want to stay
   on board.


   eUniverse and Roscnblatt thru use of such email violate 18 U.S.C. S 1341 &/or § ] 343,

   and 18 U.S.C. S 1519 (relating to destruction, alteration, or falsification of records in
   Federal investigation and bankruptcy). Scheme is designed to bribe certain members
   of management to support the below fair market sale of MySpace to News Corporation
   while not disclosing such additional payments in the Proxy as required by Federal law.

         n      On July 18, 2005 at 8:19PM, eUniversc’s Rosenblatt uses interstate wire to

   email News Corporation executive, Levinsohn in violation 18 U.S.C. $ 1341 &/or §

   1343 to further the fraudulentscheme to sell eUniverse and Myspace below fair market

   value. Tbc email indicates Roscnblatt is aware the $12.00 per share price he negotiated

   with News Corporation days earlier is below fair market value and is aware of the

   correct valuation level for internet assets including the future value Google will use to

   value AOL in the months ahead,

                “Snippet of the press playa. You will be famous...now 20B”

   BROWN v. BREWER FEDERAI, SECURITY FRAUD CLASS ACTION

         42.   Petitioner was originally part of a Federal Class Action filed in
                                               15
   Federal Court as a securities class action, titled Brown v. Brewer. However,

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   the defendantsled by News Corporation and Hogan Lovell , engaged in a        Filed05/0
                                                                                Filed 09/
   series ofcoverups and struck a deal with Class Counsel to remove key

   evidence and claims including initiating a scheme to blatent]y obstruct justice

   by eliminating petitioner before he could submit evidence into the Federal
   court in 2009 which would have led to adding claims

          43    June 17, 2010 Federal Judge King Summary Judgement states:

                “ Though Brewer’sfailure to recall what everyonehad specifically
                asked back in 2005 would be understandable,a reasonable jury
                might draw a negative inference from his representation that he
                could not recall any discussionas to the investmentbanks’ analyses.

                Construing all of the above testimony in the light most favorable to
                Plaintiff as we must on Defendants’ motion for summary judgment,
                we conclude that it is at least triable as to whether the remaining six
                board members consciously disregarded their duties and acted in bad
                faith. There is evidence in the record suggesting that no one on the
                board asked any questions about the requested per share price, the
                treatment of the competing bidders, the fairness valuations, or the
                relative likelihood of a Viacom bid.

                A reasonable jury could infer that this evidencedemonstrates the
                other six directorsconsciously abdicated their roles as corporate
                fiduciaries requiredby law to do their utmost to maximize
                shareholder wealth. “

                “Nevertheless, we think a reasonable jury could find that the other
                six directors exceeded the bounds of negligent conduct, willfully
                proceeded to their decisions knowing they lacked material
                information, Gesoff, 902 A2d at 1165, and thereby consciously
                disregarded their fiduciary duties. Disney, 906 A.2d at 66”

                “2. Self-Interested Transaction

                In the alternative, Defendantsmove for summaryjudgment on the
                second theory supporting the breach of fiduciary duty claim, arguing
                that five of the eight Defendants(a majority) were not self interested
                or controlled by someone who was. “

                                               16
          “Plaintiff argues that Rosenblatt deliberately misled the other board

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                                                                    Filed
          members regarding the viability of the Viacom bid, steering them
              the without
               approving  waiting
                             merger                                       09/
                                                     even a couple more days
          to see if Viacom would top News Corp.’s offer. (Joint Br. 26-27).

          “This evidence is sufficient to raise an inference that Rosenblatt’s
          presentationto the board may have been misleading as to Viacom’s
          seriousness.

          According to Mosher’s description of the board meetings, “from the
          management team estimation standpoint [sic], they were not
          inclined to make an offer for the company on the time line that we
          were looking at.” (Id. at 25:l8-21).

          “ there are at least triable issues of fact as to whether Mosher was
          manipulated by a self interested director, Rosenblatt. Moreover,
          based on Mosher’s description of the content of Rosenblatt’s
          presentations to the board, the issue of manipulation is triable with
          respect to all of the other board members.

          Accordingly,as a reasonable jury could potentially conclude that a
          majority of the directors was interested or manipulated by someone
          who was, we hereby DENY Defendants’ Motion for Summary
          Judgment on this second basis for Plaintiffs claim of breach of the
          duty of loyalty.

          A. Alleged Material Omissions

             “current revenue and profits” omission, which was so clearly
             identified in the CSAC (if not so clearly in the intenogatory
             responses). Accordingly, as this argument was not waived, and
             Defendants have not made any threshold showing entitling them
             to summary judgment on this basis, we DENY the Motion for
             Summary Judgment as to this alleged material omission under
             Count I

          Here, we concludethat there is at least a triable issue as to the
          materiality of the omission of Intermix’s internal financial
          projections.Accordingly, Defendants’ Motion for Summary
          Judgmentis DENIEDas to this alleged material omission.

          Outstanding Derivative lawsuits

          Plaintiff also argues that Defendants failed to disclose one pending
                                       17
               derivative lawsuit, LeBoyer v. Greenspan, et al., No. CV o3-5603-
               GHK (YrLx), and the fact that shareholder derivative standing would
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               be extinguished as to both LeBoyer and Greenspan v. Salzman, the
               two derivative lawsuits pending at the time the Proxy was issued.
                                                                                 Filed05/0
                                                                                 Filed 09/
               Defendants concede that they did not disclose the existence of the
               pending LeBoyer action. (Joint Br. 56 n.67).

                With respec{ to the disclosed Greenspan v. Salzman action,
                Defendants argue they had no obligation to further announce the
                extinguishment of derivative standing.

                Here too, the disclosure above is arguably misleading as well, as it
                did not affirmatively disclose that the Greenspan v. Salzman
                plaintiffs’ derivative standing would be extinguished under Delaware
                law. (JA., Ex. 4, at 332). Instead, it only stated that Fox Interactive
                Media would seek the dismissal of the action and would do so only if
                it was not required to pay the plaintiffs or their counsel. (Id.).
                Accordingly, it is at least triable whether the above language was
                misleading as to the extinguishment of derivative standing, which
                was material information.

                Accordingly, we also hereby DENY Defendants’ Motion for Summary
                Judgment as to this alleged material omission.”

         44. Edell & Defendants in mid-2009 launch another prong of fraudulent

   concealment, includes i) publication of a book by employee loyal to

   News Corp to fabricate the background of Jeff Eden a former Director ii) Using

   fabricated Edell character to conceal truth that MySpace asset sale documents were

   not executed until 20(M. These schemes create a fraud upon the court and keep

   petitioner and Class members from getting benefit of fair judicial process.

         45.    Defendant’sleverage their relationshipwith acquiror to create

   defamatory and fabricated lies thru acquiror News Corporation employee Angwin's

   published in late 2009 book, 'Stealing MySpace’ which fraudulently conceals the

   true background of former Director and Chairman Jeff Eden and his scheme with
                                               18
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                                                                                      09/
   Brewer to forward a fabricated false resume.
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                140-2                                                           Filed
                 This creates further ongoing defamatory damages to Plaintiff and

   Shareholders because Class Counsel accepts and uses false Edelt facts in book

   instead of Plaintiffs   facts offered to Class Counsel in 2012 Federal Class Action in


   Los Angeles Central District. Edell's false facts allow the fraudulentconveyance

   Of approximately50% of Myspace.com, the crown jewel ofeUniverse, Inc. in 2004

   Further, Edcll’s false facts which become Acquiror News Corporation false facts,

   obstruct PlaintifFs true facts from entering the record for the benefit of the Federal

   Court learning the true damages and claims rightfully owed to shareholders. Plaintiff

   and shareholders will continue to suffer until the defective disclosure is cured by

   Defendants.(70B Declaration,pg, 24.27, paragraphs 1 14- 131 )

          47. Additional act of fraudulentconcealmentis part of scheme by defendants tied

   to 2009 Angwin published book that uses fabricated documents to support critical

   contcntions.altering, destroying,mutilating, or concealing a document with the intent to

   obstruct justice in violation of 1 8 U.S.C. § 1512(c)(1);

          48.    Petitioner a fact witness with testimony that was adverse to Defendants was
   excluded and obstructed from entering evidence into the Brown Brewer case,

   immediatelybefore Defendantsplugged in Angwin’s false facts and testimony while
   using “Stealing MySpace” as an uncontested source of facts to corrupt the

   Class’s case And damage/expert reports.

         49. News Corporation destroyed Petitioner testimony from ”appearing” which

   damages Petitioner and violates Section 1512(d) which uiminalizes       the actions of



                                                 19
   “[w]hoever   intentionally harasses another person and thereby hinders, delays, prevents,


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                                                                                    09/
   or dissuades any person from" appearingbefore an ofTicial proceeding, law enforcement
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   officer, or United States judge.                                           Filed
       50. Angwin fraudulently conceals evidence ofEdell's true work experienceand

   back ground and his violation of SEC rules in 2003 and 2004. Defendants conceal their

   knowledge of this scheme thru the March 19, 2012 Approval of the Federal Brown

   Brewer settlement that Petitioner and 4 other Class members attemptedto object to or

   intervene to remove RGRD and Jim Brown from representing the Federal

   Class and agreeing to An Inadequate consideration for the settlement and failure to assert

   more valuable claims and evidence into the Court prior to approving settlement,

       51. Angwin, Hinton, News Corporation, Hogan Lovell, RGRD, and eUniverse

   Defendantsviolate 18 U.S,C. $ 1512(c)(1 ) and 18 U.S.C. $ 1519 by hiding evidence of

   Edells two resignationson his bio that were really his last two jobs instead of submitting

   an accurate bio, defendants stretched the job of Edell that was actually 3 jobs prior, and

   increased this 3rd job by another 2 years, to the year 2002 (from 2000). Edell both

   omits to accomplish his end goal of making detection and disclosure of his true track

   record and financial history as ditTicult as possible.

                i.   Angwin, News Corporation, Hinton, Murdoch, RGRD, eUniversc

   and Orrick Conceal the false revised BIO of Eden filed in July 2004 SEC filings:

                "Mr. Eden was the Chief Executive Officer of Showorks Entertainment
                Group. Inc., a Delaware corporation that later changed its name to Media
                Technology Source of Delaware, Inc. Within two years of the time that Mr.
                Edell resigned from that company, it filed a petition for relief under the
                United States Bankruptcy Code."

        52. Defendant’sscheme entailed Creating a fictitious Glowing work experience

                                                 20
   for Edell using a fabricated Resume in 2003 that News Corporation, Hinton, Angwin,

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                                                                              Filed 09/
   and Murdoch determined would be used to harm Petitioner in a book that was published

   called “Stealing MySpace” and was sent in US Mail to bookstoresAcross the United

   States beginning in March 2009, and overseas with the fabricated false facts related to

   Edell's true work Experience and his SEC violations in 2003, 2004, 2005 in violation of

   Rule 401 , this violated section 18 U.S,C. $ 1341

           53.   After the Class won summary judgementin June 2010, petitioner in

   201 1 tried to bring new evidence to the attention of Class Counsel indicating the

   true damages were related to the value of MySpace’s search value, the claims and

   facts which had never been put before the Federal Court. Petitioner’s Rule 701

   damage report providing for damages of over $96 billion dollars was ignored by

   Class Counsel who instead joined with defendants in a brazen scheme to: i)

   mislead and initiate a fraud upon the Court by changing the definition of the

   certified class to eliminate upwards of 60% of the eligible shares and shareholders

   and ii) enter into a sham settlement for pennies on the dollar which was accepted

   by the Federal Court in March 2012.

     54.    In September 2010, by RGRD. Baron, Hogan Lovell, Stone, News

   Corporation, Orrick and other Defendants filea Joint Motion to ban fact witness and

   Petitioner from the Federal Class to delay and harass Petitioner from appearing

   before Federal Judge. Defendants knew the motion to ban the petitioner could not

   be true unless Orrick could continue to suppress new evidence and discovery from

   entering the Federal Brown V. Brewer ongoing case.

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EH-BCM Document
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                                                                                09/
      55.    Other Evidence destroyed by Orrick included their ties and business
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   with MySpace Parent Company executive Chris DeWolfe. Orrick and DeWolfe work

   together in 2004 and 2005 to document a fabricated sale of equity of MySpace at

   rock bottom prices for DeWolfe.

     56.     In 2010, Baron and News Corporation and Hogan & Lovell, and Stone, and

   RGRD and Orrick violated 18 U.S.C. S 1341 (relatingto mail fraud) by sending notice

   of the Joint Motionto Brief the “Motion to Ban Brad Greenspan"for purported "res

   judicata"they intended to file in Federal Court via email to Petitioner’s then lawyer

   Mr. Lawrence.

        i.       Above Defendants violatedfurther 18 U.S.C. § 1512 (relatingto

   tamperingwith a witness,victim,or an informant) 18 U.S.C. § 1513 (relatingto

   retaliating against a witness, vicTim, or an informant) and 18 U.S.C. S 1519 (relating

   to destruction, alteration,or falsification of records in Federalinvestigation and

   bankruptcy) by omitting and destroying the evidence they possessed at the time

   the above actions were taken that would have provided new facts and information

   and claims not raised or in State proceeding and that would have the effect of

   voiding the defendant’s motion.

       ii. RGRD, Baron, Wissbroecker violated their fiduciary duty to Petitioner as

   well as aiding and abetting above violations of other Defendants.

      iii. Baron & RGRD lied and fabricated briefings, pleadings, and affidavits in 2011
   and 2012 to fraudulently conceal the prior criminal acts in Federal Court.

           57.   In December 2010, RGRD was again disloyal by changing the Class
                                             22
EH-BCM Document
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   Certification to reduce the # of eligible shares.

             i.     6/8/09 – Judge King approved “Certified Class” with defInition:
                                                                                          Filed05/0
                                                                                          Filed 09/
   Most clear is position of RGRD Law at the time:

             “Plaintiff responds herein to both questions raised by the Court in its Order re
             Plaintiffs Motion for Class Certification: (1) should the class definition be
              modified to include only holders of Intermix Media, Inc. common stock who
              held continuously   from July 18, 2005 (the date the merger with News
             Corporation was announced) through the consummationof the merger on
             September 30, 2005; and (2) should the plaintiffs in the state court actions be
             carved out of the class definition? As set forth below. the answer to both
             questions is no.”

             ii.    12/23/10 – Certified Class is victim of definitional change by RGRD

   Law, inserting ulawfully, word “continuously”. This cuts approximately60% of total

   sharesthat were eligible under “CeniHed Class” definition,

             iii.   December 201 1 – RGRD challenged by Shareholdcrs objccting1 to

   Settlement denied the Class Certificate had been switched


              58_ Sony Music Corp and Seligmann using its control position on the Board of

   the RIAA and its relationshipwith EMI and Warner Music Group, induced Arent Fox to

   falsify his affidavit and the fact contained which were used to conceal the fact that EMI

   and Petitioner’s startup LiveUniverse, Inc. had entered into a music text lyric license

   prior to Warner Music, EMI, RIAA, Sony Music, and PeedMusic fIling a federal

   1 *Included:

   -Largest shareholder of original Certi ned Clansdefined in 2009.Trafelet & Co.. a multi billion dollar
   NY Hedge Fundwhich retains law firm referredby Brad Greenspan, anotherinjuredshareholder and
   hcI witness.Brad was one of named plaintiffs in State Class action which was dismissedin 2006
   -Similar to Cut/lostshares, RGRD switchedits position unlawfully, allowing
   Defendartsto Glc uncontested Motion to Ban state courtplaintiffs, un defended. defaultjudgment
   carved out Brad's 2.900,000shares. (Brad was the largestsingle shareholder. owning about10%
   eommons stock at time of sale.

                                                     23
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                                                                                      09/
   copyright infringement complaint that claimed LiveUniversehad never entered into such
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   an agreement in 2009.
                                                                                Filed
        59. It was part of the Defendants’scheme to conspire to interfere with Plaintiffs

   livelihood by filing a lawsuit against Plaintiff in 2009 in retaliation for providing

   truthful information to the SEC, DOJ, and FTC relating to the Defendants’scheme, in

   violation of 18 U.S.C. $ 1513(e) and (D.

       60. It was part of the Defendants’scheme to interfere with Plaintiffs

   livelihood by disseminatingdefamatory statements about Plaintiff to the public through

   various media outlets in retaliation for providing truthful information to the SEC, DOJ,

   FTC, and Federal and State court relating to the RICO Defendants’scheme, in violation

   of 18 U.S.C. § 1513(e) and 1513(f),

   NEWS CORPORATION: CRIMINAL lIACKING & BRIBERY

         61.    In 20 12, News Corporation, who indemnifieddirector defendants in

   Brown v. Brewer and was operating the case’s U.S. legal strategy, was exposed as

   a criminal enterprisethat had hacked the phones of over 1000 UK citizens and

   employed a massive campaign of bribing police and public officials.

         62.   News Corporation’s general counsel resigned in 2011 and its

   CEO appearing under oath at the Leveson Inquiry admitted he was the victim
   of a “coverup” and all Griminal acts exposed had gone on without his knowledge.

         63.     News Corporation conceded its internal controls were

   defective as a result of the exposure of years of bribes its UK subsidiaries had
   paid out and hidden by falsifying its financials.

         64.    At the current time, the CEO’s most trusted lieutenants and top

                                                24
   employees are on criminal trial for obstructionofjustice. bribery of government


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   and police officials, and criminal phone hacking in the UK.
         65.    Four employees of News Corporation have already pled guilty
                                                                                Filed05/0
                                                                                Filed 09/
         66.    News Corporation, has already conceded it has no defense for the

   illegal acts charged and admits its internal controls were defective and the CEO
   didn’t know what was going on and the same “coverup” News Corp claims to be a
   victim of was operating and responsible for the acts petitioner claims herein.

   V - CONCLUSION:

         67.     Chancery Court's failure to force Defendants to honor their promise to

   fIX the defective Disclosure in 2003 is directly responsible for allowing Defendants

   to steal upwards of $32 Billion in damages (Rule 70 1 Damage Report) from thousands

   of shareholders in 2005 including Petitioner.

         68.   Defendants have failed to respond to a Motion 70(b) filed with Judge Strine

   January 2, 2014 seeking relief from the contempt of then Vice Chancellor Strine’s order

   and ruling January 14. 2004 and the included agreed relief for any “technical violation”.

   VI. CLAIM COUNTS
   COUNT          # 1-        S 1503       (A) VIOLATION

   69.    Plaintiff repeats and realleges the foregoing paragraphs as set forth herein.

   70.    All Defendants have violated Count #1


   COUNT & 2 - 5 1503. (B) VIOLATION
   71.    Plaintiff repeats and realleges the foregoing paragraphs as set forth herein.

   72.    All Defendants have violated Count #2


   COUNT #3 - S 1503 (C) VIOLATION
                                                25
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        Document  25-2                                                          Filed05/0
                                                                                      09/
   73    Plaintiff repeats and realleges the foregoing paragraphs as set forth herein.
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   74.
                140-2
         All Defbndants have violated § 1503 (c)
                                                                                Filed
   COUNT          #4 -        S 1503(D) VIOLATIONS.
   75.   Plaintiff repeats and rcallcgcs the foregoing paragraphs as set forth herein.

   76.   All Defendants have violated Count #4

   COUNT # 5 -S 1504 TRIGGERED PETITIONER
   RIGHT TO CIVIL REMEDY UNDER S1505(F)
   77.   Plaintiff repeats and rcallcgcs thc foregoing paragraphs as set forth herein.

   78    News Corporation 2013 UK CRIMINALGUILTY PLEAS “UNLAWFUL

   UNDER” 1504 and 1505(f)

   COUNT # 6 - (BREACH OF AGREEMENT)
   79.   Plaintiff repeats and realleges the foregoing paragraphs as set forth herein.

   80.   Sony has breached The july 2003 Option agreement which stated,


               iv.      "Pursuant to the debt financing agreements. eUnhtrw md \’P\'P
               agreed that in the event that \TP\T does not exercise the Option within ilo
               days of its grant, that VPVP may, within lo days after the expiration of such
               In-day period. tmnsfer the Option to etTni\crsc in exchange for a wan-ant
               (the “\\'arrant') to purchase 200,000 shares of the Company’s Series C
               Chin\-ertiblePreferred Stock.-

   81.   Sony and VantagePoint Venture Partners have further breached
         “OPTION AGREEMENT, dated as of July 15J 2003, among 550 DigitalMedia
         Ventures. Inc. f''SJller iiI. in atE liate of sdh ii)ad-b'and Llie-rtainmgnt, in

                               (“Buyer”).” '                   - ' ’'
         pPTlycrs kLns.-? !)eJ3gnre SRqoration (th6 “Company”), and VP Alpha
         Holdings IV, L.L.C.                                                       '
   Sections 6 & 7 & 10 & 14 which state:

            “6.Representationsand W§rrarRie$ of Sq.ller. Seller represents, warrants and
            covmmmi?tEllat161a61iadMiTd                      as of the' Closing Date, that:


                                                26
                  (e) No Price Stabili7ation or NLaniplaa_tion.Seller has not taken and will not


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                  7. Represcnt2tiqns and WRna.ntie?of Bpyet. Buyer represents, warrants and
                  covenantfR)–vel©mdQmaMmra                  as 6f the Closing 'Date, that:

                  (c) No Price Stabilization or Manipulation. Buyer has not taken and will not

                  8£Hnqn%%hW'W:i,',M:a"
             “14. Buyer May Exercise Option For Less Than All Shares. Notwithstandingany

       other provision herein to the contrary, Buyer may exercise the Option with respect to
       less than all of the Shares, but in no event less than 50% of the Shares.”

       10. Certain Transactions.Seller shall vote as a stockholderin favor of an investment
       and loan transactionbetween the Company and Buyer resulting in an additional

       investment in the Company by Buyer of no less than $5 million at a price of at least

       $   1 per share (if an equity transaction), as approved by the Board of Directors of the

       Company       (the “Transaction”).   “


            “ 1 6. Miscellaneous
            Th.iq Agreementmay not be modified or amended, except by an instrumentin
            writing-signed by daly authorized officers of both of thi pafties hereto.”

            82.     Proxy notes on page 17. that on “October 3 , 2003, the option term
                                                                 1




    was extended to April 16, 2004 and VantagePoint partially exercised the option and

    purchased 454,545 shares of our Series B preferred stock from 550 Digital Media

    Ventures.” The note an exhibit had an original term of 120 days or November 16,

    2003 for VantagcPoint to purchase the Sony Corp shares under the option.

            83.      In Intermix 3/3 1/04 - 10K section 'Certain Relationships

                    "On October 3 1, 2003, the option term was extended to April 16, 2004 and
                    VantagePointpartially exercised the option and purchased 454,545 shares
                    of our Series B preferred stock from 550 Digital Media Ventures. On April
                     16, 2004, VantagePoint exercised the remainder of the option.”

            84      However, The October 3 1, 2003 'extended option’ agreement between


                                                    27
   Sony and VmrlngePointwas improper and what was not disclosed to shareholders

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                                                                               Filed 09/
   was that thru Orrick and defendants’actions, shareholders i) were losing the bargain

   of the deal which called for Issuer to have the right to purchase 100% of the Sony

   'option Shares’ after January 16, 2004 as part of an agreement that would transfer

   200,000 Series B Warrants of Issuer to VantagePoint and ii) The October 3 , 2003
                                                                                 1




   'extended option’ actually acted as a way that Orrick and defendants sought to avail

   themselves of the 19.9% nasdaq and other exchange limits that required Issuer to

   have a shareholder vote prior to approving any issuance of stock of Issuer including

   an issuance of stock as part of an integrated deal that shifted more then 19.99/o of

   lssuer’s stock to new party.

   COUNT          #7 -        (''INSEPARABLE               FRAUD”) VIOLATION

   85.    Plaintiff repeats and realleges the foregoing paragraphs as set forth herein.

   86.    All Defendantshave violated Count #7

   COUNT #8_=.P,#REXEL
   THRU FAILURE        TyPE FRAUD
                  _TO DISCLOSE    VIOLATION
                               “COMPLIANCE
   FAILURES-
   87.    Plaintiff repeats and realleges the foregoing paragraphs as set forth herein.

   88.    All Defendantshave violated Count #8

   £OUNT #9 – RULING BASED ON DELAWARE STATUE
   AND CODE 1304 THAT 2004 MYSPACE TRANSFER
   AND 2005 TRANSACTIONS ''FRAUDULENTU
   89.    Plaintiff repeats and realleges the foregoing paragraphs as set forth herein.
   90.    § 1304. Transfers fraudulent as to present and future creditors.
   COUNT            #10      –      VIOLATION              OF       DODD-FRANK
   WHIS.TbEB.LQWFR                 STATUTE           -   SECTION          922)        &18
   u,s.c, S1513(E))
   91.    Plaintiff repeats and realleges the foregoing paragraphs as set forth herein.

                                                28
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                25-2                                                                  09/0
   92.    Petitioner is entitled to a private cause of action for damages suffered Pursuant to
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   the Dodd Frank Whistleblower
                                                                                Filed 05/0
                                    Statute. Mr. Greenspan is entitled to a private cause of

   action for whistleblowersalleging retaliatory discharge or other discrimination. Id, §

   78u-6(h)( 1 )(B)(i). Relief includes Right to Jury Trial, reinstatement,double the back

   pay owed, and costs and fees. Id. $ 78u-6(h)( 1 )(C).

                i.     Damages including loss of employment and Chairman Director

   position from Myspace Parent company in 2003 under 15 U.S.C. § 78u-6 ("Section

   922") and loss of Director employmentunder the same statues. Petitioner reported

   information concerningDefendant’s breach of fiduciary duty, disloyalty, and violation

   of Section 10(b) of the Exchange Act when he resigned as CEO on October 30, 2003.

   Petitioner reported information concerningDefendant's breach of fiduciary duty,

   disloyalty, and violation of Section 10(b) of the Exchange Act when he resigned as

   Director in December 2003.

          Mr. Greenspanwas terminated fbr two reasons: (i) in retaliation for reporting

   misconduct of Brewer, Eden, Lipp. and other Defendants; and (ii) to stop the CEO from

   terminating,demotingor decreasing the compensation of Brewer, Eden, Lipp, Moreau.

   iii) TIle CEO’s refusal to sign a Board created settlement agreement during the week of

   October 30, 2003 which would have prevented Greenspan from contacting other

   shareholders or regulators and disclosing the breach of fiduciary duty or other security

   violations the Board and certain executives had committed in the process of

   consummating the VantagePoint Series C

   Financing in October 2003. The acts had been committed by Defendants
                                                29
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   while blocking the superior rate Common Stock financing sitting in Issuer
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   outside law firm's bank account. Endangeringthe entire Public Corporation
                                                                              Filed 05/0
   PETITIONER ALSO HAS CLAIMS AGAINST SONY
         ix.    Sony Corp executives, Defendants in this Complaint, abused their

   fiduciary duty to Issuer by misleading the Public and shareholders as pan of

   assisting Defendant’sscheme to take control of eUniverse, Inc. in 2003 and get

   approval and entrench Defendants as a result of the January 20tH Annual Meeting

   and Proxy Battle against Petitioner.

         x.     Sony Corp Defendant’spossessed a critical Board Seat Nomination

   legal right the Series B Stock possessed Sony Corp nominatedEdell as the Series B

   Stockholder in 2004 even after evidence in Delaware Court showed Edell and

   Defendantshad mislead shareholders by Filing multiple defective and false proxy

   statements to Issuer's shareholders in 2003 and 2004.


         xi.    As a Result of the applicable Ihfendant’s involvement in the above-

   described conspiracy and conspLratorial scheme, the PlaintifF has suffered severe

   emotional, financial, mental, and physical harm and other deleteriousetTects;been

   unfairly disadvantaged in multiple civil lawsuits initiated against him by several of

   the lkfendants and other parties; had his freedom ofspoech severely impinged;

   been forced to spend hundreds of thousands of dollars on legal fees; been forced to;

   And had his personal and professionalreputationseverely and permanently

   damaged.Based upon information and belief, some of the Defendants are

   continuing to engage in the above-descritndconspiracy and conspiratorial scheme


                                                30
   even though they are well aware of the devastating toll that their prior conspiratorial

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   actions have already taken on Petitioner and Petitioner’s business assets.          09/0
                                                                                 Filed 05/0
   COUNT          1 11 - BLASISUS             VIOLATION

   93. Plaintiff incorporates by reference and rcallcges each allegation set forth above.

   94.   All Defendants are charged with Count #11

   COUNT # 12 - CONTEMPT VIOLATION
   95.    Plaintiff incorporates by reference and redllcgcs each allegation set forth above.

   96.   Defendantslied to Coun regarding Defendant’s Proxy disclosure related to

   Edell. Defendant-sFailure to “make this right” as claimed by Defendant

   Delaware counsel is worthy of Contempt violation.




   (_'OUNT # 13 - RULING CERTAIN TRAN£bCTIONS
   AFTEn OCTOBeR 17. 2003 ARE VOID.
   97.    Plaintiff incorporates by reference and realleges each allegation set forth above.

   98.    Plaintiff effects 3-1-1 approval of properly noticed Director slate on October

   17,2003. Defendantsfraudulentlyconcealed such properly noticed slate.

   Defendm’s have also not legally efFected a valid closing or vote on the Series C stock

   sale or transfer from Sony of their Series B shares, blocking public issuer’s option

   received in three way agreement between Sony, VantagePoint, and public issuer in 2003.

   The crooked dealings expand when Orrick uses its insider knowledge to produce a

   commercialbenefit for VantagePoint while having Issuer pay IOCH/8 of the cost bY

   paying off Sony debt earlier then due.


                                                31
   COUNT          # 14 - VOID DEFENDANTS RIGHT TO
   EXCULPATION UND¤R IC>2(B)(7)
EH-BCM Document140-2
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   99.
                25-2                                                                  09/0
                                                                                Filed 05/0
         Plaintiff repeats and realleges the foregoing paragraphs as set forth herein.

   100. Defendant Directors right to Exculpationbecause of Judge King ruling finding

   “bad faith” and disloyalty must be void,

   COUNT #15 - RULING C£RTAIN TRANSACTIONS
   AFTER OCTOBER 17. 2003 ARE VOID.
   101. Plaintiff repeats and rcallcgcs the foregoing paragraphs as set forth herein.

   102. PlaintitTefTects3-1-1 approval of properly noticed Director slate on October 17,

   Defendants fraudulently concealed such properly noticed slate. Therefore, Defendant’s

   have also not legally effected a valid closing or vote on the Series C stock sale or transfer

   from Sony of their Series B shares, blocking public issuer’s option right to rcbuy the

   shares for benefit of common stock shareholders received


   in three way agreement between Sony, VantagcPoint,and public issuer in 2003.

   103. voids Blasius Directors compensation post Blasius event

   104.voids VantagePoint financing tranche 1 on October 3 1, 2003

   105.voids VantagePoint financing tranche 2 on January 24, 2003 which was subject to

   shareholder vote of items in Blasius Proxy created by Blasius Directors.

   106.Plaintiff awarded damages to stock owned equal to the dilution caused by Blasius

   Directors and Blasius Proxy.

   107. Plaintiff awarded Expectency damages as Proxy Slate backer damaged by Blasius

   Directors and Blasius Proxy.

   108. Award to competing Proxy slate compensation as if Slate Directors had not been

                                                32
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                25-2                                                                                   09/0
   victim of Blasius violation by defendants.
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   COL.’NT # 16 INDEMNIFICATION                     AND ADVANCEMENT                   (- 1,AIMS
                                                                                                 Filed 05/0
   109.     Plaintiff repeats and realleges the foregoing paragraphs as set forth herein

   110. PLAIvriFF RIGHT TO INDEMNIFICATION AND ALSO RIGHT TO
   IDEMNIFICATION FOR ADVANCEMENTLEGAL FEES, INCLUDING ALL
   MA’FFERS OR EVENTS OR FAGFS CITED                           I




   111. Plaintiff was Director and Officer at Issuer that owes Plaintiff benefit of “contract

   rights” defined in Section 7 of Issuer Bylaws for Indemnit]cationand Advancement:

   “The rights conferrcd upon indemnitoes in this ARTICLE VIII shall be contract rights
   and such rights shall continue as to an indemniteewho has ccased to be a director,
   officer or trustee and shall inure to the benefit of the indcmnitee'sheirs, executors and
   administrators.”(Exhibit 1,Article VIII Section 7. Nature of Rights )

   112. PlaintifT 's “Right to Indemnification” is entitled to: i) “indemniHcation” to

   ''fullest extent authorized by the Delaware General Corporation Law” or “broader

   indemnincationrights”2:

   113. Plaintiff is also beneficiary broader protection compared to Del 145 statue limits3

   1   14.Indernnitee in addition to being an OfTicu, was Director and due benefit of Issuer's

   Eighth Bylaw broadening scope oflndemnification                  and Advancement rights:

   " EIGHTH : Directors of the Corporation shall not be personally liable to the Corporation
   or its stockholders for monetary damages for breach of fiduciary duty as a director,
   except for liability (i) for any breach of the director's duty of loyalty to the Corporation
   or its stockholders,(ii) for acts or omissionsnot in good faith or which involve

   z "shall be indcrnnifiedand held harmless by the Corporation to the fullest extent authorized by the
   Delaware General Corporation Law, as the same existsor may hereafter be amended (but, in the case ot
   any such amendment, only to the extent that such amendment permits the Corporation to provide broader
   indemnification rights than such law permitted the Corporation to provide prIor to such amendment)."
   (Article VIII Section 1;ExhIbit 1)

   ' -any action. Suit or proceeding. wh ether civil. criminal. administrative or investigative (hereinafter a
    proceeding)- ITxhibit I eUniverse Article VIII Section 1. -Right to Indemnlflcation'l

                                                         33
   intentional misconduct or a knowing violation of law, (iii) under Section 1 74 of the

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                25-2                                                               09/0
   Delaware General Corporation Law, or (iv) for any transaction from which the director
H-BCM Document
   derived an improper personal benefit. “ (Exhibit 2)                       Filed 05/0
   INDEMNIFIED FOR “ALI. EXPENSE, LIABILITY, AND LOSS”“SUFFEREP_”,

   115. Indemnittee “contract” right is Mandatory advancement. Plaintiff is not

   limited by standard Delaware 145 Permissiveadvancement limitations such m allowing

   “terms and conditions” to be set that a “corporation deems appropriate”

   116 Petitioner seeks to be indemnined for following:

         (al) Damages and impact on Indcmnitce from fabricated dividend or fTaudUlent
         conveyance of 33% of Myspace.com to insiders initiated in November 2004

         (a2) Damages and impact on Indemniteefrom void October 3 1, 2003 Certificate
         of Designation of Series C Preferred Stock, void Series C Preferred Stock sale,
         void Series C Directors, void January 2004 Annual Shareholder meeting, void sale
         of Skilljam.com,

         (a3) Damages and impact on Indemniteefrom void February 2005 sale to
         RedPoint Capital of 25% of Myspace, Inc. stock

          (a4) Damages and impact on Indcmnitce from void name change by eUniverse,
         Inc. to Intermix. Inc_ and sale ofeUniverse. Inc. aka Intermix. Inc. to Defendant
         in September 2005

         (a5) Damages and impact on Indemniteefrom void issuances of stock and
         options to certain OfTicers and Directors after October 30, 2003.

         (a6) Damages and impact on Indemniteefrom fraudulentconcealmentby
         Defendantsof valid October 1 7, 2003 Annual Slate of Directors being validly
         nominated for Annual Shareholder meeting with a shareholder record date of
         October 23, 2003.


         (a7) Damages and impact on Indemnitec from void News Corporation 2005
              purchase ofcUniverse, Inc. since indemniteeowned 30% of eUniverse, Inc.

         (a8) Damages and impact on Indemnitee from lost $900 million Google Search
         Commerciial agreement.

         (bl)   Damages and impact on Indemnitee’sJanuary 20(M conflicted “search
                                           34
          engine” conflict   and warning notice filed with SEC


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                                                                               Filed 05/0
          (b2) Damages and impact on Indemnitcc’s May 2005 Whistleblower notice to
          Intermix, Inc. and Intcrmix’s june 2005 reply and actions.

          (b3) Damages and impact to Indemniteethru Carlick June 2005 fraudulent
          concealment while Carlick controlled Manatt Law firm misled & manipulated
          NYAG to investigate Indenmitee

          (b4) Damages and impact to Tndemnitee and ExpectancyDamages from
          Indemnitee’s$13.50 Counter OfFer to Purchase Intermix, Inc. and Myspace Inc

          (b5) Damages and impact to indcmnitec and ExpectancyDamages from
          Indemnitee’sfailed online music lyric text community website venture after and
          as part of Sony facilitated November 30, 2012 Warner Music Group “PeerMusic”
          lawsuit against Indemnitee.

          (b6) Damages and impact to indemniteeand ExpectancyDamages from
               Indemnitee’sfailed buyout of publicly traded Delaware Incorporated
                Answers.com in 20 11.


         (b7)   Damages and impact to Indemnitee and Expectancy Damages from
                Indemnitee’sfailed buyout of subsidiary of publicly traded Delaware
                Corporation, Washington Post Corporation in 2013.

         (cI)   Damages and impact to Indemitee and ExpectancyDamages from
                preventing Indemniteefrom entering Rule 701 Damage Report into Federal
                Court in Los Angeles in 20 11 and 2012.

         (c2) Plaintiff did not receive $2.75 per sharedespite having qualilying stock
              Held of over 2,900,000shares.

                Plaintiff as shareholder was damaged by reason that Plaintiff was Director
                and Officer ofeUniverse, Inc. Plaintiff was obstructedfrom puttingRule
                701 Damage Report into Federal Court before the December 3 1, 2012 final
                Disposition.

   COMPLAINT FOR DAMAGES

    Requiring disgorgementand/or imposing a constructivetrust upon Defendants’ill-

   gotten gains, freezing Defendants-assets, and/or requiring Defendantsto pay restitution

   to Plaintiff and to all members of the class of all funds acquired by means of any act or
                                                35
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                25-2                                                                 09/0
   practice declared by this Court to be an unlawful, unfair, or fraudulent.
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   VIII   - RELIEF REQUESTED
                                                                               Filed 05/0
   A.     WHERFORE, Plaintiff demands judgment and preliminary and permanent relief,
          including injunctive relief, in its favor and in favor of the Class and against the
          Defendants as follows:

   B.      Awarding Plaintiff appropriate damages including compensatorydamages,
          together with pre- and post-judgment interest;

   C.      Awarding PlaintifFthc costs, expenses and disbursements of this action, including
           any attorneys’ and experts’ fees and, if applicable, pre-judgmentand post-
          judgment interest; and

   D.     Awarding Plaintiff such other relief as this Court deemsjust,equitable and proper.

   Dated: April 16, 2014




   Brad D. Greenspan (SEAL)




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  nXHiBIT #1




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                25-2                                                                             09/0
  January 2. 2014

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  Brad D. Greenspan
  264 South in Cicncga Blvd.
  Suite 1236
  Beverly Hills. CA 90211

  Case C.A. No. 106-VCS
  Greenspan v. Brewer. ct. Al

  Dear Honorable Chief Chancellor Strinc



   Attached for your consideration under Exhibit A herein is a Motion 60(B)(6) requesting the case be re.
  opened to allow for the merits of a Motion for Contempt 70(B) to tx considered, along with the othcr
  relief your ruling cxplicitly allowed for under the ruling and statementsyou made during the hearing in
  January 20(A (A transcript of the hearing is auachcd as Exhibit #9 of Declarationin support of Motion
   70(B) , specincal]y a Motion to Conform the Evidence, and a Motion for Judgment on the Pleadings.

  Wldle several years have gone by since the cue was closed in mK, I tnIicvc it is meNtions for
  1’he Chancery Court to accept the Motion 60(B)(6) that attaches as exhibit Motion (70)(B) for filing
  along with the other documents.

  Firsl proccdurally.I followed the precedent and sequence for such an action from your decision in
  C.A. NO. 4780-VC'S (WIMBI.£r)ON FUND LP -- AbSOLUT£) kETURN t’UND S£RI£S V. SV SPECIAI
  SITUA'FIONS FUND, February 2011). in which you stated in the ruling,


  "the way for a party to obtain relief from a final judgment is for it to file a motion in this court
  under Court of Chancery Rule 60(b)."

  Second. bccause thc underlying facts of the Motion for Contempt 70(B) involve fraudulent concealment
  by the defendants of the scheme that the motion seeks relief hom, the amount of time that has passed
  should not bar this Motion korn being accepted by the Court to consider.

  Specifically.the evidence discovered to pierce the fraudulent concealment scheme only became
  available after: i) defendants as part of the scheme publisheda Inok in 20tH calling -Stealing
  MySpace-with false facts in an attempt to further the fraudulent concealment which txgan in ChanceD
  Court after your ruling and findings in 2004

  'Tbe defendants then induced the PlaintitlClass Counwl RGRD Law to substitute the false facts from
  the defendant'spublished tx>ok in place of my evidence I was seeking to submit into the Los Angeles
  Central District Federal Class Action Security Fraud c&se (Brown v. Brewer. which consolidated 2005
  events and claims surroundingthe Septemtxr30. 2005 Cash sale ofcUni\'erse.Inc which had changed
  its name to Intermix to acquiror News Coqnradon,and certain 2CX}3 claims related to the rcstalemcnt
  eUni\’crse had suffered ). Therefore. I was a member of the Class of PlaindfTshareholders in regards to
  the 2005 claims, but a potential defendant Director in regards to the 2003 claims from the restatement.

  A fight broke out as I sought to alert other shareholders of the Class to the fact that PlaintifT Class
  Counsel had turned into a “renegade" suddenly sprinting to settle the claims for .07 cents on the dollar
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                                                                                              Filed 05/0
   after Federal Judge King's June 2010 Summary Judgment tinding in favor of the PlaintiIT Class (of
   which I was a member of such cl&ss because of my shareholdings in the underlying public company)
   Judge King’s SummaryJudgment focuses only on the 2005 matters

   Both myself and the second largcst memtxlr of the certified class,an institutionalstockholdcrTrafelet
   & Co. a NY hedge fund. then attempted to object to the incquitableSettlement fashioned by RGRD
   I,aw. I:unhcr, 1 tried to intervene to stop the settlement and get the Federal Court in Los Angeles to
   review the new evidencecovered up by defendant-s fraudulent concealmentand fraud on the Chancery
   Court c\tdence and matters that I had discovered by March 2012.

   \htrilc I was foroed because of monetary constraints (and the breach of a 2007 Common Interests
   Agreement 1 signed with RGRD I.aw) to tile pro se. 1 was not allowed to intervene to inject the new]y
   discovered facts, and the Federd] Class Action Security Fraud class action had its final dispositionwith
   the tkcemtnr 3 1, 2012 distribution of St5.0(X).(XX) in settlement pn)ends to the CIus

   However.my alerting the other Class members led to Trdfclct & Co’s retained lawyer being allowed
   to intervene at which time we discoveredthat RGRD Law had initiated a scheme to change the
   definitionof the ceniHed class in the settlement documents which efToctively removed 60% of the
   eligible shares for pardcilmtionin the settlement (RGRDLAW changed the legal definitionof the Class
   in the 2012 settlement documents from the previous May 2009 definition which the federal court
   cenincd allowing anyone holding shares as of July 18, 2005 thru September 30. 2005 (date of
   consummation of the merger) to receive a share of scttlement proceeds, to instead a new different legal
   definition which RGRD I.aw printed in the 2012 settlement documents which injected the word
   '-C-ontinuotLSly”as a qualifier. RGRD Law had a copy of the 13-F SEC list of institutionalholders
   which they had sent me in 2007, and realized by simply adding this one qualifyingword. 60%+ of the
   eligible shares would be cut out because 80%+ of the institutionalshareholders holding shares on July
   18. 2005 when the merger was announced, sold their shares before September 30. 2005 when the
   company announced they would not entertain the competing 513.50 bid I had publicly announced (and
   in which I was fronting for Viacom. Inc. a rival bidder, who was not given a chance to bid and such
   scheme discussed by Judge King in his 2010 summary Judgement ruling. -Flrusthe Federal Judge could
   not consider the facts and evidence including my emails with Viacom. their desire for me to keep their
   involvementin my bid anonymous unless the Company agreed to dc]ay the September 30, 2005
   shareholder meeting to approve the sale to News Corporation)

   My alerting the other class mcmtnrs resulted in Trafelet & Co. nnt discovering that they were in fact
   not eligible to receive any of the award because they had sold all 3 million of their shares belbrc
   consurnmation of the merger before Scptcmtnr30, 2005. and working with a boutique law firm in 1.os
   Angeles such effort caused the Fulcral Judge to reject the first Settlement terms. While Judge King
   noted in his ruling rejecting the nnt Settlement terms. that it was "odd” that RGRD Law in 2009 had
   fought to create a certifIed class that included the tyFn of shares held by -l'rafclct & Co and that in 2012
   RGRD Law was now fighting jointly with the Defendants to claim "continuous-holding of the shares
   thru the date of the September 30. 2005 a>nsumation was necessary to Eu a member of the newly
   defined certified class that RGRD printed in the settlement documents

   Judge King appeared exhausted by the proceedings and not desirous to take action on RGRD's breach
   of its duty of loyalty. fiduciary duty to the Class members. fraudulent concealment of new evidence.
   and fraud upon the Court (all of which I sought to & reviewed and considcndby the Court in my
   intcn'entionfilings and 60b3 motions which the Court rejected to be heard &cause more then 12
   months since the default judgement banning me as a member of the Class that I sought to vacate had
   passed) and approved a March 20 1 2 2"d Settlcmcnt structure in which RGRD admitted Trdfclct & Co
EH-BCM Document140-2
                25-2                                                                              09/0
   was a member of the certified class but had shares which wen not as valuable as the Continuous

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   shareholder, and a smaller portion pcr share of the award wm given to Non-Continuous shares held that
   were also memkNrs of the 20(B certified class

   During this time, 1 tx:came aware of one of the underlying reasons for RGRD Law-s mixloeds.RGRD
   was sanctioned in 2008 in ChanceryCourt as part of the findings and rulings of (SS&C
   TECHNOLOGIES.INC. C. A. No. 1525-VCL).However.RGRD fnrudulcntlyconcealedthis sanction
   from me and never disclosed it to the Federal Court in Los Angeles. Ttris was because the defendant in
   the Brown v. Brewer case was represented by Latham Watkins (although Latham directly representcd
   the defendants in the CaliforniaState Class Action which was dismissed at dcmurrcr stage in 2006
   before discovery was reviewed by myself and new findings and claims were created from such
   discovery that I subsequently shared with RGRD in 2006 which was then lllcd as pan of the Federal
   Class Action Security fraud claims, Latham wisely allowed Hogan llartson to sub in for Latham during
   the Federal Class action). the law Hrm that was opposite RGRD in SS&C

    Fhus, RGRD was induced to turn -renegade- against the interests of myself and the other Federal Class
   memtnrs tncausc Latham was willing to Bus on launchinga new set of claims against RGRD and
   significant new liability for RGRD (using the findings the Vice Chancellorhints at in the SS&C
   Sanction ruling) that may have terminated RGRD's ability to practice law. RGRD also wanted a piece
   of the $15 million dollar settlement and Intham's silence on informing the Fcdcral Coun that RGRD
   was fraudulently concealing notice and disclosureof its Sanction from Chancery Court, allowed RGRD
   to remain as Class Counsel. Noting that I was unaware initially of the SS&C Sanction matter when I
   &gan in 2009. sending emails to RGRD indicating I was seeking to have them removed as Class
   Counsel after they did a joint motion to ban me as a Witness and not use my evidence (May 2009) after
   1 informed them I would submit new evidence into the record I had discovered and had agreed to be
   subpocned by Defendant’scounsel llogan Lovell and submit such new evidence imminently)

   ii) ’lbc additionalcritical evidence that caused me to purchase and review the 2009 •'Stedling Myspace-
   book that RGRD used as the falsc facts injected into the Federal Court Summary Judgment. as well as
   the impetus for a below fair market settlement of the case in 2012. was the ongoing Federal Class action
   Hi'l-cch Employees v. Google, Apple, et. Al I discovered existed in 2012 (the class action had been filed
   in San Jose Federal Court in late 201 1 ). After purchase of the -Stealing Myspace’- tx>ok I discovered
   references to intcrt'ieu s with JefF Edell at the back of the 3(X) page book (after seeing reference to use
   of -Stealing Myspace- by RGRD law in the post 2010 SummaryJudgement underlying summary of
   facts documents I reviewedanu king forced to stop my internet business (my full time job at the time)
   and tncomc hActi\e" as a classmcmtxr that tx:came aware RGRD had gone -renegade- and the entire
   Shareholder Class's rights and claims were exposed and likely to be lost or scvcrly diminished unless I
   personally became "activc

   Only after launchinga new investigation of "Jeff Eden-' because the -Stealing Myspace- book
   underpinned its facts from the interviews with Eden. did I get access to an original D&O Questionaire
   that Eden had filled out in 2003 and submitted to the NominatingCommittee of the cUniverse Board
   (of which I was not a memtnr).

   It was this evidenceof fraud that is at the heart of the 70(B) motion and is pan of the Exhibits that
   proves clearly a new crime of Fraud Upon the ChanceryCourt (along wIth other cquitableclaims).

   Additionally new evidence disclosed in discoveryin llitach Employees v. Google only tx:came
   available in May 2013 (when disclosed in that case's attempt to Certify its Class), and such new
   e\ldence connects Director Carlick with king a party to secret bilateral agreements that [kfendants in
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                25-2                                                                            09/0
  that case admitted \vere form<,d in 2004 and 2005. As Carlick was a Director of AskJeeves Inc. which
H-BCM Document                                                                            Filed 05/0
  was one of the co-bilateral agrcmnent parties that entered the admitted unlawful and illegal agreements
  With Google (and Google had signed a Settlement admitting as such nth the Department of Justicein
  late 2011). Carrick was simultaneously a Director ofeUniverse and his firm was control sharcholdcr
  after using Eden to help take control and win the 2004 Proxy vs. my competing Proxy bid.). Tbus
  Edell-s continuation of the fraud started in Chancery Court. discovered by Chancery Court, and then
  doubled up on by defendants. was also the key scheme of the fraudulent concealment that the 2009
  “Stealing Myspacc'- book accclcratt,d, and underpinned RGRD Law-s claims to the Federal Court in
  Their 2012 joint bid telling the Federal Court that my claims I sought to inject into the Court were
  lacking in credibility

  Therefore, uniess thc ChanceryCourt provides the relief I am seeking. I can never recover my
  credibility versus the fabricated Director Eden scheme that the Motion 70(B) seeks to lance

  Further. unless the ChanceryCourt re-opens the matter under its right to do so via 60(B)(6). then
  The Chancery Court n'ill be allowing Defendantsincluding Delaware defense counsel to lie to the
  Court and completelydisregard the Court’s rulings when they are made

  Tberefore. I urge your considerationof the facts included in the attached Motions and appeal to your
  sense ofequitableness in allowing these Motions to be filed in the Chancery Court despite the time
  since the matter was closed. I also note that because my Slate of Directors was nominated rightfull}
  October 17. 2003 before I resigned as Chairman and CEO. and thc Defendants fraudulently concealed
  this fact hom the Chancery Court and the public. doc'n’t provide a cure for the VOID actions
  defendant'stook after such date, nor does it provide a cure for the VOID actions the defendants took
  after lhumbing their nose at the Chancery Court ruling in January 20(A (and fraudulently concealing
  from the ChanceryCourt in July 2004 at which time the Court entertained an award of legal fees but
  only granted in part because defendants were fraudulently concealing the aforementioned matters which
  are detailed fully in the underlying Motions)


  Sincerely




  Brad D. Greenspan
   EXHIBIT A

EH-BCM Document140-2
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               BR\D
                         IN THE COURT OF CHANCERYOF THE STATE OF DELAWARE

                        D GREENSPAN,                                )
                                                                                                  09/0
                                                                                            Filed 05/0
                                                                    )

                         PlaintifF.                                 )

                                                                    )       C A No 106-VCS
                                                                    )

                    BRE\TER        et al                            )
                                                                        )



                        Defendants.                                 )
                                                                        )




                                                                    )



  NOTICE MOTION IN CONTtNfPT

  Now comes the PlaintifFs Motionfor contempt under70B and moves the Court for an Order requiring

  Defendant(s)to appearbefore Chancery Court and answer as to \vhF Defendant(s) have failed to comply with

  the prior Ordersof this Court and to show cause why should not be punished for Contempt.


  TO: Brett Brewer. JefTre\, Eden, Bradlc\' Ward. Larr\ Morcatl Dan Mosher. Da\ id Calick, Andn\\   Sheehan
  VantagePointParurcrs. ,;Universe, Inc., successor: News Corporation & 21- Ccntu cv Fox. Inc
  Registered Agent
  Tbc Corporation Trust Compan}
  Corporation TruSLCenter
  1209 Orange St
  \Vrlrrrington. Dolan arc. 19801




  PLEASE TAKE NOTICE that the attached Motion \\ ill be presented to the Court by Brad Greenspan Plaintiff at

  the convenience of the Court.
               /

                         '/// ’/
                 'h

               1/
  Brad Greenspan
  2 Gt South   La Cienega
  #1 236
  Beverjy Hills, CA 90211
  Ph : 3 lb&B-1983




  Dated • ! 1/2+/2013



  NOTICE OF MOTION OF CONTEMPT 70(B)
EH-BCM Document140-2
H-BCM Document  25-2
        IN TIIE (-orRT OF CHANCERY OF THE STATE OF DELAWARE                09/0
                                                                     Filed 05/0
    BRAD D. GREENSPAN.                      )

                                            )


          PlaintifF.                        )

                                            )   C.A. No. 106-VCS
              Ve                            )
                                            )
    BRETT BREWER,ct al,                     )
                                            )
         Defendants                         )
                                            )
                                            )




               MOTION FOR (’aNTE)in   70IB) 42jB} AND/( )R 60{BK3}
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           INTRODtJ(:'rlON . . .. .. .. .. .. . . . . . .                                                              09/0
                                                                                                                 Filed 05/0
                                                                                                                        -Pg.3

  11        SUMMARY OF ALLEGATIONS.. . . , . .                                                                          .Pg. 4

  111      ARGUMENT...... ...........                                                                                   .Pg. 5

  A.  DEFENDAN'rs WILLFULLYIGNORED
  WARNINGS AND MUL’l'IPLE NOTJ('ES                                                                                ........Pg. 6

  B.     COURT PROVIDESRECOMMENDA'l-iON
  THA-l' DEFENDAI\'l'S OPTED TO TGNORE . . .                       .




  C.  BOTll DELAWARE COUNSEL AND
  DEFENDANT BROKE PROMISETO Colj RT, . . . . . . . . . . . .                                                            .Pg. 7

  D.     DEFENDAN'I'SIGNORED FIDt JCIARY DUTY
  TO llC)NOR OfTOBER 17. 2003DULY ELECTED PROXY SLATE....                                            .                ,...Pg. 8

  E. DEFENDAN'I-S PASS ON FRAtJDIJl.EN-1-LY (-ONCEALED
  EDELL DISC'LOSURE VIOLATION TO AC’QUIROR NEWS CORPORATION .. .                                                        .Pg. 8

  F,     SONY IS CC)NFLICTEDAND I 'IAS IN FLIC'I-ED
  MUL-l-IPLE PREDICATE ACTS.                                                                                            .Pg. 9

  G. FRAUDULENT CONCEALMENT USED TO DISCREDl’l' PLAINTIFF IN 2009
  NATIONALLY PUBLISHED NOVEL AND TO FURTHER UNLAWFUL SCHEME., . . . . . . .. .... ....pg. 9

  II. DEFENDAN-InSnBAD FAITI IN & ''DISLOYALn FINDINGS AND ACTS DAMAGING
  SHAREIIOLDERS IN FEDEIUtl 2010 SLrMMARYJUDGMENT RULn\TG WERE CAUSED
   By FAILURE OF CHANCERY COURT TO FORCE DEFENDANTSTO FIX 20tH
  L)EFECTIVEDISCI.OSURE......,.,....................................,.........,............................Pg.             IO

  TV       CONCLUSION                                                                                                 ,Pg. 10

        DEFENDANTSFAIL TO CURE RULE S-K ITEM 401 (F) VIOLATION                                                       .Pg. IO
EH-BCM Document140-2
H-BCM Document  25-2        MEMORANDUM OF POINTS AND AUTHORITIES                                                  09/0
                                                                                                            Filed 05/0
  COMES NOW the Plaiatiff acting on his own behalf. hereby mt>vts this llonorable Court to enterJudgment on

  the Pleadings in PlaintifFs favor and ofFersin support the fallon ing:

  I - INTRODUCTION

                   TIle Plaintiff moves the Court to fInd Defendants in contempt under 70(B).

  42(B) and/or 60(B)(3). Additionally, PlaintifFnquestsCourt to sanction Defendants 825,000 per day

  since Chancery Court January 20(A hearing that ''cornctive             disclosure'’ ordered by then Vice Chancellor

  Shine was not undertaken by Defendants and such per day sanction to continue until Defendants provide

  proof to the ChanceryCourt that ''correcdve disclosure'• has been made to the public. 1

          2.       During January 2CXi4 trial. then Vice Chancellorfinds Defendants guilty of PII)x)

  Disclosure Violations'

          i.       “clearly, Mr. EdeN was not validly elected to a SeriesB slot on October 6th. IIe just wasn't
                   He could not have been appointed by the Board to a Series B slot,”f7C)B Declaration,
                   Exhibit# 9. pg.63)

                    “It’s even odder when it's supposed to be retroactive to October 6th, especially when as of
                   October 6th, as I understand it, Mr. Eden hasn't even agreed to be on the board.-( 70B
                   tkclaration Exhibit# 9. PH.63 )

          iii.     -'As of October 6th, I have got to say. I really -- I think Mr. Lipp basically said the board had
                   no idea that it was sloaing him in a Series B. I think there is a greatdeal of rocord evidence–
                   it's not a big record. but what record cadence there is suggeststhat the tx)ard wasn't really
                   thinking about putting him in as a Series B director but thought Sony was simply wai\'ing its
                   right.-( 70B Dgclaration,Exhibit# CL pg.63)

          IV        ''It's a very strange – I mean. I have got to say--I will say this on the record. I’m very
                    dubious about the validity of this election, and there is a certain formality that has to be
                    done around electing people. And 1 man, is this a proxy'?’ (700 Declar#_MI, bxhib++ 9, pe_63)

                   “It's not really, I guess. my job to be Director of IIygicne for eUni\''erse. but now that very
                   competent [k>laware counsel has been engagcd to assistthe company. I mean, it's prctl}
                   common knowledgethat the tx)ard of directors has to approve the actual ocrtincate of



  1 in Gallagher b. Long. the Delaware SupremeCourt stated." faI trial judge has broad di9craion to impose £anctions for failure
  to abide by its orders," so long as the sanctions are “just andreasonable."

                                                                 3
EH-BCM Document140-2
H-BCM Document  25-2                                                                                      09/0
                                                                                                    Filed 05/0
                 designation amendment that's being proposed. And you know- and this im\ the first dot
                 come kind of comlnny that's Med to tx a bit innovati\'e." t 7QBP££l&ahn, Elba>it# 9, pg_63)

           V.    -Tlren is a nnain elegant orat in things. You have to – du tx)aId has to approve it And
                 they have to appm\'c it in the form they are pmrnsing. 11rcn thc stockholders have to do it"
                                                                                    t 790 CHIWtiW     EshQlit# 91 Pg•$$1



                 '•The Court: -I have a disclosure violation here," (7(in neCllBatiQn, lixbkiit# 9, pg.63)


  II – SIJMNIARY OF AIdLRC;ATIONS

           3.    IX:fendants. VantagcPoint. and Orrick are guilty of Fraud upon the Chancery Court thru fIrst

  trying to mislead aRn Vice Chanallor Strine that Proxy disclosun is factual. Next caught in multiple lies

  b:fore tIn court <kferRlants agreeto fix defective disclosue arxl fail to do so.


           4.       Vice ChancellorStrinc further discovLrtxithe certificateof designation amendment was

  ncver approved by Board

                 -THE COURT:Has the boardactually voted upon,Mr. 'l'cklil.'i. a final copy ol-the
                 ceTtincatc of designation amendment?

                 MR. TEKLI'l'S: Tbercwas some confusion. We had doneit with Mr. Lipp. Your Honor.
                 Sonywould not consentto an amendment that didn't require Vantage to exercise over 50
                 percent TIny didn't want Vantage to exercise one shareand they would lose their right to
                 th seats. I'm not wrc what uu attached to what

                 THE COURT: It's not really. 1 gm& my job to tn Directorof Hygienefor cUni\-erx, but
                 now that very competentIXlawarc counsel has ben cnBa8cdto assisttIn company,1
                 mean it's pretty commonknowledge that the tx>ard of directorshas to approvethe actual
                 certificateof designationamendment that’s being proF)sed. And you know– and this isn't
                 the first dot com kind of company that's tried to be a bit innovative."(7C)B_DFchration.
                 Exhibit# 9, pg.6_U


           S.    Omission ofF£]ell'sbankruptcy in Proxy statements is violation of: Rule S-K Item 401 and

  Rule S-K Item 40] (D. {70B PsI&aM. P8,19'3 1, mwph           +s Wl03t

           6.    Defendants aware the Januw\' 2(XH Proxy was defective. fratxlulently cornmling

  ball-s   work experience, ignore then Vice CharxellOT Stdne ruling, don't cure the delbcts and make more



                                                           4
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  disclosure violations in order to mislead shareholders and shiH control of publicly traded eUnivcrsc. Inc      09/0
                                                                                                           Filed 05/0
          7.       SonyCorp is guilty of aiding & abettingEdell and defendantsto violate Rule SK Item 401

  and dcfamePlaintill and PlaintifFs competingslate of Directorsin January2004Proxy contest


          8. Defendants & their Counsel are guilty of Fraudulently concealing Edell’s background

  in 2003. 2004. 2CX)S, 2009. 2010, and 2012. resulting in damages to PlaintifF and shareholders. as well as

  fraud upon the Chancery Court in Delaware and the Federal Court in I.os Angeles Central District because

  Defendants induce Shareholder Class Counul             to substitute fabricated facts from fabricated Director Edell

  instead of PlaintifFs true facts.

  111 ARC;taIENT

          9.       Under Court of ChanceryRule 70(b), this Court may find a party in contempt wInn it

  fails to otny a Court order of which it had knowledge

          10.     The moving party is not required to show that the violation was willful or intentional.

  but the intentionalor willful nature of a contemnor'sacts may tx considered in determiningthe

  appropriate sanction.3

                   i.       Scicnter of Defendants is supported by (70B Deqhr+tion, pg,+2:, par+wpphb. 20.103)

          11       A party moving for a finding of contempt Mrs the burden of establishing by clear and

  convincing evidencethat a court order was violated. If the mo\’ant makes that showing, the burden then

  shins to the contcmnor to show why it was impossible to comply a{th the order or why.4



  a Court of Chancery Rule 70(b)supplies this court with the power – andbroad latitude – to remedy violations of itsortlcnq
  327Mother African Union First Colored Methodist Protestant Church v, The Conference of African Union First Colored
  MethodIst ProrestanrChurch. 3998 WL 892b+2.d '6 (Dcc. 1 1. 1998)


  + Stateex rel. Obetly v. Atlas Sunitadon Co. Inc.. 1988 WI. 884'N, a '2 (Del. Ch. Aug. ] 7, 1988) ("jO]nee the party with are
  burden of proof has introduced evidence from which a fact finder oould conclude that he has establisheda prima facie case,then
  the burden of going forward with lie evidenceshifts to the alleged contemnor to . . , [show] it was impossible to comph, „ hh
  ttw oourl order.-) su Rolex Watch U.S.A„ Inc. v. Crowley. 74 l;id 716. 720 (6th Cir. 1996); F.T.C, v. AfFordable Media. 1 79
  F.3d1228, 1239 (9th Cir. 1 999):see also AM. JUR. 2D Injunctions § 321


                                                               5
EH-BCM Document140-2
H-BCM Document
          1   2.25-2Detbndants basedon precedential Delaware rulings, should be sanctioned and fined.            09/0
                                                                                                           Filed 05/0
         13. Jurtwrry. July 20047 & August 2005Proxiesomit key facts rendering themdefective and void,

  A.      DEFENDANTS WILLFITLLY IGNORED WARNINGS AND MULTIPLE NOTICES

          14.       Warnings by then Vice Chancellor Strinc included

          i.        "But you cut get this stuff fixed out or you put me in a posi6on where I have got some son
                    of u- this is low hanging fruit" {70B Declaration,£xhibh# 9, pg,63)

          ii.        “I don't have to say these words and you don't have to go fix them or call your client.
                    (708 1)eglaration, Exhibit+ 9, PE.+ 3)


          iii. “the way the board purportedto fill it was invalid.HUgBJ}@£bim£aD
          iv.        "You may need to do corrective disclosure to tx:gin with. tncausc of this"i 70B Dccl#rqi9",
                    Exhibit# 9, pg,.63)


          v.        ••TIlen I have a disclosure violation here,- (70B Dcclararign,ExhibiR 9, pg. 63)

          vi.       "real problem that I may have to take some notice of”l7JWggbnb9&                                HJ

          vii.      "could I plead with the Delaware lawyers for the company that if we are going to get - iI
                    you are going to get a consent from Sony, craft it. I mean. it's one thing Mr. Shannon and
                    Mr. wdsh _- it's one thing if they want to do a Blirsius thing. You know. you don't want to
                    walk in here again uith some sort of technical problem,"(WWMa®l                     bai

          viii.     "you know you probably have to amend your proxy statement then.-' (70B Dnlamrion.
                    Exhibit- 9. pg.a)

                    -make sure yOUget it done right" (70B DQlaration, txbibh# 9. Pg.OH

          x.        'lhe company amends its proxy statement” (ZqBJ}gdgurUHMxIJl©bagD

          xi.       “You clean that up” ago Pcglaratic,n. Exhibit# 9. rg.641

  B.          COURT PROVIDES RECOMMENDATION THAT DEFENDANTS OPTED TO IGNORE

              15.    Tben Vice ChancellorStrine tips to avoid Blasius and Disclosure violations ipc)red:

                     i.       "I ednI help but otnerve dn other thing, which is if this – if the conWy -if the


  s (GEORGEL]TTERST v. ZENPH SOUND iNNOVATiONS, INC,1 LA. No. 7700-ML,2013) Because First Stateand C’AMI faited
  to comply with p+uaygraphs 3 and 5 or the PI Order. IPR is entitled to an order holding Fim StatE and.CAMI.in contempt and
  impo siRI an apiK,pHan sanction. This Court has broad discretion in formulating a remedy for violations of its.orders'6 As part
  of its briad wh;odiat powen. the Court may impose a fine. for example. to coercea non+omplying Way to wac inlproFr conduct




                                                                 6
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                incumbent board is really fine with a fair fight and doesn't mind the common and the         09/0
                                                                                                       Filed 05/0
                preferred voting together to elect a majority even now, which I don't know to be the case -
                but if it were and you said. "I.et's have a showdown.We have a large stockholder. We
                have a disagreement. Vantage is in here. Let's have the showdown in the OK CorTal. We
                want Mr. Eden to in on the tx>ara" Well. there is an ob\4ous way to do that. Right? And
                if you don't want to have a legal fighl then you know. you figure out who your four are
                 You know who the Vantage two are TfFdell is one of the fighting four. you make sure the
                certifIcate of designation has been approved. You clean that up. You know you probably
                have to amend your proxy statement, then. Then maybe you change your sale and put
                Edcll on it. And the four that is currently in there. make a decision as to being on the board
                or not.. You have a fight about the majority. Tbd is the judge trying to be practical in a
                situation where I have seen tx>th sides.-’ "I'm saying if it's fair fight time and you are
                ultimately going to have a majority up. that is a real clean way to do it. I don't know how
                Blasius   comes into   that at all.179_B_Declaration, Exhibit# 9, pg'64)


                 ii.     "I'm saying if it's fair light time and you are ultimatelygoing to have a majority up,
                that is a real clean way to do it. I don't know how Blasius comes into that at all."
                (7QD Pgclnatian, Exhibit# 9, pg,64)


                iii.    "So to the extent that Sony – for example, if Mr, Eden were to resign today. to say
                 "I am not longer on the tx)ard.- one of his other colleagues would rcblgn - and you do it in
                however elegant fashion to make sure you get it done right. Mr. Eden is immediately
                reclcctedto the vacancy a common vacancy, and the company amends its proxy statement
                and puts him as one of the four." f70B Dqclaration, Exhibit# 9, pg.a)
  C.     BOTH DELAWARE COUNSEL AND DEFENDANTS BROKE PROMISE TO COURT

         16     DelawareCounsel Tektits and Defendants plus Sony break promise to Court:

                “MR. TEKLl'fS: We \all make sure this is right. Your Honor.I think everybodywants this
                amendment approved.- f70B Pgglaration, Exhjbit# 9, pg,63)

         17      Defendants fail to make Court ordered '•corrective disclosure"of:



                          False Lhwmber 30. 2003 Proxy: {70B o,,bratk,n, pg,19.21 , pv49raph ei 94-103}

                          False October 3 1, 2003 Pressrelease (70B poclgHltig),£xhibit #4, m. 38-39)

                in        False Defamatory    December      1 1, 2003   8k: (7QB Pg¤1ararion,Exhibt #6, pg. 44)

         18
                Defendants opt instead to initiate multiple new '•Edell" disclosure violations thumbing nose

  at ChanceryCourt and promise made to then Vice Chancellor Strine:

                i.        lluu ''ISS Report" Defamatory attack on Petitioner:(70B D„I„++ig„,pg.22T p4„ggph #,
                          IQ4-108)




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                                                                                                Filed 05/0
                         Ttrru ''Los Angeles -l'imcs" LX:famatory attack on Petitioner: (700 pqgjNPjion, pg. 3),
                         PBrBBr9Ph E 109)


                 111.    lbnl false and defectiveJuly 20tH Proxy POD pnb,atbn. pg :4, pwrgrapb #, I Ihl 13 A
                         Exhibit ajl pg&t93

                         False  and defamatory January 26, 2(XH Proxy Disclosure {7QP D9sIN,p,g„, £xhibh #6,
                         page+ +54161


                 IV
                         Misleadinginvestmentbankers in 2005 Bidding Contest by 1-ailing to correct
                         previous Proxy statementsand disclosures, ensuring Plainti11'status would tx: "Does
                         not have significant credibility’-so that Plaintiff would not have equitable
                         opportunity to participate with $13.50 counter bid announced in September 2005
                         before Defendants consummated S12.00 per share sale to News Corporation.
                         (7Qf}Dnlaration,Exhibil #$, p98e Sl)


  D.   DEFENDANTS IGNORED FIDUCIARY DUrY TO HONOR OCTOBER 17, 2003DULY
  ELECTED PROXY SLATE

          19.    After January 2CXH Chancery Court hearing, it was unlawful for Defendants to fraudulently

  conceal and to not honor PlaintifFs October 1 7. 2003 approved Director slate nominated at validly called

  Board Meeting. f7QBP99larwign, Pg. 13, ntqgrrph #4$)

         20.     Voided bllell Director. voids Eden vote during Plaintifl’andeUnivcrsc-sOctober 16. 2003

  Vote to NominateDirector slate proposed by PlaintifFtntbrc Plaintiff resigned as Chairman and CEO.

  This effects 3-1-1 win by Plaintiff vs. previous "No rnss" Defendants purport existed from 3-1-2 vote

  before Chancery Court ruled Eden was never validly elected as Director in October 2003.

  E,    DEFENDANTS PASS ON FRAUDI'LENTLY                     CONCEALED EDELI, DIS('LOSL- RE
  \'IOLATIOX TO A(-Qt'IROR XE\VS CORPOk,\TION

         21. [kfendants pass on &audulentlyconcealed unlawful acts including contemptof Coun to

  acquiror NewsCorporation as clearly exhibitedin email disclosedby ClassCounselin 201 1 Federal

  security fTaudclass action. Such email on July 1 7. 2005 from CorFx>ratecounsel I'ang emailed at 4:13 AM

  to Defendant Director Sheehan, 'Subjcct: 'Purchase Agreement-. stating.

          On the issues.let's close on the remaining ones in a fair and reasonable way- so we can build out
         relationship.-And



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          3 We feel like we have given indemnincation on the shares and the purchase agreement itself to
         do so on all\ issue we have had no involv'sprentin what}p£yer {i.e. Gre§nspan)- that see,Di ,like
         too much. Andy. I know we are very eager to get this done. Let do it so tx>th sides can feel good
         and move forward on our longer-termrelationship

  F.     SONY IS CONFLICTED AND HAS INFLICTED MULTIPLE PREDICATE ACTS:

        22. Sony wu an insider shareholder in eUniverse (Intcrmlx, and Myspace by ownershiplevel prior

  to Saleof VantagePoint VC nmr in July 2003:Octobu30.2003; April 20tH (SEC disclosure)and had a

  Director and SeriesB NomineeEdcll in January 2CXH Proxy


        23. SonyCorp’s generalcounsel Seligrnan is marriedto Joel Klein who beganworking for

  News Corp in 2009.Sonyhas fraudulently concealed the defective Eden background & both violations of

  Rule SK Item 401 in January and July 20(A Proxyand Annual meetings respectively. Sony and/or

  Seligmanare aiding and abettingNewsCorp for the tnnetlt of Joel Klein who is an executive and Director

  earning$1 m+ per year from NewsCorp.

  G. FRAUDULENT CONCEALMENT USEDTO DiSCREDIT PLAINTIFF IN 2009
  NATIONALLY PUBLISHED NOVEL AND TO FURTHER UNLAWFUL SCHEME

        24. Defendant'sleverage their relationshipwith acquimrto createdefamatory and fabricatedlies

  thru acquirorNews Corporation employee Angwin's publishedin late 2009 book, 'StealingMySpace

  which fraudulentlyconcealsthe true background of former Directorand ChairmanJeff Eden and his

  scheme nth Brewer to forwarda fabricatedfalse resume, misleadingCEO to get Edell onto the Board

  This creates further ongoingdefamatory damages to Plaintiff and Shareholders because Class Counsel

  accepts and uses falsc Eden facts in book instead of PlaintifFs facts ofFered to Class Counselin 2012


  FederalClass Action in Los AngelesCentralDistrict. Eden-s false facts allowthe BauduIentconveyance

  Of approximately50%of Myspace.corntIn crown jewel of cUnivuse. Inc. in 2(XN. Further. Edcll’s false

  facts which becomeAcquirorNewsCorpordhon false facts. obstruct PlaintifFstrue facts from entering

  the record for the benefitof the FederalCourt learningthe true damages and claimsrightfully owed to

  shareholders. PlaintifTand shareholders will continueto sufFeruntil the defective disclosureis curedby


                                                      9
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  Mendants. {7QB pulllabgn,pg_24.37. pg!}g,3ph, I 1+13D
                                                                                                       09/0
                                                                                                 Filed 05/0
         25. Defendants use ongoing Eden defectivedisclosure scheme to denme Plaintiff and impugn

  reputation in book Falsely claiming, "violent mood swings were part ofGrccnspan'scharacter”
  a013])tglararion'   pg. 26, paragnrphs 127)


  H. DEFENDANT9SaBAD FAIl’Hn & uDISLOYALn FINDINGS AND ACTS DAMAGING
  SIIAREHOLDERS IN FEDERAL 2010 SUMMARY JUDGMENT RUIING WERE CAUSED BY
  FAILURE OF CHANCERY ('OURT TO FORCE DEFENDANTS TO FIX 2004DEFECTIVE
  DiSC'i'oSURE

         26.    Chanccry Court's failure to force Defendants to honor their promise to fix the defective

  Disclosure in 2003 is directly responsible for allowing Defendantsto steal a minimum of $670 million in

  damages (Federal Judge King 2010 approved damage report) and upwards of $32 Billion in damages (Rule

  701 Damage Report not used by Class Counsel because of ongoing Edell fraud) from thousands of

  shareholders in 2005.

  (Exhibit #1, page 12. June 2010 Federal Central District. Judge King, Summary Judgment Ruling)

  J\’-     CONCLUSION

  1.   DEFENDANTS FAIL TO CURE RULE S-K ITEM +01 (F) VIOLA’IION

           27         Rule S-K Item 401 (D states the requirementfor information disclosed in Intcrmix•s

  January 2(XH & July 20tH Proxy fIlings fbr Director's “Involvementin certain legal proceeding(’stating,

                "Describe any of the following events that occurred during the past ten years and that are
                material an evaluationof the ability or integrity of any director, person nominated to become a
                director or executive ofTicer of the registrant

                '-A petition under the Federal bankruptcy laws or any state insolvency law was filed by or
                against. or a receiver, Fiscal agent or similar ofFicer was appointed by a court for the business or
                property of such person. or any partnership in which he was a general partner at or within two
                years before the time of such filing, or any corporation or business association of which he was
                an executive officer at or within two years tnfore the time of such fIling:

           28- To make Proxy not defectiveunder 14a or Delaware security laws. issuer would have to

  disclose that.




                                                           10
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                                                                                             Filed 05/0
            "Our former Chairman who resigned effective December 2003 was replaced by Jeffrey S. Edell
          Edcll was most recently President and CEO ofShoworks Entertainment Group, Inc. from January
          2001 thru April 2002. Sometime in 2(X)2. Showorks Entertainment Group. Inc. underwent a name
          change to MTS, Inc. Sometime in SeptcmtKr of 2002 Eden learned that MTS. Inc. had filed for
          bankruptcy under Chapter 7. Eden was not there at the time of filing. Eden has informed the
          company Eden was never personally named or contacted as part of the bankruptcy under Chapter 7
          or subsequentproceedings. Edell was from 1995 thru Dccemtx=r 3 1. 2000.President and CEO of
          SOundChL\Entertainment Group_ Inc.

            29. Defendants also fail to fix disclosure related to fraudulent "Amended--October 31. 2003

  Note. Defendants cannot landIIlly or validly backdate the Octobcr 3 1, 2(X)3 52.5 million dollar

  note by simply creating a new Note disclosed in December 2003 with a date of October 3 . 2003
                                                                                             1

  (70B L)HI!!ration, pg.19, paragraph #9] }



          30.      Plaintiff requestsCourt to sanction Defendants $25.CX>0 per day since Chancery Court

  January2004hearingthat "concctivedisclosure"ordered by then Vice ChancellorStrincwas not

  undertaken by Defendants and such per day sanctionto continueuntil Defendants provideproof to the

  ChanceryCourt that '•conectivc disclosure"has been madeto the public.

          31 .     The interests ofjustice are properly servedby the grant of this Motion


                                                Respectfully submitted



                                                Brad Grmnsp,in, Pro Se




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  EX}IIB11’ +   1




  June 2010 Federal Central District. Judge King. Summary Judgment Ruling




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                         r\ TIIE couKr OF CHANCERY OF ’l'lIE STATE OF DEI.A\\'ARE


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                25-2                                                                         09/0
           BRAD D. GREENSPAN,

H-BCM Document                                                                         Filed 05/0
                                                                )


                                                                )

                     PlaintiIT,                                 )


                                                                )   C.A. No. 106-VCS
                         V.
                                                                )
                                                                )
            BRETT BREWER et al.                                 )
                                                                )
                   Defendants,                                  )
                                                                )
                                                                )




 DECLARATION IN SUPPORTOF MOTION 70(b) 42(b) colgrFMrr




 DECLARA noN IN StIFf-OHI OF MOTTC)N 70(b) 42(b)CON FEMFT   1
 1.      1   submit this declarationin order to provide the Court and the partiesto the above captioned


EH-BCM Document140-2
H-BCM Document  25-2
 litigation wIth informationregardingthis matter as

 2.       1
                                                                                                       09/0
                                                                                                 Filed 05/0
              am over 2 1 years of age and I have personalknowledge of the facts set forthhereinand. if called

 as a witness.could and would testify competently thereto.


 3.      1 was founderof IssuereUniversc. Inc. ('eUniverse’) whichlater changed its named to Interrnix,

 Inc. and was the laIBest common stock holderfrom Issuer-s creationand public listing in April 1999.thru

 the September 30. 2005merger consummationat issue in this case

 4.      On April 14. 1999. eUniverse beganpublicly tradingunder the symtx>1 EUNI.

 Tlre initial Directors and executive oftlcers ofeUnivcrsc were Brad D. Greenspan.age 26, Chairman

 of the Board. LelandW. Silvas. age 44. President Chief ExecutiveOfficer and Director,Charles

 Bcilman.Age 39. Chief OperatingOfficer and Director,and William R. Wagner.age 52, Vice

 President, Chief FinancialOfficer.

 5.      According to the SEC Hhng in 1999_ Chairmanand Director BG oubcd 57.2%.of the

 company and was a control shareholder of the public corporationas it began public trading

 6.      eUniverse closed its fust day of tradingat $12.50per share on April 14. 1999,at this

 time, cUniversehad less then I million uniqueusers comingto its networkof owned websites.None

 of the defendants were oftlcersor senior executives of eUniverscat the time of the public listing or

 by the end of 1999.

 7.       In Decemberof 1 999, eUnivcrsclaunchedits first socialnetworkplatform,

 LivePlace.com.ulth proprietarytechnologyacquiredthru the Big Network Acquisition

 Unfortunately.a year later.eUni\’crseexited the LivePlacebLninesswhen it determined the

 technology at the time was not sufficient to prevent websites hom slowing down for users allor

 installing the I,ivePlace technology. Ho\\ever, LivePlace-s launch by eUnivcrsc ocmcnb the fact

 that eUniversc was a pioneer in the social network space. I.ivcPlace was dcscritxd as:

 '•a proprietarytechnologythat turns a website into a public placc u'here users can meet and interact

 through chat. instant messaging, and co.browsing.”

 DECLARKTiON IN St.PPORT Ol- MOTION 7(Nb)+2(bl CObrrEMPT      2
 8.      On July 31. 2001. eUnivcrsc announces that for its March 3 1, 2(X)I quarter. it hm



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                25-2                                                                                  09/0
 8cmrarcd its first net Hunt arxl third con=cua\'e ebitda lmiti vt quarter. Becoming lxofitable was
H-BCM Document                                                                                  Filed 05/0
 critical for eUniversc because as of its 7/3 1/2001 SEC filing the company only had $218.(XJO in cash

 vs. 52.3 million in cash as of the year &fore

 9.     By October 2001, eUnivcrsc had 31.3 million uniquc U.S. users and had the 8th

 largest online audience in United States for the period. By comparison   Ebay was ranked #9 with

 31.29 million   users and Google was ranked #14 with 26.9 million users.

 10.    On [kcemtx:r 17, 2001. the NY Times fntures a story on cUnivcnc titlecl

 "For Some Dot£oms thereAre Real Profits", stating

          Met Bra D. Gncnspanand at firs it nems like In’s a vistta from moan crb. tIn Inkmct bubble of lm.
         llc's a 2&year-old chief executive of a public Internet company. cUni\'ene, with tens of millions of users and
         big backers like Sony."

 11     eUniverse has 533.19 million revenue for 12 months ended March 2002 & S6.64 million EBTTDA.

 12.     cUni\’cne by thc end of 2(X)2 had over 250 employees working in Los Angeles amongst this

 group, the company had developed highly skilled technologyand internet Strategy exwutivcs. eUni\'ersc

 also dcvcloped significant technology resources and anicts gathered over its many years of operations_

 13.        Mr. Greenspan resigned as CEO on October 30. 2003 and on November 2 1. 2003. Morgan Stanle}

 issuod iLs annual internet nI)on ranking cUnive6e as the #1 fastest growing Portal band on data from tIn prior

 90 days. ahead of AOL and Yahoo and 'Excite Network' which AskJoevcs uquind in 2003.

 14.        The eUnivcrse RnId during week elding Cktotm 31. 2(X)3 nncBcd on a common stock finarning

 arranged by TbinkEquit} and Greenspan which the same board had approved on October 16. 2003.

 15.        Instml thc Board manipulated by defendants, changed course arxl detamintxl to sell effective

 control ol'eUniversc, Inc, to San Francisco based private equity fund VantagePoint Ventures LLC. issuing

 below market price prcfcned stock and simullanaously breaching the 19.CP/, shareholder vote threshold

 which the company had also specifIcally promised it would not do in any financingweeks earlier

 to tIn Nasdaq listing panel.

 16.        VanhgePointhad been told the week tnfore by the Chairman and CEO ofcUniverse that the

 DFCt_AkATXnlq SIP?t)RTO[WYfXn7qh14ablCt+Fltwl              3
 company had daermin<1 not to pn)coed with their highly diluti\'e $8 million prefaTr3dstock proposal



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H-BCM Document  25-2                                                                                 09/0
                                                                                               Filed 05/0
 which ofFend to buy shares at blow $1.35 and efFect a change of control of the $80 million market

 capitali/rd cUnivcrse without a shareholder vote. which violated the Nasdaq 19.9% threshold rule

 17.        VantagejDoint was informed that their proposed financingwas economically inferior and thaI

 tx:cause Vantagelnint wu still negotiating both terms and documentation and had not finished their

 diligence,the company had opted to close a $ 1.85 common stock financingfrom existing and new

 institutionalin\vston. However. Chairman and CEO Greenspan invited VantagePoint’s David Carlick

 and their counsel. onick's Richard Harroch to participate on the same terms as the institutionalinvestors

 which was a significant discount already to the then approximate $2.25 - $2.40 per share public trading

 price range ofeUnivcrsc

 18.        VanUgePointdetermined to not only reject the ofFer from eUnivcrsc-s chairman and CEO to

 invest at $1.85. but embarked on and facilitated a bramn scheme to manipulate and defraud eUniverse’s

 Board and shareholders that put defendants C©lick. Sheehan.and Hanoch in control ofeIJnivuse's txlard

 by October 3 1, 2003 and allowed defendants to recognize an almost sure windfall on their below market

 Series C preferred stock financing

 19.        Not satisfied with their existing economic gains, defendants then Embarked bctwccn late 2(X)3

 thru Scptcmtx:r 30, 2005 on an ever growing series of schemesand misdeeds to loot the public company

 and effect transaetions that benefitted themselves and related parties at the expense of the common stock

 shareholders who had held the majority of eUnivcrse

 DEFENDANTS SCH EyE TO ENTRENCH THE\ISEL\[ES AND SHIFT CONTROI,

 20. Mr. Greenspan was on the verge of terminating the general counsel and Chris I.ipp. and the

 President ofeUniverse. Inc. Brett Brewer, for their roles or poor performance in the restatcmcnt the

 company had sufFered tntwnn Octotx:r 2002 and May 2003. and ultimately a new controller and CFO

 were hired and cUniversc rcfilcd via its 10k in August of 2003. Defendants General Counsel Chris Lipp was

 told the company would transition to a new general counsel after closing the next round of financingand

 President Brett Brewer was informed in the summer of 2003 he would be demoted.

 D[Cl_ARA11t)NIN SUP80RT OF Uty11t#1 7qbl 4abl COXTtMPt    4
 21.   Mr. Greenspaninstead was faced w{th a scheme by Brewer to take controlof the Board and shift control of
 company over to VantagePointand Defendants. The scheme is adrninedin a letter from Edcll to certain of the

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                                                                                                   Filed 05/0
 defendants on the night of October27. 2003,3 days beforeChairman.CEO. founderBrad Greenspan resigns
                -Brett is alwayson the side of Brad’sremovalwhen not aroundBrad, but has no backbone when in
                Irontof him. He is looking for us to do the dirty work but \all not stand tall himscl£ -


                The first fraud was Brewer recommcnding and endorsing a friend of his Jeffrey Eden to

 come onto the Board of Directorsin mid-Octotxlr 2003. Eden. Brewer, and the Chief Financial Officer

 Flahie who had worked for Eden at a previous company all misled Mr. Greenspan and the other Direetors

 as to the qualificationsof Mr. Eden. Brewer distributed a 3 page resume/background prior to Mr.


 Greenspan detennining to support Ede II as a new board mem&lr, but such 3 pages did not disclose the

 truth that JetTrcy Edell had just bdnkmptrdthe last company he worked for. Nor did Edell's public filings

 or Proxy background or press release made by Eden disclose this pertinent and critical information.

 Instead. Edcll. Brewer. and Flahic knowingly omitted this information in order to get EdeN onto the Board

 where Eden quickly damaged the franchise value of cUniverse. Inc. by several disloyal acts and breaches

 of fiduciary duty. (EXHIBIT #1. pg. 29. & EXHIBIT #2. pg. 31 )

        ii,     Defendants key strategy that enablcd them to take control of the board ofcUniverse was by

 fabricating or aiding and abetting the fabrication of information to mislead independent dir%tors and CEO about

 background of Jenny Eden. Instead, defendants artificially       branded Eden with falsc credentials and set him loose to

 engage recklessly nth the corFX)rate assets and the important financingthe CEO had closed with common

 stockholders clearly on bctrer terms the the lower priced preferred stock pcddled by venture capital Erm. Defendants
 cover up a recent bankruptcy under his stewardship. Brewer. Flahie. Eden, Lipp. Moreau, Carlick, Harroch. and

 Sheehando not correct the defectiveproxy that they all approve multiple times tutween November 2003 and

 Septemtxr2(X)5. The clefut is caused by the omission ofEdell's recent bankruptcy a \jolation Item 401 Rule-SK
 nlatod to Director & OfReer work experience background.


        iii.    Defendants recognized the alreadylocked in profits and upside that existed

 for them if they could forceeUniverse to acccpt VantagePoint-sinferior morecostly fInancing.

        iv.    Defendants use the fabricated Eden resume in a series of Shareholder letters and press releases in an

 attempt to covcr the uncxwcled news that the CEO has been forced to resign as part of defendant's scheme to

 cause eUnivcrse shareholders to be diluted and pay for more expensive financing so that the Directors
 DECLARATION IN SUPPORTOF MOTION 7qb) 421b)C(NIEMPT           5
 led by Brewer could keep their jobs and ncei\t significant upside from the incoming directors from


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H-BCM Document  25-2                                                                                  09/0
                                                                                                Filed 05/0
 VantagePoint ard On{ck's llanosh. (Exhibit m,pg.38-39) is No\’cmtur 2003 press release omitting Edell's CEO role

 in tIn M'IS 2(XE Chapter 7 bankruptcy and also another turTWOUrrd company he ran in 2(X)3 more ruentl}          that

 also failed moording to Edcll's accurate D&O submitted to the Nominating Committee.However. Eden

 continues his sleight of hand and now promotes only the Soundelux CEO role without disclosing end of tenure

 in 2000 when it was sold and creates Impression he was most recently working as CEO ofcLatx>r. Inc., stating

 'Additionally. Fdell served as Founder. Director and CEO of eLabor. Inc.. which was sold to ADP in February

 of 2003.- in facl Edell wai only a director ofeLabor since at least mS.
                                                                      1




 HIDING ONE BANKRiJrrc'Y AND ONE FAILED TURNAROLrNDIN PI TRI.I(-DISCLOSURES

 22.     EdI:IIstwo resignations on his bio that were really his last two jobs instead of submittingan accuratebio.

 dcfcndanbstretctndtIn job of Eden that was actually 3 jotn paw. and irnnascd this 3rd job by anottnr 2

 years. to the year 2002(from 2000). FJell both omits to accomplish his end goal of making detection and

 disclosure of his true track record.(EXHIBIT #1. pg. 29. EXHIBIT #2. pg. 31. EXI lIBIT #3 pg. 33.36.EXHIBIT #5.
 Pg.41 -42)


 FI.AHIE TIIE NE\V ('FO

 23.     Brewer. also a Director. took ad\ antagc of his position lemling thc interviews and ncruiunent of an

 company's new CFO during the summer of 2003 to recommend Hnd candidate, Tom Flahic.

         i.      Flahie had previouslyworked as CFO at eLntx)r. AmeHc& Inc. under Bnwcr's close friaBl and

 fellow YN) nnmtnr JcfTrvy Edell •s brodhlr. Eden was Director of cLatx)r when Edcll's brother sen-ed as

 CEO Basedon Brewer’s rcoornmcndation. the CEO met with the candidate, and in August 2003. Tom Flahie

 was approved and offered a position as the new Chief Financial Officer ofeUnivcnc.

 F.DELL 'FIIE NEW DIREC'TOR CANDIDATE

 24. After current tx>ard memtx:r Thomas Gcwcckc. a senior business development executive of Sony

 MMI     informed the txjard kl the summer of 2003 of his desire not to wrw as director for another annual term.

 CMinnan/CEO Brad Greenspan agrees to review resume of candidate JefFrey Edcll

 25.     In or wound August 2(X)3. cUnt\tru hal Ind to runit a new irxlcFrxhIt Bcnrd Mcm&r \\tx> was

 also qualified to sit on the audit committee. Brewer and Flahie initiated a scheme to promote their associate
 D£CLAkA11(m IN SUIX)R1 Ol ucrnoN 7qb)42tbltl)VTtMPI        6
 Jeffrey Eden as a candidate for the board slot so that they oould tn assured job suudty and txnefit in the clear


EH-BCM Document140-2
H-BCM Document  25-2
 upside that existed to be a senior officer or top employee of Issuer as of October 2003.              09/0
                                                                                                 Filed 05/0
        i,        B&nd on information and belief, Brewer had tnen in a Southern CaliforniaChapter of the Young

 Presidents Organization ( YPO) with Edell and they would mcct regularly to discuss each other’s business

 challenges and prospects for three years prior to Eden joining the eUnivcrse board.

        ii.      New CFO Flatlie had pre existing busincss relationshipwith Eden, working for a company

 where JeIT Edell served as Director and Edell's brother served as CEO managing Flahie immediately prior to

 corning to u-ork for eUnivuse in August 2003.

         ii.      Brewer and llahie were challenged to get the Chairman/CEO to nominate Edell to the board

 based on Edell's actual work experience which would call into question his fitness to serve on the board of a

 publicly tradedcompany.

         iii.     The plan to nominate Eden to the eUnivcrse board based on his real work experience became


 more challenging \then the most recently nominated Director, lawrence Moran who had joined eUniverse's

 board in May of 2003 , admitted to being less then candid About his track record after a Los Angeles Business

 Journal article in August of 2003 brought such facts to the attention of the other eUniverse directors

         iv.      Basedon Informationand belief, Brewer, Flahic. and Edell realized that to get the support of the

 Chairman/CEO to back nomination of Edell to the Board, they would have to innate and falsify Edell's track

 record to make it appear flawless.

 26.     Defendants thru this fraudulent scheme and omissions of Edell's true work experience, created a fake

 Director candidate misleadingstweholdus and Petitioner wIth what apjxdred to tn a rKrfect track record u{th

 no negative recent work experience disclosed

         i.       [kfendants determine to accomplish the deed by omitting Eden-s two most recent work

 experiences which were both failures and falsifying thc time frame he worked as CEO of an. earlier successful

 \’enture. 'Soundelux'.

         ii.      IX:fendants accomplished this thru falsifying the Soundclux timeframe Eden worked as CEO by

 two years while omitting the actual prior two jobs. both negative tenures where Eden had failed to Improve the
 DECLARATION IN SUPPORTOF MOTION 7{)(b)+2{b)(-(nrrEMrl       7
 Companys where he was principal executive ofFicer.

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          iii.  25-2                                                                                    09/0
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                   Defendants fraudulent concealmentof Edell's true work experience allowed Eden to apply to be

 on eUnivcne Board in 2(X)3 and become supported by fellow Board Mcmtxx, founder. and largest shareholder.

 CEO Brad (irccnspan

 27.      Defendants fraudulently conceal the true background of former Director and Chairman Jeff Eden and

 forward a fabricated false resume. mislcading CEO to get Eden onto the Board.


                   Eden benefitted from fraud of fabricating his work experience by gaining access to the public

 issuer’s board

 28.    Edell had not come otT a successful busInessendeavor as his fabricated resume stated but really

 had failed in his last two ventures including one of two failures resulting in a Chapter 7 BankruptcyBling

 29.      Brewer moved scheme forward with aid of new CFO Flahic whose disloyalty in not reporting to the

 CEO or public that Edell resume was fabricated demonstrates Scicnter intent to defraud & mislead shareholders

 30. JetTEdcll’somission to trick CEO of Issuer via omission of his immediatctwo prior employment jobs. A

 Director- s last two jobs and such director candidate’s performance or the oompany's performance being the most
 critical bit of information for Issuer or CEO to parse or review to do his duty
 31.      Eden scheme results in eUnivcrse shareholders tx:ing diluted via more expensiveVantagePoint financing

 32,      On August 26, 2003 at 5:39PM Brewer forwards via email a fabricated three page (EXllIBIT #1. Pg. 29)

 resume for ' Jeffrey S. Edell' to the CEO with CFO Flahie cc-d and states

                   “looks strong... again jefTn'in be here tomorrow to have lunch with tom and i. brad, I’ll       set
                   something up for you later this week or next depending on your schedule.”

          i.       Brew'er lies. misleadingthe CEO further. asserting Edell's resume "looks strong". even as

 Brewer and Flahie are aware that Edell's prior two actual jobs are being intentionallyomitted from the

 document sent to Greenspan. Eden. Brewer. and Flahic have destroyed the actual true work cxperiencc

 information prior to sending the fabricated Eden resume, this is a violation of 1 8 U.S.C. § 1512(cX 1). which

 prohibits the destruction of records

          FI       [hfendant!,omitted a portion of the true documents and information in the Resumc sent to

 Petitioner,with the intent to obstruct justice in violation of 18 U.S.C. $ 151 2(c)( ) and also since the false
                                                                                     1




 D£CI.ARATI CN IN SIIPPORT nF M(yuaN 70(b) nth)c-oNTFMr]      8
 document was sent via email. E:dell. Brewer. Flahic, and Lipp violate 18 U.S.C. $ 1341 (relating to mail fraud),



EH-BCM Document140-2
                25-2                                                                                     09/0
 33.    On August 27. 2(X)3, the CEO is deceived by the fabricated resume of IIdell and responds to Brewer
H-BCM Document                                                                                     Filed 05/0
 and Flddc after being misled and re\ icwing the fabricated resume of Edell. “Great resume!’. Since the CEO

 is misled via email, this is a \loladon of 1 8 U.S.C. § 1341 (nlatin8 to mail baud).

 34.    On the fIrst page of the fabricated Eden resume Brewer fbrwards. in the section labclcd 'Professional

 Exp,'riencc'. Edell lists first: •SoundeluxEntertainment Group, Inc. Hollywood+ CA, fm)n 199 S2002’ and

 the next line purports that during this period, Eden was -'President/CEO/Director’'.Edell & Defendants

 violate 18 U.S.C. i 1519 (relating to destruction, alteration. or falsification of records in Fedcrxl Investigation

 and bankruptcy) and defendants are destroying Edell's true work cxlnderne and put in its place the fake

 Fabricated work experience purporting that 2CXXF2002 Eddl worked still for SoundChL\.

        i.       Erkll's resume foruarrkd by Brewer. M3ly mules tIn a{4naranc£ atxl asnurjXionthaI

 'Soundelux Entertainment Group’ has been the sole Professional Experience of Fxlell's as a full time
 Executive since '2002

         ii.     Eden-s fabricated •Professional Experience- section creates the appearancethat

 I;,dell. -Successfully initiated, negotiated and closed sale of the Hell)wood postproduclion

 division of SEC (Soundclur) to the Liberty Media (;roup'’ and Edcll lists he wm President'(’EO.I)inctorot

 Soundelu\Entertainment Group from 1995-2002. then the reader of the fabricated document would assume

 EMII cklnncd as CEO after Soundel IU was sold in 2(X)2. Bnuu. Fxkll, C)nick. VantagcPoinl Harrmtt

 Carlick, RosenblatlSheehan.DeWolfc. Latham, and Sony Corp violate 18 U.S.C. g 1519 because they have

 altered reoonls ofa Board candidate during the SEC restatement inquiry that cndod OCtOtX:I 2CXPl

         iii.    Defendants specificallyviolated Section 1512© and U.S.C. $ 1519 by destroying and altering

 Edell's true background and work experience which should have truthfully disclosed:

                 ni)  ShoWorks, nhcrc Eden was CEO starting April 2001 thru 2002 (name changed
                 immediately prior to bankruptcY in September 2tH)2)”
 and
                 -ii)    Enterprise Entertainment Group LLP at which Eden w as President/('EO/Director for less
                 then a year before he resigned from compan} citing bb resignation came after +working on
                 sa ere turnaround situationH in Ma) of 2003. - (EXHIBI l- #3,. Pg. 3+36)

 3 S.    Director Lawwnce Moreau on September 30. 2CX)3 at 10: 15 AM emails Brewer, Mogulr. and Lipp,
 orci'ARATICW rNSt;PK)RTOF hK)TKH 7qb)42(b}('ovlUlrr           9
 Subject: 'Rli: Potential LUNI Board Mcmtnr-_ stating .

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                                                                                                 Filed 05/0
                             “ Also we need to have both he and Jeff Eden complete the company’s D&O questionnaire
                             so we can re\iew it for any problems prior to the Board vote.”

 The false and defwtit'c October 31 2003 Nominating Committee Recommendation

 36.      Larry Moreau,Director and NominatingC'ommittee membertasked with review of Eden. Sendsemail

 stating.'JefT Eden – Completed D&O Questionnaire’ to DirectorBrewer_ Director Greenspan. Director

 Mosher,GeneralCounsel1.ipp. and Sony’ssolo series B DirectorGcweckeand states.

          i.        Moreauand Defendantslie in his email aboutwhat is containedin the D&O questionnaire.

 failing to disclose Edell's disclosedrecent bankruptcyand declaring:

                             “Based on my review, there are no negativesfor the Nominating Committee to report to
                             the Board.

          11
                    This Ihlse statement is distributedthru email to Petitionerand other Directorsmisleading them

 and causing themto be unawarethat Edell's Proxydisclosureis false. This is a violation of 1 8 U.S.C. $ 1341

 (relatingto mail fraud). Moreau,heading the nominating committcc. concealed his knowledgethat Edelldocs

 have "ncgali\'es- that should be brought to the Board’s attentionlike fact that Eden has a mandatory disclosablc

 SEC event underRule S-K Item 41)1(D. requiring specificdisclosureon Edell's rcccnt federalbankruptcy

          111       Furthermore the destruction or alteringof the true informationby omission which F.dell. Brcwer.

 and Moreauare guilty of in violation of of 18 U.S.C. $1512(c)( ) and violation of 1 8 U .S.C.$ 1519
                                                                        1




          iv.       Moreauand Defendants further misleadsthe boardby stating

                    “the Nominating Committee’sprevious legal and financial background checksdid not disclose
                    any negatives.

                    “Based on the results of the Nominating Committee’sdue diligence proccdura+including meeting
                    and various discussionswith JefF,I think he is an outstanding candidateand hereby recommend
                    that the Board approval his appointment “

 37-      An attached D&O questionnaireis distributcdin October3. 2003email wIth false claimsused to

 covcrupunderlyingfmbi. in violation of of 1 8 tJ.S.C.$ 1341 (relating to mail fraud).

 38.    In late 201 1, Petitionerdiscovered a D&O questionnaireMl] submittedto eUniverw's Nominating

 Committeeheaded by DirectorLarTyMoreau. Edell's true work experiences consistsof:

 DF(•l,AkATION   IN St;PPC>RTOF Mt>TION 7tXbIl:(b)   (-(JVTEMP'f   10
                  1.      On the nnt page. in the first paragraph, there is information to read for the



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                25-2                                                                                     09/0
 questionnainsubmission. TIn Ibid line from the tx>nom stales.
H-BCM Document                                                                                     Filed 05/0
          “Accordingl) , great care should be exercisedin completing this questionnaire You should be aware that
          if the ProD Statement coatainq aa) false or mbleading statements, the C'ompnn+ and thom h control of
          the C'ompan} could be subjecl to liability under federal socuritie\ has.A

               ii. lbc factual D&O Questionruin of Fxiell from Exhibit XX reveals:

         & On the second page of the document titled.

               EUNIVERSE, INC. QUESTIONNAIRE FOR DIREC”rORS AND OFFICERS-.

          the lirst section is labeled: “I. Employment, Occupation, and Business Erperiencc.

          And it lists infomration sul)mined b) ujcfTrry S. Edell 11/10/ST.

          b.      Under section C, document states.

          -Please Indicate all positions and offices + hick )ou hold or have held during the past ft\'d5))cars”

         C.       Edell's 'Questionnaire For DirectorsAnd Officers- lists 3 submissionsunder •Positions,'Otlice’:

                   President/('I:O & Director Showorks Entertainment Group, Inc.H

                  nom ".January 2001. April 2002- and notes he “resigned April 2002”.

                 “President/C'£O/Director, SoundeluxEntertainment Grp., Inc."

                  from “November       1995- 12/31/2000”.

                  “President/C-EO/Director,Enterprise Entertainment Grp, 1.1.C

                  From UNo\ ember 2tX)2.)la}2tX)3H

                 and the next line in parenthesis immediatelytx:low states.

                   resigned Ma) 2tH)3, after working on severe turnaround situation.H

         d.      On page 14 of Edcll's 'Questionnaire For DirectorsAnd Officers•. Eden checks 'YES- for

         section (a) when asked if "any of the following events has occurred since April 1, 1998, plenie

         provide a brief description of the event

         e.      Section (a) states:


         “ A Fation under the Federal bankrnptc} laws or an) states insotsena Ian was filed by or agairut }ou+
         or an) corporation or busincu association of which \ ou were aa eretuti\ c offIcer at or within 1+o \ ears
         before the time of such filing.”

 O£CL4ZATIOhIN SUPR)RTCV luI(nl[w 7qbl+ab}ctnrrt\irl          11
          t          Eden disclosa under "Dexdpdon:'-:


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                                                                                                  Filed 05/0
           “Showorks Entertainment Group, Inc. underwent a name change in 2002to MTS, Inc. I resignedas
          President and CEO of this company in April of 2002.Subsequentto my leaving, sometime in September
          of 2002,1 learned that they had filed bankruptcy under ChapterI.-


 39.      Therefore.Eden’sschcImc to defraudthe eIJniversc Directorsis effectedby changingthe time fTameand

 term of his Soundclu\ employment from the factual end of 12/3 1/2000,to the fabricatedurd false claim that

 Edell's end of his work tenuretx:ing thru 2002.This allowsEden to effectively cover up or disguise his true

 historical work performanceand mislead Petitioner & shareholders that need accurate and true professional

 exFdence to determineif someone is qualifiedto tn a Directorofa public company

          i.         As part of scheme, Edell omits his January2001-April2002true employmentwhere he was

  President/CEO & Director ShoworksEntertainment Group, IncH that he had disclosed in a prior D&o

 Qucstionaire

          11
                   Eden also omits his November 2002-May 2003 professional experience as

          “President/CEO/Director, Enterprise Entertainment Grp, LLC-.

          resigning alter just five months. blaming a “severe turnaround-. (EXHIBIT #3. pg. 33_36)

 PredicateActs related to 2tX13 press reIchqc announcin£ Edcll

 40,      On October 9, 2003, Brewer funhcrs the fraudulent concealment scheme by forwarding eUnivcrse's PR

 fIrm the fabricated resume which incorrectlyshows Edcll worked at Soundclu\ llntertainment until 2002 and

 omits both the Showorks/mS bankruptcy and working most recently ,it troubled EnterpriseI':ntertainment Grp,

 LLC. Brewer also misleads PR firm by sending fabricated work experience and bankruptcy omission from their

 PR firm.Laurie Eisner.

                               laurie-tye need a very basic- Thomas (;ewccke hca resignedfrom the cuniverse board.   And
                             jeff edell (bio attached) has been appointed-"

 41
         (X;Uber 10. 2003 at 2:05PM. PR firm emails Brewer and Greenspan draft of Eden press releax stating.

                               •Prior to his Board appointment at eUnivcrse. Eden served as President and CEO of Soundelux
                              EntertainmentGroup,Inc.. a pro\'iderof entertainment eontcnttechnologies,with revenues
                              exceeding $1 10 million




 DECL\RAII(    )N IN SUPI\3R'F OF MU]'ION 70(b) 4:{h)C’ONTEMFI   12
 42.    October1 1. 2003at 2:43PM,Eden emails Greensp,mrequesting putTeryto & addedto the draft press release


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 atx>ut his background, stating.
                                                                                                        09/0
                                                                                                  Filed 05/0
                          -Brad. Comments on Release-it says nothing of the record sale to I.itnny Media and John
                          Malone for appn. sloam. the sale of the software company clabor, Inc. that I served as CEO
                          and founder for 10 years, and sold to ADP. the sitting on the Public board of IVC industriesand
                          sale of it to Inverness Medical. Also the winner of Entertainment Entrepreneur of the YEAR
                          by NASDAQ and Ernst and Young in 2000. and memtur of both TV and Film
                          Academies..mcmtnrof Young Presidents Organization.. Get some bang out of it!! Tlrat should
                          all tv somewhere in it..please have them take another shot-

 43,    October 1 1, 2003 at 4:43PM Edell emails Greenspan and Brewer:

 Subject: •RE: PressRelease: JefFrey Eden’ and states.

                 “Your PR dept can do a bettcr job extracting what I have on my bio related to the subjects that are
                 pertinent to eUNI... but please do not ease this until we finalize our deal..."

 ++.    October 1 1. 2003. at 6:15PM Greenspan emails Lipp and Brewer forwarding above Eden

 Email and states. -call me to discuss So we can finalize."-

 45.    The Octotx:r 1 1. 2003 draft PR submission Defendants Eden and Brewer are hiding and have destroyed

 the evidence of Edcll's True work experience in the press release draft being distributed as well as the final

 release in violation of of 1 8 U.S.C. $1512(c)( 1) and violation of 18 U.S.C. § 1519

 46.    Also Defendants violate Section 1341 by using email to send false fact draft press release to PR firm

 47.    Brewer enlists Highland Partners and Jim Quandt to provide background checks for the eUniverse nominating

 committee for Director candidate Eden and Ward. As evidence of this scheme. Brewer emails Mosher on October 16,

 at 3:56PIb4and states,

  dan- have you received the background check from highland partners .for bradley ward?

 48. BOARD MEETING.           October 17, 2003 there is Board meeting where Brad Gncnslw1      attempt to elect the

 annual board s]ate and his slate leaves ofl-LawTence Moreau and Dan Mosher. General counsel Chris Lipp

 dwms Greenspan's slate did not pass even though 3 Directorsapproved the new slate. 1 disapproved. and 2

 Directors Abstained.Lipps Board minutes indicate, "TIle motion failcd with a vote of 3 for, 1 against and 2

 abstentions, constituting less then the requisite majority of directors present."


 49      On October 30. 2003 at 4:57PM, Flahies emails Lipp, Subject: 'Bio for New Directors For proxy Draft'


 nFCLA}LA HON IN SUPPORTOF MOllON 7qb) afb) c'c)brTLMPI        13
 and provides a bio for Eden which states



EH-BCM Document140-2
H-BCM Document  25-2                                                                                  09/0
                                                                                                Filed 05/0
                         'Je.ffrey S. Eden has served as a Director £frrcc’ October 14, 2003. Mr. Edetl was employed as
                 Presidenl and Chief Executive o.fIlter und a director qf ShoworKiEntertainment Group. Inc .
                 (previouslyknown as Sormdel tu Entertainment Group. Inc.) a provider or enterlainment conlenf and
                 iechnolo8ies. fom 1995 until 2002."

 SO     On Friday, October 3 1. 2003 Defendantscause the company to put out a press release with false information


         "eUntvnse announces eUniverse Announce CEO Departure and Board of Director Changes Brad Greenspan

        StepsDo\yn as Chief Executive OfBcer Jeffrey FJiell cLot)or Founder and Former CEO/President of

        Soundelru Entertainment Group, and Bradley Warcl CEO of The Game Tree, Join elinixerse Board."

 51.    Significant pufTery created by Eden and put into press release but omits mention of his true work experience
 such as his recent fraudulently concealed MTS Bankruptcyand other employment information provided in the original
 D&O Questionnaire Eden provided to eIJnivcrse. Defendants also violate Section 1343 as the defendants cause the

 false information to be distributed via news ute to the public. (EXHIBIT %, pg. 38-39)
 52.    Sony in fact SFKci Really made it known that it would not allow VantagePoint to take over or transfer the

 rights to vote Series B until VantagePointbought all the stock held by Sony Corp of public issuer
 53.    Novemtxlr7, 2003 at 3:59b4- Intermix CFO Tom Flahie sends a draft Proxy to Chris 1.ipp. Subject: -Proxy
 which states.

 54.   On November 17. 2003, Chas I.ipp sends Consents to Sony Corp to sign.
 LIPP KNEW SONY DID NOT SIGN THE CONSENT ON NOVEMBER 17lh


 55.    Sony's Mark Eiscnbug only signs the consent to change the Certincatc of Designation of the Series B
 provided by T.ipp

 56.    Sony's Eisenberg executes the consent on November 18. 2003 according to his tcsdmony read in court.

 57.    On November 18. 2003 at 12:50PM,Lipp emails Vantagepoint’s Carlick and Sheehana new draft Series C
 consent that appears to have some backdated element of optimizing the prior Notes to the detriment of the

 shareholders.

 58.    Orrick’s Harroch active in the planningof the Proxy and Eden ftaudsemails Lipp stating.
                             ''I don’t understand the background of this, and it will take sonIC time to review. Chris
                             are you working on the proxy statement language to implement the things required by
                             the Option Agnemcnt?

 59.    On No\,'cmb¤r 18. 2003. at 4:09PM, 1.ipp asks PR company run by Jonathan IIcit to put out ' Annual Meeting

 Release’. The release falsely states Issuer’s


                        -annual meeting of stockholders has tnen rescheduled for January 21, 2004 so that certain
                        aspects of the Company's recently announced fInancing transaction with VantagePoint Venture

 IXrLAkATIO\1 IN SURPI)kT OF MOTIOX7tXb)4Z(b)C’OXT£MFI       14
                          Partners. among other items. may tx submitted to the Company's stockholders for approval.     A
                          new record date for the meeting of December 1, 2003 has also turn set."


EH-BCM Document140-2
H-BCM Document
 60.

 states.
                25-2                                                                                   09/0
                                                                                                 Filed 05/0
           Novcmtxlr 20, 2003- Flahic emails Board Members including Edell. Subject 'Dircctor Bios for Proxy’ and


                          "In preparation for filing of the proxy, I have updated the director bio information from the
                          Form 10-K. David. Andy. JefF and Bradley, I took a first pass to put a bio together for you.
                          Since this information is personal. please make edits to your bio and return the word doc to me
                          I will make your edits in the actual proxy. llranks, Tom

 DEFENDANTS PALS iF\r PROXY HOPING SON Y WILL SIGN OFF ON NOMINATING EDEL L AS
 SERIES B DIRECTOR
 61.       November 21. 2003- Intcrmix CFO Tom Flahie sends an email, Subject: 'Prox}’. stating,

            i.    -1 completed the $rsl draft of the 2003 proxy.

           ii.     "Given the major changes to the Board, "
                    the proxy needs a close look this year

           IV.     We intend loDle with the SEC on Wednesday.".



 62.       Flahic attaches a dnrft of proxy which falscl} state£ "SSO DNTY notifIed the Company that Lawrence Moreau
 arId Je£frc} Eden huw been rtominared by the Series B preferred stockholders.#n

 63 .      Issuer announceson November 2 1. 2003 that it has raised $2.5 million in Common stock financing selling
 1,643.000 shares at $ 1.50 instead of the $1.85 previously agreed price with the same investors. or a loss of $575,050

 for shareholders in the bargain made by management to mitigate one of the agrcivod parties from defendant's actions

 around the 20(A proxy

 64.       At S:46PM on Saturday November 22, 2003. cUniverse Sr. VP I.egal. Chris Lipp emails C)rrick's llanoch and
 VantagePoint’s Harroch and intemal general counsel Guidero \Hal Subject: Series C Consent re Bylaw Amendment

 and attached. 'Suies C Written Consent to Amend Bylaws’ and states,
             Rich. Please find attached the Series C consent with the changes we discussed. Thanks, -Chris


 65.      On November24, 2003at 12:05PM,Flahieemails outsidegeneral counsel Cartmell, Subject'RE: Proxy' and
 states. "I needto'file on Wednesday. I hopethat your comments do not impact the schedule



 66.       DefendanLSin No\cmtnr 2003press release omit Edell's CEO role in the MH; 2002Chapter 7 bankruptcyand

 failureof anotherturnaround comp,uv he mn in 2003.Eden continueshis sleight of handand promotesonly the
 Soundelux CEO role without disclosingend of tenurein 20(X) when it was sold creatingimpression he was most

 recentlyworking as CEO of eLabor,Inc.. stating,-',4ddilionally.Eden served at Founder.Director and CEO of


 bE(’LAkATION IN slrPPORI OF M()TIeN 7qb}+2(it)(ON'rENIFr     15
 cLabor. Inc . which war sold to ADP tn Februaryof2tX)3. - in fact. Eden was only a director ofeLatx)r since at lust

 1995.'

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 xo\’E)lnER
                25-2
                  200X So\\       SERIF'Sit SHAXI ('O\SE\T           SCHEME
                                                                                                        09/0
                                                                                                  Filed 05/0
 67       Novemtnr 25, 2(X)3 at 5:33 AM. Moreau emails Flahie, Carlick. Mosher. Subject: 'RE: NomatingCommittee.
 Dropped nominations' . and states, -Tom. Did you mean to drop David (’arlicl Andy Sheehan,.Icf Eden and I/rom

 lhc Bow(P Also. when is the proIN deadline? ""
 68.    Flahie responds at 8:27AM on Novcmtxr 25'h, faIsly stating

                                   ' oray threedirectors are up fromelection at the January2+ stockholders-meelinR. The
                          SeriesB stockholders(Sony) hate elected Larry Moreau and Jeff Eden. Ttre SeriesC
                          stockholders have selected Andry Sheehan and DavidCwlicl The only directors thaI up for
                          election are Dan Mosher.Bren Brewer and BradleyWard. " And

                                 ''The proxy deadline is driven by lhc timing of Chris Liupp's vacation Chris has put of
                          a European vacation several times due to the issues we we working through, He will be out all
                          neil week I will prepare the prow in his absence

 69.      On November 25. 2CX)3. at 10:11 PM. I.ipp emails Flahie, Subject 'Proxy Excerpt' with attuhed files including
 one called ' By-T'aws'and states.


                                  'Attached is the language I would suggest for Proposal 2 and lhc Other Business
                          sections. Also attached is the newly added Section 10 of- the Article 1 of thc ByLaws,

 70.       On Novemtnr 25. 2003. Chris I.ipp emails Sony’s Melissa Cole and Mark Eiscntxrg. Subject 'Onc More
           SeriesB Consent' and attaches a darn of Series B consent form re: election of directors, and states.
                       "Melissa- Please find attached what should be the $naI Series B consent we will need in
          connectionwith getting the director issuessorted out"

 71 .     DirectorWard is puzzled at the Flahie claim that a new Board slate has tx:cn elected which inchxles Eden and
 Mormu as SeriesB DirectorsWard who had just voted with the rest of the Dirnton to elect tIn slate on No\emtx:r
 20. 2(X)3. states in a Novemtxlr26. 2CX)3 9:28AM

                                 -Quick question ._ -TIte role of the Nominating and Corporale Go\xrnance Committee
                          ("Nt'GC - ) shall be to determine the state of director nominees for election to the Company's
                          Board of Direclc)rs (fIle -Board")   to be inctuded in thc Company's annual prov’ slalement.
                          And


                                  -Will this commUNe solely deIermine the nominees on the slate and no longer require a
                          full Board vote like we just had last week? in the absence of any speci$canonfora81t Board
                          vote. that 's huw I read that

 72.              Novemter 26. 2(X)3 at 1 l:26ANL Outside eUnivern coursel Nate Carartell emails Chris Lilp. Subject:
 'Serics B Written Consent rc Election of Directors1 1.2643.DOC and states.

 n+c1.ARXTION IX Stifn)nT Ot nitiON   70tb}4ahl C't)Nt£WT       16
                                "Chris, I have modified the consenl slightly to deal with the fact that the right belongs to
                        the Series B bBl atot Sony can exercise that right as majority holder. Redline IO follow in PDF

EH-BCM Document140-2
                25-2                                                                                     09/0
                        format
H-BCM Document
 attaching a document titled :
                                                                                                   Filed 05/0
 'ACTION BY wftri-rEN CONSENT OF M,MORi-rY SERIES B STOCKHOI,DEROF EITNIVERSE_ INC.'


 NOVEMBER 26, 2003 - ('FO FLAHIE INSTRU(.’TS STAFF TO FILE PROXY
 73.    November 26. 2003. 1 :41 PM, Flahie emails Samara Merchant Subjoct: 'Prory'. and states,

                        "Please send the proxy over to Donnelley for Edgar .formatting"'

 74.    As of November 26. Sony had not given its consent to nominate Moreau or Eden as Series B nominees
 DECEMBER 1, 2003 PROXY IS FILED
 75.      The Decemtxr 1 . 2003 Proxy lists Eden & Moreau as Series B Pnfcrrcd Nominated Directors stating


                        "the majority holder of our Series B preferred stock has the erclusive right. voting separately
                as a single class.to elect two directorr" and "550 DMU has notifIed the Companythat it inteKds to
                elect Lawrence Moreau and Je#ny EdeN to the Boar&"

 PROXY CONTEST DECEMBER 21}03- JANUARY 20bi

 76.    According to former Director Gnenspan. his email sent on DecemtKr S. 2003. at 3:17PM, to I'ipp. Brewer.

 Eden, Fojut. Subject: ' Need immediate documents ’ and states, "Chris/ MaIt- .4£ both a director and shareholders. /
 demand to see the following documents. " did not result in the company sending him the MyspaceAsset Sale

 agreement that was pwported to Mvc been signed on Decemtxr 17. 2003. nHs is further key evidence that supports

 such agreement not having really existed at such time and prior to Novcmtxlr 2004 when defendants first publicly

 disclose the claim that the MySpace Asset Agreement selling 33% to DeWolfc's MSV LLC really occurred on

 December 17, 2003

 77.    Email evidenceshowsthe chilling effect of dcfcndantsfabricating proxy to make it appear Sony had

 nominated l:dell and originally also. Moreau as Series B Directors. Showing initial response from an informed

 investor can be seen thru email on December 4. 2003. at 3:301>m, current tx)ard member, former CEO and 20%

 stockholdcr of Issuer emails proxy information to his outside counsel, Subject: 'Dam- and states,
                        Tougher Road toPshI. It look like these guys got Sony to PURPOSELY elect directors so
                thereare only 3 slots open and 4 forced seats, Only three directors are up for nomination.--
 And

                          ",Sony owns the Series B which VanlagePoinlhas a right to purchase and the Series B has rights
                 to elect 2 Board Members. but Vanla8epoint had speci.Pcally agreed to cancel sue tt righls as part of
                their acquisition of Sony's Series B just .for the reason of not dtyublirlg up on forced directors, " And
                  'Sneaky sneaky ...They }{or Sony to nominate 2 of the eIisting directors to 'BulletProof these gIn'I '_
 78.    Eden emails Flahic and states on [>:cemtnr 4. 2(X)3.

                                  Only comment, is plea\e make sure .fromNate Itlat this info is clearly necessary of a
                        press release ...I am sure you checked already but let me know? Thank jefj-""
 DECLARATION IN SUPPORTOF MOTION   7CXb) +2(b) CONTEMPT      17
 79.
           CFO flahie a few minuteslater replies via email and states.


EH-BCM Document140-2
                25-2                                                                                       09/0
                          Yes. all three law)vts agreed. They also want me to Form 8-k the press release.-'-"'
H-BCM Document
 80        Lipp emails Hanoch on Decemtvr8. 2003 at 4:01 PM and states.                              Filed 05/0
                          Riclwztl bbt time we discussed this, I though we agreed IUll it was neither pony-s iaenl to
                 have the shares pwchcucd WBIer the option b anything other than the SeriesC shIres

 81.       Ultimately. Lipp capitulatcs to the dominant Orrick firm and agrees to issuc C- 1 shares which are worth $2.(X)
 in extra prefured liquidation vs. $1.50. A loss of .50 cents per share for shareholders and additional corporate waste

 by defendants. using shareholder money to effect a change of control.
 82        December 8, 2003- 2:16PM. from Harroch of Vantage/onickto Chris 1.ipp and other C’arlick and Sheehan and

 Rodi Guideru= Subject: Option.

                                 -Chris. we still need to deal with the Sonyoption, Series B issue. As I see iI, Iht prQI}
                         SIUIq#Nnt shouldglsp seek approval for umqnding the Serie$_B (:emilicuteof Designation to
                         encompass the mutlers set forth in FJhibit B of the Option Agreement (PIK’dividend for VPVP
                         Shares eliminarion of company Election concep8s.authoR:cd + of shares. etc :) - and.

                                1If we had a c+mIceto reNew the proxy gatemenlbeforeyou bled it, I would lwnv
                         pointedthis Old to you_ So leI tu ngwe oul how we implemenlthis now. Thanks!"

 83.       tHem&r 9. 2(X>3. at 11 :29AM. Fdell emails Chris Lipp, Sheehan,Cadick. Moreau, Brewer, and states.
                                 "Chris, The meeting took place this morning and the board is in the dark about its
                         results. - and
                                 APlease see to it that Nate reports on thc Nasdaq meeting ASAP. I heard that there were
                         some problemalic issues. such as dilution lhut we should have known about with the UP deal.
                         thaI I would love to sort oaI.

 84         Lipp sends a rcvixld Note to VantagePoint und the January Proxy confIrms that indeed, the -Accelerator-was

 part of tIn January 2(XH Foxy material and shanholdus were forced to votc or tx: victims th 'acoclcrated' Note
 scheme.

 85        On Doccmtxlr 17. 2(X)3 at 10:46PM.Brewer emails Fxiell. Lipp. Shehzrn.Flahic. Cmlick. Moreau. Ward
 Mosher and states.

                                  Gentlemen- We will be having our board call tomorrow as scheduled al 4 PM sharp
                          And
                                   "Also. grIer speakingwith some Qflhe board and managementwe think it would be
                          useful to have an in person board meeting neII Tuesday in LA
                                    Tbc meeting will be from 1 041)m and will include Mike Kennedy from WS as well as
                          other lawyers if needed We have several ruliDcations of chants, reports on litigation, proxy
                          conlesl issues. and other howe keeping mallers to take care of "a

 86        Decemtnr 18. 2003- Grcccnspan emails Carlicl     Eden. Mosher. Subjccl     'lnfo'aIUl   states,


                                  -Guys- 1 }wye lots of additional information on the performane of Brett Brewer. Chris
                          Lil)p. and Adam Goldenberg before, dwing. and ajer the rcstatemenl-and "It sheds a wry
                          negative lighl on all of these gentlemen's per.lbrmance n
 DFaXkATK>N INSUPIORT OP \#IIION 7qb14NbICI)\IUft             18
 87.     After gettingsent an email sent by former CEO to non-management boardmembers critical of certain

 managers and oReringto pro\ide information to help Board test evaluateexecutives at company,DirectorEden sends

EH-BCM Document140-2
H-BCM Document  25-2                                                                                          09/0
                                                                                                        Filed 05/0
 such email on to principal executive Brewer. Brewer then passes that email onto Lipp and Goldenberg to intluence
 themto be disloyalwith adwareand othertransgressions against former CEO of Issuer.In Brewer-semail on this date
 to Lipp and Goldentxrg he states.
         "this guy is one of the biggestasshotes that ever lived...thereis no other it'(rp to say it.

 88.     On ThursdayDecember18, 2(X)3, at :46AM, Brewer emails boardand states. '-Genllemen-We wiN be having
                                                   1



 our boardcall tomorrow as scheduled al 4pwt sharp.- "'
 89.    Tbere is no evidence that the Myspace asset sale agreement was disclosedor voted on by the boardat the

 December 9. 2003boardmeeting.While thereis significant evidence therewas a focus accordingto Brewer on.
             1




  modifIcations of charters.reportson litigation, proxy conlest Issues ""1’
 90.     Annual Meetingdate rescheduled on Dcwmber 19, 2003at 4:14PM.Flahic emails LiE>p,Sheehan,

 Carlick. Moreau Mosher.Ward, Brewer, Eden, Subject: ’Filings' and states.

                          "The attachedproxy amendment was fIled today and the attached press release announcingthe
                          new meetingdate was issued.

 THE 2003 DEFECTIVE ' AMENDED XOTE'

 91.     On December 27. 2003. 1.ipp emails Harroch and Sheehan ofVantagePointwith Subject •AmendedVPVP
 Notc' and states, ",45 discussed. please fInd attached for your review an amended note. " and attaches a revised $2.5

 million note that now has ben amended under Section (1 ) ' Repayment ' to change the original due date of March 2005

 to now tx due February 8. 2004 a few days after the planned Shareholder meeting unless 'stockholders of lhc
 Borrower, provide approvals necessary

 92.             The Dcccmtnr 30. 2003 Proxy falsely states:

                           "Pwsuant to the Certibealeof Designationof Series B Preferred Stock. 550 Digital Media
                 Ventures. Inc. ("550 DMV"). an indirect subsidiaryof Sony Corporationof America, thc majority
                 holder of our Series B preferred stock has the exclusive right voting separately as a single class, to
                 elect two directors in the event the Board consists of six to eight members, 550 DMV has nott Bed the
                 Company that it intends to elect Jeffrey Eden to the Bowd and leave one Series B Board seal xacwU at
                 this lilIIe

 93.     Sony had not nodlled thc company it intended to elect Edell as of and thru the date of the Chancery Court trial

 in January 20(A

         The false and defectiveJanuary 2004 Prox} AND PUFFERY OF EDELL {EXHIBIT #6 pg 44-46}

 94,             In January 2004, Vantage scaled control over eUniversc thru one of three Proxy frauds

 peQetuatcd on common stockholders by Carlick, Sheehan, Brewer. Lipp. Rosenblan and associates. 2003.2(X)5

 Flahie who is disloyal along with Brewer in not revealing Eden’s fabricated resume then colludcs with General
 DEC’I.Ah\TIONINSUPPORT OF Mont)N 7qb)+2(b)c(nrl I'.Mrr         19
 Counsel Lipp to knowingly falsit) January 2CX>4.July 20(K. August 2005 Proxies. violating Item 102 Rule SK.

EH-BCM Document140-2
H-BCM Document
 95.            25-2                                                                                    09/0
                                                                                                  Filed 05/0
         fkfendants decide to make detection of the fraudulently concealed Eden true profnsionaI experience

 more difficult and on the [hum U= 30. 2CX)3DEFI+A Proxy. on page 4. tIn comlnny states.

                                            "Jeffrey Eden has served as a Director sInce October 1+. 2003 and as Chairman
                                   of the Board since November 14, 2003. Mr, E:dell is currently a member ofeUniverse's
                                   Comp¤n\ation and Audit Committees. Mr. Eden was employed m President and Chief
                                   Fxecutivc C)Deer and a director ofSoundelw Entertainment Group. inc,. a provider of
                                   ent¤rtuinmt’nt content and lechnologics, from 1995 until 2f)02'

 96. It was part of the Dcfcndants' scheme to use the United Statcs Postal Service to deliver fraudulent SEC

 Proxy to the cUni\-cne(Intermix) Inc. MySpace Parent CompanyShareholders in Dccemtxir 2CX)3, January

 20(A. July 20(A, August 2005. and Septemtx:r 2005 and to conceal the errors contained in the Proxy Disclosure

 Baranentson euh occasion regarding MII and Petitionerin violation of 8 U.S.C . $ 1N 1
                                                                                 1




 FRAUD I'POX THE CII ANCER\ ('OI'RT                     {Erhibit #9, pg. 5244}


 97.     Aller adverse ruling that caused general counsel Chris 1.ipp to admit he had taken several actions

 without e\n getting the criticnl consents needed as required by law to be first approved by the company'sboard

 of directors and/or by Series B Preferred stockholder Sony Corp. These were also shown to be consents that the

 general counsel kTew were in fact rcquind prior to general counsel taking such actions. Ttresc actions were to

 claim consents and waivers were given and then to include the:w in Issuer-s proxy and dcscritx: they had

 oocunrd when in fact such c\ents had never taken place and such waivers or consents had not keen given. llris

 tBhavior and acti\tty was in oourt and in Judge Strine's eros examination shoun to have occurred multiple

 times on multiple dates and thru insertion of such fabricate events into multiple versions of Proxies distributed

 to shareholders leading up to the 2(XY Shareholder Annual meeting thru proxy.

 98.     Judge Strinc was adamant about going on record multiple times during the trial to notify all parties ol

 his views that the testimonyof general counsel Lipp wu not believableas to Mr. I.ipp's raUonaIcsfor certain

 disclosures and statements in the company’sProxy.

 SONY'S SECURITIE$FFh\UD AND AIDING AND ABETI-IN( i BLASllrs \'lOLATION AND AIDING AND
 ABETTI NG FR41' DtP 1, EXT COX \ 1: \ .\RCE

 99.     Sony Music Corp in 2(XH. transwted after a still uncund Federal Securities Violation and dnse

 nFc1 ARATltrNlb SUPPOn'I Ol hg>TION 7qb14z(bIC-C)Nlt bt?1        20
 transactions damaged and fraudulently conveyed assets to the detriment of Issuer shareholders.



EH-BCM Document140-2
                25-2                                                                                    09/0
 100.   Eden’s sauritics   violation makes the Proxy and subsequent 1(X?s and IOKs and next Proxy staremenl
H-BCM Document                                                                                    Filed 05/0
 defective.all caused by Sony Music Corp aiding and abctting this securitiesfraud thru multiple acts in 2003 and

 2004. Most directly by opting after Judge Strinc's January 14. adverse ruling to manipulationsof defendants

 and Sony Corp's interactionsrelating to upcoming 2(XH Proxy Disclosures.

 IOI.   After adverse ruling that caused general counsel Chris Lipp to admit he had taken several actions

 without ever getting the critical consents needed as required by law to be nnt approved by the company'sboard

 of directors and/or by Series B Preferred stockholdcr Sony Corp. Ttrcse were also shown to k consents that the

 general counsel knew were in fact required prior to general counsel taking such actions. Ttrcsc actions were to

 claim consents and waivers were given and then to include these in Issuer's proxy and describe they had

 occurred when in fact such events had never taken place and such waivers or consents had not been given. This

 behavior and activity was in court and in Judge Strine's cross examination.shown to have occurred multiple

 times on multiple dates and thru insertion of such fabricate events into multiple versions of Proxies distributed

 to shareholders leading up to the 20(A Sharcho]der Annual meeting thru proxy

 Shockingly with evidence of Defendant’simpropdeties laid bare in court and significant red nags raised, Sony then

 agrees to nominate Edell to serve as Series B Director. Sony’s aid eliminates shanholden ability to keep Edell ofT

 Board & further conspiringwith Defendants in late 2(XH to complete a sweetheart deal to sell almost half of MySlnce.

 Defendants also breach pledge made with Judge SHine & Petitioner. failing to make corrective disclosure in January

 2004 Prow

 102. [kfendant’s   have also not legally efFected a valid closing or vote on the Series C stock sale or transfer

 from Sony of their Series B shares, blocking public issuer's option received in three way agreement between

 Sony. VantagePoint, and public issuer in 2003. The crooked dealings expand when Orrick uses its insider

 knowledgeto produce a commercialtnnent for VantagePoint while having Issuer pay 100% of the cost by

 paying off Sony debt earlier then due.

 103.    Defendants were aware and admitted the proxy statement was defecti\t in January 2(D4. [X:fendants willfully

 ignore Judge Strinc's ruling and continue to allow A defectiveproxy to be the final proxy for the annual shareholder

 DECI.ARATK)NN SUPPORTOF M)TION 7qb)4ab)coNrFHrr              21
 meeting that occurred in January 2004. Del-endanK fraudulently conceal Edell's work exrxrience and omit disclosure


EH-BCM Document140-2
H-BCM Document  25-2
 of Edell's bankruptcy of MTS. Inc. LXfcndants aid and atM Eden in violating Rule SK Item 401

  ISS REPORT DEFA)L4TIOX
                                                                                                               09/0
                                                                                                         Filed 05/0
 Iaf.    Part of tIn Defendants’ schcmc to conspire to interfere with PlaintifFs livelihood by disseminating

 defamatory statements about PlaintiIT IO the public through media outlets in retaliation for pro\lding         uuthful

 information to SEC. FTC, DOJ and Chancery Court relating to the Dcfcndants' scheme. in violation of§ 1513(f)

 105     Defendants press release titled ""cUntverse           tFins ISS Support .for Its Director Nominees: ISS Rejects

 Greenspun's Hand-Picked Director Nominees, "is published January 23. 2004

                         '’eLlniverse. Inc. today announced that Institutional Shareholder Services. Inc. (W has
                  recommended that eUni\'erse stockholders vote FOR eUnivcrsc's four director nominees – Brett
                  Brewer. Daniel Ebbba Lnu'Tcncc Moreau and Bradley Ward – and vote FOR the Board's other
                  proposals at the Company's annual meeting on January 29. 20(N,

                         •'ISS is widely ncogni/xd as thc leadingindependent proxy advisory firm in the nation.Its
                  recommendations are relied upn by hundredsof major institutionalinvestment firms. mutualfunds.
                  and otherRduciadcsthroughout the country

                           -'ln recommending that cUniverse stockholders re-elect eUnivcrsc’s Board nominees, ISS stated
                  in its January 22, 2004 report that:"

                         "ITIhc dissidentslate does not offer a clear plan to operatethe business that distinguishes
                  themselves from the path of the currentboardof directors.

                        ••Further, we question the indclxndenceof the dissident slate as they were proposed by Mr.
                  Greenspan and Mr. Greenspan\ record as CEO cUniverse is blemished with financial difficulties' n

                            ISS also stated that:

                         "[T]he company’s txiard has independent directors for six out of seven board seats setup
                  independent board committees as of Nov. 14, 2003. and two new directors added after the company
                  announced in accounting problems.

                        -Further, the board has taken steps to improve management of the company by removing Mr
                  Greenspan and initiating the proccss of hiring a new CEO."

                         "In conclusion.ISS believes that "the jeUniversel nominees should have an opportunity to
                  implement plans to grow the business, shore up the company's finances. and find new management
                  leadership.

                         "JefTrey Eden. Chairman of the eUnivcrsc Board of Directors,said. "We are very pleased thaI
                  ISS recognizes that the current Board is Inst suited to successfully guide eUniveru. We look forward to
                  mo\'ing tnyond Mr. GrwnsjwI's costly and counterpmductivc proxy contest and to continuingthe
                  progress we have madc to build a stronger future for cUnivene and all its stockholders."

 DLCLARATION IN StIPPORT OF PtCFIltH 7qb)421b)('Oh   l'LNlrr         22
 106.         However. ISS is basing its rcp(in on the fabricated Eden bio and work experience that was created thru



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 emailing and mailing the ftaudulcnt Proxy prior to the ISS report, in violation of Statue 1341.
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            ISS was not able to WTite an accurate report or reach an equitable conclusion &cause Defendants

 destroyed the evidence of Eden-s true background violating 18 U.S.C. §1512(c)( 1 ) and 18 U.S.C. § 1519.

 /O&        January 23. 2004 press release is defamatory attack on Petitioner and misleads all shareholders, and is

 distributed via wire service in violation of 18 U.S.C. §1343 .

 Los Angeles Times Defamation

 109        Dettndants scheme to use fabricated and false Director Eden continued in a January 29. 2004

 article titled. -Battle of EIJniversc is Up in the Air" that continuesto harm PlaintitT and is locatcd at

 public web link: htlp:,'’aniclcs.latime>L9pm.’200+,'jan,'2PJbusines$u'lj-Ho!£icn29stating:



            "Battle ofEUniverse is Up in the Air
            Michael Hiluik / GOLDEN S'I-ATE/January 29, 20041


            Tbcn's an old jokc atx>ut how universitycampus jI)lines are so vicious tx:cause there's so little at stake
            From that, we might concludethat the proxy fight over the Internet company LUni\'ene Inc. would
            have been more dignified had it concerned an operation that actually turned a profit over the last year
            and didn't spend several months in the doghousc ofa Na:Haq trading suspension

            Instead, the battlc pitting EUniverse's founder and ex4hairman.Brad D. Greenspan against a
            management team that he had largely appointed himself has reached new standards in backbitingand
            \'ltuperahon

            Over the last few weeks. the existing board has hen issuing letters to shareholders with lurid headlines
            such as: -BRAD GREENSPAN– THE THREAT TO YOUR COMPANY’S SUCCESS." and
            "GREENSPAN'S SOUR GRAPES."

            Even the Democrats in New Hampshirebacked away from this sort of campaigning

            The tx)aId accuses the 3(bycarold Grwnspanof employing "empty rhetoric- and "petty personal
            attacks" in order to seize control of the Los Angeles-based company for personal financial gain and
            self-aggmndizement. It notes that the trading suspension and a huge restatement of financial results
            going back to 2002 occurred on his watch

            The incumbentsfurther charge that he tried to torpedo an 58-million private equity deal that they deem
            crucial to the sur\'i\'al of the company. which runs a collection ol'game and entertainment websites
            earning revenue from advertising and memberships.

            Greenspan has tired back in kind. His shareholder letters accuse the officers and directors of conflicts of
            interest %lf<laling and mudslinging.("TI 11:RE THEY GO AGAIN! DO NOT BE MiSIED BY
            INCUMBENT MANAGEMENT’SCON-l-INUING MISSTA'I-EMENTS,OMISSIONSAND
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               IN SUPPORTOl'' \40110N 70(b) +2 th)('oN'l'EMPT 23
          \IANIPULA'I’lON OF THE FACTS IN THEIR EFFORTS TO DIVERT yOUR A'!-'I’ENTTON FROM
          1’HE REAL ISSUES.”)

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          Grecnspan's core charge is that the board colluded with a private venture Hrm to seize control of
          EUnivcrse from the holders of its common shares. of which he owls the largest block. As for its
          financial problems in the last year. he acknowledges that he was chairman and chief executive during
          much of that period. But he says he had left day.to-day operations in the hands of some of the same
          people no\v sniping at him hom the opposite trench, including President Brett Brewer, 3 it a board
          member and his lk)rmer UC'LA classmate

          Under the circumstances. one can only sympathize ulth the 4,CX)o shareholders tx:ing importuned to
          vote for one or another slate of four directors (out of seven) at the company's annual meeting. scheduled
          for today. Both sides say their fIrst order of business will be to hire a professional CEO for EUnh,'crsc.
          obviously an admissionthat no one in place now is up to the job. Both also claim to possess the
          strategic key to restoring EUniverse's former luster as one of the rare. pure Internet plays that worked.”

          The false and defectiveJuly 2004 Proxy {EXlIIBIT         #7, pg. 4&49)

 110.     Edcll's July 20tH Proxy disclosure total]y omits any notion of tnnkruptcy. Eden and defendants later

 after using the fabricated Eden to win the January 2004 Proxy contest attempt thru a lbotnotc. in second Proxy

 distributed in July 2CW, to avail themselvesof the disclosurerequirements they know exists by concealing

 Eden-s tnw background by disclosing:

                                   "Mr. Eden \Tas the Chief Executive (}Deer of Showorta Enterluinmerrt Group. Inc., a
                          Delawarecorporalit>n that later changed its name to Media Technology Scrurce of Delcru'are,
                          Inc. Within two years of the time that Mr. Eden resignedfromI Flat company. it fIled a petition
                          for relief under the United States Bankruptcy Code."

 ] 11 .   However, even with this disclosure of a bankruptcy Edell does not disclose the year that he \yorks for

 Showorks in his main bio area.Combinedwith fabricating the year Eden concludedhis job at Soundelux to

 2002. An informed investor would not be able to deduce that Eden worked for Showorks as CEO in 2001

 before its bankruptcy in 2001. Fdcll misled investors. omitting fact that in 2001 & 2002 he was Showorks CEO

 112.     [X:fcndants are guilty of the destruction or altering of the true Eden background information and work

 experience and bankruptcy by omission violating 1 8 U.S.C. $1512(c)( 1 ) and 18 U.S.C. g 1519

 113.     Defbncbnts violate . § 1341 using email to send fabricated dran Proxy for review furthering scheme.

 2009 FRAUD

 114.     Edcll & Defendants in mid-2009 launch another prong of fraudulent concealmcnt

 115.     New evidence includes i) publicationof a tx>ok by employee loyal to News Corp to fabricate the

 background of Jeff Edell a former Director ii) t ;sing fabricated Eden character to conceal truth that
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 MySpace asset sale documents were not executed until 2004. lllesc sehemcs create a fraud upon the


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 court and keep petitioner and Class members from getting bcnent of fair judicial process.                     09/0
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 11   6. Defendant•s leverage their relationshipwith acquiror to create defamatory and fabricated lies thru

 Angnin•s published in late 2009 book. 'Stealing MySpace' which fTaudUlcntly conceals the true background of

 Eden and scheme to forward a fabricated false resume. misleading CEO to get EdeII onto the Board.

 117.        The Defendants         seek to use the benefits of the Fabricated Edcll resume and scheme to fraudulently


 conceal the fact that the purportedMySpace Asset Purchase document disclosed by Issuer in a 1 QQ filing in

 Novcmtnr 2CXH but that claims to have been signed as of Decemtxr 17. 2003. is fabricated.

 118.        Defendants attempt to leverage the undiscovered fraudulent concealment of Eden’s

 true Professional Experience, by using the resulting pufTery and fake credibility temporarily captured

 by Eden to provide false historical statements to Julia Ang\Un concerning the rationale and reason

 why eUnivcrse would have sold 33% of Myspace.comon [kcemtx:r 7. 2003 to insiders for 550,m.
                                                                                 1




 119.        Defendantshope their final scheme and fraud on Shareholders thru using Edell's false statements

 packaged in a nationally published book strategicallyreleased in late 2009 by a clearly sympatheticemployee of

 acquiror News Corp wIll serve us the final act to permanently fraudulent]y conceal their string of misdeeds

 120.        indeed. Eden is the critical source of evidencefor Angwin on page 84 of her book who lcvemgcs the

 purported credibility of Eden &s then Chairman of eUniveneto claim ntrospectively that indeed the IVlySpace

 Asset sale agreement was signed on December 1 7, 2003 as defendants claim is authentic. Angwin states.

             i.     -By the end of 2003, the cIJni\’cnc txtard had to decide what to do aIx)ut the carnout money it al]egedly
             owed to its now<JefunctResponseBase division. Chris DeWoll'c and Josh Berman argued that they were
             owed dx)ut $+¤X).Cm. EUniverse disputed the figure and according to Chairman of the Board Jeff Eden,
              couldn’t alford it" anyway." (Exhibit # . pg.84 and pg. 298 Rx>tnotes)

             ii.     -On Decem&lr 17. the two sides agreedto a compromise ReswnseBase would trade its earnout for a
             one-third stake in MySpace. llre one-third stake would primarily be owned by DeWolfe and Anderson. with
             smaller stakes shared among MySpace'sBerman. Whitcomb. CoLin Digiado. and Kyle Brinkm4n. -We
             thought we made a great deal txcause we didn't think they had an)rhin8." Eden said.- (pg.84)

             iii.     -Still. the board win divided about the prospect of funding MySpace’s future losses. Board mcmtnr
             Andrew Sheehan.a managing director at VantagcPoint Ventures Partners. proposed a compromise. -Can-t we
             do this with little or no capitaIT' he asked. EUni\'ersc and MySpace agreed to jointly create a budget for
             MySpace, wIth initial fundIng of 550,CX)0.-'(pg. 84)

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 121.    Angwintakes Eden’srenditionof the events as truth aftertwo interviews with Edell,on May 4. 2007


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 and January1 1, 2008.Edell accordingto Angwin states, •-Chris DcWolfe and Josh Bermanarguedthat they

 were owed about$400,000". “EUniverscdisputedthe figure”, and most critically. “couldn't afFord it anyway

 122.    According to Josh Berman basedon his June 6. 2(X)7 interview,'The boardwas dividcd'’and Sheehan in

 his interview remembers thinking -Can’t we do this with little or no capitaIT'

 123.    In\'cstigadonofcUniverw financial conditionduring periodthe Board allegedlyentersinto the Dwunber 1 7,

 2003MySpaceasset sale showsfinancial conditionto be exact oppositeof what defendants claim in 2009

 124.    According to the publicly filed SEC documents. Issuer had over 87.0 million in cash by end of

 December 2003.thereforethe reasongiven by Eden for not paying the disputed monies makes no sense. Eden

 confirmsthe modestamountof $400,000claimed owed by ResponscBase is disputedby the CFO Flahie

 eUniverse is in the business of investingits capital into creatinginternetweb assets. Therefore.defendants

 admit that because the $400.000amountwas in dispute. eUniversc ccould havc beensettled by paying even

 less then $+00.000caIJr. Having raised over $10 million in financingat diluti\’e valuationsin the 60 days prior

 to the allegedsigning of the December 17. 2003MySpaee asset sale agreement. logic would dictate that

 eUnivcrse-s boardwould have \\,anted to continueto o\471 100%of one of its best performingassets rather then

 sell a 1/3rdstake to insiders at a hrc sale valuation.ctJniverscraised capital to invest in its own assets so it did

 not have to sell such assets ofF to raise capital

 125.    Therefore.the Board had a duty to try to keep 1(XP/, of the asset it had just SFnnt time. nsourecs,and

 capital creatingfor benefitof shareholders. Furthermore. MySpacewas a goodcore asset for Issuer and Issuer-s

 businesswas to crmte,own invest in. and olnrate internetassets. (Exhibit: Angwin, pg. 298 footnotes)

 126.    Investigationinto Edell's background after he makes materiallymisleadingfactual statements about

 Issuer-scash on handleads to discovery that defendantsand Edcll ltaudulentlyconcealed Edcll-s true

 Professional Experience because Edell was not quali ned to join etJniversc board.

 DEFAMATORy 2009 Nl,\VS CORP BOOK CREATED USING FABRI(-ATFD EDELL

 127. -That night. Cadick and Brett Brewer had dinner’' and accordingto Carlick in his January

 9. 2007Interview , ''such violent moodswIngswere part of Greenspan's character.

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 128.     Carlick told Brewer, -VantagePoint would not wIre money- until the CEC) was removed. (Exhibit pg. 74)


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 129. In late 2009.defendantswork wIth NewsCorp's Angwin to create a tx>ok called -Stealing MySpace-.TTlis

 book largely promotesa clearly false set of facUito cover up new claims and other liabilitics of Defendants.

 This pcrvcns and corrupts thc Clan’s chance of getting a fair trial. RGRD obsuucts equitablediscovery process

 by ensuringno discovery comes frompetitioner. while using only one source.Julia Angwin. Angwin worked

 for NewsCorp for over two years beforepublishingher book and continues to work for NewsCorp. Angwin

 uses Eden as a critical source, attemptingto explain why Intermix would have sold a big piece of their crown

 jewel to insiders for scant considerationin Dec,cm br of 2003. A signitlcant challengeas Iu;uer failed to

 discloseany such arrangement in any public filings for 1 1 months.NewsCorp. Defendants and RGRD

 fraudulently conceal Edcl]’s background again in 2009and 2010as well as new MySpacesearch evidencewhen

 releasing the book & for thc puQoseof reducingSummaryJudgement claims

 JOINT MOTION TO BAN IN 2010IS INDEPENDENTACT IN SCHEME

 130. Petitionerand classmembersare tx)th harmedby the motionto ban in late 2010which is the 2nd to last

 independent act of defendants. defendant’scounsel. and RGRD in the o\'era] I ttaudulcntconcealment effort that

 seeks to obstructthe higherdamages and liability based on the facts and claims and evidence that 70 1 lay

 witnessseeks to enterinto this case. RGRD knew lxtitioner was valuableFederal701 lay witness for the Class

 in April 2009.October2010.and May 201 1 as RGRD filed pleadingswhich aided and abetteddefendant's

 efforts to ooverup & obstruct new evidencefromenteringthis case. RGRD was notified by petitionerof new

 evidence on multiple occasions such as in July 20 1 0 wgmding: i) Heckman'sadmissions in Angwin book about


 the Search auction timing and economics of January20% Microsoft bid ii) value of missing MySpaceSearch.

 131. An independent scheme by defendants is 2010 joint motionto brief the motionto ban Brad Grwnspan.Tbc


 stated goal is to precludepetitioner.Bro\\n & R(;RD tic thru omissionof relationship and agreements with petitioner.

 I declareunderpenaltyof perjury that the foregoingis true and corrcctand that this declarationwas executed

 this 2'+th day of Decemtx:r at Los Angeles.California.




                                                           Brad D. Greenspan
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                                In connection with the preparation by eUn}ruse, Inc, (the "Compny") of its Proxy
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       down as the Company's ChIef Exec utF,re Officer and, although still a
       member of the Company's Board of Directors, will no longer serve as
       ChaIrman, Brett Brewer, the Company's PresIdent. wIll serve as the
       Company-s princIpal executfve atTIC er as the Company evaluates
       crE D candidates. eUntverse also announced the recent addition af two
       new members to its Board of Directors, Jeffrey Edell and Bradley G , Ward
       E doll, a bA/enty-four year industry v ateran, r8places Thomas Gewecke
       who, since October of 20CJI , served on the Company's Board as the
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       Mr E dell's achievements include having served as President/CEO &
       Director af Soundelux Entertainment Group, Inc. , a leading provider of
       entertainment content and technologies, where he ovorsaw grov\dh in the
       company's revenues from $1 5 million to $1 1 O million over a 4-year period
       S Oundelux was recognIzed with 5 Academy Awards and over SO Emmys
       WhIle at SaundeILU , Edell initiated. negotiated and closed the sale of the
       company's post productIon group to John M alone's Liberty MedIa Group
       resulting in the creation of Liberty Livewire, a Liberty Media Group
       subsidiary company. Additionally. Edell served as Founder, Director and
       CEO of eLnbor, Inc., which was sold to ADP in February of 2003
       Prey iously. Edell sat on the Board of publicly traded IVC IndustrIes. Inc
       helping to navigate the sale of that company to Inverness l\dedlcal
       In 200CI, Eden was named, "Entertainment Entrepreneur af the Yaar," by
       NAS QAa and Ernst and Young and is presently a member of the Acaderw
       of TelevIsion Arts & ScIences, the A caderTry af Motion Picture Arts and
       ScIences and the Y aung Presidents' OrganIzation. Edell obtained his
       CPA while at KPMG and is a graduate of the M clntire School a{
        CQryvy\erce of the University of Virginia




  -This is a very exciting period for eUniverse," saN B rett Brewer. the

  Company's President. "Brad Greenspan led our team through some veIT
  excithg trres, and we are thriHedat all weVe been able to accoITplSh
  during hIS tenure. JeR Edell's expeHence in building top-performing
  c reatbe and corporate teams through a combination of superior exec utM e

  leadwshipand strategic rrergers and acqubitbns, aId Braljgy Ward's
  strong tiesto the gaming communiV. wiN be a boonto eUniverse and help
  the Company mwe foIward and pursue the opportunitb s that lie ahead."




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 For instancc. Defendants fail to disclose the bankruptcy in Decemtnr 1 1. 2013 8k. creating ongoing

 Securities violation that defendants should all be held in contempt for until corrected

 -Item 6. Resignations of Registrant’sDirectors

 On Dcacmber 1 1, 2003. Brad Greenspan resigned from his position as a director of eUnivcrsc, Inc, (the •'Colnpany”), A copy of his
 resignation letter addressedto JefFrey Eden. Chairman of the Board of Directors (the “Board") and Brett Brewer. President of the
 Company_ in which Mr. Grmrrspan descritnd his disagrtumcnts with the Board is attached hereto as Exhibit 99_1

 In his resignation letter, Mr. Greenspan makes a number of assertions as reasons for his resignation. He disagrees with the
 Board's decision to not nominate him for election at the Company’supcomingannual stockholder’smeeting and his removal as
 Chairman of the Board. He also asserts that certain directors have taken actions to entrench their positions on the Board and violated
 their fiduciary duties to tIn Company and its stockholders. Mr. Greenspan also expressed his di$agrwrncnt with the Board's approval of
 a financingtmnsaction wlth atTiliatn ofVantagcPoint Venture Partners. In addition, Mr. Greenspan expressed his disagreement with
 ccnain actions taken by the Board in connection with the upcoming annual stockholder’s meeting, including the adoption of a bylaw
 provisionrelating to advance notification ofstogkholderproposals. a reduction in the nulnber ofdiregtor nomineeseligible for election
 and the nscheduling of the stockholdn's meeting to January 21 . 20(H with a rwcord date of Deoemtvr 1. 2093

 The Nominating and Corporate Governance Committee of the Board recently informed Mr. Greenspan that they did not eonsider him
 fit to serve on the ('ompdny’s Board and the Board decided not to include Mr. Grwnspan in the Board's proxy for the January 21. 2004
 stockholder’s meeting. Tlre Company believes that Mr. Gregnspan's assertions in his letter of resignation are not factuat and result from
 the Board's request for his resignation as Chief Executive Officer and removal as Chairman of the Board

 item 7. FinancialStatements, FinancialInformationand Exhibits (c)
 Exhlhlb Description
 99.1 1.otter. dated December1 1 . 2003. from Brad Greenspan to JefFreyEdcll. Chairmanof the Board of Directors
 and Brett Bre\ver. President ofeUniversc. Inc.




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 Tbc following press release was isstnd January 26, 2(XH .
 FOR IMMEDIATE RELEASE


 EUNIVLRSH URGES s'rocK}IOLDLRS TC) VOTE WHI-FE PROXY CARD
 Issues Open I_otter
 I.OS ANGELES.January 26. 2004 - eUniverw, lac. (OTC:EUN I.PK) today issued the following open letter strongly urging all
 stockholdersto vote FOR the Board’s director nominees – Bren Brewer. Danicl Mosher. LawrenceMoreau and BRIdle)’ Ward and
 reject Bmd Greenspan’s hand-picked director nominees by signing, dating and ntuming the WHITE proxy card today
 January 26, 2004
 Dear eUnivcrsc Stockholdcr
  Pcltraps in talking to eUnivcM stockholders.Brad Gnenspanhas realized that his pwlnned reasons for enB.aging in this Foxy
 contest are falling on deaf ears. It now appears that in a last ditch attempt to gain support for his han&pickeddirector
 nominees, Mr. Greenspan has resorted to what we see as petty Fnrsonal attacks on your Board and has continued to issuepress
 releases littered with inaccuralc infbrmation
 Don’t be fooled by Mr. Greenspan’s empty rhetoric. Protect your investment. eUniverse'sannual meeting is only days
 away axl the outcome could signifimntly impact the value of your investment and the future of your Compirny. We urge
 eUnivenc stockholders to focus on the facts - not Mr. Greenspan-s distortions – andvote the WHITE proxy card FOR your
  Board's four director nominees and di$oard all blue proxy cards that you may receive fromMr. Greenspan
 Time is short. If you have any questions about voting or nccd otherassistance. please call Mackenzie Partners, Inc.. the Hrm
 wsisting us in the solicitation oF proxies for our annual meeting of stockholders. toll-free at 1 (800) 322-2885 or collect at
  1 (2 12) 929-5500.
  ELQyIVERSE'S DIRECTORNOMINEES ARE EXPERIENCLD IN OUR BUSINESS
  fhe eUnivcnc Board remains committedto doing the right thing for ALL eUnivene stockholdcni. and we have been working
 diligently to address the challenges arising underMr. Grncnspan’s leadership. Importantly.we are making meaningfulprogress.
  In distinct contrast to your current Board, Mr, Greenspan'snominees have NO prior experience with the Company’sbusiness,
 NO direct understanding of the ghalleng6that arose underMr. Grwnspan'sleadership and NO direct understanding of the
 Company’s efforts to address these challenges.
  Further, we question whether Mr. Greenspan's hand-picked nominees have the objegaviv rwuired to act in the best interest of
 ALL eUnivcwcstockholders,especial]y consideringthe fact that one of Mr. Gnenspan'snominees is being paid $5,000 per
 month by Mr. GreensFnnfor consulting services in connection with his proxy contest. But don’t take our word for it.
  Institutional Shareholder Services. Inc. (ISS). the nation-s leading independent proxy advisory firm, stated in its January
 22. 2004 report that nx question the indefnxknw        of the dissident slate as they were popond by Mr. Greenspan and
 Mr. Greenspan'srecordas CEO of eUniverbc is blemishedwith financial difTicuhies.-’+

 GREENSPAN'SSOUR GRAPES
 The eUnivenc Board and man,rgement team are implementing a strategic plan focused on the Future for the benefit of ALL
 stockholders. While Mr. Greenspan has attempted to mislead you atxlut the Board’s independence, ISS has no doubts. In
 rcoommending that stockholdersvote FOR eUnivcne's director nominees, ISS stated in its report that 'The company•s
 tnard has independent directors for six out of seven board seats,setup independent board commiuees as of Nov. 14. 2003. and
 two new directors added after the company announced its accounting problems.
  Unlike many otherboards that have tx:en criticized for not exercising independent judgment. your Board has made difficult
 decisions and has stocxl up to and removed a dominatingChief ExecutiveOfficer and founder who, in our view,treated
 cUniver= like his own private company.ISS supporb thc decisions we are making
  In its report ISS stated that “the [eUni\'enel board has taken steps to improve management of the company by
 removing Mr. Greenspan und initiating the process of hiring a new CEO."
 And don-I forget- as Mr, Greenspan appears to have fbrgotlcn ' - that Mr, Greenspan personally recruited all of the Board's

 DECLARATIONINSUPPOR r OF MOTION7(Xb)42{b}CONTENtn                  6
 director nominc6. It was only when thne same dirwtors challenged his dominancethat Mr, Greenspan attempted to oust them
 GREENSPANDROPPEDHIS CLAIMS AND ESSENTI ALLY ABANDONED HIS 1.AWSUIT


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H-BCM Document  25-2                                                                                                09/0
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 In his proxy materials, Mr. Gucnspan spends a great deal of time describing the claims he made against eUniver\ie in his
 litigation. What Mr. Greenspan failed to tell you is that just days before he mailed those materials to you, he dropped those
 claimsand essentiallynbandoncd his lawsuit
 Mr. Greenspan has caused your Company to spendconsiderable sums of money and management resourca defending eUniver5e
 and your Board against Mr. GncnsFwr’sbaseless and costly claims. Yet. Mr. Greenspan has thrmened to again assert moir
 claims. Ask yourself. how are Mr. Gruenspan's threaD in your M interest?
 SOME 'l'HINGS ARE Cl.FAR
 TIIE VANI-AGEPOINI' -FRANSAC'FIONWASTHE RIGHT TRANSAC'['ION
 ISS agrccs that the VantagcPointtransactionwas the right transaction.In its report, ISS stated.Kwe agreewith the company 's
 decision to go with an altunative that offeredmorethan 52.5 million in capital basedon the company’s liquidity position.H
 It's clear to us that your Board did what any responsible Board would do – it negotiated the best deal it could on behalf of all
 stockholdcr\
 TIIE STAKI IS ARE llIGH
 DON’T RISK THE FUTURI; OF YOUR COMPANY
 VOTE FOR YOUR BOARD'S DIRECTOR NQMINEES
 Under Mr. GrwnsFnn-s stewardshipas Chairman and Chief ExecutiveOfFicer. eUnivcrsc restated its financial rcsulb; was
 subjected to an informal inquiry by the U.S. Securities and Exchange Commission; was delisted from NASDAQ: and was sued
 by stocldrolders in various class action and derivative lawsuits
 Now underthe current Board's leadenhip.we have started to distance the Companyfrom those issues and build the foundation
 for a stronger future.However. we are concerned that a vote for Mr.
 the past.
 Vote FOR a stronger future. Vote FOR your Board's director nominees on the WHITE proxy card.
  riM[ IS SI 10R   1




 Whether or not you plan to attend the annual meeting. please sign, date and Btum the WllITE proxy card TODAY and
 discard all blue proxy cards that you may receive from Mr. Greenspan
 IF YOU HAVE ANY QUESTIONSABOUT VOTING OR NEED OTHER ASSISTANCE.PLEASE CALL MACKENZIE
 PARTNERS.INC..THE FIRM ASSISI ING US IN THE SOLICITATION OF PROXIES FOR OUR A)aL'AL MErrING OF
 STOCKHOI,DERS, TOLI..FREE AT 1 (800) 322-2885 OR (-C)1.1.ECT AT 1 (212) 929-5500.
 On behalf oFyour Board of Dirccton\, I thank you for your continuedconfidence and support.
 Sincerejy
 /s/ JeffTev F:dell
 Chairman of the Board of Directors




 About cLJniverse
 cUnivene, Inc. and its subsidiariesown and operate a compelling collection of predominantlyonline businhsscs engaged in interactive
 entertainment, electronic comrncrte and publishing, and diroa to consumer mwlcting. Tbc Cornpany's many popular cksdnation
 websites attract millions of visitors who view,share and interact with eUnivene content, and who purchase an array ofproducls and
 sen'ices horn cUniverse and its advertisers. The Company's holdings include the following: l-'lowgo (www,flowgo.com). the
 Company’stlagship entertainment Web site: comedy site MadBlast (www.madblast.acm); dating site Cupid Junction
 (www .cupidjunction.com); GamcIJniverse. which includes online computer gaming sites Case’s I.adder (www.Casesl,adder.com) and
 Skill Jam (wwu.SkiILJam.com);and one of the largest e-mdl newsletter portfolios.deliveringcontent daily to many millions of
 subscribers with such titles as Infobeat, IntclligentX andGossipFlash.
 Further Information
 I’he Companyhas filed a dcnnitive proxy Ualcmcnt with the U.S. Securities and Exchange Commission(SEC) relating to its annual
 meeting of stockholders on January 29, 2004. Stockholders of the Company are advised to readthe Company’s proxy statelncnr for
 the annual meeting because it contains important information. The Company's proxy statement for the annual meeting was mailed to
 stockhol cbn of the Compny. StockhokIcuand ottvr inkTCsred parties may obtain free copies of the proxy statement and ottnr
 documents tIled by the Company with the SEC through the website maintained by the SEC at http:/.'www.sec.gov. These documents
 may also be obtained free of charge by contacting MacKenzie Partners, the firm assisting the Company in the solicitation of proxies.
 toll free at t 1-800-322-2885.
 For moreinformation.pIc&se contact
 Tbomas Flahic ofcUnivcrsc. Inc.. + 1-31Cb2 IS- 1001. ext 101. tflahie@eunivcne.com




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 EXHIBIT #7




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 SCHEDULE 14A INFORMATION
 Proxy StatementPursuantto Section 14(a) of the
 Securities Exchange Act of 934             1

 Filed by the Registrant ! Filed by a Party other than the Registrant "
 Chock the appropriate box:
 " Preliminary ProxyStatement
 " Confidential. for Use of the Commission Onty (as permitted by Ru]e 14a4(c)(2))

 Definitive ProxyStatement
 " Dellnirive Additional Materials
 ’ Soliciting Materia] Pursuant to $240.14a- 12
 Intermix Media. Inc
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 (Name of   Ihnwnls) Films Proxy Salcmcnt if Other nun the Rcgisuant)
 Payment of Filing Fee (Check the appropriate box)

 No fee nx]uind.
 " Fee computed on table below per Exchange Act Rules 148-6(i)( 1 ) and 0- 11
 1. Title of each class of securities to which transaction applies
 2. Aggregate number of securities to which transaction applies;
 3. Per unit price or otherunderlyingval ug of turnsaction computed pursuant to Exchange Act Rule 0-11(set forththe amount
 on which the filing fee is calculated and state how it was determined):
 4. Proposed maximum aggregate value of transaction
 5. Total fee paid
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 The Board canfulty considers all sto¤kholder proposals. When adoption of a stockholder proposal is clearly in the best interest
 of our Company and our stockholders, and can be accomplished without stockholder approval, the proposal is irnplcmcntcd without
 inc]usion in our proxy materials
 Communications with the Board of Directors
 TIle Board has established a process for stockholdersto communicatcwith members of the Board. If you have any concern
 question or complaintregarding our compliance with any policy or law. or would otherwise like to contact the Board. you can reach
 the Chairman of the Board, Jefttey Eden. via email at jedell.directolfaIintermixmedianom
 Proposa] I - To Elect Six Directors to Serve Until the Next Annual Meeting of Stockholders
 Nominees for Elcction of Directors
 The Board proposes the eleclion of Richard Rosenblatl Brett Brewer. Daniel Mosher, Lawrence Morean JefFrey Edcll and
 James Quandt ils Company dirwtors. each for a termof office that runs until the 2005 annual stockholder'smeeting and until his
 successor has been elected and has qualified. Each of the nominees has served continuously on the Board since the date indicated in
 the table below. There are no family relationships among our diructon; and cxccutivc officers. The Board knows of no reason why any
 nominee may te unable to serve as a director. if any nominee is unable to serve, the sharesrepresented by all valid proxies may tu
 voted for the election of such other person as the Board may recommend
 Pursuant Lo Lhc Cuti acute of Designation of Series C Prcfcncd Stock, affiliates of VantagcPoint Venture Partners
 (dVanugePoint"), the sole holdl’rs of our Series C preferred stock, have the exclusive right, voting separately as a single class, to elect
 two directors, VantugcPointhas notified the Companythat it intends to n-clcvt David Carlick and Andrew Sheehan to the Board
 Company Directors are elected by a plunJity of the votescast at the annual meeting. Plurality meansthat the six nominees who

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 receive the largail number of votes cast "FOlt- are elected as directors. You may not cast your votes for more than six nominees
 Votes withheld and broker non-votes will be counted in determining the presence of a quorum but will not be counted in determining



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 the outcome of the election

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 Recommendation of the Board:
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 The Board recommends a vote -FOR" the election of directors Richard Rosenblatt. Brett Brewer, Daniel Mosher.
 LawrenceMoreau. Jeffrey Eden and James Quan(it
 TIle namesarxl ages of the nominees. their pincipal ouupahonsor employmentduring the Fist five years and otherdata
 regarding them. based on information received fw)m the respective nominees, are set forth below
 A#
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 Director Smu

 Directors nominated by the Board:
 Richard Roscnbtatt 35 Chief ExecutiveOfficer, Intcrmix Medi&Inc. February23. 20W
 Brat Brewer 32 President IntermL\ Media, Inc. August 29. 20tX)
 Daniel Mosher 31 Director, Corporate Development. Verisign. Inc. December 8, 1 999
 LawrenceMoreau 61 Chairman,Stone Mountain FinancialSystems, Inc. May 27. 2003
 JefFrey Edell
 +6
 PastPresident and Chief ExccutiveOfTicer.
 Sho\yorks EntertainmentGroup, Inc. October 14. 2003
 James Quancit 54 Partner. Highland Partners June 1 . 2004
 Directors expcaed to te elected by an Series C stockholders
 David Cadick 54 Managing Director, VantagePoint Venture Partners October 31. 2(X)3
 Andrew Sheehan 46 Managing Director, VantagePoint Venture Partners October 3 1 . 2003




 Jeffrey Eden has served as a Director since October 1 +, 2003 and as Chairman of the Board since November14, 2003. Mr. Edell
 is currently a member of the Compensation and Audit Committees. Mr. Eden was employed as President and Chief Executive Officer
 and a director ofSoundelux Enleruinmcnt Group. Inc.. a provider of entertainmentcontent and technologies. from 1995 until 2002.
 From 2000 to 2002, he was a Director of IVC Industries.Inc. (IVf). a manufacturerof vitamins and supplements. Mr. Edell was also
 the founder. in 1984, ofeLabor, Inc., a developer of time and attendance software, where he served a the Chairman and Chicf
 ExecutiveOfficer until 1 99 1 and a Director to 2003. From 1995 to 1 999. Mr. Eden was the President and ExecutiveProducer of
 Hastings,'Edell Productions. Inc„ an independent film company, and from Im! to 1 995. he was a partner at DF & Co. (subsequently
 Century Business Sewioes, Inc.). an accounting and tax services firm. Mr. Eden became a Certified Public Accountantwhileat
 KPMG and he holds a B.S. degree in Commerce from the MclntiR School at the University of Virginia. Ernst & Young and
 NASDAQ named him Entertainment Entrepreneur of the Year 2(X)0.He is a mem Ur of the Young Prwidents Organization. the
 Academy of Motion Picture Arts & Sciences and the Academy of Television Arts & Sciences

  Mr' Roscnb]an was the Chief Executive Oftlcer ofdrkoop.com. Inc., a Delaware corporationdoing business as Dr, Koop
 LifeCan CorTx>ration, within two years of the time that company fi Sed a Fntition far relief underthe United StatesBankruptcyCcxk.
  Mr. Edcll was the Chief ExecutiveOfficer of Showorks EntertaInmentGroup. Inc., u Delaware corporationthat later changed its
 name to Media TechnologySt>urgeof Delaware. Inc, Within two years of the time that Mr. Edcll resigned fromthat company.it filed
 a petition for relief under the United States Bankruptcy Code.

 InformationRelating to Directors,Nominees and ExecutiveOfTian
 Board of Directors Meetings and Board Committees
 The Board held 38 meetings during fiscalyear 20(H. Eachmember of the Board during fiscalyear 20(Pt attended at least 75%of
 all B®rd meetings held during tIn IKriod thar tw was a director. In addition, ach member of the Board during fiscal year 2(X)4
 attended at least 7S'/• of all Board committee meetings on which he served during the period that he served on the committee,
  Information
 Name          about
      of i ommrttee zrnd the Audil Compensation and Nominating Committeesis as follows
                         blcmtxrs

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 AuditCornmittoeIR
 Daniel    Mosher       II I

 Thomni     Gewecke            ¤11

 Inwrence     Moreau+            131

 Jeffrey l+apin ul
 Jeffrey Fxiell ish

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 During fiscalyear 2004, the Board acted by wrincn consent on 4 occasions and the Comlxn%ibn Committeeacted by written
 consent on 2 occasions.


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 * Chairman

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 EXHIBIT #8




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 Delaware-
 Greenspan Vs. Brewer, Carlick, VantagePoint
 Vice ChancellorLeo Strine



 THE COURT: is the company – is the Series B – is part of your contention the way the SerIes B seats work
 now, that there isn't any contemplatedrole for the board to be nominating someone, anyway, for a B slot?
 Mr. WALSH: Yeah. i mean, I think that's what it boils down to. ObvIously,when this – the deal was negotiated
 with Sony, they wanted representation on the Board. And they got representation. And what it comes down to
 Is if they don't want to avaII themselvesof that board seat, they don't have to. But the board is or-- should not
 be in a position and can't appoint Sony seats.

 Mr. WALSH: I thInk what is very clear from the testimony that we have acquired is that the board never –
 neither the nominatIng commIttee nor the board ever formally sat down at a meetIng and said, -Mr. Moreau and
 Mr. Edell are going to be Series B directors." That was a decision made by the general counsel without the
 Input, knowledge or prior approval of the board.

 MR WALSH: What happened at the board meeting on October 6th was the board appointed Mr. Edell. Sony
 dIdn't consent. And in fact, the consent they got is more than a month after that.
 THE COURT; More than a month after that in what sense?
 MR. WALSH: Well, Sony never gave priOr approval to having Mr. –Mr. Eden is not a Sony-affiliated     individual



 THE COURT; what is going to be most important to me know is – from both sides, is to understandexactly how
 Mr. Edell got on the board, and whether validly appointed or not. You can always have a disconnectbetween
 what people consciously thought they were doIng, for example, thinking they were sliding him into the Sony seat
 -- may be something that the board believed it could do, but it may be something that }t could not do. So I
 understand- I want to say that is obvIouslythe thing that is weighing on my mind most. That is the only issue
 in the case sitting there.-

 Q And how is it that the companysatisfIedthat provisionin the appointmentof Mr, Edell to fill MR, Gewecke's
 seat?
 A. Throughthe affirmatIve vote of Mr. Gewecke, as well as through the consent.
 THECOURT;When was this document signed?
 A. My guess is it's on or aboutthe date indicatedin the fax notatIon. I don't know when it was signed. I just
 know it was received.
 THE COURT: But at least a month-and-a-half aner the October 6 meeting?

 THE COURT: where are you all deriving the authority of the board to fill a vacancy in a Series B seat?
 MR TEKUTS: Well, do you want me to respond to that, or do you want CHRIS DPP--
 THE COURT: He is the general counsel. Yeah. He is the one who orchestratedthis. I would like to know where
 In the corporatedocuments there is anything IIke this?

 THE COURT; So this is a proxy embeddedin a written consent?
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 CHRIS LIPP: I wouldn't can it that. I would really think of it more as a consent, but--
 THE COURT: well, it's – it gIves the board the voting power that belongs to Sony. Right?

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                25-2                                                                              09/0
 CHRIS LIPP: Yes. Except it doesn't – I'm sorry.
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 THE COURT: Doesn't purport to limit to any extent. Right?
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 CHRIS LIPP: it limits it to the extent of the manner in which the board would consider filling a vacancy generally

 THE COURT; Right. If there is a vacancy-you are not contending this was a vacancy which any of the corporte
 Instrumentswould have given the board the right to fill
 CHRIS UPP; That's correct
 THE COURT: Was this essentially you all knew that you goofed on October 6th? You needed to fix it?

 CHRIS LIPP: I don't think it was that we knew that we goofed, because my understandingin discussions with
 counsel was that, you know, whether or not this was required is a debatable Issue, but under Delawarelaw--
 THE COURT: Tell me the debate. Give me a little flavor to the debate. I don’t have much flavor here. Says –
 certificate designation. Mr. Gewecke resigns. Then the – his replacementis selected in the manner provided for
 the election of Series B director generally, which is by a vote of the Series B directors. I mean Series B
 stockholders, no directors. The board has no role to play in this at all. Except perhaps facilitating notice to the
 Series B, if they somehowdon't know their representativeresigned. So that's what the certificate of
 desIgnation said. And yet the board purporrts to fill the vacancy in the Series B slot created by MR. Gewecke's
 resIgnation. Where in this – wherein dId the authority lie to do that on October 6th?
 CHRIS LIPP; I guess there is one of three ways that I have thought about it, and that I think are relevant

 THE COURT; what if MR. Gewecke voted no. The resolution would have StIll passed? Everybcxly else's votes
 stayed the same.
 CHRIS UPP: it would have passed and we would have required the consent of the holder of the Series B stock.
 THE COURT: Mr. Gewecke wasn't acting as a stockholder, was he, or a proxy holder?
 CHRIS UPP; For 550 DMV?
 THE COURT: Correct
 CHRIS LIPP: I think he was an authorized representative.
 THE COURT: Wait. You are general counsel of this corporation. This is a board vote. Was he sitting there acting
 as a proxy holder for the stockhOlders, the Series B stockholders?
 CHRIS LIPP; Your Honor, in reality '
 THE COURT; Not in reality. In law. What did you understandas general counsel?
 CHRIS LIPP: My understandingis that the board, including Mr. Gewecke, identifiedMr. Edell as a suitable
 replacement for MR. Gewecke
 THE COURT: As directors, they dId that. Correct?
 CHRIS LIPP: Correct. And Mr. Gewecke. as a Series B director.
 THE COURT: They voted as directors to nil that vacany.
 CHRIS LIPP: Correct.
 THE COURT; And that violated the certificate of designation. Did it not?
 CHRIS LIPP: They weren't empoweredas the board of directors to fill that vacancy. I agree with that.
 THE COURT: As oF that date, Mr. Gewecke couldn’t have even pulled out of his pocket a proxy that gave him the
 voting power for the Series B. Could he?
 CHRIS LIPP: Mr. Gewecke may have been authoRizedas the executive of –
 THE COURT; Did he have a proxy, to your knowledge?
 CHRIS LIPP: in writing? I have never seen one. I don't know what his authority was, Your Honor. That's –
 THE COURT: Do you believe people have oral proxies?
 CHRIS LIPP: No.
 THE COURT: Let’s take our break


 MR. SHANNON: but he also testIfied .- this is Mr. Eisenberg-- as the authorized representativeplantiff Sony., he
 dId not in fact approve the replacementof Mr. Gewecke by Mr. Edell
 MR. SHANNON: -Question: But it was Sony'sintent that when Mr. Gewecke resigned, at least until the aCtIOn
 you're refenng to now, that would not have any designeeson the eUniverse board correct? "At the time that I
 signed this document" – that's the November 18th consent - "we did not Intend to replace Mr. Gewecke on the
 board. "Question: So there would be no Series B eUniversemembers on the board correct? "Unless there were
 other Series B shareholderswho had the right to nominate a director. I don't believe there were any. "QuestIon:
 WeIll thIs is an action and written consent by the sole Series B stockholder, so at the tIme you signed this, you
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 thought that 550 DMV was the sole- –It says 'whole Series B stockholder; correct?
 -Correct. -So Sony would be the sole stockholderwho had the rIght to elect Series B DIrectors; correct?
  Correct

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 "Question: And at the tIme you signed this, it was Sony's intentIon not to have any SerIes B dIrectors on the
 eUniverse board correct?
 'Correct- –or -Answer: Yes.'
 -And you advised the company at the tIme you SIgned this that it was Sony's Intention not to have any directors
 on eUniverse's board ; correct?
 -Correct" – or "Answer: At the time this was signed, yes."
 And once again, Your Honor, as the testimony has shown, this was signed on November 18th. I just wanted to
 dearify that

 Q. And just so the record is clear, if you had thought as of October6th that Mr. Geweckewas authorIzedto
 express 550 DMV's consent to Mr. Edell filling the Series B seat, why is it that you went and got the consent that
 is identIfIed as Defendants'Trial Exhibit 40?
 A. For the – for the purpose of not having the debate that we're having today, WhICh was to make clear that the
 Series B holder was consentingto the action that OCCurred.

 Q. Did someone at Sony convey to you at some poInt that Sony no longer wanted one of their employees to fill
 a seat on the eUniverseboard?
 A. Sure, yeah. That was –came up in several dIscussions.
 Minutes
 Q. As secretary of the company, I understandthat you draft the mInutes of the board of dlreclors' meetIngs?
 A   Yes
 Q. Okay. How many board meetings have there beensince November20th we're talking about?
 A. I--I'd have to refer to notes,but ballpark, I would say maybe three.
 Q. And how many of those meetIngs have been reduced to minutes?
 A. I don't think any have. Since November 20th we're talkIng about?
 Q   Yes

 A. Right
 Q. Yes. As a matter of fact, the November 20th minutes are still in draftform, aren't they?
 A. The typewritten is VIrtually in draft, that's right.

 Q. Okay. So your notes say -nomInatIngcommIttee recommendsJeff Eden to board.- Do you see that?
 A. Yes
 Q. Okay. I don't see anythngin your mInutes about Mr. Edellbeing a SerIes B director. Wasthat omItted for
 some reason?
 A. Wasn'tomitted for any partICUlar reason.
 Q. Okay. So you would agree WIth me Fs possible that, at least based upon your minutes, and you were the
 reCOrdIng secretary, there may not have even been a dISCUSsion about whether Mr. Eden was going to be a
 Series B director.
 A. I -yeah, it – not in those terms necessarily,although, as I said, I don't specifically recall the discussion. The
 -- the gist of it, from my recollection, is that he's being brought on to the board to --to replace Mr. Gewecke.
 Q. Your notes indicate there was a vote five for fIve for, zero against. What does that refer to?
 A. That would be the vote of the board as to whether Mr. Edell should sit
 Q. Uh-huh. Does the board of directors get to vote on SeriesB directors?
 A. TypIcally no.
 Q. In fact, if a Sony boardmember resigns, the only person that can appoint that – a new Sonyboard member
 to fill the slot is Sony itself; isn't that true?
 A. Ttle holder of the – the Series B, that's rIght
 Q. Okay. And, in fact, what happened at the October 6th meetIng is that the board of directors voted to appoInt
 Mr. EdeN as a director.
 A. They approved Mr. Edetl, correct
 Q. As far as you recall, there was no discussion aboutwhether Mr. Eden was in fact being slotted as a SerIes B
 to replace Mr. Gewecke isn't that correct?
 A. AsIde '- aside from the fact that he was beIng appointed to '- to replace Mr. Gewecke, rIght.

 BY THE COURT: But–wait a mInute. I just want to be clear. Your testimonyis that the board of dIrectors
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 appoInted Mr. EdeN?
 A. They approved him and ' . I don't mean to be cute, honestly.

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                25-2                                                                             09/0
 Q. What does -approved- mean,then? You tell me what your understandingof -approval"means underthe
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 Delawaregeneralcorporationlaw, SInceyou were generalcounsel of a Delaware corporation. You tell me what
 you understandthat to mean.
 A. Thatthis was somebodythat the board of directors believedshould be electedto the board
 Q. Okay. So he didn't join the board.
 A. That's correct. he didn't
 Q. He dId not.
 A. Correct
 Q. So he dId not become a director on October 6th is your testImony.
 A. No. He was seated actually on October 14th, if I'm not mistaken.
 Q. Howdid he get seated?
 A. Thatwas when he agreed to come on board and his compensationhad beenworked out.
 Q. Well,how did he get appointed?
 A. That was basicallyleft to me to figure out. And my understandingwas that he was to replaceThomasin
 Thomas'seat.
 Q. But there'aa gap here. What --who or what appointed hIm?
 A. The – the SeriesB stockholder,I beIIeve, appoInted him.
 Q. In October?
 A   Yes
 Q. When in October?
 A. This relates to back of what we're sort of struggling with.
 Q. I'm talking about in October.You're saying to me now that the boardapproved Mr. Edellas someoneit
 beIIeved was qualified and should be on the board, That's what the 5-0 vote means correct?
 A. Yes
 Q. But that was not an appointmentof Mr. EdeN to the board. Correct?
 A. That's IIght.
 Q. And how did he get appoInted agaln7 Mr. Edell–Mr. Gewecke dId what?
 A, There's no question that I was left to divine the intent of the board.
 Q. Well,not the intent of the board. You've alreadytold me what the board did and what you believe it only
 did. What did Mr. Gewecke– and then you add that Mr. Geweckedid something. What did he do and when did
 he do It?
 A. Is vote in favorof Mr. Edell is the action I'm refering to on the part of Mr. Gewecke.
 Q. Thatwas the appoIntment?
 A, Well,again, I'm tryIng to reconcilewhat happened WIth the Intent of the board. And so it was--
 Q. Not the intent of the board. You're makIng a distinctIonbetween approval and appointment, and I’m trying to
 understand.The board said, "This is a good guy, We think he should be on the board.- That was a 5-nothing
 vote, Mr. Gewecke voting as a director. I asked you how did he get appoInted. You told me he actually dIdn't
 get appointed until October 14th because he was haggling over compensation. But then I ask you who or what
 appointed him.
 A. And I'm trying to answer in terms of-- of how it would be effectIve legally, which IS why, again, I don't mean
 to be cute--
 Q. No. 1t's very important. I'm trying to get an understanding, too. What-- it should be simple. Ttlere has to be
 an act of appoIntIng. Who did it and when dId they do it?
 A. And I believe Mr. Gewecke did it. And to the extent that we were struggling with issues that called into
 question whether Mr. Gewecke had done it, we secured the conset of the Series B through Mark Eisenberg
 BY Mr. WASLH
 Q. Mr. Upp, when Mr. Gewecke voted along with the other directors for Mr. Edell's election to the board, was he
 voting in his capacity as a director of eUniverse?
 A. It wasn't dear
 Q. Your notes don't'- certainlydon I distInguISh as to whether he was voting in hIS capacity as a director or as -
 as an appointee of Sony, do they?
 A. They don't
 Q. And the fact of the matter is, at or about the time of the October6th meeting, nobodyhad goneto Sonyand
 said, "Hey, guys, we have a pretty decent candIdate,JefF Edell. DO you have any objectionto us putting him in
 the Series B seat?• That dIdn't happen at any time on or before October 6th. did it?
 A. I don't believe it did,
 Q. It didn't happen in all of October,did it?
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 A. I actually don't recall.

 Q. Well, don't you think it would make sense that if you were having–you had any idea that Mr. Edell was going

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 to be sitting in one of the two Sony seats, that somebody would pick up the phone and say to Sony, "Here's a
 guy. We support him. Would you appoint hIm?" And that didn't happen, did it?
 A. Well frankly, the way our board meetings were called and the way Brad conducted them as chaIrman dIdn't
 really make that possible.
 Q. You're saying its Mr. Greenspan's fault now that -- that Mr. EdeN was not properly appointed as a Series B

 director?
 A. 1..No. 1, 1 wouldn’t say it's necessarilyhis fault

 Q. Okay. Can you turn to Exhibit 10 in the binder,please.And can you identify for us what Plantiffs Exhibit 10
 is?
 A. It appearsto be an e.mail form Tom Flahie,the company'SCFO, to--- to Brad, Brett, and myself.
 Q. And what --what is--why was Mr. Flahiesendingyou what appearsto be a draft proxy statement?
 A. In an attempt to help us meet our– our then-planned November20 meetingdate.
 Q. Okay. So just – just to put this in context, this is about a week after you understoodthat Mr. EdeN
 supposedly– supposedlyhad beenappoInted as a Sony director by the board; rIght?
  A, Correct
  Q. Okay. Let's look at what the proxy statement says
 Q. Now,accordingto you, you had just slotted Mr. Edellas – as a Sony director. What does it say concernIng
 the nomineesfor election of dIrectors? Who does the board propose to be up for election by the stockholders
 generally?
 A. It includes a slate of five directors, including Mr. Edell
 Q. Uh-huh.Even though you had just –just supposedlystotted him a week or so beforeas -as a B director?
 A. Correct. And Tom Flahiedrafted this. and he would have beenawareof-- of the distinctIon
 A. He's the company'schief financial officer.
 Q. Okay. It also goes on to say in the next paragraphthat "550 DMV notified the companythat no directors will
 be nominated by the SeriesB preferred stockholdersat this tIme." Do you see that?
 A. I don't see it. but I remember--
 Q. Okay. And again, it says that "550 DMV"which is Sony,"notified the company that no directors will be
 nomInated by the Series B preferred stockholderst this time." Do you see that?
 A. Veg
 Q. Had that in fact occurred?
 A. Had 500 DMVnotifiedus?
 Q. Right.
 A. I don't believe so
 Q. Okay. AgaIn. Why was it that if Mr. Eden had Just been appointed as a B, that thats not so indIcated here?
 In other words, why – why wouldn't you just carry him on as a B for purposes of the 2003 election.
 A. Well, we would, That’s ultimately what we did, but this is just Tom Flahie's first crack at - at the proxy
 Q, And here we are Friday, November 7th. And Mr. Flahie is fOIwarding
 Q. – a draft of the proxy dated November7th. And again, where’s Mr. Eden fall as a director?
 A, He's in the same spot as the -- the pr}or draft
 Q. So this thing was being updated to reflect current events, was it not?
 A   Yes
 Q. Okay. So now we're about a month out from when Mr. EdeN was supposedlyslotted as a Series B, and your
 proxy statement is still telling --or at least in draft form is indIcatingthat Sony hasn't nominated anybody. Would
 you agree with that?
 A. In Tom's draft here, yes.
 Q. And you didn't – you didn't make any changesto the draft betweenthe time you first got it from Mr. Flahie
 in mid-Octoberand November7th isn't thaE true?
 A. I don't recall working on it during that period.
 BY THECOURT: Q. Who would have given Mr. Flahie this information?
 A. I ultimately did when we returned to--to sort of–when I got involved in helping draft it
 THECOURTQ. No. Who would have given....Thisseems like an odd part of the proxy statement for the
 information to have come directly fromthe brain of the CFO. Do you understandwhat I'm saying? I mean, this
 isn’t the fSnancial statements or anything like that.
 A. Right
 THECOURT Q. So where did it come from? This is two drafts now, and you were copied on both of them.
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 A. I think Tom was working off of probably the prtor year-s dran, and he undertook--
 THECOURTQ. Wait a mInute. Ttrere's d very specific statement in each of these about 550 DMV and what its

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                25-2                                                                              09/0
 intentions were. So he couldn't have gotten that off of a prior statement, because Mr. Gewecke was on the
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 board. So where would he have gotten that information?
 A. He would have made an assumption,I believe
 THE COURT Q. Well, how would he have made that assumption?
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 A. Based on potential '' I mean, 1-1'm sort of speculating, but I would assume based on his general awareness
 that Sony didn't want their people on– on boards or on our board

 Q. Now, Mr. Lipp, would you agree wIth me that at least as of November7th, nobody , as far– certainlythere's
 no --no recordsor documentsthat we've seen which in any way suggestthat Sony had any intentionof
 appointing a Series B director; would you agreewIth that?
 A. I would agree with it Insofaras it relatesto havIng any of their own people onboard, yes.
 Q. And in fact, in connectionwith the October17th meeting–actually, within an houror so of the October17th
 meeting, you and Mr. Greenspan had somewhatof a falling-out, didn't you?
 A. I supposewe did

 THE COURT: Q: What was the – Just so I .. Well, what was the basis that you had to beIIeve that under Delaware
 law a shareholdercould, six weeks after an event, file a consent, retroactively authorizing a group of people to
 make a decision that they had already previouslymade at a time when they actually made it, they had no
 authority to act on behalf of the stockholderwho owned the underlying shares?
 A. I was just trying to accompIIshwhat I believed everybody wanted and intended.
 THE COURT Q. So-but you didn I do any research to indicate that you could retroactively–you understand,this
 is written prospectivety; rIght?
 A. When you say "perspective"–
 THE COURT Q. Prospectivelyin the sense that it's-- It's– it's actIon by written consent by the Series–soleSeries
 B stockholder to elect the person that the board of directors shall select in a manner provided for the board the
 filling of four vacancies generally
 A. Rjght
 THE COURT Q. So, I mean, the way it's –you would think, if you didn't have the "as of’, you would think that
 the board is going to act after they have this document which acts as sort of a dual proxy and written consent;
 right, but --but this swIngs back–the person grantIng it had no idea what was going on, was certainly–the entity
 didn't. Maybe Mr. --Mr. Gewecke is obviously in the room but he didn't have anything like this at the time. And
 so dId–dId you do any legal research about thIS?
 A   I did not


 A. I believe it was in our 8-K. and I can't recall the exact date. but it was..I don't rememberthe exact date. It
 was--it was probably a week to 10 days after
 Q. Okay. You’ll see the 8-k indicates it was filed November 26, 2003? Do you see that?
 A. Yes, I see that, yes.
 Q. That would have been 12 days after the bylaw amednment had been adopted by the board ; is that right?
 A. I think that's right
 Q. And in between the-- the adoption of the bylaw and this 8-k amendment, the company put out a press
 release. dIdn't it?
 A   Yes
 Q. Did that press release say anything about the adoption of a bylaw amendmentrequiring stockholdersto give
 advance notice of actions to be taken at this meeting?
 A. It did not. as I recall
 Q. Why not?
 A. I --as I think I mentioned in–in deposition, I certainly would have liked to have seen that in therel but it was
 more or less an oversight or not considered at the time
 Q. Did you have any involvement in drafting that press release?
 A. It was principally Tom Flahie, and I don't –I dOn't recall whether I reviewedit or not. It was-- it was a
 pretty straIghtfoIward release. Really just announced the shift of the annual meeting.
 Q And doesn't say anything about the b)flaw amendment,does it?
 A. It does not
 Q. It also says -A new record date for the meeting of December 1, 2003, has also been set." Do you see that?
 A   Yes
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 Q. As of the November17th, had the board set a record date of December1?
 A. The resolution of the board in regard to the record date was to have it set as soon as practicable after the
 date of the resolution.

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 Q. And the boardset a record date of December1?
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 A. As I just described, they resolvedto have it as soon as practicableafter the date of the resolution
 THECOURT;Mr. Upp–
 Q. On November 14th–
 THECOURT:Mr. Lipp, answerthe questiondirectly. It deservesa yes or no
 CHRISLIPP: Okay.
 THECOURT: You could ask it again,Mr. Walsh.
 Q. Would you agree with me that on November14th the board did not set a recorddate of December 1?
 A. Yes
 Q. Yet you proceededto discloseto the public that a record date oF December 1 had beenset, didn't you?
 A Yes

 Mr. WALSH; Just so the record is clear, I think the proxy statement is in the record. And as far as we can tell,
 this is not what is being proposed to the stockholders. And what I was trying to get at as to whether the board
 has ever approved it, I don’t know the answer to that questIon
 THE COURT: I understand. I was going to ask another questIon about this document, which is what you have
 got it in front of you
 CHRIS LIPP; Yes.
 THE COURT; This is the exhibit– this is what the board was considenngthat day as the proposed amendment
 to the certificate of designation
 CHRIS LIPP; ThIs one here is the wrong version
 THE COURT: is this what was before the board on that day?
 CHRIS LIPP: I don't know,
 THE COURT; There is a sentence in it that refers to Mr. Gewecke.
 CHRIS LIPP: Yes
 THE COURT: Could you read that for the record?
 CHRIS LIPP: The one beginning The initial preferred stock director?-
 THE COURT: yes.
 CHRIS LIPP: "The initial preferred stock director shall be Thomas Gewecke and he is elected to serve until
 his..."–there are two words crossed out. Then begins, -__successor is duly elected and thereafter, the preferred
 stock director shall be elected at the same time as other members of the board of directors."
 THE COURT: This document was produced in discovery by your corporation.Was it not?
 CHRIS LIPP: Yes. I believe it was.
 THE COURT; This is what is attached as beIng the Exhibit A to the minutes of the November 14th meeting which
 you prepared?
 CHRIS LIPP: Yes. It is
 THE COURT: So the directors, on November 1'+th, were consideringan amendmentthat by its own terms
 indicated that the initial preferred director would be Thomas Gewecke, and that he would serve untII his
 successor is duly elected, and is that what was before the board on November 14th?
 CHRIS LIPP: Yes. This wasn’t changed from the original
 THE COURT; Well, how does that campeR with your testimony that MR. EdeN was sitting in the preferred
 director’s seat as of October 2003, when the amendment before the board for action on the certificate of
 designation indiCates that Mr. Gewecke will be the initIal preferred director
 CHRIS LIPP: My assumption would be that this would speak as of the date of the original certiFicate of
 designation
 THE COURT; well, this is an amendment.
 CHRIS DPP: Yes.
 BY Mr. WALSH :
 Q. Mr. Lipp, I should have asked you at the outset, but you were the one that actually preparedthis amendment
 were you not?
 A   Yes
  Q. Is there some reason you didn't indicate that Mr. Eden was now the Series B director, as you contend?
 A. I was only thinking that we should change the portions of it that we Intended to effect changes to. I wasn't
 thInking in terms of updating it, for Instance, by having reference to somebody other than to Ttlomas Gewecke. I
  didn't want to change things I didnt think were necessary to change.

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 Q. And then you will see – I'm sorry. Continueto read.
 A. There was a motion – I'm SOITV. -Motion to approve slate recommendedby NCGC. 7-1 approved slate.

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                25-2                                                                            09/0
 Q. Doesn't reflect there was any discussion before the motion to approve the slate? Do you recall any
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 discussion?
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 Q. And so the only discussion, as you recall, at the November 20 in terms of who the sale of directors would be
 for the upcoming annualmeeting was whether it was a slate wIth Brad Greenspanor a slate without. Isn't that
 fair?
 A. That was most of the discussion,yes
 Q. So there was no discussionabout who the nominating committee thought should be -- if anybody–in a B slot
 or otherwise. Isn’t that true?
 A. I think that's right, yes
 Q. Incidentally, what does the next say in your notes?
 A. It says "Ratification of record date of the December1, 20Q3 approved 8-0
 Q. Why was the board ratifying a record date of December1?
 A. Becausethey had previouslyresolvedto have the recorddate be as soon as practicable, and we had reported
 back that that date would be December1. basedon the broker's search
 Q. They were really ratifying Tom Flahie'sdecision to pick December1. Right?
 A. Yes
 THECOURT: Had that been – had the recorddate already beenpublicly announcedat that time?
 CHRISLIPP; I believe on November 18th.it was.
 Q. And at the board meetIngof November20th, the boarddid not discuss in any way whether any of those
 directors should be directors, B directors did they?
 A. I don’t reGall any such discussion.
 Q. After thIs meetingof November20th, you took it uponyourselfto slate Mr. Moreauand Mr. Edeltas B
 directors. Did you not?
 A. I assumeyou meanin connectionwith filing our preliminary proxy.
 Q. Correct
 A Yes
 Q. At that time, Sonyhadn’t indicatedto you one way or the other that they wantedanybody to be–to Fill the
 Sony slots. Did they?
 A. I don't know when I had those discussions with Sony,whether it was beforeor after that. It may have been
 before
 Q. You are not sure as you sit heretoday?
 A. Im not sure.
 THECOURT; WasMr. Moreauoriginally electedby Sony?
 Mr. WALSH:No. Let me ask a couple questions
 Q. How was it that -' as you understandit, Mr. Moreaucame to join the boardof eUniverse?
 A. He was appointed to a vacancythat was Greatedon the resIgnation of Jeff L3pin, who resigned. I think on
 May 8th of 2003.
 Q. But he was not affiliated with Sony in had any way, was he?
 A   No
 After you slotted MR. Moreau and EdeN as B directors, you went about getting Sony's consent to do that. Didn't
 you?
 A   Yes

 A. It's an e-mail that I sent, looks like on November 25th, 2003, to Melissa Cole, with a copy to Mark Eisenberg
 Q. What was the purpose of sending this e-mail to Melissa Cole?
 A. I think it's the consent pursuant to which the Series B holder would elect Jeff Edell and Lnwrence Moreau at
 the upcoming annual meeting.
 Q. Who is Melissa Cole?
 A. She is an attorney, in-house, with–I think she is with Sony Music
 Q. Turn to the next page. This is the form of consent. You drafted this dId you not?
 A   Yes
 Q. Okay. Could you read into the record the fourth whereas clause?
 A. Sure. -whereas, the nominatIng committee of he board has nominated, and the board has approved, Jeffrey
 Eden and Lawrence Moreau as directors of the Company to fill the seats reseved for the Series B Preferred Stock
 Directors
 Q. Now as of November 25th, was that a true statement?
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 A. As of that time. I don't think Elle board took that action.
 Q Did you tell Sony that neither the nominating Committee nor the board of directors had in fact approved Mr
 Eden or Mr. Moreau in eIther Sony seat?

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 A. I don't recall discussing that with them
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 Q. Would you agree with me that if Sony signed thIs, based upon the representationthat the nomInating
 commIttee and board had approved Mr. Moreau and Mr. Edell that they were misled?
 A. I would agree that their consent would not be effective. The point here was to do the thIngs we needed to
 get done to get the proxy filed.
 A. And there was certainly by no means any intent to slip one by anybody, and no objective to do something
 contrary to what the board would want. The board would always have to sign off on this.
 Q. But the fact of the matter is that the board hadn't signed off to what you proposed to Sony was the case?
 A. That's right. I got that out of where we were on the board level.



 THE COURT; Somethingyou just said confused me. You said the only vacancies were the B slots. But the board
 purported to expand the board. Why couldn't they have filled the newly created directors?
 CHRIS DPP: They could. At the time we had five and went to seven was to have the addItion of Bradley Ward,
 to a seat elected generally.
 THE COURT: Then on Halloween, as Mr. Walsh was asking you, at the culminationof the four-day board
 meeting, the board decided to go to ten
 CHRIS UPP: YES. TIle composition–
 THE COURT: And why - if Sony dIdn't want to appoint, nothing makes them appoint. Why couldn't Messrs. Edell
 and Moreau have been elected to the board to the newly created directorships?
 CHRIS UPP; Mr. Moreau was already on as -in what we will call a common seat.
 THE COURT: He was already there.
 CHRIS LIPP: Yeah. And if we –


 Q. Just so Im dear, you haven't received a consentform Sony whichappoints Mr. Eden to the B seat. Have you?
 A No

 THE COURT: Before I forget this, this says, -Director since October 14th, Mr. Edell." He wasn't a director, in
 your mInd, as of October 6th?
  CHRIS UPP: That's right, He was approved at that meeting, but he didn't accept his appointment until the
  14th, when his compensationhad been worked out
 THE COURT: When did the board authorize the compensation?
  CHRIS LJPP: On October 14th.

 THE COURT; They acted again on Mr. Edell?
 CHRIS LIPP; wIth respect to hIs compensation
 THE COURT; I have a question. Would you look at Plantiffs Exhibit 7, which is the minutes of October 6th?
 These are minutes you drafted.
 CHRIS LIPP: Yes
 THE COURT: Were they approved by the board?
 CHRIS LIPP: Yes
 THE COURT. Do you recall telling me that the directors didn't appoint Mr. Edell that day?
 CHRIS LJPP: if I said that, I probably misspoke
 THE COURT: How many tImes did you misspeak,because I asked you thIS, I thInk, about four times? And you
 made a big deal out of telIIng me that the directors approved Mr. Edell; I think it was in words such as "This
 would be a good person, who should be put on the board." And I said, ;Did they appoint hIm? I believe I asked
 you that several times. And you would never answer me yes. And I would like to you read in the record the
 sentence begInning, The NCGC." whIch is the Nominatingand Corporate Governance CommIttee, then
 recommended finishing with a resolution – the first resolution after that
 CHRIS LIPP; Sure. -NCGC then recommendedto the board the appointment of Jeffrey Edell to nil the vacancY
 created by the impending resignation of Thomas Gewecke, whereupin a motion was made, and duly seconded
 and approved by the vote of five for and zero against, constltuting unanimityof the directors onthe Board.
 includIngthe affirmative vote of Thomas Gewecke as the sole Series B. preferred stock director. It was
 "Resolved, that Jeffrey Eden be and hereby is appointed as a member of the company'sboard of directors, upon
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 Mr. Gewecke's resignation and Mr. Edell's acceptanceof such appointment,to serve until the next annual
 meeting of shareholdersof the company or as otherwiseprovided by the certIficate of incorporationand bVa b', s

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 of the company."
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 THE COURT: Just so I leave – when you leave the stand, I understand-- you are saying that this minute does
 not accuratelyreflect the action the board thought it was taking at that meeting, and you thought the board was
 taking?
 CHRiS LIPP: Yes. I was trying to answer your question on a legal basis.
 THE COURT: No. 1 don't know what that means.
 CHRIS LIPP; Can I explain?
 THE COURT: is this minute–does it accurately renect what you understoodthe board to be doing on October
 6th?
 CHRIS DPP: Yes.
 THE COURT; You understoodas of that date that the board of directors was appointing Mr. Eden--
 CHRIS LIPP; it couldn't--
 THE COURT: That's not what I asked you, Mr. Lipp. You may have made a mistake as a counselor, but did you
 understandas of the date that you – as of October 6th, was it your understandingthat the board of directors
 was electing Mr. EdeN to be one of its members
 CHRIS LJPP: I really apologIze for this. I'm answerIng you as best I can. But yes, that was my understandIng.
 THE COURT: That they were appointIng him to the board. RIght?
 CHRIS LIPP: Yes.
 THE COURT: That was your understanding at the time?
 CHRIS LIPP: My understandingthat they were appointing him to replace Thomas Gewecke.
 THE COURT: That was your understandIng as of the time these minutes were approved by the board of dIrectors
 CHRIS LIPP: I think that's right.
 THE COURT: What meetIng was that at?
 CHRIS LIPP: I'm sorry. I didn't hear the question. You said at the time that these minutes were approved by the
 board of directors? That meeting, I believe, occurred on November 14th
 THE COURT: You recommendedapproval of these minutes. Right? You put them before your client, the
 company'sboard, as beIng futly accurate?
 CHRIS LIPP: Yes. That's right. I believe thts is what the board did. But the difficulty we are having is reconciling
 the intent of the board with the action they took.
 THE COURT: Well, what you are saying – aren’t you admitting that you believe–you now come to beIIeve that
 this October 6th appoIntment could not have been a valid appointmentto a Series B directorshlp7
 CHRIS UPP: I agree, yes, the board could not put him in a SerIes B seat. Only a Series B person could do that.
 THE COURT: And what basis do you have for me to believe that as of October 6th, the board even believed that
 it was placIng MR. Edell in a series B directorship
 CHRIS UPP: Because I believe the board intended for him to replace MR. Gewecke and did not intend for the
 board to expand in size.

 THE COURT: why isn't a perfect rational inference, given that your CFO and colleaguedrafted this, that indicated
 Mr. Edell was going to be elected by the common, and that Sony wasn’t--dIdn't intend to fill a vacancy, that the
 board believed that Sony was waiving its right to appoint a director, and that th company was going to go
 ahead, because it had discussions that it wanted to expand the board, had asked Sony to waive its right, Sony
 wanted to get off–and so the board went ahead and elected a new member. So it was five members, none of
 whom were SerIes B directors, because Sony had forsaken ItS right.
 CHRIS UPP: My difficulty there is that they could have done that, but I don't think they Intended to expand the
 size of the board. That would have been necessary.
 THE COURT: Well, it's not necessary to practically speaking,expand the board. In fact, if it's a binding waiver,
 you have temporal issues, but formaIIties didn't seem to be a big thing for anybody, you know. If Sony could–if
 Mr. Gewecke could – all this testimony early on about Mr. Gewecke somehowacting as a stockholder, or
 something, without a proxy, we have gotten through that. We know that wasn't the case.
 Why am I not to infer that the board simply believed that Sony was not going to appoint, and that there had
 been specIfic discussions about Sony, that the board in fact wanted to add an outside dIrector, it wanted to be
 able to do so and have Sony not appoint anybody of its own?
 Sony was rid oF this. It's got bigger problenms than being on the board, having somebody on the board of a
 small company that has other issues. And the board SImply, with Mr. Gewocke sitting there for SonY saying,: We
 have no problem with this. You want Eden. fine. I'm gone. I'm out of here,- and then You have your colleague,
 CFO, drafting documents that are perfectly consistent with that interpretation. Why shouldn'tI make that
 interpretatIon?
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 CHRIS LIPP: The reason IS that even if they waived the right to the seat, the seat still exIsts and can only be
 elected exclusivelyby the Series B stockholder.
 THE COURT: Right. But the issue is not that anybody sites in that seat. It's that -- when was the board

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 CHRiS LIPP: The board expanded in this time frame, for the first time, on October 16th, I believe
 THE COURT: RIght. But the issue is not that anybody sits in that seat. It's that -- when was the board
 expanded.

 THE COURT: You admit the way the board purported to fill it was invaIId.

 THE COURT: I guess what I'm saying is we have this really – we have a fair number of undisputed facts here. 1
 really don't know what the defendants'posItion is on this. In terms of -- dearly, Mr. Edell was not validly
 elected to a Series B slot on October 6th. He just wasn't He could not have been appointed by the Board to a
 Series B slot

 THE COURT: You know, if we are going to – I take very seriously the claim that's been – the singular claim I
 was told that I was trying this morning, whIch is: is Mr. Edell actually on the board? And I think there is a very
 serIouS question about whether he is actually on the board.

 THE COURT: It's even odder when it's supposed to be retroactive to October 6th, especialty when as of October
 6th, as I understand it, Mr. Edell hasn't even agreed to be on the board
 As of October 6th, I have got to say, I really – I thInk Mr. LJpp basically said the board had no idea that it was
 slotting him in a Series B. I think there is a great deal of record evidence– it's not a big record, but what record
 evidencethere is suggeststhat the board wasn't really thinking about putting him in as a Series B director but
 thought Sony was simply waiving Its right.
 I Think those are all very serious questions. The Idea that it's a Blaslus VIOlation--if the certIficate means what it
 says, for Sony to, you know, exercise its absolute right to appoint whoever it wants to that slot--maybe Blasisus
 leaves that open,

 THE COURT: It's a very strange – I mean, I have got to say--I will say this on the record. I'm very dubious
 about the validIty of this election, and there is a certain formality that has to be done around electIng people
 And I mean, is this a proxy?
 I don't know, But I'm really troubled by this, because again, it doesn't say, "We elect Stephan Edell as a SerIes B
 director. We recognize that the board has commendedStephen Eden to us, or the board purported to elect, -
 blah, blah, blah, Doesn't say any of that.
 And even the later consent is as of January 21st, you know. What that means –


 THE COURT: Has the board actually voted upon, Mr. Teklits, a final copy of the certificateof designation
 amendment?
 MR. TEKLITS ; There was some confusion.We had done it with Mr. Lipp, Your Honor. Sony would not consent to
 an amendmentthat didn't require Vantage to exercIse over 50 percent. They didn't want Vantage to exercise
 one share and they would lose their right to the seats. I'm not sure what was attached to what.


 THE COURT: It's not really, I guess, my job to be DIrector of Hygiene for eUniverse,but now that very
 competent Delawarecounsel has been engaged to assist the company, I mean, it's pretty common knowledge
 that the board of directors has to approve the actual certificateof designationamendmentthat's being proposed
 And you know.- and this isn't the first dot come kind of company that's tried to be a bit lnnovattve

 THE COURT: "But you can get this stuff fixed out or you put me in a position where I have got some sort of --
 this is low hanging fruit for Mr. Walsh. And if you haven't done it, I mean – I mean, if you know they have done
 it, that's great
  "I mean, if you want, I don't have to say these words and yoU don't have to go fix them or call yoUr client. And
 then when Mr. Walsh asks me to confirm, upi – grant the motion to conform the evidence, I probably am goIng
 to grant it." You might have won on everything else. Then I have a disclosureviolation here,"
  -You may need to do corrective disclosureto begin with, because of this.
  MR. TEKUTS ; We will make sure this is right, Your Honor. I thInk everybody wants this amendmentapproved.

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 THE COURT: "I can't help but observe the other thing, which is if this – if the company –If the incumbent board
 is really fine with a fair right and doesn't mind the common and the preferred voting togeterh to elect a majority

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 even now, which I don't know to be the case – but if it were and you said, -Let's have a showdown. We have a
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 large stockholder. We have a disagreement.Vantage is in here. Let's have the showdownin the OK Corral
 We want Mr. Edell to be on the board." Well, there is an obvious way to do that. Right? And if you don't want
 to have a legal fight, then you know, you figure out who your four are. You know who the Vantage two are if
 Eden is one of the fighting four, you make sure the certificate of designation has been approved. You clean that
 up. You know you probably have to amend your proxy statement, then. Then maybe you change your sale an
 put Edell on it. And the four that is currentyl in there, make a decision as to being on the board or not.. You
 have a fight about the majority. That is the judge trying to be practical in a situation where I have seen both
 sides
 "I'm saying if it's fair fight time and you are ultimately going to have a majority up, that is a real dean way to do
 it. I don’t know how Blasius comes Into tht at all.

 "So to the extent that Sony -- for example, if Mr. Eden were to resign today, to say, "I am not longer on the
 board," one of his other colleagues would resign -- and you do it in however elegant fashion to make sure you
 get it done irght. Mr. Edell is immediatelyreelected to teh vacancyma common vacancy, and the company
 amends its proxy statement and putS him as one of the four. Sony just says, -We really – this has even gotten
 worse
 "I can imagine what it's like at Sony today. Ttley are like, "Gee, this is great. We even want to be bothered by
 thIs,-   Right?
 Then you have four up at the election."



 THE COURT: RIght. There is a certain elegant order in things. You have to -. the board has to approve it. And
 they have to approve it in the form they are proposIng. Then the stockholdershave to do it.
 THE COURT: I think we have all come to a rather nonastonishingdiscovery,which is to the extent that Sony
 does not wtsh to fill its directorships, then it doesn't have to. And we have also come to the nonastonishing
 discoverythat to the extent Sony doesn't wish to nil them, and doesn't act by a valid written consent to fill
 them, no one else can act in its stead.

 THE COURT: Right. What I'm saying is you do representMr. Eden. And it's just a suggestionin light of what –
 of the dance that is going on, because as I understandit, it's not at all dear even to you that your client's board
 has approved the certifIcate of designationthat’s being proposed beofre it got the written consent from Sony.
 So there is a real problem that I may have to take some notice of. It looks like it's going to be raised to me
 You hear what they are saying about Eden. because as I understandit, it’s not at all clear even to you that
 your client's board has approved the certificate of designationthat's being proposed before it got the written
 consent form Sony. So there is a real problem that I may have to take notice of

 THE COURT: "could I plead with the Delaware lawyers for the company that if we are going to get – if you are
 going to get a consent from Sony, craft it. I mean, it's one thing Mr. Shannonand Mr. Walsh – it's one thIng if
 they want to do a Blasius thing. You know, you don't want to walk in here again with some sort of technical
 problem




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                   IN THE COURT OF CHANCERY OF THE STATE OF DELAWARE
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                                                                                                05/0
          BRAD D. GREENSPAN.                                       )

                   Plaintiff,                                      )
                                                                   )   C.A. No. 106-VCS
                       Va

                                                                   )
               BREWER.et al                                        )
                                                                   )
                 Defendants.


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 JLDGMEVI’ ENTRY SF:'iTING lIEARING

 On the Motion of Plaintiff 70b in the above cntitlcd action. and for good cause shown:

 it is hereby ORDERED that Defendantsappearbefore a Judge of the Delaware C’hanccr)’ Court at   o'clock

          _ on the day of ,     , to show cause why should not be punished for contempt as

 required by previous Order and/or implied ruling of this Court.




                                                                       J
